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This report by the U.S. Election Assistance Commission is the result of a contract to
collect and analyze data for the 2022 Election Administration and Voting Survey
and Election Administration Policy Survey. The contract was carried out by Fors Marsh,
an applied research company based in Arlington, VA.

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Executive Summary

Since 2004, the U.S. Election Assistance Commission (EAC) has conducted the Election
Administration and Voting Survey (EAVS) following each federal general election. The EAVS asks
all 50 US. states, the District of Columbia, and five U.S. territories--American Samoa, Guam, the
Northern Mariana Islands, Puerto Rico,+ and the U.S. Virgin Islands—to provide data about the
ways Americans vote and how elections are administered. Since 2008, this project has included a
separate survey, the Election Administration Policy Survey (Policy Survey), that collects
information about state election laws, policies, and practices.

The EAVS provides the most comprehensive source of state and local jurisdiction-level data about
election administration in the United States. These data play a vital role in helping election
officials, policymakers, and other election stakeholders identify trends, anticipate and respond to
changing voter needs, invest resources to improve election administration and the voter
experience, and better secure U.S. elections infrastructure. The EAVS data make it possible to
examine the details of the U.S. election infrastructure and to produce a generalizable
understanding of core aspects of the election process and the management challenges faced by
election officials. The survey data provide policymakers and the public with crucial information
every two years about how federal elections are conducted and help the EAC fulfill its
congressionally mandated reporting requirements. The EAVS is also invatuable to election officials
who use the data to manage election oversight, conduct issue analysis and strategic planning,
and create training and promotional materials. The EAC also uses EAVS data to create
clearinghouse resources to advance the agency's mission and to better support election officials
and voters as well as to inform lawmakers and national-level stakeholders about the impact of
federal voting laws and the changing Jandscape of U.S. elections.

In many ways, the 2022 general election represented a return to normal election operations, after
the 2020 general election was heavily affected by the COVID-19 pandemic. The pandemic
necessitated that state and local election offices adjust their election practices and navigate
changing state policies, including the modes of registration used by voters, how poll workers were
recruited to assist with the election, which populations could cast their ballots before Election Day
or by mail, and procedures for tabulating ballots once voting had concluded. As the most
comprehensive source of election administration data in the United States, the 2022 EAVS
provides a unique insight into how election dynamics have and have not changed as the
pandemic recedes. To this end, the EAC is pleased to present to the 118th Congress its report on
the 2022 EAVS.

This report describes in detail how the 2022 federal general election was administered and how
voters cast their ballots. Data fram the EAVS and the accompanying Election Administration Policy
Survey (Policy Survey) are used to provide an overview of each of the following aspects of the
election process:

1 Puerto Rico completed the 2022 Policy Survey but was not required to complete the 2022 EAVS because
it did not hold a federal general election in November 2022.

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Turnout, voting methods, polling places, drap boxes, ballot curing, poll workers, and

election technology are covered in Chapter 1, “Overview of Election Administration and

Voting in the 2022 General Election”;

Key laws, rules, policies, and procedures that govern U.S. elections are covered in

Chapter 2, “Election Law and Procedure: The Policy Survey”;

o Voter registration and list maintenance are covered in Chapter 3, “Voter Registration: The
NVRA and Beyond”:

o Voting by individuals covered under the Uniformed and Overseas Citizens Absentee Voting

Act (UOCAVA} is described in Chapter 4, “Military and Overseas Voting In 2022: UOCAVA’:

and

Finally, the methodological procedures that the EAC followed in collecting the EAVS and

Policy Survey data and a description of the survey questions are discussed in Chapter 5,

“Survey Methodology.”

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Voting and Election Administration Findings

Data from the 2022 EAVS show that 46.8% of the citizen voting age population (CVAP) in the
United States voted in the 2022 general election, including more than 112 million ballots that
were cast by voters and counted. Turnout for this election decreased by approximately 5
percentage points compared to the last midterm election held in November 2018, with only nine
States showing turnout increases between these two elections,

The EAVS also tracks data on how voters cast their ballots—in person on Election Day, in person
before Election Day (which is known in many states as early voting), by mail, or by another mode
of voting. In-person voting levels dropped for the 2020 general election (as many states expanded
early voting and mail voting opportunities in response to the COVID-19 pandemic) but largely
rebounded for the 2022 general election. in-person voting on Election Day returned to being the
most common method for voters to cast their ballots, with just under half of voters using this
mode. The use of mail voting decreased from 2020 to 2022. Nonetheless, the nearly one-third of
voters who cast their ballots by mail in 2022 represents an increase over the one-quarter of
voters who voted by mail for the 2018 general election. In-person early voting saw an increase for
the 2020 general election, but decreased in 2022 to just over one-fifth of voters.

The 2022 EAVS collected data on the use of drop boxes and ballot curing for the first time. Nearly
13,000 drop boxes were reported as being available for voters to return their mail ballots; among
states able to track these data, approximately 40% of mail ballots returned by voters were
returned at a drop box. Nearly 170,000 mail ballots were successfully cured by voters for this
election.

Data on the ages of the poll workers who assisted with in-person voting show that after changes
in the poll worker population for the 2020 general election, the age distribution of poll workers in
2022 was very similar to that of 2018. For the 2022 general election, a majority of poll workers
were older than 60 years old. However, the 2022 general election continued a trend toward
election officials having an easier time recruiting poll workers; this trend began with the 2020
general election. More than 80,000 individuals served as poll workers for the first time during the
2027 general election, comprising 16.7% of the poll worker population for this election.

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States reported that the use of electronic poll books to assist checking in voters at in-person
voting sites and the use of ballot-marking devices (BMD) and scanners to assist with casting and
counting ballots increased from the 2020 to the 2022 elections. The use of direct-recording
electronic (DRE) voting equipment with and without a voter-verified paper audit trail (VVPAT)
declined overall between these elections, despite a slight uptick in the percentage of jurisdictions
that used DRE equipment without VVPAT. For the 2022 general election, only four jurisdictions in
the country reported relying solely on DRE without VVPAT machines.

Election Administration Policy Survey Findings

The EAC collected data through the 2022 Policy Survey to provide context to the data that states
reported in the EAVS and to track changes in election policy over time in areas that include voter
registration and list maintenance, voting by mail, UOCAVA voting, in-person voting, voter
identification, provisional voting, election technology, recounts, audits, and election certification.

Some of the notable findings from the 2022 Policy Survey include that a strong majority of states
reported having voter registration databases that functioned in a top-down manner; 80% of states
that used a bottom-up or hybrid system transmitted data from local jurisdictions to the central
database in real time. The most common government agencies for states to electronically receive
registration data from were agencies that handle driver's licenses, agencies that maintain death
records, and agencies that maintain fetony or prison records. Nearly all states allow individuals to
pre-register to vote before they turn 18 years old, about three-quarters of states allow individuals
to register to vote and/or update their voter registration information online, and half of states
allow individuals to register to vote on the same day they cast a ballot.

The number of states that conduct an all-mail election either statewide or in certain jurisdictions—
that is, automatically mailing a ballot to all registered voters or to all active registered voters
without the voter having to file a mail ballot application—increased in 2020 in response to the
COVID-L9 pandemic and remained fairly consistent at 12 states for the 2022 general election.
The 2022 Policy Survey also collected data on state policies on the use of drop boxes and mai!
baliot curing for the first time; 39 states allowed the use of drop boxes for this election and 41
states allowed voters to cure their ballots and correct missing information or errors on their mail
ballots in order for them to be counted for this election.

States also reported information on the auditing and review activities they conduct. Audits are
conducted to ensure that voting systems operate accurately, election officials comply with
regulations, procedures, or internal policies, and discrepancies are identified and resolved so that
voters can be confident in the election administration process. The most commonly reported
auditing activities were logic and accuracy testing (used in more than 90% of states) and post-
election tabulation audits (used in three-quarters of states}.

The National Voter Registration Act (NVRA) Findings

EAVS data on voter registration and list maintenance show that the percentage of the U.S.
population that is registered to vote continues to grow. More than 203 million individuals were
active registered voters for the 2022 general election, representing 85.4% of the CVAP and an
increase of 2.8 percentage points since the 2018 general election. More than two-thirds of states
reported that the active registration rate in their state increased from the 2018 to 2022 general
elections.

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More than 80 million registration forms were processed in the period between the close of
registration for the 2020 general election and the close of registration for the 2022 general
election. For the first time in EAVS history, a majority of those registration forms were submitted
through state motor vehicle offices. The use of online registration declined by about half between
the 2020 and 2022 EAVS, and the use of mail, fax, and email to submit registration forms also
decreased. Nearly half of the registration forms reported in the 2022 EAVS were updates to
existing voter registration records and more than a quarter were new valid registrations.

The NVRA also requires states to review their voter registration ralls periodically and to remove
the records of individuals who no longer meet eligibility requirements {e.8., have moved from the
jurisdiction in which they are registered, have died, have failed to respond to a confirmation
notice mailing and vote in two subsequent federal general elections, or, depending on state law,
have been convicted of or incarcerated for a crime or have become mentally incapacitated}. In
the 2022 EAVS, states reported sending more than 26 million confirmation notices to keep their
registration rolls up to date; more than half of those confirmation notices were not returned to the
election office by the voter or by the U.S. Postal Service, a decrease from previous years’ EAVS
data. More than 19 million voter registration records were removed between 2020 and 2022,
most commonly because the registrant moved out of their jurisdiction, died, or faited to respond
to a confirmation notice and failed to vote in subsequent federal general elections.

The Uniformed and Overseas Citizens Absentee Voting Act
(UOCAVA) Findings

UOCAVA outlines special voting procedures for two categories of voters: members of the
uniformed services absent from their voting residence and their eligible family members, and U.S.
citizens living overseas. The 2022 EAVS data show that the voting residences of UOCAVA voters
tend to be highly concentrated: 57.5% of these voters held legal voting residence in just three
states, and more than 60% of EAVS jurisdictions had LO or fewer registered UOCAVA voters.
Continuing a trend that began with the 2016 EAVS, 2022 data show that overseas citizens made
up a larger share of the UOCAVA voting population than did uniformed services voters.

Of the more than 650,000 ballots that election offices transmitted to UOCAVA voters for the 2022
general election, about one-third were transmitted to uniformed services members and two-thirds
were transmitted to overseas citizens. Email was the most common method election offices used
to transmit ballots to UOCAVA voters, although a majority of uniformed services ballots were
transmitted by postal mail. Slightly more than 40% of transmitted UOCAVA ballots were returned
by voters, representing a decrease of almost 25% in the number of returned UOCAVA ballots
compared to the 2018 general election. Nationwide, more than 96% of returned UOCAVA ballots
were counted and less than 4% were rejected, most commonly because the ballot was received
after the state’s deadline for returning ballots.

UOCAVA voters can use Federal Write-In Absentee Ballots (FWAB) as a backup ballot in case their
regular absentee ballot cannot be received and returned in time. States reported that more than
4,000 FWABs were submitted by voters for the 2022 general election. This represents a decrease
of more than 25% from the number of FWABs received for the 2018 general election. The FWAB
allowed nearly 3,500 additional UOCAVA voters to have their ballots counted fer the 2022 general
election; more than three-quarters of counted FWABs were received from overseas citizens and
less than one-quarter were from uniformed services voters.

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Chapter 1. Overview of Election
Administration and Voting in the 2022
General Election

Aey Findings
The 2022 Election Administration and Voting Survey (EAVS) collected data on ballots cast, voter
registration, overseas and military voting, voting technology, and other important issues related to

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voting and election administration. Notable findings from the 2022 EAVS include:

More than 203 million individuals were active registered voters for the 2022 general
election,

Voter turnout for the 2022 general election was 46.8% of the citizen voting age population
(CVAP) nationwide, a decrease of 5.4. percentage points from the 2018 general election.
Only nine states saw their turnout levels increase from the 2018 to 2022 general
elections. More than 112 million voters cast ballots that were counted for the 2022
general election.

Although the use of mail voting decreased in 2022 compared to the 2020 general
election, mail voting rates remained higher than pre-pandemic levels, at 31.9% of voters
participating in the 2022 election who cast their ballots by mail. Almost half of all voters
voted in person on Election Day. More than two-thirds of voters cast their ballots in person
(either on or before Election Day) for the 2022 general election.

The 2022 EAVS collected data on drop boxes and ballot curing for the first time. Among
states that reported data on drop boxes, nearly 40% of mail ballots were returned at drop
boxes. Among States that reported this data, less than 1% of mail ballots that were
returned by voters and counted in the election were cured (meaning they were rejected for
an error, but the voter corrected the error and the ballot was ultimately counted).

The age distribution of poll workers skewed younger in 2020, but 2022 EAVS data show
that this distribution has returned to pre-pandemic levels. States reported that 16.7% of
the pall workers who assisted with the 2022 general election were new poll workers who
had not served in previous elections. In the 2020 and 2022 EAVS, election officials
reported that recruiting poll workers was less difficult compared to what was reporied by
election officials in the 2018 EAVS.

The most common types of voting equipment reported for the 2022 general election were
ballot-marking devices (BMD) and scanners, which were used in nearly 90% of EAVS
jurisdictions. Ballot scanners often process both hand marked ballots and ballots that
have been marked by a BMD, These devices are often used together, even in jurisdictions
where a majority of voters are marking ballots by hand. The use of direct-recarding
electronic (DRE) voting machines continues to decline overall,

The use of electronic poli books increased from 2020 to 2022, with more than one-third of
EAVS jurisdictions reporting having used an e-poll book for the 2022 general election.

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ciection Administration in the United States

The United States holds elections for many different levels of government, including federal,
state, and local offices. However, responsibility for administering these elections and tabulating,
reporting, and certifying election results is largely exercised by local jurisdictions, with oversight
from states and in accordance with federal law. The U_S. Constitution and various federal laws
govern specific aspects of federal elections and a small number of federal agencies—such as the
U.S. Election Assistance Commission {EAC) and the Federal Voting Assistance Program (FVAP}—
play a supportive role in election administration. Broad legal and procedural authority rests with
the states,? territories, the District of Columbia, and local jurisdictions. As a result, wide variation
exists among and within state election policies and practices, and the policies and practices for
conducting elections are constantly changing. Nevertheless, U.S. elections generally follow a
standard process. As shown in Figure 1, the election process can be viewed as a cycle.

1. The legal and procedural framework for elections is generally established in advance of a
general election. This legal framework determines which individuals are eligible to vote in
an election; how, when, and where voters may cast their ballots for the election; and what
technology will be used to support elections. Supported by state election offices, most of
these policies and procedures are implemented by election officials at the local level (e.g.,
county, township, or municipality).

2. To participate in elections, eligible citizens typically must register to vote pursuant to the
eligibility rules established by federal law and by their state.? In many states, voters must
register in advance of a set registration deadline; in others, eligible individuals may
register on the same day they cast their ballot, whether during an early voting period or on
Election Day. Depending on state policy, eligible citizens may have multiple avenues for
submitting their registration applications, including by mail, fax, or email; online
registration websites; in person at an election office, at a motor vehicle office, at other
state government agency offices, or at an armed forces recruitment office; or through a
registration drive. States are also required to periodically examine their voter registration
rolls and remove the records of voters who are no longer eligible; for instance, because
the voter no longer resides in the state or jurisdiction in which they are registered, the
voter has failed ta respond to a notice sent to them by mail and has not voted in the two
most recent federal general elections, the voter is deceased, or the voter is incarcerated
or has received a criminal conviction that disqualifies them from voting. The process of
updating voter registration rolls and removing ineligible voters is referred to as list
maintenance.

4 Throughout this report, unless otherwise specified, the term “state” can be understood to apply to the
50 U.S. states, the District of Columbia, and five U.S, territories {American Samoa, Guam, the Northern
Mariana Islands, Puerto Rico, and the U_S. Virgin Islands) that submit Election Administration Policy Survey
and EAVS data.

2 North Dakota is the only state that does not require citizens to register before casting a ballot in an
election.

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Figure 1. The U.S. Election Process

1. When a federal general election is approaching, voting begins well in advance of Election
Day for many voters, including eligible military voters and overseas citizens who are
absent from their voting residence, for whom the right to participate in federal elections is
protected under the Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA). In
addition, all states provide avenues for voters to cast ballots before Election Day. This
may include voting by using a ballot that is mailed to them by an election office, casting a
ballot in person at a dedicated voting site before Election Day (often called early voting),
or receiving and casting a ballot at an election office. Some states allow any eligible voter
to cast their ballot before Election Day, whereas others limit it only to certain segments of
the population, such as voters who are absent from their home jurisdiction on Election
Day, voters with illnesses or disabilities, voters over a certain age, or voters who provide a
statutorily valid excuse. The voting options that are available to voters and the timelines
for mail voting and in-person voting vary by state and by jocal jurisdiction.

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2. Voters who do not cast ballots beforehand may vote on Election Day at in-person voting
sites. In most states, individuals whose eligibility to vote cannot be verified at the time of
voting may cast a provisional ballot. Election officials then investigate the eligibility of
individuals who cast provisional ballots to determine whether their ballots should be
counted, either in full or in part, or rejected.

3. After the polls close on Election Day, the process of counting ballots to determine the final!
election results begins. This may also be referred to as tabulation or canvassing. State
policies vary on when counting may begin~some states may begin pre-processing mail
ballots (e.g., verifying the mail voter's eligibility to cast a ballot, opening envelopes,
removing the ballots from secrecy envelopes to prepare them for counting) before
Election Day, whereas other states require that in-person polls must be closed before any
mail ballots can be processed. Some states also accept mail ballots, particularly those
cast by UOCAVA voters, if they are received after Election Day, so long as they were
postmarked on or before Election Day. Depending on state law and on what equipment is
used to process the ballots, ballot counting may take several days to weeks to complete.

4. Once the unofficial results of an election are known, state and local election officials
review the results for accuracy and certify them as final. Many states conduct audits of
their election results and voting equipment to ensure that the established election
procedures were followed and that the equipment functioned correctly. Certain election
races may also be recounted if the margin of victory is close; if a candidate, party, or other
authorized group requests a recount; if a court orders a recount to be conducted; or for
other reasons specified by state law.

The election process can be viewed as a cycle in the sense that the experiences from previous
elections are used to inform decision-making for the legal and procedural framework for
subsequent elections. Often, the successful approaches and innovations implemented in one
state or local jurisdiction during an election are adopted by other states or localities in
Subsequent elections. As this process begins anew with each feceral election cycle, policymakers
and administrators at every level benefit from the insights available in the state and local election
data the EAC publishes in the EAVS.

The Election Administration and Voting Survey (EAVS)

Since 2004, the EAC has conducted the EAVS following each federal general election.2 The EAVS
collects data from all 50 U.S. states, the District of Columbia, and the five U.S. territorles—
American Samoa, Guam, the Northern Mariana Islands, Puerto Rico,* and the U.S. Virgin Islands—
on the ways in which Americans vote and how elections are administered. Data are provided at
the jurisdiction fevel.s

3 The EAVS does not collect data on primary elections, run-off elections, or special elections. The data
provided by states were only for the November 8, 2022 federal general siection.

4 For 2022, Puerto Rico provided only a Policy Survey submission because the territory does not hold
elections for federal candidates in midterm election years. American Samoa did not participate in the 2016
EAVS. The Northern Mariana Islands participated in the EAVS for the first time in 2020.

5 What constitutes a jurisdiction for EAVS reporting is defined by how each state chooses to provide data.
For the 2022 FAVS, most states reported data at the county level (or county equivalent, such as parishes
for Louisiana). The territories, the District of Columbia, and Alaska each reported as a single jurisdiction.
HWinois, Maryland, Missouri, Nevada, and Virginia reported data for independent cities in addition to

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The EAVS provides the most comprehensive source of state- and local jurisdiction-level data
about election administration in the United States. These data play a vital role in helping election
officials, policymakers, and other election stakeholders identify trends, anticipate and respond to
changing voter needs, invest resources to improve election administration and the voter
experience, and better secure U.S. elections infrastructure. The EAVS data make it possible to
examine the details of the U.S. elections infrastructure and to produce a generalizable
understanding of the core aspects of the election process and the management challenges faced
by election officials at the state and local level. The survey provides policymakers and the public
with crucial information every two years about how federal elections are conducted, and it helps
the EAC fulfill its congressionally mandated reporting requirements. The EAVS is also invaluable to
election officials themselves. These officials use the EAVS to manage election oversight, conduct
issue analysis and strategic planning, and create training and outreach materials.

The EAC also uses the EAVS data to create research and clearinghouse resources to advance the
agency’s mission and to better support election officials and voters, as well as to inform
lawmakers and national-level stakeholders about the impact of federal voting jaws and the
changing landscape of U.S. elections. The EAVS helps the EAC meet its mandate under the Help
America Vote Act (HAVA) to serve as a national clearinghouse and resource for the compilation of
information and to review procedures with respect to the administration of federal elections. The
EAVS sections related to voter registration and UOCAVA voting allow states to satisfy their data
reporting requirements established, respectively, by the Nationa! Voter Registration Act (NVRA)
and UOCAVA. The EAVS also helps FVAP fulfill its obligations under UOCAVA to reduce obstacles to
ensure military and overseas voting success by collecting data about how UOCAVA voters
participate in elections,

Collectively, the EAVS project consists of two separately administered surveys. The Policy Survey,
which is administered to each state or territory election office in advance of each federai general
election, collects data on the election laws and policies in the states and territories. These data
are used to provide context for states’ EAVS submissions and to reduce the response burden
associated with the EAVS. The EAVS, which is due after each federal general election is complete,
collects data at the jurisdiction level. The data collected include information on voter registration,
UOCAVA voters, mail voting, in-person voting operations, provisional ballots, voter participation,
and election technology. Although the EAVS collects data at the jurisdiction level, providing these
data is frequently a joint task undertaken by state and local election officials. Twenty-five states
were able to provide all EAVS data from the state's centralized election database, whereas 31
states relied on local jurisdictions to provide data for some or all of the EAVS questions. The full
scope of the data collection procedures for both the Policy Survey and EAVS are detailed in
Chapter 5 of this report.

Chapter 1 of this report covers turnout and modes of voting in the 2022 general election, polling
places and poll workers, and election technology. This chapter also comprises a non-exhaustive

counties. Rhode Island reported data at both the city and town levels. Wisconsin reported data at the city,
town, and village levels. Connecticut, Maine, Massachusetts, New Hampshire, and Vermont reported data
on the town or township level. Maine also reported its UOCAVA data in Section B as a separate jurisdiction,
because this information is only collected at the state level. Michigan reported data ai the county level, but
most election administration activities take place in the 1,520 local election jurisdictions in the state.
Elections for Kalawao County in Hawaii are administered by Maui County; although Kalawao is included as
a jurisdiction in the EAVS data, Kaiawao's data are included with Maui's data.

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overview of the data provided by states and jurisdictions in the EAVS. State election policies and
practices are featured in Chapter 2, “Election Law and Procedure: The Policy Survey.” Voter
registration is covered in greater detail in Chapter 3, “Voter Registration: The NVRA and Beyond.”
UOCAVA voting is discussed further in Chapter 4, “Military and Overseas Voting in the 2022
General Election: UOCAVA.”

EAVS Response Rates

The analysis in this report is based on information and data submitted and certified by the 50
U.S. states, five territories, and the District of Columbia. These 56 entities comprise 6,460
jurisdictions. Because Puerto Rico did not hold a federal general election in November 2022, the
territory provided data for the Policy Survey only. The state-level response rate for the EAVS was
100% (55 of 55 states, territories, and districts provided data) and the jurisdiction-level response
rate was 100% (6,460 of 6,460 jurisdictions provided data).6 During the data collection period,
efforts were made to maximize the completeness and accuracy of the data reported. These
efforts are outlined in the methodology of this report (Chapter 5). Instances when a state’s data
were not included in a calculation because of missing data or data quality issues are described in
the footnotes and source notes that accompany the analysis in this report.

Turnout in the 2022 General Election

According to the EAVS data submitted by states, there were 226,339,980 individuals who were
registered to vote in the United States as of November 8, 2022. Of this number, 203,660,564
individuals were classified as active registered voters, meaning they had no additional processing
requirements to fulfill before voting, and 22,794,555 were considered inactive voters, meaning
they required address verification under the provisions of the NVRA before they would be
permitted to vote.? As a percentage of the 2021 CVAP estimate calculated by the U.S. Census
Bureau, 85.4% of voting age citizens were registered as active voters for the 2022 general
elections This represents an increase of 2.8 percentage points over the active voter registration
rate for the 2018 general election (82.5%).° Further details about voter registration, including
haw voters registered to vote, the use of same-day voter registration (SDR}, and list maintenance,
can be found in Chapter 3 of this report.

6 Appendix A of Chapter 5 of this report contains an analysis of state-level response rates to each section of
the EAVS. Although 100% of EAVS jurisdictions provided a response, there is variance in the completeness
of those responses to each section and to specific questions of the survey.

? The total number of registered voters was collected in item Ala of the EAVS, Data on active registered
voters were collected in Aib and data on inactive registered voters were collected in Alc. The number of
active and inactive registered voters did not sum exactly to the total number of registered voters in all
jurisdictions that reported these data. According to Q10 of the 2022 Policy Survey, six states (American
Samoa, Guam, Idaho, New Hampshire, North Dakota, and Wyoming) did not distinguish between active and
inactive voters in their registration records. These states were not required to provide data in item Alc of
the EAVS.

® This report uses the 1-year American Community Survey (ACS) state CVAP estimate for 2021 instead of
the 5-year estimate to ensure that the CVAP is as current as possible. The CVAP estimates for 2022 were
not available by the time this report was finalized.

9 The active CVAP registration rate for 2018 and 2022 was caiculated as A1b/CVAP x 100. American
Samoa, Guam, the Northern Mariana Islands, and the U.S. Virgin Islands were not included in this
calculation because the U.S. Census Bureau does not calculate a CVAP for these territories. North Dakota
was not included in this calculation because this state does not have voter registration. Casewise deletion
at the state level was used in these calculations.

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Caiculating Turnout Rates

There are several valid ways of calculating turnout, or the percentage of a population that voted in
an election. The EAVS provides a measure of the total number of voters who casi 4 bailot that was
counted for a general election in Fia, but there are multiple possible denominators.

o Number of registered voters or active voters. States report the number of individuals in their
state who are registered and eligible to vote in Ala, and some states separately report the
number of active voters {who have no additional processing requirements to fulfill before
voting) in Alb. This number is available for states and sub-state EAVS jurisdictions.

Citizen voting age population (CVAP). The U.S. Census Bureau’s American Community Survey

(ACS) estimates the estimate of the total number of U.S. citizens 18 years of age or older.

This number is available for states and most sub-state EAVS jurisdictions but not for US.

territories, except for Puerto Rico.

o Voting-eligible population (VEP). This measure uses the CVAP but excludes those who are
ineligible to vote (such as individuals with disqualifying felony convictions} and individuals
who are in the military or who are citizens living overseas. This number is available for states,
but not territories or for sub-state jurisdictions.

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Relying on the number of registered or active voters can be problematic for calculating turnout
because it is often challenging for states to keep voter registration rolls fully up to date (see
Chapter 3 of this report for a discussion of list maintenance practices). Using VEP as the
denominator in turnout calculations would overrepresent voter turnout-since EAVS data explicitly
include individuals covered by UOCAVA--and would restrict the ability to estimate turnout for sub-
state jurisdictions. Using the CVAP as a denominator provides greater coverage of sub-state
jurisdictions but also includes citizens over the age of 18 who are ineligible to vote due to certain
state laws, Although each denominator has its limitations, the EAC uses CVAP to calculate turnout in
this report because of its availability for the majority of jurisdictions that report EAVS data and
because it provides a more accurate picture of the population covered by the EAVS. Appendix D of
Chapter 5 of this report includes recommendations on how to calculate additional EAVS rates.

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Figure 2, Turnout Decreased in Most States from 2018 to 2022

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30 35 40 45 30 35 60 65

CVAP Voter Turnout Percentage
© 2018 + 2022

Source: CVAP turnout was calculated as Fla/CVAP x 100 for 2018 and 2022. American Samoa, Guam, the
Northern Mariana Islands, and the U.S. Virgin Islands are not shown as CVAP is not available for these
territories. Puerto Rice did not hold a federal general election in 2018 or 2022. Casewise deletion was used
at the state level in calculating the national turnout level. Turnout change between 2018 and 2022 is
measured in percentage points.

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States also reported that 112,054,124 voters cast ballots that were counted for the 2022
general election. This represents a CVAP turnout rate of 46.8% nationwide, which is the second
highest turnout for a midterm election since the EAVS began collecting these data following the
2006 midterm election.+° Turnout for the 2022 general election decreased by 5.1 percentage
points from the 2018 CVAP turnout rate of 52%,13 but increased by 8.4 percentage points from
the 2014 CVAP turnout of 38.4%.22

Figure 2 shows the change in CVAP turnout among states between the 2018 and 2022 general
elections. The majority of states saw their turnout decrease between these elections. The largest
decreases were in California, Indiana, Mississippi, New Jersey, North Dakota, and Tennessee—all
of which saw double-digit turnout decreases. However, nine states—Arizona, Arkansas, Hawaii,
Maine, Michigan, New Hampshire, Pennsylvania, South Dakota, and Vermont—saw turnout
increases that ranged between 0.5 percentage points and 4.3 percentage points. In addition,

15 states had more than half of their citizen voting age population vote in the 2022 general
election.

EAVS data also show that the ways American voters cast their general election ballots have
changed significantly in the last three election cycles. Figure 3 shows the percentage of voters
who cast their ballots in person on Election Day, by mail, in person during early voting, and by
other modes of voting (including UOCAVA voting and provisional voting). Prior to the 2020 general
election, a majority of voters tended to cast their votes at an in-person polling place on Etection
Day; 58.2% of voters chose this mode of voting for the 2018 general election. However, the
COVID-19 pandemic that affected the 2020 general election appears to have had lasting effects
on how voters cast their general election ballots. For the 2020 general election, the most
common mode of voting was casting a ballot by mail (43% of voters), with in-person voting on
Election Day and early voting each comprising 30.5% of the population of voters. The use of mail
voting decreased for the 2022 general election, at 31.9% of voters, but remains higher than the
25.6% of voters who voted by mail in the 2018 general election. Although use of in-person early
voting increased in the 2020 general election to 30.5%, it decreased to 22.2% in the 2022
general election, similar to the level of in-person early voting seen for the 2018 general election.

1° The total number of voters who cast a baflot that was counted was reported in item Fia of the EAVS, The
CVAP turnout rate for 2018 and 2022 was calculated as Fla/CVAP x 100. American Samoa, Guam, the
Northern Mariana Islands, and the U.S. Virgin Islands were not included in these calculations because the
U.S. Census Bureau does not calculate CVAP for these territories. Casewise deletion at the state level was
used in these calculations.

11 Beginning with the 2020 EAVS, the question about voter participation was reworded., In 2018, this
question collected data on ballots cast {independent of outcome), whereas In 2022, it collected data on
ballots cast and counted. Thus, it is likely that the 2018 turnout calculation was higher than it would have
been if the 2022 question wording had been used, thus underestimating the true turnout change from
2018 to 2022.

22 The CVAP turnout rate for 2014 was calculated as item Fla divided by the 2013 CVAP from the 5-year
ACS. Although turnout calculations for other years use the 1-year ACS, a comparable statistic for 2034
could not be found. Casewise deletion at the state level was used in this calculation; lHinois’ data were
excluded from the turnout rate because the state did not report Fla in the 2014 EAVS,

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Figure 3. In-Person Voting Rebounded in 2022 After Decreasing in 2020

58.2%

43.0%

es &

Early In Person UOCAVA, Provisional,
and Other

Election Day In Person

Mode of Turnout

» 2022

Source: Election Day turnout was calculated as F1b/Fia x 100 for all years. Mail turnout was calculated as
(Fld+Fig)/Fla x 100 for all years. In-person early turnout was calculated as F1f/Fia x 100 for all years.
UOCAVA, provisional, and other turnout was calculated as (Flc+Fie+Fin)/Fia x 100 for all years.
Casewise deletion was used at the state level in calculating the national turnout levels for each mode, and
because of this, percentages for each year do not sum to 100%. Early voting includes all modes of casting a
ballot in person at a polling site or election office before Election Day; see Chapter 2 for a discussion of the
types of early voting available in states.

in-Person Voting

More than two-thirds of voters cast their ballots in person for the 2022 general election, either on
Election Day at a polling place or before Election Day at a polling place, election office, or other
designated site. All states except Pennsylvania allowed voters to cast ballots in person before
Election Day.43 In-person early voting generally falis into two categories:

o Avoter may go to a polling place or an election office before Election Day, receive a ballot,
cast their ballot, and place their completed ballot into a ballot box or tabulator.

13 Information on early voting was collected in Q25 of the Policy Survey. Although this report primarily uses
the terminology “early voting,” there are a variety of terms that States use to refer to the process of allowing
individuals to cast their ballots in person at a polling location, vote center, or election office before Election
Day. See Chapter 2 of this report for a full discussion of states’ policies on early voting.

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o Avoter may go to an election office to pick up a ballot over the counter. In some states, the
voter may be able to take their ballot home with them. in other states, however, the ballot
must be completed in the office. The ballot is then sealed tn an envelope and tabulated
along with ballots that are returned to the office by mail according to local procedures.

Some states and territories offer both of these types of voting. Nine states require voters to
provide a valid excuse to be permitted to vote early, whereas 46 states have no-excuse early
voting that is open to any registered voter.4 For a complete discussion on state policies on in-
person voting, including the length of time in-person early voting was available and the use of
vote centers, see Chapter 2 of this report.

States reported that 21,322,200 ballots were cast through in-person early voting and counted for
the 2022 general election, a slight increase over the 20,854,871 early voting ballots cast for the
2018 general election.15 The number of ballots cast in person on Election Day 2022 was
50,860,863, a decrease of 24.2% from the 67,133,886 ballots cast on Election Day for the 2018
general election.**

Voting by Mail

Ail states and territories and the District of Columbia offer their registered voters the opportunity
to cast their ballots by mail in federal general elections, although the number of citizens who cast
their ballots using this method and the circumstances under which citizens can vote dy mail vary
widely among states. Some states use the term “absentee voting” instead of “mail voting.”47 For
purposes of this report, mail voting refers to the process by which:

1. An individual receives a ballot in the mail before an election. In some states or
jurisdictions, election offices automatically send a mail ballot to all registered voters
(often referred to as “all-mail elections”), whereas others automatically send mail ballots
only to individuals on a permanent mail voting list. In other states, individuals must file an
application to request a ballot for each election for which they wish to vote using a mail
ballot. Some states require an individual to provide a valid excuse to be able to receive a
mail ballot.

2. The individual marks the mail ballot with their preferences at home instead of at an
election office or polling location.

3. The individual returns the voted ballot to election officials, typically by sending the voted
ballot through the mail, by returning the voted ballot to an in-person voting site or election
office, or by depositing the voted ballot in a secure designated drop box. The options that
voters have for returning their voted mail ballots are dictated by state policy.

44 Information on whether an excuse was required for early voting was collected in Q25a of the Policy
Survey.

15 Data on early voting ballots were collected in tem FLf of the 2018 and 2022 EAVS. For 2018, the
definition of this question included only ballots cast, whereas the 2022 definition included ballots cast and
counted.

16 Data on ballots cast in person on Election Day were collected in item F1b of the 2018 and 2022 EAVS.
For 2018, the definition of this question included only ballots cast, whereas the 2022 definition included
ballots cast and counted.

27 In recognition of the fact that many states no longer require a person to be absent from their election
jurisdiction in order to be permitted to cast a ballot by mail, the EAVS uses the term “mail voting.”

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Chapter 2 of this report describes a full analysis of the laws that states had in place regarding
mail voting for the 2022 general election. In total, 17 states required an excuse to vote by mail,
whereas 38 states did not.+4 Twelve states conducted all-mail elections for the 2022 general
election—nine of these states did so statewide and three in certain jurisdictions only.1* jn 23
states, voters could be placed on a permanent absentee voting list.2°

The number of voters in the United States who have participated in federal general elections
using mail voting has changed significantly in the past three election cycles. In the 2018 EAVS,
states reported 30,700,831 ballots cast by mail. That number more than doubled to 69,337,349
in the 2020 EAVS, as many states expanded opportunities to vote by mail in response to the
COVID-19 pandemic. For the 2022 EAVS, states reported that 35,316,617 ballots were cast by
mail and counted.24

The EAVS also collected data on mail ballots transmitted to voters (excluding military and
overseas voters covered by UOCAVA) from election offices, returned by voters, counted, and
rejected. States reported transmitting 64,460,139 mail ballots for the 2022 general election, of
which 36,683,450 were returned by voters, for a rate of 59.7% of transmitted mail ballots being
returned by voters.22 Of the mail ballots that were returned by voters, 35,748,700 were reported
as being counted and 549,824 were reported as being rejected, for a count rate of 97.4% of the
mail ballots that were returned and a rejection rate of 1.5% of the mail ballots that were
returned.25 The mail ballot return rate for the 2022 EAVS was statistically significantly lower
compared to what was reported in the 2018 and 2020 EAVS (71.6% and 77.8%, respectively).
Although there was no statistically significant difference in the mail ballot count and rejection rate
between the 2022 and 2020 EAVS, comparisons show that the mai! ballot count rate for the
2022 EAVS was significantly higher than what was reported for the 2018 EAVS (92.4%). However,
the percentage of mail ballots that were counted and rejected was not significantly different

18 Data on requiring an excuse to vote by mail were collected in item Q16 of the 2022 Policy Survey. Puerto
Rice was excluded from this analysis because it did not conduct a general election in November 2022.

19 Data on all-mail elections were collected in items Q17 and Q17a of the 2022 Policy Survey. All-mail
elections are defined as elections for which all registered voters or all active registered voters are
automatically sent a mail ballot without having to file a mail ballot request. Some in-person voting may take
place in an ail-mail election.

20 Data on permanent absentee voting policies were collected in item Q18 of the 2022 Policy Survey.
Voters who received a mail ballot because they resided in a state or jurisdiction that automatically seni mail
ballots to all registered voters (or to all active registered voters) were excluded from being considered
permanent absentee voters.

#1 The number of ballots cast by mail and counted was the sum of Fld and Fig for all years. For the 2018
EAVS, these items collected data on ballots cast (Independent of outcome}, whereas in 2020 and 2022,
they collected data on ballots cast and counted.

22 Data on the number of mail ballots transmitted were collected in item Cia and data on mail ballots
returned were collected in item Cib of the 2022 EAVS. The return rate was calculated as Cib/Cla x 100.
Casewise deletion was used at the state level. American Samoa did not report data in Cla, and American
Samoa, Mississippi, and the Northern Mariana Islands did not report data in C1b for the 2022 EAVS.

23 Data on the number of mail ballots counted were collected in item C8a and data on mail ballots rejected
were collected in item C9a of the 2022 EAVS. The count rate was calculated as C8a/Ci1b x 100 and the
rejection rate was calculated as C9a/Cib x 100 for the 2022 EAVS, For the 2018 and 2020 EAVS, the
count rate was calculated as C3a/C1b x 100, and the rejection rate was calculated as C4a/C1b x 100.
Casewise deletion was used at the state level; the count and rejection rate may not sum toe 100% because
of the casewise deletion and due to rounding. American Samoa, Mississippi, and the Northern Mariana
Islands did not report data for CSa, and Alabama, American Samoa, Mississippi, and the Northern Mariana
Islands did not report data for C9a for the 2022 EAVS.

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between states that conducted an all-mail election statewide tn the 2022 general election and
States that did not.24

Table 1. Most Common Reason for Mail Ballot Rejection was “Other”

Other reason not listed 32.7%

Ballot was not received on time/missed the deadline

Ballot was not placed in a required secrecy envelope 8.3%
Voter already cast ancther ballot that was accepted (by mail or in 3.6%
person) .

Voter was not eligible to cast a ballot in the jurisdiction 2.5%

Ballot was missing from the envelope 0.7%

No resident address was on the envelope 0.4%

Ballot was returned in an unofficial envelope 0.3%

No ballot application on record 0.1%

Source: Other reasons not listed was caiculated as (C9r+C9s+COt)/C9a x 100. Ballot had a non-matching
or incomplete signature was calculated as C9e/C9a x 100. Ballot was received late was calculated as
C9b/C9a x 100. Ballot did not have a voter signature was calculated as COc/C9a x 100. Ballot was not
placed in 2 required secrecy envelope was calculated as C9h/C9a x 100. Ballot did not have a witness
signature was calculated as COd/C9a x 100. Voter already cast another bailot that was accepted was
calculated as C9n/C9a x 100. Voter did not provide or provided incomplete documentation was calculated
as C90/C9a x 100, Voter was not eligible to cast a ballot in the jurisdiction was calculated as C9p/C9a x
100, Voter was deceased was calculated as CQm/C9a x 100. Ballot was missing from the envelope was
calculated as C9g/C9a x 100. Envelope was not sealed was caiculated as C9j/C9a x 100. No resident
address was on the envelope was calculated as C9Ol/C9a x 100. Returned ballot did net have required
postmark was calculated as C9k/C9a x LOO. Ballot was returned in an unofficial envelope was calculated
as C9f/CGa x 100. Multiple ballots were returned in one envelope was calculated as C9i/C9a x 100. No
ballot application on record was calculated as C9c/C9a x 100. Casewise deletion was used at the state
level in calculating national percentages, and because of this, percentages do not sum to 100%.

24 T tests that were noted as being statistically significant were significant at the p < 0.05 level.

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Table 1 shows the most common reasons that states reported for rejecting mail ballots for the
2022 general election. Although states were asked to report data on 16 different reasons why
mail ballots were rejected, the most common reason for rejecting mail ballots was for reasons not
listed in the survey question. The states with the largest number of ballots rejected for other
reasons were California (118,490 ballots), Oregon (26,942 ballots), Delaware (2,480 ballots),
Wisconsin (2,125 ballots), and Florida (1,870 ballots);25 the states with the highest percentages
of mail ballots rejected for other reasons were Oregon (93.4%), Delaware (85.6%), Maine (60.3%),
Wisconsin (53.3%), and California (48.7%).26 The most common other reasons reported were
"Undeliverabie/Void/Final Not Counted” (comprising approximately half of mail ballots rejected
for other reasons) and “All Signature Issues” (comprising approximately one-quarter of mail
ballots rejected for other reasons).

The next mest common reason states reported for rejecting a mail ballot was that the ballot
returned by the voter had a signature that did not match what was on file or was incomplete,
followed by the ballot not being received by the deadline to be considered for counting. Together,
these three reasons accounted for nearly seven out of 10 of the ballots rejected for the 2022
general election.

Drop Boxes

The 2022 EAVS collected data on the use of drop boxes for the first time in 2022. Drop boxes are
locked containers (ocated either indoors or outdoors) where voters (or voters’ authorized
representatives, if allowed by state law) may deliver their voted mail ballots for collection. Drop
boxes are operated or controlled by election officials. Drop boxes are separate from ballot boxes,
which are located at in-person polling places for voters to place their ballots immediately after
voting in person. Some states use other terminology for what the EAVS survey questions call drop
boxes, including “place of deposit” or “secure ballot intake station.”

Of the 39 states that reported using drop boxes for this election,2” seven states (Georgia, Indiana,
iowa, Montana, New York, Vermont, and Wisconsin} did not track or were otherwise unable to
report data on the number of drop boxes that were in use for the 2022 general election. The

32 remaining states reported deploying a total of 12,917 drop boxes throughout the voting period
for the 2022 general election, with 11,858 drop boxes being available on Election Day and 8,386
available during the early voting period.2* States also reported whether drop boxes were located
at election offices or at other sites such as at non-election office polling places, county
government buildings, or other locations that are conveniently accessible to voters. States
reported that 28.2% of Election Day drop boxes were located at election offices and 71.8% were

23 The number of mail ballots rejected for other reasons by state was calculated as the sum of C9r, Cs,
and CQt.

26 Idaho and West Virginia were excluded from the list of states with the highest reported percentages of
mail ballots rejected for other reasons because of erroneous data reporting.

27 Data on whether states allowed the use of drop boxes were collected in item Q19 of the 2022 Policy
Survey.

28 The total number of drop boxes was reported in item C3a_. The number of Election Day drop boxes was
reported in item C4a. The number of early voting drop boxes was reported in C5a, The question instructions
specified that each drap box should be reported only once in C3a, regardless of the number of days of
voting during which it was available. Thus, because some drop boxes were available both during early
yoting and on Election Day, the sum of C4a and C5a often does not match C3a on a state or a jurisdiction
level,

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located at other sites. For early voting drop boxes, 40.1% were located at election offices and
59.8% were located at other sites.29

The 2022 EAVS also collected data on the number of mail ballots that were returned by drop box.
Fifteen of the states that use drop boxes did not track these data or were otherwise unable to
report how many of the mail ballots returned by voters were returned by drop box (Alaska,
Connecticut, Georgia, Idaho, Indiana, Massachusetts, Maine, Michigan, Minnesota, Montana,
New York, North Dakota, Pennsylvania, Vermont, and Wisconsin). The 24 states that were abie to
report these data reported that 11,473,653 mail ballots were returned by drop box, comprising
39.7% of the mail ballots returned by voters in these states and 20.9% of all ballots cast in those
states.°9 States that conducted their elections entirely by mail at the state or jurisdiction level,
including Colorado, Oregon, Washington, Hawaii, Utah, California, the District of Columbia, and
Nebraska, tended to have the highest average number of mail ballots returned by drop box.

Ballot Curing

The 2022 EAVS also collected for the first time data on the ballot curing process. When voters
return their mail ballots to election offices, election workers verify that the envelope has ail the
required voter information and that the ballot is eligible to be counted. This process varies by
state, but can include comparing the voter's signature with the one on file at the election office
and verifying the date the ballot envelope was signed as well as other information. If this
information is missing, if it does not match the records on file in the election office, or if it fs
otherwise incomplete, then each state and territory has laws and procedures on how to treat
these ballots, A certain percentage of those ballots may initially be rejected for counting—for
instance, because the voter forgot to sign the ballot envelope so the election office was unable to
verify their identity; or because the voter's signature does not match the signature that the
election office has on file; or because the voter neglected to include a required affidavit,
statement, or copy of their identification to assist in verifying their identity and ability to cast a
mail ballot. According to the 2022 Policy Survey, 41 states? allowed voters to cure their mail
ballots for the 2022 general election—that is, making their ballot eligible to be counted for the
election by correcting missing information or signature errors. Fourteen other states did not allow
mail ballots to be cured by voters for this election.22

Of the 41 states that allowed voters to cure their mail ballots, 16 states (Colorado, Georgia,
Idaho, Indiana, lowa, Kentucky, Massachusetts, Maine, Michigan, Mississippi, Montana, New
Hampshire, Oregon, Pennsylvania, Rhode island, and Wisconsin) did not track information on the
number of ballots that were successfully cured (i.e., the voter corrected the error or supplied the
required information and their ballot was ultimately counted for the election). The 2022 EAVS only

29 For Election Day drop boxes, the percentage located at election offices was calculated as C4b/C4a x 100
and the percentage located at other sites was calculated as C4c/C4a x 100, For early voting drop boxes,
the percentage located at election offices was calculated as CSb/C5a x 100 and the percemtage located at
other sites was calculated as Coc/C5a x 100. Casewise deietian was used at the state level; percentages
may not sum to 100% because of this casewise deletion or because of rounding.

3° The number of mail ballots returned by drop box was reported in item C6a of the 2022 EAVS. The
percentage of mail ballots returned by drop box was calculated as C6a/C1b x 100. The percentage of all
ballots cast that were returned by drop box was calculated as C6éa/Fia x 100. Casewise deletion was used
at the state level in calculating the national percentages.

34 information on state ballot curing policy was collected in tem O20 of the 2022 Policy Survey.

32 Puerto Rico is not included in this analysis because this territory did not conduct a federai general
election in November 2022.

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collected data on the number of ballots that were successfully cured and not the number that
were eligible for curing or were rejected because they were not cured. The 25 states that tracked
information on successfully cured mail ballots reported curing a total of 169,540 mail balicts for
the 2022 general elaction.>> Nationally, this number comprised 0.7% of both mail ballots
returned and mail ballots counted.44

Additional information about mail voting in the 2022 general election, including statistics by state,
can be found in Appendix A of this chapter.

Provisional Voting
HAVA expanded and standardized the use of provisional voting as a way for a voter to cast a ballot
when their registration status cannot be verified at the time of voting, when there is some
~ indication that the voter may have already cast another ballot (e.g., by mai), or when the voter's
eligibility to vote in an election is challenged. Provisional ballots are kept separate from other
election ballots and are later fully counted, partially counted, or rejected depending on whether
the provisional voter’s eligibility can be verified in the days following the election according to the
state’s rules for this process. The provisional ballot process helps ensure each qualified voter
casts only one ballot that is counted and allows the voter additional time to prove their eligibility
to vote if necessary. Five states—idaho, Minnesota, New Hampshire, Wisconsin, and Wyoming—
are exempt from HAVA's provisional ballot requirements because they allowed for SDR (i.e., the
ability to register to vote and cast a ballot on the same day} at the time the law was enacted,
although Wisconsin and Wyoming do issue provisional ballots. North Dakota is exempt from this
HAVA provision because it does not require citizens to register to vote. In addition, some states
that are subject to HAVA use provisional ballots as an SDR methad, including California, Nevada,
and Virginia.

In the 2022 Policy Survey, most states and territories reported offering provisional ballots to
voters. Only six states and territories—Idaho, Minnesota, New Hampshire, North Dakota, the
Northern Mariana Islands, and Vermont—did not.25 Chapter 2 of this report includes a detatied
analysis of additional policies on provisional voting, including under which circumstances a state
may offer a provisional ballot to a voter, the deadline for election officials to adjudicate
provisional ballots for the 2022 general election, how states handle provisional ballots cast by a
voter who is in the wrong precinct, and how states review provisional ballots for eligibility and to
determine whether they should be counted.

The percentage of ballots that were cast by provisional voters has been steadily declining over the
past three election cycles; 2018 EAVS data show that 1.3% of voters who cast a ballot did so by
provisional ballot, and that percentage declined to 0.8% of the electorate in the 2020 EAVS and
0.5% far the 2022 EAVS.* The total number of provisional ballots cast has declined

33 The number of successfully cured mail ballots was collected in tterm C7a of the 2022 EAVS.

24 The percentage of mail ballots returned by voters that were successfully cured was calculated as
C7a/C1b x 100. The percentage of mail ballots counted that were successfully cured was calculated as
C7a/C8a x 100. Casewise deletion was used at the state level in calculating the national percentages.

35 Information on states’ use of provisional voting was collected in item Q33 of the 2022 Policy Survey.

36 The percentage of provisional voters is calculated as Fie/Fia x 100 for all years. Casewise deletion was
used at the state level in calculating the national percentage. For the 2018 EAVS, F1 collected data on all
ballots cast, regardiess of outcome, whereas the 2020 and 2022 versions of Fi collected data on ballots
cast and counted.

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correspondingly, from 1,852,476 in the 2018 EAVS to 1,712,857 in the 2020 EAVS to 702,042
in the 2022 EAVS.37 Data from the 2022 EAVS show that 78.6% of provisional ballots cast were
counted (either fully or partially), whereas 21.3% were rejected and 0.4% reached some other
adjudication;38 analysis showed that these percentages have not changed significantly compared
to the 2018 or 2020 EAVS.2

Table 2. Most Common Reason for Voters to Cast
Provisional Ballots Was Not Being on Eligible Voter List

Voter did not appear on the list of eligible voters

Voter was issued a mail ballot but did not surrender the ballot to

9
poll workers when they came to vote in person 17.9%

Voter's registration was not updated with their current name or

a,
address 19%

Election official asserted. that the voter was not eligible to vote L.7%

Another person (not an election official} challenged the voter's
qualifications and poll workers were not able to resolve the 0.1%
challenge

Source: Voter did not appear on the list of efgible voters was calculated as E2a/E1a x 100, Other reasons
not listed was calculated as (E2i+E2j+E2k\/Ela x LOO. Voter was issued a mail balfot but did not surrender
the ballot to poll workers when they came to vote in person was calculated as E2g/El1a x LOO. Voter was
not a resident of the precinct in which they were attempting to vote was calculated as E2e/E1a x 100.
Voter's registration was not updated with their current name or address was caiculated as E2f/Eia x 100.
Voter did not have proper identification (as defined by state law] was calculated as E2b/ E1a x 100,
Election official asserted that the voter was not eligible to vote was calculated as E2c/E1a x 100. A federal
or state judge extended the polling place hours for the election was calculated as E2h/E1a x 100, Another
person (not an election official} challenged the voter's qualifications and poli workers were not able to
resolve the challenge was caiculated as E2d/Ela x 100. Casewise deletion was used at the state level in
calculating the national percentages, and because of this, percentages do not sum to 100%.

37 The total number of provisional ballots cast by voters was collected in item Ela for all years.

38 The percentage of counted provisional ballots was calculated as (ELb+E1c)/(Elb+Edc+E1d+E1e) x 100.
The percentage of rejected provisional ballots was calculated as E1ld/(E1b+E1c+E1d+E1e}) x 100. The
percentage of provisional ballots that reached another adjudication was calculated as
Eie/(E1Lb+E1c+Eid+Ele) x 100. Casewise deletion was used at the state level in calculating the national
percentage.

*° T tests were statistically insignificant at p > 0.05.

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For the first time, the EAVS collected data on the reasons why provisional ballots were cast for the
2022 general election. These data are shown in Table 2. Eight states that use provisional voting
were unable to track data on the reasons why provisional ballots were cast (Alaska, Connecticut,
Indiana, lowa, Louisiana, Missouri, New Jersey, and New Mexico}. Of the states that did report
these data, the most common reason for a voter being invited to cast a provisional ballot was that
the voter was not on the list of eligible voters at their voting site. The next most common reason
was a reason not listed in the survey question,* followed by the voter having received a mail
ballot but then deciding to vote in person and not surrendering the mail ballot at the voting site,
followed by the voter not being a resident of the precinct in which they were attempting to vote.
The additional reasons that EAVS collects data on—including the voter’s registration not being up
to date, the voter not having an acceptable identification for their state, an election official or
other person asserting the voter was not eligible to vote, or a federal or state judge extending
polling place hours for the election—were comparatively rare.

The EAVS also collects data on the reasons why provisional ballots are rejected. By far, the most
common reason states reported for rejecting provisional ballots was that the voter who cast the
provisional ballot was not registered in the state; this reason alone accounted for 45.4% of the
provisional ballots that were reported as rejected by states. The next most common reason was 4
reason that was not listed in the survey question. These ballots comprised 16.7% of rejected
provisional! ballots. Other common reasons for rejecting provisional ballots included the voter
being registered in the state but attempting to vote in the wrong jurisdiction (14.8% of rejections),
the voter being registered in the state but attempting to vote in the wrong precinct {6.8% of
rejections), and the voter failing to provide sufficient identification (6.2% of rejections). Additional
reasons for rejecting provisional ballots that the EAVS collects data on—the voter already having
voted, the envelope and/or ballot being incomplete and/or illegible, the ballot envelope not
having a signature, the ballot envelope having a non-matching signature, and the ballot being
missing from the envelope—each comprised 5.0% of provisional ballot rejections or less for the
2022 general election.4+

UOCAVA and Other Methods of Voting

Absentee and mail voting have long been used to facilitate participation in federal elections for
individuals in the military, eligible family members of service members, and U.S. citizens who live
overseas. The distinct needs of members of the uniformed services and overseas citizens remain
an area of focus in election administration, and these individuals are given special voting

40 The most common other reasons for casting provisional ballots were because of SDR (24% of these
ballots) and because the voter was marked in the poll book as having requested an absentee ballot but
was attempting to vote in person (14.7%).

41 Voter was not registered in the state was calculated as E3b/E3a x 100. Other reasons not listed was
calculated as (ESk+ESI+E3m)/E3a x 100. Voter was registered in the state but attempted to vote in the
wrong jurisdiction was calculated as E3c/E3a x LOO. Voter was registered in the state but attempted to
vote in the wrong precinct was calculated as E3d/E3a x 100. Voter failed to provide sufficient identification
was calculated as E3e/E3a x LOO. Voter already voted was calculated as E3j/E3a x 100. Envelope and/or
ballot was incomplete and/or illegible was calculated as E3f/E3a x 100. Ballot did not have a signature was
calculated as ESh/E3a x 100. Ballot had a non-matching signature was calculated as E3i/E3a x 100. Ballot
was missing from the envelope was calculated as E3¢/E3a x 100. Casewise deletion was used at the state
level in calculating the national percentages; percentages may not sum to 100% for this reason.

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protections under UOCAVA and its amendments.42 UOCAVA voters are provided certain rights to
fully participate in federal elections and are given special considerations as to when their ballots
are sent, how their blank ballots can be transmitted, and how and when they may return their
voted ballots.

Both the number of UOCAVA ballots that were cast and counted and the percentage of the
electorate who cast their ballots through UOCAVA decreased for the 2022 general election
compared to 2018. Data from the 2018 EAVS show that 358,137 UOCAVA ballots were cast,
comprising 0.3% of the electorate. For the 2022 general election, 254,721 UVOCAVA ballots were
cast and counted, comprising 0.2% of the voting population. The number of UOCAVA ballots cast
and percentage of voters who cast UOCAVA ballots both surged for the 2020 general election, to
938,297 and 0.6%, respectively, but for 2022 they declined below pre-pandemic levels.44
Nationwide, for the 2022 general election, states reported transmitting 654,786 ballots, of which
267,403 were returned by voters for a return rate of 40.9%.*4 Of the ballots that were returned,
257,657 were counted and 10,456 were rejected, yielding a count rate of 96.4% and a rejection
rate of 3.9%.45 This is in addition to 4,089 Federal Write-In Absentee Ballots (FWAB) that were
sent to election offices by UOCAVA voters, of which 3,447 were counted.4¢

Chapter 4 of this report contains a complete discussion of the EAC’s history of collecting data on
voters covered by UQCAVA; a full analysis of the data collected about these voters and their
ballots in 2022, including ballots transmitted, returned, counted, and rejected; and the use of the
FWAB. Chapter 2 of this report contains a complete discussion of state policies regarding UOCAVA
voting.

in addition to ballots that were cast at a physical poiting place either on Election Day or during the
early voting period, by mail, by provisional voting, and by UOCAVA voters, states reported data on
any other modes of voting that were offered in the state in 2022. Just over 5% of the ballots that
were cast and counted in 2022 were reported as another mode of voting, an increase from the
2.5% that was reported for the 2620 general election and the 0.2% that was reported for the

42 The unlformed services are the armed farces—the Army, Navy, Marine Corps, Air Force (including Space
Force), and Coast Guard—and the U.S. Public Health Service (USPHS) Commissioned Corps, the National
Oceanic and Atmospheric Administration (NOAA) Commissioned Officer Corps, and the U.S. Merchant
Marine. Uniformed services members, their spouses, and their eligible dependents are, together, referred
to as uniformed services voters, Overseas citizens are US. citizens living outside of the United States who
are not uniformed services voters but who are also protected by UOCAVA.

43 The number of UOCAVA ballots cast and counted was collected in tte Fic for all years; the percentage
of voters who cast UOCAVA ballots was calculated as Fic/Fia x 100. For 2018, this item collected data on
ballots cast regardless of outcome; for 2020 and 2022, it collected data on ballots cast and counted.

44 The number of UOCAVA ballots transmitted was collected in BS5a and the number of UOCAVA ballots
returned was collected in item B9a. The VOCAVA ballot return rate was calculated as B9a/B5a x 100.
Casewise deletion was used at the state level in calculating the national percentage.

45 The number of UOCAVA ballots counted was collected in Bida and the number of UOCAVA ballots
rejected was collected in B18a. The percentage of UOCAVA ballots counted was calculated as Bida/B9a
x 100. The percentage of UOCAVA ballots rejected was calculated as 816a/B9a x 100. Casewise deletion
was used at the state level in calculating the national percentages.

46 The number of FWABs returned by UOCAVA voters was collected in item B23a. The number of counted
FWABs was collected in item B24a.

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2018 general election.4? This is primarily due to New Jersey reporting 75.4% of its voters in this
item, which the state said comprised Election Day and early voting location ballots counted. Other
states that reported significant turnout in this item included Mississippi (6.5% of turnout,
comprising absentee ballots counted}, North Carolina (2.2% of turnout, comprising “other”), the
U.S. Virgin Islands (1.9% of turnout, comprising walk-in absentee voters), and Delaware (1.1% of
voters, comprising “all other methods”).48 Alaska, Arizona, Arkansas, California, Connecticut,
Florida, Illinois, Kentucky, Maine, Vermont, and Wisconsin also reported other modes of voting
that comprised less than 1% of the turnout in each state.

Polling Places and Poll Workers

To organize elections, registered voters are assigned to precincts according to the residential
addresses listed in their voter registration records. These precincts are contiguous, bounded
geographic areas that form the basis for determining the contests and issues on which the voters
legally residing in that area are eligible to vote.4? Precincts are then assigned to polling locations,
which are physical locations where in-person voting takes place. One precinct may be assigned to
a polling place, or multiple precincts may vote together at a single polling place. Some states use
@ vote center model, which allows pecpie to vote at any polling lacation within their jurisdiction
rather than at a specifically assigned polling place.

For the 2022 general election, states reported having 181,790 precincts in use and operating
94,793 physical polling places.®° A total of 80,124 polling places were reported as being
operated on Election Day 2022 and 15,309 were reported as being in use during in-person early
voting before Election Day.52 Among Election Day polling places, 2.6% were reported by states as
being located at an election office and 97.8% were reported as being located at another site,
such as a library, school, or a mobile voting location. For early voting polling places, 44.9% were
located at election offices and 66.6% were located at other sites.52

47 The percentage of ballots cast by another mode and counted was calculated as F1h/Fia x 100 for all
years. Casewtse deletion was used in calculating the national percentage. For 2018, this item collected
data on ballots cast regardless of outcome; for 2020 and 2022, # collected data on ballots cast and
counted.

48 The description of states’ other mede of voting was based on what the state submitted in item F1h_Other
of the 2022 EAVS.

49 Some states use the terms “ward” or “voting district” to describe their voting precincts.

*° The number of precincts was collected in item Dia, and the total number of poiling places was collected
in D2a. The instructions for D2a stated that each polling place was to be counted only once, regardless of
the number of voting days it was open for.

54 The total number of Election Day polling places was collected in D3a, and the total number of early voting
polling places was collected in D4a. Illinois and Virginia were excluded from the reported total number of
Election Day polling places due to erroneous data reporting. Washington did not report data in D3a because
the state has no polling places—only vote centers and voting by mail. Three states did not report data in
D4a: Missouri because it was unavailable, New Hampshire because in-person absentee is only permitted at
town or city clerk's offices over the counter, and Pennsylvania because in-person early voting was not
available for this election. The EAC cautions against doing a year-over-year analysis of polling places as
reported in the EAVS because these items have been underrepored in previous years.

52 The percentage of Election Day pclling places at election offices was calculated as D3c/(D3b+D3¢} x
100, The percentage of Election Day polling places at other sites was calculated as D3b/(D3b+D3c) x 100.
The percentage of early voting polling places at election offices was calculated as D4c/{D4b+D4c) x 100.
The percentage of early voting polling places at other sites was calculated as D4b/(D4b+D4c} x 100.
Casewise deletion was used at the state level in calculating the national percentages: the percentages for

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In-person voters who vote at polling places are often assisted by poll workers. These poll workers
are typically not full-time election workers or employees of election offices; rather, they are
recruited and trained to assist temporarily during election periods. Typical activities that poll
workers perform include checking in voters, setting up voting equipment and providing ballots to
voters, and performing other functions as dictated by the state or local election authority.53 States
reported that 645,219 poll workers assisted with in-person voting for the 2022 general election,
with 608,758 poll workers assisting with voting on Election Day and 98,140 assisting with early
voting.54

Thirty-six states also reported data on the age breakdown of the poll workers who assisted with
the 2022 general election.55 Among these states, a majority of poll workers were reported as
being age 61 or older. The age distribution of poll workers in the 2018, 2020, and 2022 general
elections is shown in Figure 4. This figure shows a clear increase in poll workers between the —
ages of 18 and 40 for the 2020 general election and a decrease in poll workers over the age of
61. However, the age distribution of poll workers for the 2022 general election is remarkably
similar to that of the 2018 general election. In comparing 2020 to 2022, the proportion of poll
workers ages 18 and under, 26 to 40, and 41 to GO decreased, while the proportion of poll
workers ages 61 to 70 and 71 and older increased.5§ The 2022 EAVS alsa coliected data on poll
workers who served for the first time in the 2022 general election; states reported 80,708 new
poll workers, comprising 16.7% of the poll workers who assisted with this election.57

each election period may not sum to 100% because of this. Georgia and Missouri did not report data on
where Election Day polling sites were located: Georgia and Wisconsin did not report data on where early
voting polling sites were located. “Early voting” refers to any in-person voting that tock place before Election
Day.

53 Some states and jurisdictions use other titles for poll workers, such as election judges, booth workers,
wardens, or commissioners. The EAVS instructions stated that observers stationed at polling places, regular
office staff who did not fulfill poll worker functions during the election, or temporary election staff who were
not hired specifically to serve voters in either early or Election Day voting should not be counted as poll
workers for purposes of the EAVS. However, regular office staff who performed poll worker duties during
early voting or on Election Day were to be counted as poll workers in these survey items.

= The total number of poll workers was collected in item D7a. The total number of Election Day poll workers
was collected in item D5a. The total number of early voting poll workers was collected in item OSa. D7a was
not intended to match the sum of D5a and DGa because the instructions in D7 were te count each pol!
worker only once, regardless of the number of days of voting the poll worker assisted with. Oregon,
Vermont, Washington, and Wisconsin were unable to report data on poll workers in any of these three
items. Colorado and North Dakota reported data in D7a but not in D5a or DGa: Alabama, Louisiana, Maine,
Massachusetts, Michigan, Mississippi, Missourl, Montana, New Hampshire, and Pennsylvania reported
data in D5a and D7a but not in D6a.

°5 Data on poll workers’ ages were collected in items D7 b-D7g of the 2022 EAVS, Connecticut, the District
of Columbia, Georgia, Hawaii, idaho, Louisiana, Massachusetts, Minnesota, Mississippi, New Hampshire,
New Jersey, North Dakota, Oregon, Rhode Island, the U_S. Virgin Islands, Vermont, Virginia, Washington,
and Wisconsin were not able to report age data.

58 Comparisons for age categories between 2020 and 2022 were significant at the p < 0.05 level. The
comparison for poll workers ages 18 to 25 was insignificant at p > 0.05.

5? Data on new poll workers were collected in ttem D9a of the 2022 EAVS: the percentage of new poll
workers was calculated as D9a/D/7a x 100. Casewise deletion at the state level was used in calculating the
national percentage. Twenty-three states (Alaska, Connecticut, the District of Columbia, Guam, Idaho,
Indiana, Maine, Massachusetts, Mississippi, Missouri, Montana, New Hampshire, New Jersey, North
Dakota, Oregon, Pennsylvania, Rhode Island,.South Carolina, the U.S. Virgin Islands, Vermont, Virginia,
Washington, and Wisconsin) were unabie to track data on new poll workers.

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Figure 4. Age Distribution of 2022 Poll Workers Was Very Similar to 2018

27.0

26 ie

Under 18 18 to 25 26 10 40 41 to 60 B61 to 70 71 & Over

Poll Worker Age Category

2022

Source: Percentage of poll workers under age 18 was calculated as D7b/(D7b+D/otD7d+Dfet+D7f+D7 xg) x
100 for 2020 and 2022 and as D&b/{(D8b+ D&c+ D&d+D8e+DStt+DSg) x 100 for 2018. Percentage of pall
workers ages 18-25 was calculated as D7c/(D7b+D7c+D7d+D/fe+tD/f+D7g) x 100 far 2020 and 2022
and as D8c/(DSb+D8c+D8d+ D&e+D&t+ Dg) x 100 for 2018. Percentage of poll workers ages 26-40 was
calculated as D7d/(D7b+D7c+D7d+Dfet+D7f+D7g) x 100 for 2020 and 2022 and as D&d/(D&b+D8ct+
D8d+D8e+DSf+D8g) x 100 for 2018. Percentage of poll workers ages 41-60 was calculated as D7e/

(D7 b+D7c+D7d+D7e+D7t+D7g) x 100 for 2020 and 2022 and as D8e/(D8b+D&c+D8d+DSe+ D&F+DS8¢g) x
100 for 2018. Percentage of poll workers ages 61-70 was calculated as D7f/(D7b+tD7c+D7d+Dfet+D/7ft+
D7g) x 100 for 2020 and 2022 and as D&f/(D8b+DSc+DSd+OSetDSt+DSg) x 100 for 2018, Percentage of
poll workers ages 71 or older was calculated as D7g/(D7b+D7ce+D7d+D/e+D7f+D7g) x 100 for 2020 and
2022 and as D&¢/(DSb+D&c+DSd+D8e+DSt+D8g) x 100 for 2018. Data for Alaska and South Carolina
have been excluded fram these calculations because these states only track data on poll workers under 18
years of age. Casewise deletion was used at the state level for calculating national percentages, and
because of this, percentages do not sum to 100%.

The EAVS also collected data on how easy or difficult it was for jurisdictions to obtain a sufficient
number of poll workers for the 2022 general election. These data show that poll worker
recruitment remains a challenge for many election officials, with more than haif of jurisdictions
that responded to this question reporting that it was very or somewhat difficult and just under

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one-quarter of jurisdictions reporting it was somewhat or very easy.58 However, historica!
comparisons show that recruitment has become somewhat easier in the past two election cycles,
as shown in Figure 5. For the 2018 EAVS, more than two-thirds of jurisdictions reported that poll
worker recruitment was very or somewhat difficult and only 15.3% reported that recruitment was
somewhat or very easy. Beginning with the 2020 EAVS, the percentage of jurisdictions that found
recruitment to be difficult began to decrease and the percentage that found it easy began to
increase, a trend that continued with the 2022 EAVS. Analysis shows that although the ease of
poll worker recruitment fell in 2022 compared to 2020, recruitment was still easier in 2022 than
it was in 2018.59 Ease of poll worker recruitment is also highly correlated with the size of the
jurisdiction, with jurisdictions having 10,000 or fewer total registered voters reporting that
recruitment was easier compared to jurisdictions with more than 10,000 total registered voters.©°

Figure 5. Poll Worker Recruitment Was Less Difficult in 2020 and 2022 Than in 2018

AT%;

19.9%

15% 14%

19%

Very Somewhat Neither difficult Somewhat Very easy
difficult difficult nor easy easy

Source: Ease of recruiting poll workers was collected in item D8 in the 2020 and 2022 EAVS and D9 in the
2018 EAVS. For all years, jurisdictions that responded “Not enough information to answer,” “Data not
available,” “Does not apply,” or left this item blank were excluded from this analysis.

58 Data on the ease of recruiting poll workers were collected in item D8 of the 2020 and 2022 EAVS and
item D9 of the 2018 EAVS, In 2022, 3,164 of 6,460 jurisdictions (49%) responded “Not enough
information to answer,” “Data not available,” “Does not apply,” or left this item blank; these responses
have been excluded from the analysis.

5° T tests comparing D8 for 2022 and 2020 and DS for 2022 and D9 for 2018 were statistically significant
atpo< 0.01.

89 For this comparison, jurisdictions were classified according to the total number of registered voters as
reported in item Ala of the 2022 EAVS. This comparison was statistically significant at p < 0.001.

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Approximately half of EAVS jurisdictions provided comments that explained their experiences with
recruiting polt workers for the 2022 general election.®* Overall, some of the most significant
challenges jurisdictions experienced in recruiting poll workers included lingering concerns about
COVID (especially among older poll workers), long work hours and relatively low pay for poll
workers, issues obtaining a sufficient political party balance of poll workers (in states and
jurisdictions where this is a requirement}, concerns about safety and the general political climate
toward elections, and last-minute cancellations causing difficulties with filling those slots. Among
jurisdictions reporting that poll worker recruitment was somewhat or very easy, the most
commonly cited strategies included relying on local networks—such as high schoois or colleges,
political parties, and local government offices or organizations—or current poll workers to recruit
additional workers. Some jurisdictions found success in switching to a vote center model, thereby
reducing the number of poll workers necessary to administer an election. Other successful
strategies included relying on election staff to fill vacant poll worker positions and holding
multiple poil worker orientation and training sessions to accommodate different schedules.

Election Technology

The use of technology in polling places and vote tally locations varies widely across and within
states. The 2022 EAVS collected data on the type of voting equipment that is used and the type
of voting that the equipment is used for, the specific makes and models of the equipment and
how many were deployed for the election, and whether electronic poll books (or e-poll books)
were used to assist at polling places. The voting equipment landscape continues to evolve with
each election.

Voting Equipment
The 2022 EAVS collected data on the use of four types of voting equipment that voters use to
mark or cast their ballots in elections or that can be used to tabulate ballots cast by voters:

Direct-recording electronic (DRE) devices that are not equipped with a voter-verified paper

audit trail (VVPAT};

DRE voting devices that are equipped with a VVPAT;

Electronic systems that produce a paper record but do not tabulate votes, often referred to
as ballot-marking devices (BMD); and

© Scanners (either optical or digital) that tabulate paper records that voters mark by hand or

via a BMD.

oO

Oo

The EAVS also collected information on whether jurisdictions counted ballots by hand without the
use of any optical or digital scanning system.®

§1 Open-ended comments on poll worker recruitment experiences were provided in the D&S Comment item
of the 2022 EAVS, Responses that did not include substantive comments—such as “No information to
share” or “Data not available”"—were excluded from the analysis.

62 information on DREs without VVPAT was collected in F5 of the 2022 EAVS. Information on DREs with
VVPAT was collected in F6. Information on BMDs was collected in F7. Information on scanners was
collected in F8. Information on hand counting was collected in F&. Eight jurisdictions in Kansas, two
jurisdictions in Kentucky, four jurisdictions In Missouri, and two jurisdictions in West Virginia did not
respond to questions on the use of scanners in F8, No jurisdiction in Kansas responded ta questions on the
use of hand counting in F9. Previously, the EAVS also collected information on the use of punch card and

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Nationally, states reported deploying 334,382 voting machines to assist with the 2022 general
election.®$ Figure 6 shows the percentage of jurisdictions that reported using each type of voting
equipment in the 2020 and 2022 EAVS. The most commonly used types of voting equipment in
EAVS jurisdictions were BMDs and scanners, which were used in 88.4% and 86.2% of
jurisdictions, respectively. The use of both types of equipment increased fram the 2020 election
to the 2022 election: the use of BMDs increased by 18.6 percentage points and the use of
scanners increased by 7.8 percentage points. Hand counting, on the other hand, was used by
17.8% of jurisdictions for the 2022 general election, a slight decrease from 2020. Use of hand
counting to tabulate ballots for the 2022 general election was highly correlated with jurisdiction
size. Among jurisdictions with 10,000 or fewer registered voters, 20.6% reported hand counting
ballots, whereas only 13.3% of jurisdictions with more than 10,000 registered voters reported
hand counting ballots.6* DREs continue to be the least-used type of voting equipment in the
United States, with only 6.7% of jurisdictions using DREs without VVPAT and 5.5% using DREs
with VVPAT.

DREs without VVPAT are of special concern to some experts, because these machines do not
include a paper record of the votes that are cast, which raises security concerns and can make it
difficult to conduct certain types of post-election audits. The percentage of jurisdictions that used
these machines increased slightly overall between 2020 and 2022 due to 217 jurisdictions (four
in illinois, 14 in Indiana, seven in Kentucky, 18 in Texas, and 174 in Vermont) that reported using
this equipment in 2022 but not in 2020. However, there were another 193 jurisdictions (five in
Arkansas, 14 in Indiana, one in Kansas, 43 in Kentucky, 50 in Mississippi, 11 in New Jersey, 12
in Tennessee, and 57 in Texas) that reported phasing out DREs without VVPAT between the 2020
and 2022 general elections.

lever voting machines; for the 2022 EAVS, these questions were eliminated because no jurisdiction in the
United States had reported using either of these types of equipment since the 2016 EAVS, marking three
election cycles in which no jurisdiction reported using this equipment.

63 The number of voting machines deployed was calculated as the sum of F5c_1, F5c_2, F5c_3, F6e_1,
F6c_2, F6c_3, F7c_1, F7c_2, F?c_3, FSc_1, F8c_2, and F8c_3 in the 2022 EAVS.

54 For this comparison, jurisdictions were classified according to the total number of registered voters as
reported in item Ala of the 2022 EAVS. This comparison was statistically significant at p < 0.001.
Jurisdictions that did not provide a response in F8a of the 2022 EAVS were excluded from this anatysis. The
vast majority of jurisdictions that used hand counting reported using some other form of voting equipment
to assist with ballot casting or tabulation, Only 30 jurisdictions used only hand counting; these jurisdictions
were in American Samoa, Idaho, New Hampshire, and Texas.

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Figure 6. Percentage of EAVS Jurisdictions Using BMDs and Scanners increased
from 2020 to 2022; Use of DREs Decreased

BB.4% 86.2%

6.3% 6.7%

iB

BMD Scanner Hand count DRE w/o- DRE with
VVPAT VVPAT

Type of Voting Equipment or Counting Method
2020 |

Source: Data on use of BMDs were collected in item F7a for both years. Data on use of scanners were
collected in item F&a for both years. Data on use of hand counting were collected in item Filla for 2020
and F9a for 2022. Data on use of DRE without VVPAT were collected in Item F5a for both years. Data

on use of DRE with VVPAT were collected in item FGa for both years, Percentages were calculated as
the number of jurisdictions responding “Yes” to the listed item divided by the total number of

EAVS jurisdictions.

In addition, the number of jurisdictions that use DRE without VVPAT only, without any other
equipment available for voters to cast their ballots, decreased significantly. For the 2020 general
election, 32 jurisdictions (12 in Indiana, one in Tennessee, and 19 in Texas) used only DRE
without VVPAT; for the 2022 general election, that number decreased to only four jurisdictions
{one in Tennessee and three in Texas}.

Electronic Poll Books

When voters go into polling places to cast bailots in person, their identity is checked against voter
registration information that is contained in poll books ta ensure the voters are registered to vote
and did not already cast a ballot (either in person or by mail}. These poll books can be paper
based and printed before the election, or they can be electronic. The use of e-poll books has
steadily increased in recent elections. For the 2020 general election, 38 states reported that at
least one jurisdiction in their state used e-poll books; this number increased to 40 for the 2022

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general election, comprising 35.1% of all EAVS jurisdictions (an increase of 4.3 percentage points
compared to the 2020 general election).®5 Colorado, Hawaii, and New Jersey reported adopting e-
poll books between the 2020 and 2022 elections.

Jurisdictions also provided data on how the e-poll books in their jurisdictions were used—to sign
voters in, to update voter history, to look up polling places, to assist with same-day registration, to
check a voter’s mail ballot status, or for other uses (see Table 3). The mast commonly reported
usages of e-poll books were to sign voters in, update voter history, look up polling places, and
check voters’ mail ballot status. Of the jurisdictions that used e-pall books, approximately three-
quarters or more of jurisdictions used the e-poll books for these purposes. Less-common uses of
@-poll books included to assist with same-day voter registration and for other uses. Compared to
how jurisdictions use paper poll books, it was more common for a jurisdiction to use an e-poll
book to look up polling places and for other uses. It was also more common for jurisdictions to
use a paper poll book to update voter history, check voters’ mail ballot status, and assist with
same-day registration than it was for jurisdictions to use e-poll books to assist with these tasks.5¢

Table 3. E-Poll Books Most Commonly Used to Sign Voters in, Update History,
Look Up Polling Places, and Check Mail Ballot Status

Signvotersin 96.0% 96.1%

Look up polling places 84.7% 23.1%

Assist with same-day
registration

33.7% 70.3%

Source: Data on use of poll books to sign voters in were collected in items F3a and F4a. Data on use of poll
books to update voter history were collected in items F3b and F4b. Data on use of poll books to look up
polling places were collected in items F3c and F4c. Data on use of poll books to check voter’s mail ballot
status were collected in items F3Se and F4e. Data on use of poll books to assist with same-day registration
were collected in items F3d and F4d. Data on other uses of poll books were collected in items F3f and F4f.
Percentages are calculated as the percentage of jurisdictions that used each type of poll book that reported
using the poll book to assist with the stated election task divided by the number of jurisdictions that
reported using each type of poll book.

55 Data on the use of e-poll books were collected in items F3a, F3b, F3c, Fad, F3e, and F3f of the 2022
EAVS and items F3a, F3b, F3c, and F3d of the 2020 EAVS. A jurisdiction was considered to have used an e-
poll book if it answered “Yes” to at least one of those questions. Puerto Rico reported using e-pollbooks in
the 2020 EAVS but was excluded from the count of states using them in 2022 because it was not required
to respond to the 2022 EAVS.

S¢ Differences for all poll book uses for the 2022 general election except for signing voters in were
statistically significant at p < 0.01.

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Appendix A: Descriptive Tables

Alabama [1]

Overview Table 1: 2022 EAVS at a Glance

3,283,842

3,829,788

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1,424,087

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American Samoa

Arkansas

Colorado

1,475,838

2,237 649

3,839,814

4,303,604

2,539,897

Delaware

325,828

St

14,497,121

15,855,982

7,798,866

1,004,608

1,373,714

Indiana

4,197,437

5,039,200

1,893,022

1,230,216

2,428,114

Louisiana

64

2,830,594

3,439,830

1,410,597

Maryland

Michigan

7,297,900

7,640,514

4,500,400

Mississippi [7]

82

4,922,707

2,226,474

708,585

Montana

56

661,320

857,649

468,326

1,840,748

1,022,780

New Jersey [10]

New York

5,934,029

2,658,149

5

12,125,966

5,886,371

North Dakota

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Oregon

36

2,985,820

3,200,314

1,968,717

61.5%

Rhode island

122,684

361,275

South Dakota

15,847,341

19,375,866

Virginia

5,736,016

6,354,439

3,074,762

et

West Virginia

55

4,055,475

4,408,767

493,581

35.0%

Wyoming

23

301,931

436,049

199,513

45.8%

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Alabarna [4]

1,373,247

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American
Samoa

6,583

42

225

Arkansas

378,667

15,949

501,915 4,005

Colorado

Delaware

247,043

19,027

55,639 273

Florida

2,759,432

2,727,051

20.3

Louisiana

Maryland

1,656,814

223,644

Michigan
Mississippi [7]

Montana

New Jersey (10

New York

North Dakota

136,304

oN

2,654,497

39,888

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Oregon 1,961,760

Rhode Island 254,334 33,556 TLI3T 383 2,700
South Dakota 183,663 97,472 72,705 497 2,596

Texas 2,590,664 356,987 5,176,910 6,286 35,936

Utah 56,264 970,274 12,942 116 751

Virginia

West Virginia

Wyoming

Overview Table 1 Calculation Notes:
Total EAVS Jurisdictions uses a count of Federal Information Processing Standards (FIPS) code by state.
Total Active Registered Voters uses question ALb.
Total CVAP uses the 2021 1-year estimate of the CVAP from the U.S. Census Bureau.
Total Voter Turnout uses question Fila.
Turnout as % of Active Registration uses Fla/Aib x 100.
Turnout as % of CVAP uses Fia/CVAP x 100.
Total In-Person Election Day Ballots Cast and Counted uses question Fb.
Total Mail Ballots Cast and Counted (Excluding JOCAVA) uses the sum of questions F1d and Fig.
Total In-Person Ballots Cast Before Election Day and Counted uses question Fif.
Total Polling Places uses question O2a.
Total Poll Workers uses question D7a.

Overview Table 1 Data Notes:
General Notes:

e Casewise deletion at the state level was used in calculating national percentages. The
percentage calculations at the national level (U.S. Total} only used data from those states that
provided data for the numerator and denominator of the calculation. For example, since there
was no CVAP estimate for most U.S. territories, their turnout data (Fa) were not used for the
calculation of “Turnout as % of CVAP” at the national level,

« The percentages shown in this table are rounded to one decimal place. Percentages that
round to less than 0.1% are displayed as 0.0%.

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° The CVAP is an estimate of the number of US. citizens 18 years of age or older in the state.
This report used the 1-year American Community Survey (ACS) state estimate for 2021 instead
of the 5-year estimate to ensure that the CVAP was as current as possible. The estimate for the
year 2022 was not available by the time this report was finalized. Some states may have
reported more active registered voters than CVAP because the 2021 CVAP is being compared
to 2022 data.

« The Total Voter Turnout column includes voters who cast a ballot that was counted.

[1] Data on absentee in-person voting was not tracked for the 2022 Election Administration and Voting
Survey (EAVS), which resulted in a discrepancy in the data reported in question Fi.

[2] Severai counties in Arizona were unable to separate data according to the categories in question FL
of the 2022 EAVS. See the survey comments for further details.

[3] Data on mail ballots did not distinguish between ballots returned by mail and returned in person.

[4] The District of Columbia Board of Elections (DCBOE) sent 2 ballot to every registered voter for the
November 2022 general election. Since the submission of the 2022 Policy Survey, legislation was
passed to permanently make the District of Columbia a vote-by-maii jurisdiction.

[5] The data reported in the 2022 EAVS was obtained from the individual jurisdictions within the state
of Illinois. For questions on this numerical information, please contact the jurisdictions themselves or
the state board of elections for further information.

[6] In-person: ballots cast before Election Day and counted are considered absentee ballots and are
reported with mail ballots that are cast and counted. Data on votes cast and counted is from the
actual vote tally on election night, not based on the applied voter credit in the voter registration
system. Not all jurisdictions reported data on poll workers in the 2022 EAVS.

[7] Because question F1 of EAVS asks about mail-in ballots and not absentee ballots, Mississippi could
only provide data on the total number of absentee ballots returned, which includes in-person and
mail-in ballots. The information entered into the Statewide Election Management System (SEMS)
does not distinguish between the two.

[8] Nineteen counties in Nebraska conduct all-mail elections in some or all precincts.

[9] in-person absentee voting is permitted in the town or city clerk's office over the counter.

[10] Data on in-person Election Day voters and in-person early voters is not recorded separately.

[14] In the U.S. Virgin Islands, absentee ballots are classified as walk in or mail in, but are all counted
and accepted as regular absentee ballots.

[12] In-person ballots cast consist of county reports of voters who voted in centers with accessible
voting units. Accessible voting unit ballots are not tracked separately from mail ballots. Washington is
a vote-by-mail state. Data reported on in-person voters before Election Day consists cf county reports
of voters who voted in voting centers with accessible voting units (AVU). Ballots cast at AVUs are not
tracked separately from mail ballots.

[13] The number of jurisdictions in Wisconsin changed over the two-year period covered by the 2022
EAVS due to incorporations, mergers, and similar mechanisms. Wisconsin is not subject to the
National Voter Registration Act (NVRA} and does not have inactive registered voters. The reported
registration totals include military voters, even though they are not required to “register” in Wisconsin
because they still have a voter record created. Wisconsin is not a vote-by-mail state but does allow
voters to request that an absentee ballot be mailed to them. Poll worker data are no longer tracked
by the state. Wisconsin canvass-required data tracks individual contests, and therefore, the total
ballots cast in any election is highly unlikely to match the total votes cast in any one contest.
Wisconsin voters are not required to vote in each contest on the ballot and undervotes are the likely
cause of data on the total ballots cast being higher than the number of votes in a contest.

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Overview Table 2: Mail Voting in the 2022 General Election

Alabama [1]

American

y — —
Samoa [3] 46 0.2%

2,406,246

2,759,432 4,383, 461 2,754,324 . 2,732,621

Idaho [8}

144,960

Indiana [9]

Kansas 131,633

Louisiana [12] 164,156 105,332 - 102,632

Maryland 536,285 647,747 538,558 536,285 99.6%

M

Michigan 1,800,770 1,680,955 1,656,814

43

Mississippi [23]

Montana [14]

Nevada 1,873,813 528,753 28.2% 518,398

6].
New Jersey

581,955

New York [17] 382,926 6.5% 536,171 392,942 73.3% 382,926

North Dakota 69,399 28.6% 76,019 69,697 94.7% 69,399 99.6%

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Oregon [19] 1,964,760 2,969,563 1,990,727 1,968,717

Rhode Isiand

[20 33,556 9.3% 34,361 33,850 98.5% 33,556 99.1%

South Dakota 99.6%

356,987 444,150 369,562

970,274 1,793,702 1,004,614

Virginia

West Virginia
[23]

Wyoming

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Alabama [1)

American
Samoa [3]

Arkansas

ifo

2:

2,111,353

Colorado

Delaware [6]

573,013 20.8%

Louisiana {11} 2,700 2.6% > - ~ 1,309 12%

Maryland

Michigan

Mississippi

[1.3]

Montana [14] 2,497

New Jersey

New York [17]

North Dakota

Ohio 2,610

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Oregon [19] 1,135,725

Rhode Island

0,
20} 294 0.9% 445 12,582 37.2%

South Dakota

Virginia

22].
West Virginia
123)

169 1.0% - - ~ 86 0.8%

Wyoming

Overview Tabie 2 Calculation Notes:
Total Mail Voters (Excluding UOCAVA) uses the sum of questions Fid and Fig.
% Turnout by Mail uses (Fid+F1g)/Fla x 100.
Total Mail Ballots Transmitted uses question Cla.
Total Mail Ballots Returned uses question Cib.
% Mail Ballots Returned uses C1b/C1a x 100.
Mail Ballots Counted, Total uses question C8a.
Mail Ballots Counted, % of Returned uses C8a/Cib x 1.00.
Mail Ballots Rejected, Total uses question C9a.
Mail Ballots Rejected, % of Returned uses C9a/Cib x 100.
Total Drop Boxes uses question C3a.
Ballots Returned by Drop Box, Total uses question C6a.
Ballots Returned by Drop Box, % of Returned uses C6a/C1b x 100.
Mail Ballots Cured, Total uses question C7a.
Mail Ballots Cured, % of Returned uses C7a/Cib x 100.

Overview Table 2 Data Notes:
General Notes:

« Casewise deletion at the state level was used in calculating national percentages. The
percentage calculations at the national level (U.S. Total) only used data from those states that
provided data for the numerator and denominator of the calculation.

e The percentages shown in this table are rounded to one decimal place. Percentages that
round to less than 0.1% are displayed as 0.0%.

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® Because each percentage was calculated independently, the percentages of mail ballots
counted and rejected may not sum to 100% for some states or at the national level.

* The Total Mail Ballots Transmitted column captures the total number of mailed ballots that
states reported transmitting, regardless of whether the ballot was returned or not. The number
of bailots transmitted typically exceeds the number of ballots returned because some voters
who were transmitted a mailed ballot choose te vote by another mode or to not vote at all.
Total Mail Ballots Returned typically exceeds Total Mail Voters because some returned mailed
ballots are rejected for not meeting state requirements. Mail Ballots Counted may not match
Total Mail Voters because states may have different methodologies for calculating these
numbers.

e The Total Mail Ballots Returned column includes both counted and rejected ballots that were
returned to election offices.

[1] Alabama has absentee voting by mail. A voter may pick up a ballot in person and return it via mail or
receive a ballot in the mail and return it in person. This may cause a discrepancy. Data on absentee
in-person voting was not tracked for the 2022 EAVS, which resulted in a discrepancy in the data
reported in question FL. The state of Alabama does not track data on the reasons that mail ballots
are rejected.

[2] Alaska does not track data on the number of ballets returned in person to division office ballot
boxes. Data reported in Section C of the 2022 EAVS include ballots sent by mail and through
electronic transmission {online and fax).

[3] American Samoa does not mail baliots locally. If a voter is on the island, they either vote in person
or at home with the special needs assistance program.

[4] Several counties in Arizona were unable to separate data according to the categories in question Fi
of the 2022 EAVS, See the survey comments for further details.

[5] Data on maff ballots did not distinguish between ballots returned by mail and returned in person.

[6] In an October 7, 2022 order, the Delaware Supreme Court ruled that the Delaware statute
authorizing vote by mail in the general election violated the Delaware constitution, and therefore,
voting by mail and using drop boxes was not permitted for the 2022 general election. Absentee
voting (which, per Delaware law, is provided for prescribed reasons) remained available and was not
impacted by the Delaware Supreme Court rulings.

[7] The DCBOE sent a ballot to every registered voter for the November 2022 general election. Since
the submission of the 2022 Policy Survey, legislation was passed to permanently make the District of
Columbia a vote-by-mail jurisdiction. Voters were also able to deposit mail ballots in drap boxes
located in early vote centers and Election Day vote centers. These boxes were also used to deposit
provisional ballots.

[8] Idaho was not able to track data on mail ballots that were cured or the reasons why mail ballots
were rejected. One county in Idaho reported counting more mail ballots in C8a than were returned in
Cib.

[9] The data in C9a was obtained from the statewide voter registration system, The data in C9b was
pulled from an ad hoc report, and the data in CQc-t was pulled from the CEB-9 Section 2, a county
election report compiled after each primary, general, and special election. Counties do not always
track the data requested in C9c-C9t.

[LO] In-person ballots cast before Election Day and counted are considered absentee ballots and are
reported with mail baliots cast and counted. Data on votes cast and counted is from the actual vote
tally on election night, not based on the applied voter credit in the voter registration system.

[11] Data reported in Fi. include voters who were given credit for voting but whose ballots may have
been blank or otherwise invalid for acceptance.

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[1.2] Vote by mail was made available to all voters, and applications to vote by mail were mailed to all
voters as a result of legislation in 2022. This led te a dramatic increase in the number of voters who
voted by mail in the 2022 general election.

[13] Because question Fi of EAVS asks about mail-in ballots and not absentee ballots, Mississippi
could only provide data on the total number of absentee ballots returned, which includes in-person
and mail-in ballots. The information entered into the SEMS does not distinguish between the two.

[14] Data on ballots cast and counted in items F1b-Fif of the 2022 EAVS is properly marked as “Data
not available” despite being included in previous reports. The state office is now aware that the
“voter credit” data extract by the voter registration and election managemert system included in
previous reports does not accurately reflect the number of ballots counted at the state canvass. For
example, the report fails to account for various situations, such as if an empty absentee voter
secrecy envelope is returned without a baliot. Montana's 2022 submission contains the official
canvass humber as the most accurate number of tota! ballots counted. As such, Montana does not
have the data availabie for the remaining categories. The Fla data for the 2022 EAVS uses the vote
counts from the Official 2022 General Election State Canvass. Montana does not track data on drop
boxes and does not track data on ballots cured in a way that can be easily extracted.

[15] Nineteen counties in Nebraska conduct alf-mail elections in some or all precincts.

[16] All absentee ballots are handled locally, and any absentee ballots cured are not tracked. In-person
absentee voting is permitted in the town or city clerk’s office over the counter.

[17] Although absentee ballots could be dropped off at polling places and/or Boards of Election, drop
boxes as typically defined were not used.

[18] As of the time of the Northern Mariana Islands’ EAVS submission, the election office was still
receiving returned mailed ballots through the office mailbox.

[19] Oregon is a vote-by-mail state. All ballots, including provisional and Uniformed and Overseas
Citizens Absentee Voting Act (UOCAVA) ballots, are considered mail ballots.

[20] Rhode Isiand allows voters to cure mail ballots, but does not collect data on cured ballots.

[24] In the U.S. Virgin Islands, absentee ballots are classified as walk in or mail in, but are all counted
and accepted as regular absentee ballots. The reported number of counted mail ballots includes
waik ins.

[22] Data reported on cured ballots includes ballots cured for non-matching and missing signatures
only. Data reported on in-person voters before Election Day consists of county reports of voters who
voted In voting centers with AVUs. Ballots casi at AVUs are not tracked separately from mail ballots.

{23] Two counties in West Virginia reported counting more mai! ballots in CSa than were returned in
Cib.

{24] Due to a recent court challenge, the use of drop boxes “is not permitted under Wisconsin law
unless the drop box is staffed by the clerk and located at the office of the clerk or a properly
designated alternate site under Wis. Stat. § 6.855.” The Wisconsin Supreme Court affirmed the trial
court, and the subsequent ambiguity created by the decision means that most drop boxes were
either closed or moved into the clerk’s office, and reporting would be unlikely or unnecessary given
the added layer of security and placement. (see Teigen v. WEC, 403 Wis.2d 607). Wisconsin does not
gather data on if or how absentee ballots may have been returned to the clerk with missing data or if
this missing data were cured.

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Overview Table 3: In-Person Voting and Other Modes of Voting

Alabama [1]

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401,184

538,699

Kansas

Louisiana

Maryland

1,046,153

Michigan

2,614,123

380,374

223,644

20
Mississippi [9

Montana [10]

New Jersey
[13]

New York

North Dakota

39 j

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2,654 497

63.2%

550,092

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13.1%

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1.9%

127

0.0%

Rhede Isiand

254,334

South Dakota

2,590,664

Virginia

West Virginia

Wyoming

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Alabama [1]

American Samoa if 0.2% ~

Arkansas [4]

Colorado 13,426 0.5% “ _

indiana

Aansas

Louisiana

Maryland

Michigan

Mississippi [9

ay

Momana [10]

New Jersey {13} 4,278 0.2% 2,004,022 75.4%

New York

North Dakota

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Rhode Island

South Dakota

Overview Table 3 Calculation Notes:
in-Person Election Day Voters, Total uses question Fib.
in-Person Election Day Voters, % Uses Fib/Fla x LOO.
in-Person Voters Before Election Day, Total uses question Ff.
in-Person Voters Before Election Day, % uses F1f/Fia x 100.
Provisional Voters, Total uses question Fie.
Provisional Voters, % uses Fle/Fla x L100.
UOCAVA Voters, Total uses question Fic.
UOCAVA Voters, % uses Fic/Fila x 100.
Other Voters, Total uses question FiLh.
Other Voters, % uses Fih/Fia x 100.

Overview Table 3 Data Notes:
General Notes:

Casewise deletion at the state level was used in calculating national percentages. The
percentage calculations at the national level (U.S. Total) only used data fram those states that
provided data for the numerator and denominator of the calculation.

The percentages shown in this table are rounded to one decimal place. Percentages that
round to less than 0.1% are displayed as 0.0%.

Question Fif includes all voters who participated in the election in person prior to Election Day.
This includes in-person early voting, in-person absentee voting, and any other terminology the
state used to refer to in-person early voting (as reported in question Q25 of the 2022 Policy
Survey}.

Question Fih was not mandatory. States only reperted data in this item if they offered another
mode of voting aside from those listed in questions F1lb-F1g or if there were counted ballots
that could not be categorized in questions Fib-Fig.

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+ Because each percentage was calculated independently, the percentages of turnout by mode
in this table and the previous table may not sum to 100% for some states or at the naticnal
level.

{1] Data on absentee in-person voting was not tracked for the 2022 EAVS, which resulted in a
discrepancy in the data reported in question Fi.

[2] The “Other Voters” category includes ballots that were sent by electronic transmission (online and
fax),

[3] Several counties in Arizona were unable te separate data according to the categories in question F1
of the 2022 EAVS. See the survey camments for further details.

[4] Two counties reported data for other mades of voting.

[5] Data on mail ballots did not distinguish between ballots returned by mail and returned in person,
Other modes of voting included Election Day registration (EDR) locations.

[6] in-person ballots cast before Election Day and counted are considered absentee ballots and are
reported with mail ballots cast and counted. Data on votes cast and counted is from the actual vote
tally on election night, not based on the applied voter credit in the voter registration system.

{7] Other modes of voting were reported as “supplemental.”

[8] The “Other Voters” category includes ballots that were not properly designated as UOCAVA voters.

[9] Because question Fi. cf EAVS asks about mail-in ballots and not absentee ballots, Mississippi could
only provide data on the total number of absentee ballots returned, which includes in-person and
maitin ballots. The information entered into the SEMS does not distinguish between the two. Other
modes of voting included absentee ballots counted.

[10] Data on ballots cast and counted in items Fib-FLf of the 2022 EAVS is properly marked as “Data
not available” despite being included in previous reports. The state office is now aware that the
“voter credit” data extract by the voter registration and election management system included in
previous reports does not accurately reflect the number of ballots counted at the state canvass. For
example, the report fails to account for various situations, such as if an empty absentee voter
secrecy envelope is returned without a ballot. Montana’s 2022 submission contains the official
canvass number as the most accurate number of total baflots counted. As such, Montana does not
have the data available for the remaining categories. The Fla data for the 2022 EAVS uses the vote
counts from the Official 2022 General Election State Canvass.

[211] Nineteen counties in Nebraska conduct all-mail elections in some or all precincts.

[12] In-person absentee voting is permitted in the town or city clerk's office over the counter.

[13] Data on in-person Election Day voters and in-person early voters is not recorded separately. Other
modes of voting included ballots counted from Election Day and early voting locations.

[14] Other modes of voting were described as “Other.”

[15] Other modes of voting included walk-in absentee voters.

[16] Other modes of voting included ballots delivered by a justice of the peace,

[17] The number of in-person voters consists of county reports of voters who voted in voting centers
with accessible voting units. Accessible voting unit ballots are not tracked separately from mail
ballots. Washington is a vote-by-mail state.

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[18] In Wisconsin, if a UOCAVA voter is in the local area on Election Day or during in-person absentee
voting, they may choose to vote through one of those methods instead of an absentee ballot by mail.
In those cases, the voter is not recorded in the UOCAVA section of the EAVS but instead under the
sections that apply to voting at the polls or in-person absentee. In Wisconsin, provisional ballot data
has to be recorded into the database on election night, but any voters who register on Electian Day
are usually not entered until after Election Day; these two records then cannot be linked in the
state’s voter registration database. Therefore, data in the section about provisional ballots
specifically will show more provisional ballots counted than the section which shows participations
received by having a provisional counted. Other modes of voting included voters who voted absentee
with incomplete data.

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Alabarna [1]

Overview Table 4: Polling Places and Poll Workers

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American
Sarnoa

42

41

Arkansas

Colorado

2627

898

17?

Delaware

Florida

Indiana [6

Kansas

Louisiana [8

Maryland

Michigan [10]

Mississippi

Montana [11]

New Jersey

New York [13]

North Dakota

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Oregon [14]

36

36

| Rhode isiand
[16]

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39

2,700

90

South Dakota

185

Wyoming

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Alabama [1]

American

Samoa 0.0% 48.0% 39.6% 8.4% 4.0% 0.0% 32.4%

Arkanses 0.3% . 36.3%

Colorado 46.4% 22.1% 40.2%

Delaware 1.3% 3.1% 7.1% 27.4% 35.0% 26.0% 36.8%

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Oregon [14]

Rhode Island -
[16]

South Dakot

Virginia [17]

West Virginia

Wyoming

Overview Table 4 Calculation Notes:
Total Precincts uses question Dia.
Total Polling Places, Election Day uses question D3a.
Total Polling Places, Early Voting uses question D4a.
Total Poll Workers, Election Day uses question D5a.
Total Poll Workers, Early Voting uses question D6a.
Poll Workers’ Ages, % Age <18 uses D7b/(sum of D7b-D7g) x 100.
Poll Workers’ Ages, % Age 18-25 uses D7c/(sum of D7b-D7g) x 100.
Poll Workers’ Ages, % Age 26-40 uses D7d/(sum of D7 b-D7g) x 100.
Poll Workers’ Ages, % Age 41-60 uses D7e/(sum of D7 b-D7g) x 100.
Poll Workers’ Ages, % Age 61-70 uses D7f/(sum of D7b-D7g) x 100.
Poll Workers’ Ages, % Age 71+ uses D7g/(sum of D7b-D7g) x 100.
% of New Poll Workers uses D9a/D7a x 100.

Overview Table 4 Data Notes:
General Notes:
=  Casewise deletion at the state level was used in calculating national percentages. The
percentage calculations at the nationai level (U.S. Total} only used data from those states that
provided data for the numerator and denominator of the calculation.

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e he percentages shown in this table are rounded to one decimal place. Percentages that
round to less than 0.1% are displayed as 0.0%.

¢ The sum of the number of Election Day poll workers (D5a} and the number of early voting poll
workers (DGa) may not equal the total number of poll workers reported (D7 a} because the
instructions for D7a instructed respondents to count poll workers in D7a only once regardless
of how many days of voting the poll worker assisted with.

* Because percentages for each age category were calculated independently, the percentages
for each age category may not sum to 100% for some states or at the national level.

s  Incalculating percentages for poll worker age categories, the sum of questions D7b-D7g was
used instead of D7a because some states did not report data in all age categories.

s States that only track data for poll workers who are under age 18 do not have data on poll
worker ages displayed in this tabie.

[1] Alabama offers absentee in-person voting at absentee offices before Election Day. Provisional
voting is done at each polling place. Both are considered separate precincts for canvassing results.

[2] Alaska only tracks age data for poll workers who are under 18 years oid.

[3] Several counties in Arizona do not track the ages of their poll workers.

[4] Some California counties use vote centers only.

[5] The 90 Election Day vote centers reported include the 25 early vote centers.

[6] Data on pall worker ages is reported in the CEB-9 Section 2.

[7] Satellite polling locations before Election Day are allowed in lowa by petition, but data are not
readily available to the state from each county on if or how many satellites were operated. Not all
jurisdictions reported data on poll workers in the 2022 EAVS.

[8] The Department of State cannot distinguish between poll workers who worked on Election Day and
those who worked during early voting. The tetal in DSa includes both Election Day and early voting
poll workers. The Department of State does not track data on the ages of poll workers.

[9] Only these who worked at the polls on Election Day are referred to as “poll workers.” The reported
number of poll workers is only the number of Election Day workers because staff requirements vary
for early voting. There is no statutory term for individuals who assist with early voting, but they were
generally referred to as “election workers.” The number of “election workers” varied for each day of
early voting and was not reported by jurisdictions. Data on poll worker ages were not reported.

[10] Early voting takes place at a clerk’s office or their satellite offices for in-person absentee voting
only. Ballots are not tabulated unt?! Election Day.

[11] Montana does not collect information on the number of poll workers before Election Day and does
not track the number of new poll workers.

{12} In-person absentee voting is permitted in the town or city clerk’s office over the counter. The town
or city clerk’s office is not a polling place. The information provided on the number of poll workers is
the minimum required. Actual totals vary by location.

[13] Data on poll worker ages reflects only Election Day poll workers. Demographics on early voting poll
workers were not provided,

[14] Oregon is a vote-by-mail state and does not have traditional poll workers. Counties may hire
temporary staff as necessary to conduct an election, The number of temporary staff is not tracked.
[15] The data were gathered via a survey from counties and the total number may not include counties

who did not submit the data. Poll worker data are not tracked systematically in Pennsylvania.

[16] Rhode Island does not collect data on the ages of pall workers.

[17] Virginia does not track age data for poll workers or data on new poll workers.

[18] Washington is a vote-by-mail state and does not have traditional polling places. Washington has
voting centers that are open for the entire voting period.

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[19] Physical Election Day polling places cannot be located in election offices. Municipalities may
provide information about in-person absentee voting locations with the state, but they are not
required to. Therefore, data cannot be provided for all municipalities. Where these data were
provided, the data cannot distinguish whether the in-person absentee voting locations are an
election office or another location. Wisconsin no longer tracks data on poll workers.

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Overview Table 5: Election Technology and Voting Methods

Alabama

American
Samoa

Arkansas

Colorado

Delaware

soluMmbi
Florida

Kansas

Louisiana

Maryland

Michigan

Mississippi

Montana

Nevada 4,610 ~ -

New Jersey

New York

North Dakota

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Rhode Island

4) 893 - _ — -

Sie

South Dakota

Virginia 6,473

West Virginia

Wyoming

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Alabama

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American
Samoa

100.0%

Arkansas

Colerado

Delaware

Florida

7,351

98.5%

Idaho

Indiana

519

75.0%

25.0%

100.0%

Louisiana

100,0%

Maryland

4,672

Mississippi

Montana

Nevada

100, 0%

11,024

160.0%

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Rhode Island [4] 414 100.0% 479 100.0% G -

South Dakota

Virginia 100.0%
West Virginia

Wyoming 100.0%

Overview Table 5 Calculation Notes:

Total Number of Voting Machines Deployed uses the sum of questions F5c_1, F5c_2, F5c_3, F6c_1,
F6c_2, F6c_3, F7o_1, F7o_2, F7¢_3, F8c_1, F8c_2, and F8c_3.

DRE without VVPAT, Total Machines Deployed uses the sur of questions F5c_1, F5c_2, and F5c_3.

DRE without VVPAT, % of Jurisdictions uses the count of number of jurisdictions that responded “Yes”
to F5a/number of FIPS by state x 190.

DRE with VVPAT, Total Machines Deployed uses the sum of questions F6c_1, F6éc_2, and F6c_3

DRE with VVPAT, % of Jurisdictions uses the count of number of jurisdictions that responded “Yes” to
F6a/number of FIPS by state x 100.

Baliot Marking Devices, Total Machines Deployed uses the sum of questions F7¢_1, F7c_2, and F7¢_3.

Ballot Marking Devices, % of Jurisdictions uses the count of number of jurisdictions that responded
“Yes” to F7a/number of FIPS by state x 100.

Scanners, Total Machines Deployed uses the sum of questions F8c_1, F8c_2, and F8c_3.

Scanners, % of Jurisdictions uses the count of number of jurisdictions that responded “Yes” to
F8a/number of FIPS by state x 100,

Hand Counting, Total Jurisdictions uses the count of number of jurisdictions that responded “Yes” to
F9a.

Hand Counting, % of Jurisdictions uses the count of number of jurisdictions that responded “Yes” to
F9a/number of FIPS by state x 100.

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Overview Table 5 Data Notes:
General Notes:

# Although other descriptive tables in this chapter used casewise deletion at the state level in
calculating percentages, this table did not. When a state reported not using a type of
equipment, the number of devices of that type was filled with zero to better capture at the
national level the prevalence of each type of voting technology or counting method in the 2022
general election.

e The percentages shown in this table are rounded to one decimal place. Percentages that
round to less than 0.1% are displayed as 0.0%.

{1] Maine reports all data on VOCAVA voting at the statewide level in a separate jurisdiction in the
EAVS. This UOCAVA-only jurisdiction does not have in-person voters; thus, no ballot marking device
(BMD) is required.

[2] Ballot marking devices were used for voters with disabilities. Jurisdictions that used scanners hand
counted any provisional ballots,

[3] Hand counting is possible for counting mail ballots, ballots cast during early voting, and ballots cast
on Election Day if a tabulator is unable to read a ballot.

[4] In addition to the number of machines reported, there are three machines used for counting all mail
ballots at a central location,

[5] Wisconsin does not track the number of pieces of voting equipment each municipality has, just
what type they use. Wisconsin does not allow for direct-recording electronic (DRE} without a voter-
verifiable paper audit trail (VVPAT) for any municipalities.

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Chapter 2. Election Law and Procedure:
The Policy Survey

Key Findings

The 2022 Election Administration Policy Survey (Policy Survey) provides information about the
policy context in which states and territories conducted the 2022 general election. The questions
in this survey asked states to identify the election laws and procedures that govern voter
registration, election technology, voter eligibility, modes of voting, and election audits in their
state. Notable findings from this survey include:

© In 2022, the number of states that provided Election Administration and Voting Survey

(EAVS) responses at the state level for each EAVS section was generally consistent with

2020 except for Section F, which saw fewer states reporting at the state level in 2022

compared te 2020.

There has not been a significant decrease in the number of states that reported

conducting all-mail elections for the 2022 general election compared to the 2020 general

election.

o Forty-three states reported requiring a post-election tabulation audit that verifies that
election voting equipment properly counts a sample of voted ballots after an election.

© Thirty-nine states reported that drop boxes were used, either statewide or in certain

jurisdictions, to allow voters to return their voted mail ballots.

Forty-one states reported allowing voters to cure their voted mail ballots; the most reported

types of mail ballot errors that voters were allowed to correct were cases where a voter

signature was missing.

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Introduction

Although quantitative data from state and local election officials provide an important window
into how the 2022 general election was conducted, these data must be understood in the context
of state laws and policies. In 2008, the U.S. Election Assistance Commission (EAC) introduced a
component of the EAVS that collects information on state election laws. Since 2018, these data
have been collected through the Policy Survey,? which uses closed-ended questions to capture
states’ broad policies. This report provides an overview and summary of the Policy Survey's
findings. Additional information about state responses is available in Appendix A of this chapter.
The 2022 Policy Survey included updates to some of the 2020 items to better capture state
policy nuances.

1 Throughout this report, unless otherwise specified, the term “state” can be understood to apply to the 50
U.S. states, the District of Columbia, and five US. territories (American Samoa, Guam, the Northern
Mariana Islands, Puerto Rico, and the U.S. Virgin Islands) that submit Election Administration Policy Survey
and EAVS data.

2 Prior to 2018, the Policy Survey was known as the Statutory Overview and required states to submit text
descriptions of their election laws and policies.

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The 2022 Policy Survey collected data on states’ election laws, policies, and practices that would
be in place for the November 2022 general election. Most states submitted this information
before the election. The Policy Survey was also used to validate 2022 EAVS data prior to states
certifying their data as final. The goal of the 2022 Policy Survey was to create comparisons
between states across broad policy categories and to provide context to understand the EAVS
data submitted by states. Because of the nature of the closed-ended survey questions, some of
the nuances in state election policies could not be accounted for. It is important to remember that
state election laws are nuanced, and this report simplifies them for the purpose of providing an
overview of election policies that offers important context to understanding the EAVS data. States
were encouraged to forward additional information and context for their Policy Survey responses
to allow their data to be interpreted as accurately as possible.

The information that states and territories submitted for the 2022 Policy Survey explained the
election laws and practices that applied to the federal general election that was conducted on
November 8, 2022. Some states may have changed some of their policies since that election was
conducted; the Policy Survey does not collect information about when an election policy change
occurs or why. In addition, states may have different policies for midterm and presidential
elections, for primary elections and general elections, or for elections for federal, state, or local
office. Because Puerto Rico did not conduct a federal general election on November 8, 2022, the
territory was not required to provide a response to Policy Survey questions that pertained directly
to that election.

For further information about how the Policy Survey data were collected and used to validate
EAVS data, please see Chapter 5 of this report.

Responding to the 2022 EAVS

The 2022 Policy Survey asked states to describe who provides the data for questions in each
section of the EAVS: the state election office, local election offices, or both the state and local
offices. In total, 25 states provided data for all six sections of the EAVS solely at the state level,
whereas 31 states relied on local jurisdictions to provide some or all of a state’s EAVS
submission.$

For Sections B, C, E, and F, roughly half of the states provided responses at the state level, and
about one-quarter of states reported that responses are provided by local officials for Sections C
through E.4 For Section A, 59% of states reported providing responses at the state level, and
46.4% of states reported providing responses at the state level for Section D. Roughly one-quarter
to one-third of the responses for each section were provided by both state and loca! officials,
except for Section E (about one-fifth). In 2022, five fewer states provided EAVS responses at the
state level for Section F, one more for Sectian E, and one fewer for Section A compared to 2020
(see Table 1}.

? Information on how states answer Section A of the EAVS was collected in item Q1_1 of the Policy Survey.
information on how states answer Section 8 of the EAVS was collected in 01_2. Information on how states
answer Section C of the EAVS was collected in Q1_3. Information on how states answer Section D of the
EAVS was collected in Q1_4. Information on how states answer Section E of the EAVS was collected in
Q1_5. Information on how states answer Section F of the EAVS was collected in Q1_8.

* A lower proportion of states responded to Section F entirely at the local level, at 14.3%.

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The findings from this question i!lustrate the complexities that state and local election officials
face when answering the EAVS. Many states with a large number of jurisdictions reported
providing EAVS data entirely at the local level. Furthermore, some states reported providing EAVS
data for some sections at the state level while relying on local officials for other sections.

Table 1. States Providing EAVS Responses at the State Level

Section B 26 28 28

Section D 23 26 26

Section F

Source: Information on answering the EAVS was collected in Q1 of the Policy Survey.

in almost all states, no new local jurisdictions have been created or consolidated for the purposes
of EAVS reporting since the 2020 EAVS was conducted.5 The exceptions are New Hampshire and
New Jersey, where jurisdictions were both consolidated and created, as well as Vermont and
Wisconsin, where new local jurisdictions were created.

Policies on Voter Registration and List Maintenance

The primary federal law governing voter registration in the United States is the Nationa! Voter
Registration Act (NVRA), which became effective after the 1994 general election. The NVRA
expands voter registration opportunities for voters by creating more standardized registration
processes and by designating more places as voter registration agencies. It also requires that
states conduct a uniform and nondiscriminatory general program to remove from their lists the
records of individuals who are no longer eligible to vote; this program is often referred to as “voter
registration list maintenance.”

Congress also passed the Help America Vote Act (HAVA) in 2002, requiring each state to adapta
computerized statewide voter registration list. States use these registration lists to determine who
is eligible to participate in elections. States also face the challenge of keeping these lists up to
date, as voters commonly move to different jurisdictions or states, die, or become otherwise
ineligible to vate.®

5 North Carolina detailed some other changes (¢.¢., oné municipality dissolved while others were annexed
across county lines}.

© North Dakota is the only state that does not require voter registration. According to the North Dakota
Office of the Secretary of State, “Precincts in North Dakota maintain a list of voters who have voted in
previous elections. When a voter approaches a polling place they are asked to provide an acceptable form
of identification. Then the election board will attempt to locate the voter’s name on the voting list. If the

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Database Systems

States responded to the HAVA voter registration requirements in different ways. Some states
adopted a single, central platform at the state level that connects to terminals in focal
jurisdictions. This type of system is typically referred to as a “top-down” voter registration system.
Other states implemented a state voter registration database that gathers and aggregates
information from their local jurisdictions’ voter registration databases. This type of system is
typically referred to as a “bottom-up” system.’ If a system has a mix of top-down and bottom-up
characteristics, then it is referred to as a “hybrid” system. The specific characteristics of hybrid
systems vary state by state.

Figure 1. Over Two-Thirds of States Have Top-Down Voter Registration Systems

40

Top-Down Bottom-Up ‘Hibrid

Type of State Voter Registration Database

Source: Information on voter registration database system type was collected in Q3 of the Policy Survey.
This graph shows the number of states that reported having each type of voter registration database,

voter’s name is on the fist, the voter's name and address are verified and the voter is then allowed to vote.”
(nites: //vin.sos.nd.gov/pdfs/Portals/votereg.pdf). Individuals who wish to vote in North Dakota must meet
federal and state eligibility requirements.

7 For a bottom-up voter registration system to be considered a statewide system, the state database, the
data, and the data flow must be defined, maintained, and administered by the state. U.S. Election
Assistance Commission (2005, July). Voluntary Guidance on Implementation of Statewide Voter
Registration Lists. https: //www.eac.c¢ov/si default/Tiles/eac_assets/2L mplementing%20

Statewide%20Voter%420Registration%20Lists pdf.

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The Policy Survey asked states to report the type of voter registration database they have and
how often information is shared between states and local jurisdictions. Figure 1 shows that over a
majority of states (72.7%) reported having voter registration databases that function in a top-
down manner. Seven states (12.7%, a decrease from 2020) reported having a bottom-up
registration system that uploads jurisdiction-level information at regular intervals to form the
statewide voter registration list, and 14.6% of states reported having a hybrid system that
combines elements of both.’ In practice, these state registration system categories can be fluid.
Some top-down registration systems may implement features of a bottom-up registration system
and vice versa.

States that reported having either a bottom-up or hybrid system were asked to report how often
their jurisdictions transmit voter registration information to the statewide database. For these two
systems, real-time data transmissions were most common (reported in 80% of the states with
bottom-up or hybrid systems), whereas 33.3% of the states reported that voter registration
information is transmitted daily.®

Data Linkages

Election officials must accomplish two primary activities related to voter registration: adding
individuals to the database who are eligible to vote and maintaining the accuracy of the
database.** A state accomplishes these goals by accessing or “linking” to other databases to
verify the voter registration information in its database. The NVRA and HAVA outline steps that
states are required to take to keep voter registration information current and to remove ineligible
voters and duplicate registrations from the voter lists. This task requires comparing voter lists to
records in other databases to prevent duplicate registration records and to avoid adding
individuals who are ineligible to register.4+

HAVA requires the chief election official in each state to attempt to verify the information for first-
time voter registration applications against driver's license numbers in that state's motor vehicle
licensing agency's database or against the Social Security Administration’s database of social
security numbers. If no match is found, election officials in most states attempt to contact the
applicant for additional information, but they manage this process in various ways. HAVA requires
that applicants who cannot be matched against one of these databases be allowed to vote on
Election Day, provided they present appropriate identification.*2

The Policy Survey asks state election offices how they share information electronically with other
state and federal government entities.1 These linkages are illustrated in Figure 2, Most states
reported that they link their voter registration data with the agency that handles their state’s
driver’s licenses (91.1%) and with entities that maintain the death records (73.2%). The other
most commonly reported linkages were with entities that maintain felony or prison records, such

® information on the type of voter registration system that states use was collected in item Q3 of the Policy
Survey.

® Texas noted that most jurisdictions transmit information in real time, but larger jurisdictions transmit
overnight.

1° National Research Council, 2010. Improving State Voter Registration Databases: Final Report.
Washington, DC: The National Academies Press. https://dol.org/10.17226/127838

42 Ibid.

12252 U58.C, § 21083.

13 Although North Dakota does not have voter registration, the state does share information electronically
with other government entities and is included in these analyses.

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as state courts and parole agencies (64.3%). States that reported linking with the agency that
handles driver’s licenses most often reported transferring voter registration data daily (64.7%),
followed by in real time (17.7%) and by some other measure of time that is neither weekly nor
monthly (7.8%). OF the states that reported linking with entities that maintain death records, the
most common type of data transfer was monthly (56.1%), followed by weekly and other (17.1%).
States that reported linking registration data with entities that maintain felony records most often
reported transferring data monthly (44.4%).%).™4

Less commonly reported linkages included with entities that maintain records of individuals who
are declared mentally incompetent, state public assistance agencies, agencies for people with
disabilities, other state agencies that are not required by the NVRA, federal agencies, and military
recruiting offices.

Figure 2. States Most Commonly Link Voter Registration Databases with
Government Agencies That Maintain Driver's Licenses and Death Records

Motor vehicle agency
Deéath records

Prison records

Agencies for those declared
mentally incompetent

Public assistance agency:

Disability agency

Other state agency

Federal agency

Military recruiting office

Source: Information on the entities that are linked to state voter registration databases was collected in Q4
of the Policy Survey. This graph shows the number of states that reported linking their voter registration
databases with the specified government agency.

44 Information on which entities states link their voter registration databases with and how often data
transfers occur was collected in item Q4 of the Policy Survey.

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Automatic and Automated Voter Registration

Beginning in 2016, states started implementing laws allowing for automatic voter registration.
Automatic voter registration is a process by which eligible voters are automatically registered to
vote when they interact with a government agency (e.g., a state motor vehicles agency) with an
option to opt out. Another process available in some states is registration with automated
features, which requires the individual to make a choice or affirmative decision to register to vote
during their interaction with a government agency, rather than deciding to opt out of registration.

In 2022, about two-thirds of states reported some method of registering to vote via an automated
process, whether online or in person, during a transaction with a state government agency.45
Commonly reported examples of these automated processes were processes where the option to
register to vote is preselected and a person needs to deselect it during the transaction to opt out
of registering to vote (39.3%) and those that authorize the potential registrant to opt in or choose
to register, such as when an individual cannot proceed with a transaction without selecting
whether or not they wish to be registered to vote (35.7%).

Ail states that have some kind of automatic or automated voter registration process linked ta a
state agency transaction reported that their state motor vehicles agency participates in this
program, and about one-third of the states indicated that public assistance agencies also
participate. Less common program participants included agencies for people with disabilities,
those specifically designated by the state’s chief election official or governor, and others.46. 27

Pre-Registration

In the 2022 Policy Survey, most states (94.6%) reported allowing individuals under the age of 18
to pre-register to vote and become automatically registered once they turn 18 years old.1* Twenty-
six states that had a pre-registration program reported that they allow individuals to pre-register
at age 17, whereas 20 states reported allowing individuals to pre-register at age 16. Six states
reported allowing individuals to pre-register at age 17 and a half.t9 Some states have additional
rules that apply to pre-registrations; for example, states like Pennsylvania, Vermont, West Virginia,
and the Northern Mariana Islands allow a person to register to vote before the age of 1&8 as long
as they will be 18 at the time of the next general election.

Most pre-registration applications are processed immediately, although the individual cannot vote
before they turn 18 years old. [In Minnesota and South Dakota, the pre-registration application is
heid and is not processed until the individual turns 18. Several states specified additional
procedures for processing pre-registrations. For example, Illinois, Maine, Mississippi, Vermont,
and West Virginia process pre-registration applications upon receipt, and the individual may vote
ina primary election if they will be 18 years old by the date of the next general election. Kansas

15 information on automatic and automated voter registration was collected in item Q5 of the Policy Survey.
1¢ information on which state agencies participate in automatic voter registration was collected in item Q5a
of the Policy Survey.

1? States specified other agencies: the Alaska Permanent Fund Dividend; the Colorado Department of
Heaith Care Policy and Financing; the Delaware Department of Labor Division of Vocational Rehabilitation:
Florida offices that issue driver's licenses or state |D cards in coordination with the Florida Department of
Motor Vehicles; the IHinois Department of Natural Resources; and other state agencies as designated by
Maryland legislation. :

18 Information on whether states allow individuals to preregister before they are 18 years old and become
automatically registered to vote once they turn 18 was collected in item Q9 of the Policy Survey.

42 Puerto Rico reported that an individual may pre-register to vote at age 14.

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processes the pre-registration application and places a pending status on it until the day the
individual turns 18 years old, after which they are automatically added to the list of registered
voters; a similar process is done in North Carolina, Pennsylvania, and Virginia.2°

State Election Office Websites

The 2022 Policy Survey also asked states which voter information search tools and other tools
are available on each state’s election office website. Nearly every state indicated that voters
could check their registration status and check their polling site location on the state election
office website. Most states reported having tools that track ballot status, including the Uniformed
and Overseas Citizens Absentee Voting Act (UOCAVA) ballots (89.3%), mail ballots (85.7%), and
provisional ballots (53.6%), and that check voter-specific ballot information (80.4%). Additionally,
most states reported that their website allows voters to request a mail or absentee ballot (58.9%),
and nine states reported some other functionality available on their state’s election office website
that was not listed in the survey.22

Figure 3. About Three-Quarters of States Offer Both Registration and
Registration Updates Through a Web-Based Online System

State ID Not Required 4 State ID Required [1] No Online Registration

Source: Information on online registration policy was collected in items Q6 and QGa of the Policy Survey.

20 Information on whether a preregistration application is processed immediately or held untii a certain date

was collected in item Q9a of the Policy Survey.
22 Information on state election office website lookup tools was collected in item Q7 of the Policy Survey.

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Online Voter Registration

Arizona became the first state to adopt online voter registration in 2002, and by 2016, the
number of states that offered online voter registration jumped to 32.22 Now, most states have a
public-facing, web-based online system that interfaces with the state voter registration system.
About three-quarters of states reported that through this system, voters can both register to vote
and update their registration, whereas a smaller number of states (5.4%) reported that
individuals can only use this online system to update their registration (see Figure 3). In most
states (79.6%), a person needs to have a driver's license or other state-issued identification to
register to vote or update a voter registration in this system.28

Same-Day Registration

Instead of requiring voters to register prior to an election, some states allow individuals to register
to vote and to cast a ballot on the same day. Almost half of the states reported allowing
individuals to register on the same day that they cast a ballot in person or request a mai! ballot
(see Figure 4). This process is known as same-day registration (SDR).24 Among states with SDR,
about 85% reported having both SDR on Election Day and SDR during in-person early voting.?5

Fourteen states reported having SDR during an overlap between the start of early voting and the
close of voter registration. Two states reported specific cases in which a voter may register on the
same day that they cast a ballot: in North Carolina, an individual who has become eligible to vote
between the close of books26 and Election Day—either by being naturalized as a citizen or having
citizenship rights restored after conviction of a felony--may be a same-day registrant; in
Wisconsin, individuals who are hospitalized may register and request a ballot to vote through an
appointed agent on the same day from the Tuesday prior to Election Day up through 5:00 p.m. on
Election Day.

22 "FAVS Deep Dive: Registering ta Vote, “U.S. Election Assistance Commission. (2017, September 20).
https: //www_eac. sov/documents/2017/09/20/eavs-deep-dive-registering-to-vote,

23 Information on states’ ontine voter registration policies was collected in item Q6 of the Policy Survey.
information on whether a driver's license or state-issued [D card is needed to register to vote online was
collected in Item Q6a of the Policy Survey.

24 The timeline does not include an overlap between the mail balloting period and the close of voter
registration.

25 Eighteen states reporting having SDR on Election Day and during in-person early voting. Two states
(Connecticut and New Hampshire) reported having SDR only on Election Day and two states (American
Samea and North Carolina) reported having SOR only during in-person early voting. Information on state
SDR policies was collected in item 08 of the Policy Survey. Information on the circumstances of SDR was
collected in item Q8a of the Policy Survey.

26 North Carolina did not provide clarification on what was meant by “close of books.”

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Figure 4. Aimost Half of States Offer Some Form of Same-Day Registration

ED and Early = ED + Other
“Vote Only Cases

A Election Day Only =] OtherCases CINoSDR ([]No Data

Source: Information on SDR policy was collected in items Q8 and Q8a of the Policy Survey. “ED” stands for
“Election Day." “Other Cases" includes instances in which states may allow for SDR during in-person early
voting only, during an overlap between the start of early voting and the close of voter registration, and other
specific cases.

List Maintenance

The NVRA establishes a process for states to keep their voter registration lists accurate by adding
newly registered voters, updating voter records, and removing ineligible voters. Under this law, a
registrant can be removed from a state’s list under the following circumstances:

o Upon the death of the registrant;

o Upon the registrant’s written confirmation that their address has changed to a tocation
outside of the registrar’s jurisdiction;

o On the request of the registrant;

o For mental incapacity of the registrant, as provided in state law;

a Oncriminal conviction of the registrant, as provided in state law; or

o On the registrant’s failure to respond to certain confirmation mailings along with failure to
appear to vote in two consecutive federal general elections subsequent to the mailing.?7

Under the process established by the NVRA, when a registrant appears to have moved outside of
their jurisdiction, the state must follow a specific process to verify that the individual is no longer

27 62 U.S.C. § 20507.

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eligible to vote. An address confirmation procedure must be followed before removing the voter
from the registration list. Chapter 3 of this report includes more detail about the list maintenance
process as outlined in the NVRA.

Table 2. Examples of State Definitions of Active and Inactive Voters

Active voter: qualified registered voter;

Alaska Inactive voter: those who are not eligible to vote in an election or those
who may be eligible to vote a provisional ballot in an election but whose
registration was inactivated during Alaska's list maintenance process

Active voter: a voter who is registered to vote in Maryland and is not in
“pending” or “inactive” status under the provisions of the National Voter

Maryland 28 Registration Act of 1993;

inactive voter: a voter who is registered to vote in Maryland but has not
responded to a confirmation notice

Active voter: a registered voter who has not been classified as an
inactive voter by the county clerk (i.e., someone who has fulfilled the
residency requirements and has turned in a complete voter registration
form}:

Utah

Inactive voter: a voter who has all the privileges of an active voter, but
the county clerk's office is unclear whether the voter still maintains a
residency at an address

Source: Information on state definitions of “active” and “inactive” voters was collected in item Q10a of the
Policy Survey.

28 While this term is not defined in Maryland state statute, §3-503 of the Election Law Article, Annotated
Cade of Maryland, specifies when a voter is placed into inactive status, how a voter is restored to active
status, and when a voter is removed from the voter registration list.

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The 2022 Policy Survey asked states whether they differentiate between active and inactive
voters in their voter registration records. Active voters are individuals who require ne additional
processing before they can vote, whereas inactive voters will require address verification before
being permitted to vote. Fifty states, including three territories and the District of Columbia,
indicated that they differentiate between the two types of voters, although according to state
comments, the definitions for an active and inactive voter vary widely.2¢ American Samoa, Guam,
Idaho, North Dakota, New Hampshire, and Wyoming reported not distinguishing between active
and inactive voters. Twenty states reported specific terminology, qualifications, and/or conditions
for active and inactive voters (see Table 2). According to the NVRA, voters marked as inactive may
be restored to the active voter list if they vote in one of the two federal general elections following
their inactive designation or take other action to confirm to the election office that they continue
to be a valid registered voter. If a voter does not cast a ballot in either of the two federal general
elections following their inactive designation, the voter may be removed from their state’s voter
registration roll.

Thirty-five states indicated that only local officials are responsible for modifying or removing voter
registration records, and 13 states reported that modifying voter registration records is done by
both state and local officials.° 34 Alaska, American Samoa, the District of Columbia, Delaware,
Guam, Puerto Rico, South Carolina, and the U.S. Virgin Islands all indicated that they only modify
or remove records at the state level.2 Table 3 illustrates the data sources states use to identify
potentially ineligible voters. Across states, the most common data sources were the state vital
statistics office, reports from other states indicating a former resident registered to vote, a voter
request for removal, entities that maintain prison records, and any mail (not including ballots)
sent from an election office that was returned as undeliverable.33

29 Information on whether states differentiate between active and inactive voters was collected in item Q10
of the Policy Survey. Information on whether states use the EAC’s definition of active and inactive voters
was collected in iter Q10a of the Policy Survey.

30 North Dakota does not have voter registration and was not included in these counts,

31 In Georgia and Texas, al! modifications are done by local officials except for deceased voters that have
been systematically removed from the state voter registration system: in Maryland and North Carolina, local
officials process voter registration record updates and the state assists as needed; in Maine, although only
local officials modify voter registration records, state officials may conduct statewide list maintenance
activities that designate certain records as inactive based on response or lack of response to the NVRA list
maintenance mailing: in Michigan, both local clerks and state staff modify and correct voter registration
information: in New Mexico, local officials are responsible for all but those voters who are part of the state's
confidential address program, whose records are maintained by the Secretary of State: similarly, in
Oklahoma, most records are handled at the local level but the state manages registrations for participants
in the address confidentiality program as well as fist maintenance for address confirmation deletions; in
Wisconsin, local officials are responsible for all records except for when a voter does not respond to a 4-
year state list maintenance confirmation notice and for when the state receives information fram another
state voter registration authority or through the Electronic Registration Information Center {ERIC} that a
voter has registered there.

32 Information on whe is responsible for modifying or removing voter registration records was collected in
item O11 of the Policy Survey.

33 information on the data sources used to identify potentially ineligible voters was collected in item Q13 of
the Policy Survey.

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Table 3. States Most Often Use State Vital Statistics Office and Reports from
Other States to Identify Ineligible Voters

State vital statistics office death records 96.4%

Entities that maintain felony or prison records (e.g., state
courts, state police, federal courts, pardons or paroles 83.9%
agencies)

Requests from voters for removal from the voter registration

83.9%
roll

Mail ballots that are returned as undeliverable 67.9%

Motor vehicles agencies (¢.g., DMV) 60.7%

ote

Data from an interstate data-sharing compact (e.g., the

6,
Electronic Registration Information Center [ERIC]) 55.4%

Applications for mail ballots 26.8%

Returned jury summons 19.6%

State agencies that serve individuals with disabilities

Other (e.g., military recruitment offices) 7.1%

State tax filings 1.8%

Source: Information on the data sources used to identify potentially ineligible voters was collected in item
O13 of the Policy Survey.

Fifty-three states reported sending confirmation notices to voters to help identify individuals who
may be ineligible to vote in that jurisdiction, but the reasons for sending confirmation notices
differ by state. Of the states that send confirmation notices, 43 (76.8%) reported sending
confirmation notices pursuant to Section 8 (d) (1) (B) and Section 8 {d) (2) of the NVRA, 37 states
(66.1%) reported sending confirmation notices pursuant to a state statute, and eight states

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(14.3%) reported sending confirmation notices pursuant to a formal administrative rule or
guidance. Three states reported that they do not send confirmation notices.24

States most commonly reported sending confirmation notices to voters whose mail from an
election office was returned as undeliverable (86.8%), to voters whose addresses may have
changed (79.3%), to voters who have not voted in a specified number of consecutive general
elections (45.3%),%),25 and to voters who have been convicted of a disqualifying felony
(37.7%).%), Less than one-third of states reported sending confirmation notices to voters who
have surrendered their driver's license to obtain a new license in a different state, for not having
contacted the state election division for a specified number of years, for having requested
removal from the voter registration tist, and for having been incarcerated.

Six states (11.3%) reported that all registered voters routinely receive a non-forwardable notice
during a specified increment of time; this time frame ranges from 1 to 4 years. Thirteen states
reported sending confirmation notices for some other reason.2¢ For example, some states or
certain jurisdictions within states indicated that they routinely send confirmation notices as part
of their specific list maintenance procedures. Delaware, which is a member of ERIC, sends
confirmation notices to individuals who have been identified as having potentially moved via ERIC
reports. Washington, a state in which nearly all voters cast their ballots by mail, reported that the
mailing information provided by a returned or forwarded ballot serves as the start of the
confirmation process.

Criminal Convictions and Voting

The NVRA allows states to remove voters from their registration lists if the registered voter
receives a disqualifying criminal conviction or is incarcerated. The Policy Survey asks four
questions about removing voters from registration lists due to disqualifying criminal convictions
and/or incarcerations and about the restoration of voting rights:

o Which populations have their voting eligibility suspended due to a criminal conviction or
incarceration?

© For how long does a person with a criminal conviction lose their right to vote?

© What happens to the removed individual's registration record in the state's voter
registration database?

© How can a person whose voting rights have been affected by a conviction or incarceration
become an eligible voter again?

The District of Columbia, Maine, Puerto Rico, and Vermont reported in the 2022 Policy Survey
that they do not limit a person's right to vote based on a criminal conviction or incarceration. Most
states (60.7%) reported that the conviction of any felony will limit a person’s right to vote,
whereas five states indicated that they limit the voting rights of individuals convicted only of
certain felonies. Six states reported that they limit the voting rights of individuals who are

34 Information on whether and how states send confirmation notices to help identify ineligible voters was
collected in item Q12 of the Policy Survey.

85 Most states specified either one or two consecutive federal general elections, with the exception of South
Dakota, which specified four.

38 Information on which voters states send confirmation notices to was collected in item Q12a of the

Policy Survey.

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convicted of other crimes that are not felonies (e.g., election-related crimes). Additionally, 24
states limit the right to vote for individuals who are incarcerated.37

There is variation in the disqualification time periods and in the processes for restoring voting
rights. Of the states that limit voting rights for these reasons, most reported revoking the right to
vote during the period of incarceration (73.1%) followed by any period of probation and parole
(40.4%). Some states reported revoking voting rights until the payment of outstanding fines,
restitution, or penalties (19.2%), and/or during an additional length of time (9.6%) such as a
statutorily mandated waiting period.**

The EAVS asked states to report the number of voters removed from registration rolls due to
disqualifying felony convictions between the close of registration for the November 2020 general
election and the close of registration for the November 2022 general election. To provide context
for this EAVS item, the 2022 Policy Survey asked what happens to registration records when the
voting rights of a person in one of the populations specified above are affected. Over a third of
states reported that the registration record becomes inactive, which prevents the person from
voting. One-fifth of states reported that the registration record is removed from the database, and
some (9.1%) reported that a held or suspension is placed on the record, which also prevents the
person from voting. Sixteen states specified some other process;3* 10 of these states reported
that the voter registration record is placed in “cancelled,” “removed,” or “rejected” status, and
differ on the follow-up procedures. Michigan noted that if a person is incarcerated but has not yet
been sentenced, then they are still able to vote.49

The Policy Survey also asks states to Indicate how disenfranchised individuais can become
eligible voters again after they are permitted to under state law. Missouri and Rhode Island
reported automatically restoring the previous voter registration of individuals with convictions
and/or incarcerations once the period of disenfranchisement has passed, requiring no further
action by the voter. Of the states that indicated requiring some type of action, 71.2% reported
that a person is immediately eligible to vote and must re-register through the same process as the
general public. Some states reported having cther conditions, such as presenting documentation
during the registration process that shows that the person has completed the voter registration
requirements (17.3%) and having voting rights restored through a formal administrative process
(17.3%). Eight states provided survey comments that further explained their policies.41 In
Louisiana, for example, if a person is under an order of imprisonment for a felony conviction but
“has not been incarcerated pursuant to the order within the last five years,” then that person is
eligible to register. lowa reported that the current process allows automatic restoration for most
convictions that affect registrations, except for a specific class of homicide crimes that require an

37 Information on state policies for suspending or revoking voting rights due to criminal convictions was
collected in item Q38 of the Policy Survey. This Hem does not distinguish a felony conviction from the
subsequent period of Incarceration.

38 Information on the length of time a disqualifying felony conviction will restrict voting rights was collected
in tem Q38a of the Policy Survey.

39 North Dakota does not have voter registration and is not included in these counts.

40 Information on what happens to the registration records of populations whose voting rights are affected
due to criminal conviction and/or incarceration was collected in item Q38b of the Policy Survey.

41 Information on state policies for restoring voting rights to individuals with disqualifying felony convictions
was collected in item Q38c of the Policy Survey.

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application to the governor for registration. Maryland indicated that individuals convicted of
buying or selling votes are not eligible to register to vote again in the state.

Voting oy Mail

All states and territories and the District of Columbia offer at least some of their citizens the
opportunity to cast their ballots by mail in federal general elections.42 Some states use the term
“absentee voting” to refer to mail voting. The 2022 Policy Survey demonstrates that there were
wide variations among the states regarding which voters are eligible to vote by mail, what
documentation voters must provide to receive a mail ballot, how mail ballots may be returned to
election officials, and the deadlines for mail ballots to be postmarked and received by election
offices in order to be counted for the 2022 general election.

In 2022, 38 states reported that they do not require voters to provide a reason for requesting a
mail ballot and for why they cannot vote in person on Election Day. Conversely, about one-third of
states reported requiring voters to provide an excuse.4 Twenty-three states reported that voters
can request to be on a permanent absentee list fram which they will automatically receive ballots
for all future elections. Either any registrant can request to be a permanent absentee voter
(16.4% of all states) or only individuals who meet specific criteria can request to be a permanent
absentee voter (25.5% of all states).44

Some states have special criteria for individuals who request permanent absentee status.“
Among these states, the most common requirement was that the requester must have a disability
(85.7%); Delaware, Massachusetts, New York, Tennessee, and Wisconsin reported that they will
also grant permanent absentee status to those who are infirm, have a permanent illness, or can
provide a note from a médical professional. West Virginia indicated allowing address
confidentiality program participants to be permanent absentee voters, and Louisiana indicated
requiring individuals to be over a specified age. Despite conducting all-mail elections, Gregon
uses the term “absentee voter” for individuals who may be away from their residences when
ballots are transmitted.

With the 2020 election’s overall shift toward mail voting, the number of states that conducted all-
mail elections, in which ail registered voters or all active registered voters are automatically sent a
mail ballot, doubled between the 2018 and 2020 Policy Surveys. These numbers have stayed
fairly consistent into 2022. As shown in Figure 5, twelve states have some type of vote-by-mail
system; three states reported having some vote-by-mail jurisdictions, and nine states reported
having statewide vote-by-mail systems.**

42 Some states use the term “in-person absentee voting” to refer to the process by which a voter visits an
election office to request a mail ballot, completes the ballot, and returns the ballot in one trip. However,
EAVS considers this to be a form of in-person early voting and asks states to report their data as such.

43 Information on whether states require an excuse for mail voting was collected in iter Q16 of the Policy
Survey.

44 Information on whether states have permanent absentee voting was collected in item Q18 of the Policy
Survey.

45 Information on who can become a permanent absentee voter was collected in item Q18a of the Policy
Survey.

46 information on which states have an all-mail or all-vote-by-mail system was collected in item Q417 of the
2022 Policy Survey, item 018 of the 2020 Policy Survey, and iter QO9 of the 2018 Policy Survey.

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Figure 5. Number of States Offering All-Mail Elections in 2022 Consistent with 2020

Statewide Some Jurisdictions 3] No All-Mail Elections [7] No Applicable Election

Source: Information on the policy of all-mail elections was collected in items Q17 and Q17a of the 2022
Policy Survey.

The Policy Survey also collected data on the circumstances under which voters could receive
ballots through electronic means. Voters who are members of the uniformed services or who are
overseas citizens who wish to receive ballots electronicaily are covered under UOCAVA, so this
question applies specifically to non-UOCAVA voters. About one-third of states reported that
domestic civilian voters cannot receive electronic ballots under any circumstances. States that do
allow non-UOCAVA voters residing in the United States to receive their ballots through an
electronic format do so via methods such as email, fax, an online voter registration portal, ora
mobile phone app. Alaska, California,4? Guam, Maryland, South Dakota, and Washington reported
that voters may receive a ballot electronically for any circumstance. Other states reported having
special circumstances.*8 For example, 27 states indicated allowing voters with disabilities to

information on whether the state’s all-vote-by-maii system is used only in certain jurisdictions or is
statewide was collected in item Q17a of the 2022 Policy Survey, item Q18a in the 2020 Policy Survey, and
item Q9a of the 2018 Policy Survey. in most cases, some limited in-person voting occurs when a state or
jurisdiction conducts an election entirely by mail.

47 California allows any voter to cast a ballot using a certified remote-accessible vote-by-mail system,
regardless of whether the individual is a voter with disabilities or a military or overseas voter.

48 Information on the circumstances under which voters may receive their ballots electronically was
collected in item Q24 of the Policy Survey.

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receive ballots electronically, including 11 states where voters must have specific disabilities and
1.6 states where voters with any disability may do $0.49

Six states reported that they allow electronic ballot transmission during emergency situations that
hinder in-person voting, such as a natural disaster. Nine states reported that they allowed
electronic transmission for other reasons. For example, Nebraska extended requirements to
emergency responders, Hawaii allows for the receipt of ballots through an electronic format when
a replacement ballot is needed and is requested within five days of the election, and in the U.S.
Virgin Islands, voters may receive an electronic ballot if they did not receive an absentee baliot up
to two days before the election.

In states where voters with a disability may receive their ballots electronically, the process
whereby the voter may access a ballot online, mark it privately and independently, and then
return it to election officials is known as accessible absentee voting in 10 states and remote
ballot marking in five states. Twelve states reported using specific terminology, such as
accessible vote by mail, accessible ballot delivery, electronic absentee, and others. Just over
three-quarters of these states allow voters with a disability to access their electronic ballot
through an online portal, while 40.7% allow access through email.5° Indiana and Louisiana
specified that delivery may be via fax. Michigan and Pennsylvania voters with disabilities may
receive their ballot via email and receive either a link to a secure online portal, as in the case of
Michigan,®* or receive an access code for the ballot, as in the case of Pennsylvania. Most states
(88.9%) that have some form of remotely accessible absentee voting process for voters with
disabilities do not require a witness to be present while a voter marks their ballot in this process.

Mail Ballot Tracking and Deadlines

States reported on their deadlines for mail ballots from non-military voters residing in the United
States. Ballot deadlines for voters covered by UOCAVA were reported in separate questions, as
UOCAVA ballot deadlines are typically different from those for other mail ballots, The postmark
deadiine is Election Day for just over one-third (35.7%) of states, which is somewhat lower than in
2020;52 Connecticut, North Dakota, Ohio, and Utah reported having a postmark deadline one day
before Election Day. In 56.4% of states, mail ballots must be received by Election Day, and in
41.8% of states, mail ballots must be received by a specified number of calendar days or
business days after Election Day.53 Louisiana reported that mail ballots must be received by one
day before Election Day.

States vary in what satisfies postmark requirements for mail ballots. In states that require
postmarks, the most commonly reported required feature was a physical postmark (84.6%),

49 New Mexico did not select response options for voters with disabilities but specified that voters with
Visual impairments can request a ballot that they may receive and mark electronically using screen reader
software; the voter must then print and mail the ballot back.

50 Information on the terminclogy states use to describe the process whereby a voter with a disability may
access a ballot online, mark it privately and independently, and return it to election officials was collected in
item Q24a of the Policy Survey. Information on how voters with a disability can access their batiots under
that process was collected in item Q24b of the Policy Survey.

51 This ballot is then printed and returned.

52 Information on deadlines for returning mai! ballots was collected in item Q21 of the Policy Survey.

53 Eighteen states reported a specified number of calendar days after Election Day, ranging from three to
20, and five states reported a specified number of business days after Election Day, ranging from one to
10.

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followed by postal processing markings (65.4%), and hand cancellation or a private express
delivery service date stamp (both 57.7% respectively}. Less cornmonly required features were
intelligent barcodes (30.8%) and a date on a voter affidavit (15.4%). Some states specified other
ways of Satisfying postmark requirements.*4 Ohio indicated accepting an ID tag date, and Kansas
and Oregon indicated accepting any other indicia from the U.S. Postal Service. In Virginia, if the
intelligent mail barcode does not show that the ballot was mailed on or before Election Day, the
date provided on the signed voter oath may be used to satisfy postmark requirements.

Drop Boxes

In a new series of questions, the 2022 Policy Survey asked states to report their usage of drop
boxes. Fer the purposes of the Policy Survey, a drop box was defined as a locked container where
voters or their authorized representatives may deliver their voted mail ballots for collection, They
are different from ballot boxes that are located at in-person polling places, where voters may
place their ballots immediately after in-person voting. Drop boxes may be located either indoors
or outdoors.

Figure 6. More than Two-Thirds of States Used Drop Boxes in 2022 General Election

ua Used Drop Boxes 22 Did Not Use Drop Boxes [=] No Applicable Election

Source: Information on whether voters were permitted to return their voted mail ballots at drap boxes was
collected in item O19 of the Policy Survey.

Thirty-nine states reported allowing drop boxes for the November 2022 general election (see
Figure 6). For these states, the most commonly reported location for drop boxes was election

54 Information on mail ballot postmark requirements was collected in item Q23 of the Policy Survey.

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offices (64.1%), followed by early voting polling locations (35.9%), and Election Day polling
locations (28.2%). Other sites reported by states included libraries, recreation centers, satellite
county offices, tribal reservations, and college student centers. Additionally, 22 states indicated
that drop box locations varied by locality, with several of them noting that drop box locations can
be placed at any site at the discretion of the local jurisdiction.55

In one-third of states that used drop boxes, drop box collections occurred once per day, whereas
in three states, the collections occurred multiple times per day. Eight states listed another
frequency, citing some examples where the number of collections can depend on the date and
the volume of ballots. Fifteen states reported that the number of collections varies by
jurisdiction.5¢

Voters were able to use drop boxes at various times. The earliest date drop boxes were available
for voters was September 1, 2022, in Indiana, whereas the latest dates tended to be Election
Day, with the exception of North Dakota, Georgia, and South Dakota, which listed dates before
Election Day. About 41% of states that used drop boxes allowed their voters to start using them
sometime in September.57

Ballot Curing

Another new set of questions in the 2022 Policy Survey asked states about ballot curing; under
this process, returned mail ballots that have been rejected for containing an error or for missing
required information may have the mistake corrected by the voter so that their ballot is ultimately
counted. Three-quarters of states reported having this process during the 2022 general election,
and among those states, the most commonly reported types of mail ballot errors that voters were
allowed to correct were missing voter signatures (reported in 90.2% of these states) and non-
matching voter signatures (reported in 70.7% of these states). Just over half of states reported
that ballots that had a missing or incomplete required document (e.g., an affidavit, ballot
statement, or copy of the voter’s identification) could be cured, whereas just under one-third
allowed for ballots to be cured if they were missing a witness signature.5* Eleven states reported
that there were other reasons a mail ballot may be cured; missing identification was cited by
three states, and other reasons included missing statement of residence and missing witness
address .5¢. 60

Thirteen states reported that ballots needed to be cured by Election Day in order to be counted in
the 2022 general election. One state, Loutsiana, had a deadline that fell before Election Day, and

55 Information on whether states, or any jurisdictions within states, allow voters to return their voted mailed
ballots at drop boxes was collected in item Q19 of the Policy Survey. Information on where drop boxes were
located was collected in item Q19a of the Policy Survey.

58 Information on how often ballots will be collected from drop boxes was collected in item O19b of the
Policy Survey.

57 information on the dates and times voters may use drop boxes to return their ballots was collected in
item Q19¢ of the Policy Survey.

58 Information on whether states allow voters te cure ballots was collected in item G20 of the Policy Survey.
Information on the types of mail ballot errors that may be cured was collected in item Q20a of the Policy
Survey.

59 New Mexico treats any rejected mail ballot as a rejected provisional ballot that allows a voter to pursue 4
nearing to review the determination.

8° Pennsylvania noted that the decision to allow voters ta correct errors or supply missing information is
currently the subject of ongoing litigation. A preliminary ruling in October permitted voters to do so in the
2022 general election.

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the latest ballot curing deadlines were in December 2022 in New York and California. Some
states specified that deadlines are set based on a number of business or calendar days after an
action is taken.® For example, Arizona voters must cure a missing signature by Election Day but
must cure a non-matching signature within 5 business days, whereas Kansas voters must cure
provisional ballots prior to the meeting of the county board of canvassers, which occurs between
seven and 13 days after Election Day, and each jurisdiction sets its own date within this window.
Utah also noted that the deadline varies based on the county canvass date.

UOCAVA Voting

The legal framework established by the UOCAVA law requires that all states offer uniformed
services members, their eligible family members, and overseas citizens the ability to vote
absentee in all federal elections. UOCAVA-protected citizens have the option of using the Federal
Post Card Application (FPCA), a form that serves as both a registration and ballot request
application and is accepted in all U.S. states and territories. All states accept FPCAs submitted by
postal mail. In addition, the 2009 Military and Overseas Voter Empowerment (MOVE} Act
amended UOCAVA, requiring that all states offer an electronic means for FPCA submission.
UOCAVA voters may submit their FPCA by fax, online (either by email or through the state’s online
voter registration portal}, or by other modes as allowed by state law.

States are required to allow ballot transmission and return by postal mail for UOCAVA ballots. in
2022, the most common additional methods for transmitting UOCAVA ballots were email and fax.
Email was allowed in 85.7% of states, and fax was allowed in 69.6% of states. Twenty-nine states
reported accepting UOCAVA ballots submitted through the state’s online ballot delivery portal.
some states reported that UOCAVA ballots can be submitted by some other method: for example,
Washington and Wisconsin specified in comments that they allow in-person ballot submission,
whereas Louisiana, New Hampshire, and Virginia commented that they allow some other
commercial or private delivery service. After postal mail, email®2 and fax were the two most
common methods that states allowed UOCAVA voters to return their ballots (50% and 53.6%
respectively), followed by the state’s online voter registration portal (21.4%).99

States differ in the length of time voters remain eligible to receive UOCAVA ballots after submitting
an FPCA; that is, the period of time or number of elections for which a voter can retain their
UOCAVA status and have an absentee ballot transmitted to them.®4 Over one-third of states
reported that the length of time the FPCA will serve as a ballot request mechanism is a specified
number of calendar years. In most of those states, the length of time is one year, although in
North Dakota, it is two years. In other states, the length of time is measured by the number of
general election cycles (12.5%); Arkansas, Arizona, Delaware, and Kentucky specified a length of
one general election cycle, and Minnesota, Oklahoma, and Utah specified two general election

$1 Information on the deadiine by which voters must cure errors or missing information on their mailed
ballots was collected in item Q20b of the Policy Survey.

82 Louisiana and Texas only allow email in certain special circumstances.

3 Information on the methods by which a state transmits blank UOCAVA ballots was collected in item 027
of the Policy Survey. Information on the methods a state allows UOCAVA voters to return their voted UOCAVA
ballots was collected in item Q28 of the Policy Survey.

6 Information on how long UGCAVA voters remain eligible to receive absentee ballots was collected in item
Q29 of the Policy Survey.

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cycles. Some states (8.9%) reported that they will use the FPCA as a ballot request mechanism
until the voter moves from their residence.®5

Almost 40% of states provided a description of another length of time that was unlisted in the
Policy Survey question, with some states reporting a time linked with either a specific election
timeline or a length of time tied to the submission of the FPCA. Nevada reported that voters retain
their status until the end of the following calendar year, and Maine reported that the status
remains eligible for 18 months. American Samoa and Washington specified a timeline based on
changes to a voter's registration record. California and North Carolina reported that eligibility
remains permanent. Voters remain eligible to request absentee ballots for every election in Idaho
umtil they move but must make a separate request for every election. The U.S. Virgin islands also
reported that they require absentee daliots to be requested each election cycle, and Puerto Rico
indicated that voters must file absentee voting requests for each voting event.

UOCAVA Voting Deadlines

In addition to reporting deadlines for mail ballots from non-UOCAVA voters, the 2022 Policy
Survey asked states to report deadlines for ballots submitted by both uniformed services voters
residing in the United States and overseas UOCAVA voters. States provided information on both
postmark deadlines and ballot receipt deadtines as applicable. In 2022, the postmark deadiine
for domestic uniformed services voters was Election Day in 42.9% of states, a slight drop from
2020; however, in lowa, North Dakota, and Utah, the postmark deadline was one day before
Election Day. Just under half of the states (45.5%) reported that ballots had to have been
received by Election Day. Additionally, 43.6% of the states indicated that the ballots must have
been received by a specified number of calendar days after Election Day {with responses ranging
from two to 20 days after Election Day), and 10.9% of states indicated that the ballots must have
been received by a specified number of business days after Election Day (with responses ranging
from three to 10 days after Election Day).

For overseas UOCAVA voters, Election Day was the postmark deadline in about half of the states
(48.2%). Like above, lowa and North Dakota also reported having a postmark deadline one day
before Election Day for these voters. Ballots in 43.6% of the states were required to be received
by Election Day. Additionally, 43.6% of states indicated that the ballots must have been received
by a specified number of calendar days after Election Day (ranging from two to 20 days), and
12.7% of states indicated that the ballots must have been received by a specified number of
business days after Election Day (ranging from three to LO days). Eighteen states reported that
they have the same postmark requirements for UOCAVA balicts and mai! ballots from non-
UOCAVA voters. Seven states indicated that the requirements are different.s7. 68

55 This information is provided by the U.S. Postal Service or the voter.

86 information on deadlines for ballots submitted by uniformed services members residing in the United
States was collected in item Q30 of the 2022 Policy Survey and iter Q29 of the 2020 Policy Survey.

8? Thirty-one states did not provide a response to this item; 32 states indicated in 921 that they did not
require a postmark for returning a non-UOCAVA mail ballot.

®8 Information on deadlines for ballots submitted by overseas UOCAVA voters was collected in item O31 in
the Policy Survey. information on the differences between postmark requirements for UOCAVA and non-
UOCAVA voters was collected in item Q32 in the Policy Survey.

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For more information about how UOCAVA voters participated in the 2022 general election,
including ballots transmitted, returned, counted, and rejected, and the use of the Federal Write-In
Absentee Ballot (FWAB), see Chapter 4 of this report.

in-Person Voting

In the traditional image of voting in America, voters physicaily travel to their local poiling place or
election office and cast their ballots in person on Election Day. Voters may cast their ballots in
person at a polling location to which they are assigned based on the address on their voter
registration records, or, if state law allows, may have the option to vote at any polling location
within their jurisdiction. Although other methods of voting have become common in recent years,
in-person voting is still used by a majority of voters in federa! general elections.

Vote Centers

Vote centers are physical locations where voters from multiple precincts may cast their bailots
{Le., voters are not assigned to one location). Jurisdictions that use vote centers allow voters to
cast their ballots at any vote center in their jurisdiction rather than needing to vote ata
specifically assigned polling place. The 2022 Policy Survey asked whether any of the state’s
jurisdictions allow voters to cast ballots at any polling place or vote center in their jurisdiction and
to describe how vote centers operate.

Over one-half of states (58.2%) reported allowing voters to cast ballots at any polling place or vote
center in the voter’s jurisdiction, an increase from just over one-third in 2020. Fourteen of those
states (43.8%) indicated that they require the use of vote centers statewide, a significant increase
from 2020, Kansas, Tennessee, and Texas reported having vote centers, but only in jurisdictions
that meet certain requirements, whereas another 15 of those states (46.9%) reported having vote
centers, but jurisdictions have the option not to implement them.®

In-Person Voting Before Election Day
Almost all states?° reported that they allow individuals te vote in person before Election Day (not
including the hand delivery of mail baliots). This type of voting generally falls into two categories:

© Avoter may go to a polling place before Election Day, receive a ballot, vote their ballot
while at the polling piace, and place their completed ballot into a ballot box or tabulator.

a Avoter may go to an election office to pick up a ballot over the counter. In some states, the
voter may be able to take their ballot home with them, whereas in other states, the ballot
must be completed in the office. The ballot is then sealed in an envelope and tabulated
along with ballots that are returned to the office by mail according to local procedures.

The former type of voting is usually referred to as “in-person early voting” and the latter type is
usually referred to as “in-person absentee voting,” although these terms are not used consistently
across states. Some states use only one type of in-person voting before Election Day, while others
use both. Thirty-two states (57.1%) reported having in-person early voting and 29 states (51.8%)

59 Information on whether any jurisdictions within a state will allow voters to cast ballots af any polling
location or vote center in their jurisdiction was collected in item Q26 of the 2022 Policy Survey and item
025 of the 2020 Policy Survey. Information on how vote centers operate was collected in item Q26a of the
2022 Policy Survey and item Q25a of the 2020 Policy Survey.

70 Pennsylvania did not allow in-person voting before Election Day for the 2022 general election.

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Table 4. Exampies of Unique Descriptions of In-Person Early Voting

American Samoa Local absentee voting

Farly voting

Kansas Advance voting

North Carolina One-stop and early voting

Washington In-person voting

Source: State descriptions of in-person early voting were collected in item Q25 of the Policy Survey.

reported having in-person absentee voting; among these states, 11 reported having both.?+ Nine
states specified unique descriptions for early voting, as seen in Table 4, Nine states (16.1%)
reported requiring an excuse to vote in person before Election Day,’2 a decrease from 12 that
reported this policy in 2020 and 15 in 2018.73.74 in-person early voting tended to start in mid to
late October’® and last until early November 2022 shortly before Election Day in most states.76 In
California, Kansas, and Utah, dates varied by jurisdiction and Hawaii’s dates varied by location.’7

‘1 Information on the terminology used to describe the process of voting in person before Election Day was
collected in item Q25 of the Policy Survey.

72 Pennsylvania did not provide a response to this item.

72 In Missouri, an excuse is required for four weeks of the absentee voting period; voters may vote with no
excuse two weeks prior to the election. In Maine, voters may request an absentee ballot without a reason
up to the Thursday prior to Election Day. After that date through Election Day, voters who meet
requirements for a special circurnstances absentee ballot may sti! vote by absentee ballot but are required
to provide an excuse. New York does not require an excuse for in-person early voting but does require an
excuse for in-person absentee voting. Information on whether an excuse is required for voters to participate
in vating in person prior to Election Day was collected in item Q25a of the 2022 Policy Survey, Q24a of the
2020 Policy Survey, and Q12a of the 2018 Policy Survey.

74 In Missouri, an excuse is required for four weeks of the absentee voting period; voters may vote with not
excuse two weeks prior to the election. in Maine, voters may request an absentee ballot without a reason
up to the Thursday prior to Election Day. After that date through Election Day, voters who meet
requirements for a special circumstances absentee ballot may still vote by absentee ballot but are required
to provide an excuse. New York does not require an excuse for in-person early voting but does require an
excuse for in-person absentee voting.

75 Thirteen states listed a start date between September 9, 2022 and October 7, 2022, whereas the
Northern Mariana Islands and Oklahoma listed a start date in early November 2022.

76 The U.S. Virgin Islands was the only one to list a final day that was not in November—their final day was
October 31, 2022,

77 Colorado commented that although October 24, 2022 was the first day that jurisdictions were required to
have in-person polling locations open, some may choose to start in-person voting earlier than that.

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Oregon, a vote-by-mail state, does not have early voting, but does allow in-person voting in
specitic circumstances. For example, if a voter loses or spoils their ballot, they may appear ata
local elections office to be issued a new ballot; this is allowed through 8:00 p.m. on the night of
the election.7®

Voter identification

Under HAVA, Congress established minimum identification standards that an individual must
meet in order to register to vote:

© Individuals who register to vote at their state’s motor vehicles agency, another government
agency, or using an online registration portal are typically authenticated by presenting
appropriate documentation to the government agency and by the state matching the
person’s driver's license number or last four digits of their social security number to an
existing state record.

co Individuals who register by mail and who have not voted before for federal office in their
state of residence are required to present, at some point before voting, either a current
and valid photo identification or a copy of a utility bill, bank statement, government check,
paycheck, or other government document that shows the person's name and address.

a Individuals who are entitled to vote by absentee ballot under UOCAVA or entitled to vote
other than in person under the Voting Accessibility for the Elderly and Handicapped Act or
other federal law are exempt from HAVA's identification requirements.79

The definition of voter identification varies by state. In some states, it can mean a government-
issued document with a photograph, whereas in other states, it can mean a voter-executed
affidavit affirming identity. For in-person, non-first time voting, whether before or on Election Day,
most states (63.6%) reported that they require voters to present an acceptable form of
identification in order to cast a ballot in person. For 62.9% of those states, photo identification as
proof of their identity was required.®° In the case that a voter does not have an acceptable form of
identification at the polling site, 82.9% of states that require identification reported that the voter
may cast a provisional ballot. Just under half (48.6%) of states reported that the voter must return
at a later time to present appropriate identification to the election officials before their ballot can
be counted. In over one-tiith of states, voters can sign an affidavit affirming their identity, with no
other action required for the voter to vote. Additionally, in one-fifth of states, another person may
formally vouch for the voter's identity.84 These states mentioned examples such as another voter

Wisconsin noted that the reported timeframe is when in-person voting may be held, but each municipality
determines the specific days and times wikhin the reported timeframe that they will offer the option to their
voters.

78 Information on the calendar dates for the beginning of the early voting period and end of the early voting
period was collected fn item Q25b of the Policy Survey.

79 52 USC 21083 (by3}(C)

8° Information on establishing a voter's identity during in-person voting was collected in item Q37 of the
Policy Survey. Information on whether photo identification is required for voters to establish their identity for
in-person voting was collected in item Q37a of the Policy Survey.

84 Information on what happens if a person does not have acceptable identification at the polling site was
callected in item Q37b of the Policy Survey.

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registered to vote in the same precinct, a precinct election official, an adult or poll worker who
has known the voter for six months, and a village or county mayor.52

In Kentucky and Massachusetts, the deadline by which voters were required to present
appropriate identification to verify their identity and have their provisional ballots accepted and
counted was Election Day in 2022. Fifteen other states reported deadline dates that varied from
the day after Election Day {i.e., November 9, 2022) up to November 21, 2022.85

Provisional Voting

The EAC has issued best practices on the development of provisional voting procedures and
notice to voters ta ensure provisional voting procedures are fair, transparent, effective, and
consistently applied to all voters in the state. The EAC states in its Best Practices on Provisional
Voting report:

Section 302 of HAVA creates the right for potential voters to cast provisional ballots
in the event their names do not appear on the registration list or the voters’ eligibility
is challenged by an election official. The issuance of a provisional ballot is best
described as a safety net or fail-safe for the voter, in that:

o Itmaintains the person’s intent to vote and selections until election officials
determine that the person does or does not have the right to cast a ballot in the
election.

co It allows the determination of the voter’s eligibility to be made at a time when
more perfect or complete information is available either from the voter or from
the election jurisdiction.

HAVA specifies minimum requirements for notice to voters and provides opportunities for voters
to resolve eligibility issues. Within the federal framework, states have different methods of
complying with the provisional notification to voter requirements, using different technology and
different timetables. State and local election officials ultimately apply their policies, procedures,
and state legal requirements when deciding whether to count a provisional ballot. For example, a
state that has a stricter standard for the identification of voters than is contained in HAVA would
apply its standard to determine if a given provisional ballot meets the state’s ID standard.

Fifty states and territories reported using provisional ballots, and the reasons for offering
provisional ballots varied.85 The most common reason for having a voter cast a provisional ballot
was that a voter's name does not appear on the list of eligible voters, followed by situations

82 In some of these exampies, an extra step was required to verify the voter's identity (e.g., in the case
where a precinct election official was vouching for the voter's identity, both parties were required to sign an
affidavit).

83 Information on the deadline by which voters must present the appropriate identification to verify their
identity and have their provisional ballot accepted and counted was collected in item Q37c of the Policy
Survey.

#4 US. Election Assistance Commission. (2017, February 27). Best Practices on Provisional Vating.

https: //www.eac. gov/documents/2017/02/27/eac-best-practices-on-provisional-voting/.

85 States that reported not using provisional ballots were largely NVRA-exempt states,

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where an election official has asserted an individual is not eligible to vote.8¢ Table 5 provides a
full list of reasons the states use provisional ballots.

Table 5. States That Use Provisional Ballots Most Often Do So When a
Voters Name Does Not Appear on the List of Eligible Voters

A voter’s name does not appear on the list of eligible voters. 88%

A voter is not a resident of the precinct in which they are
attempting to vote.

80%

Another person (not an election official) challenges a voter’s
qualifications, and the poll worker is not able to resolve the 56%
challenge.

A federal or state judge extends the polling place hours ina
federal election.

50%

Other 24%

Source: Information on the circumstances under which a state uses provisional ballots was collected in
item O33a of the Policy Survey.

After the election, many states have a limited amount of time in which to adjudicate provisional
ballots and decide whether the ballots will be counted (either in full or in part) or relected. tn
27.1% of states, this deadline is by a specified date; for the November 8, 2022 general election,
these dates ranged from November 8, 2022 to November 28, 2022. Thirty-five states (72.9%)
indicated that this deadiine is specified as a number of calendar days or business days after
Election Day.87. 88

§6 Information on whether states use provisional ballots was collected in item Q33 of the Policy Survey.
Information on the circumstances under which a state will use provisional ballots was collected in item
Q33a of the Policy Survey,

®? Twenty-five states reported 1 to 30 calendar days after Election Day, and 10 states reported 1 to 7
business days after Election Day.

§8 Information on the deadlines for adjudicating provisional ballots was collected in item Q33b of the Policy
Survey.

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Five (10.2%) of the states that use provisional ballots reported provisional ballots cast in the
wrong precinct would be fully counted, and 40.8% of the states reported that they would be
partially counted.®9 About half of the states reported that these ballots would be rejected fully. An
elected or appointed group, such as a Board of Canvassers or a Board of Elections, is responsible
for reviewing provisional batlot information to determine if the ballots are eligible to be counted in
the majority of states (56%) that use provisional ballots. Other states report that this may be done
by a single election official (14%) or more than one election official (16%). American Samoa,
Arizona, Maryland, Maine, Missouri, Oregon, and Pennsylvania specified other sources.9°

in most cases, the person or entity that ultimately certifies the eligibility of provisiona! ballots is
the same as the person or entity that reviews provisional ballots to determine if they are eligible
to be counted. In 36% of states, this is not the case. Most of these states explained a process
where an initial person or entity (most commonly a county clerk or focal election staff) does a first
review to gather information on the eligibility of a provisional ballot, and then presents these
findings for final determination to a second person or entity (most commonly a review board—e.g.,
a board of canvassers},4

Election Technology

Voting system testing and certification are required in the majority of states (78.6%) by statute,
and a few states (12.5%) indicated that they require testing and certification through a formal
administrative rule or guidance. American Samoa, Guam, the Northern Mariana Islands,
Mississippi, and Puerto Rico reported that voting system testing and certification before the
system's approval for purchase fs not required. The 2022 Policy Survey then asked states to
describe their policies regarding the role of the EAC and federal testing and certification. States
most commonly reported requiring testing by an EAC-accredited Voting System Test Laboratory
{VSTL; 49%), state and federal certification (47.1%), and/or EAC-adopted Voluntary Voting System
Guidelines (VVSG; 43.1%; see Figure 7).92

8° For example, a state might only count items on the ballot for which the voter would have been eligible
had they voted in the correct precinct.

2° Information on how states will treat a provisional ballot if it is cast in the wrong precinct was collected in
item Q33c of the Policy Survey. Information on who is responsible for reviewing provisional baliot
information to determine if the ballots are eligible to be counted was collected in item Q33d of the Policy
Survey.

%1 Information on whether the person verifying or certifying the eligibility of the provisional ballots and the
person reviewing provisional ballots to determine if they are eligible to be counted was collected in item
Q33¢e of the Policy Survey,

82 Information on voting system testing and certification policies was collected in items 014 and Q14a of
the Policy Survey.

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Figure 7. States That Require Voting System Testing Most Commonly Require
Testing From an EAC-Accredited VSTL

Testing by EAC-accredited. VSTL required : 49.0%

State and federal certification required 47.1%

VVSG certification required:

State certification required

Federal certitication required
with specific reference to EAG

Federal certification required
without specific reference ta EAC

Other 9.8%

Independent lab testing required © 7 18%

Source: Information on voting equipment testing and certification policy was collected in item Q1da of the
Policy Survey.

Some states provided clarifying comments. The District of Columbia reported that it requires that
voting systems must meet or exceed HAVA standards and/or be federally certified. Similarly,
Oregon reported that the system must be EAC certified or examined by a federally accredited
VSTL. Maine indicated that federal EAC certification according to VVSG is required or preferred,
but testing based on another state certification program may be acceptable. Alaska reported that
it may approve a voting system upon consideration by an election administrator,92 and Wyoming
required the voting system to have been implemented for use in at least two other states.

Although there is no testing or certification of electronic poll books—sometimes called e-poll
books—on the federal level,°4 many states have their own process for testing or certifying these
machines before approving them for purchase. Of the 41 states (73.2%) that reported using @-poll
books either statewide or only in certain jurisdictions, 41.5% indicated that they do not require
testing or certification before the e-poll books’ approval for purchase. In another 41.5% of the
states that reported having e-pall book requirements, the testing and certification are required by

#3 AK Stat § 15.20.910 (2016).
24 As of the time of this report’s publication, the EAC is developing a pilot program for testing and certifying
e-poll books.

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statute, whereas in 17.1% of the states, testing and certification are required by a formal
administrative rule or guidance.95

The 2022 Policy Survey asked whether any jurisdictions in the state use e-poll books and whether
testing and certification are required before e-poll books’ “approval for purchase.” The Policy
Survey and EAVS did not collect data on other procedures a jurisdiction may require before
authorizing the use of e-poll books, including but not limited to pre-election testing, secure
physical storage, contingency planning, chain-of-custody practices, and poll worker training.

Recounts, Audits, and Election Certification

Before state and local election officials certify the results of an election, they take steps to verify
that ail established election procedures were followed and that ail voting equipment functioned
properly. The Policy Survey asked states about the activities that took place after ballots were
counted, special circumstances that occur when certifying election results, and the context
behind these activities. Many states require additional post-election verification that the counting
process was accurate. These additional verifications may take the form of a partial recount (in
which ballots in randomly selected precincts are counted a second time to ensure that the initial
tabulation of votes was accurate) or a more detailed audit {in which the entire voting process is
reviewed and key steps are verified).

Recounts

An election recount is a repeat tabulation of votes cast in an election, and it is used to determine
the accuracy of an initial count. Many recounts may be of only one contest or portions of contest.
Recounts may be conducted for a variety of reasons and repeat tabulations may be conducted in
a variety of ways. The 2022 Policy Survey collected data on the reasons a recount could be
conducted for the 2022 general election (Figure 8); these questions did not ask if the reasons for
a recount were automatic, mandatory, or triggered, or whether states actually conducted the
recount for one of the specified reasons. States reported that the most common reason a recount
may be conducted is at the request of an affected candidate or party (60%}. Less common
reasons were if the results of a contest were within a specified margin (47.3%) or that a court
ordered that a recount be conducted (45.5%). Among the listed response options in the survey
question, four states indicated other reasons that a jurisdiction within their state may conduct a
post-election recount.%¢ In Idaho, for example, the Secretary of State also conducts post-election
recounts where ballots are manually counted in randomly selected jurisdictions and precincts. In
Texas, a losing candidate in an election that used electronic voting systems can request a recount
no matter how wide the margin. Additionally, Mississippi noted that although the state does not
have recount procedures, a candidate who was on the ballot may conduct a ballot box
examination within 12 days of election certification to review its contents under the supervision of
a county circuit clerk; the candidate may choose to tally the votes in anticipation of a challenge to
an election.

85 Information on poll books was collected in items O15 and Q15a of the Policy Survey. (inois did not
provide a response to this item.
86 Information on state policies regarding election recounts was collected in item 035 of the Policy Survey.

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Figure 8. Post-Election Recounts Can Most Often Be Conducted
at the Request of an Affected Candidate or Party

Affected candidate or party requests a recount BE
Results of a contest are within a specified margin

Court orders.a tecount

Results.of a contest are within a specitied margin
AND affected candidaté or party requests a recount’

Anothér person or group not affiliated with an

affected candidate or party requests a recount 23.6%

An election authority orders a recount 20.0%

Other reasons 73%

Source: Information on post-election recount policy was collected in tem 035 of the Policy Survey.

States conduct recounts in multiple ways. Most (60%) states reported that recounts can be
conducted via a machine recount of paper ballots or voter-verified paper audit trails (VVPAT),
whereas 51% reported a manual recount of paper ballots or VVPAT.97 Some states explained
other ways or additional circumstances that determine how recounts are done; for example,
Nevada reported that recounts must be conducted in the same manner in which the election was
conducted, and in Idaho, a regular recount entails manually tabulating a sample of ballots
followed by a run through the electronic tabulator—if the results align within a small margin of
error, then ail remaining ballots are counted through the tabulator. Otherwise, all ballots are
recounted manually. In some states, a candidate or a court can specify the manner in which the
recount is done, or this can vary by the locality.

Audits

The 2022 Policy Survey expanded the series of questions asking states to report their auditing
activities, this time focusing on specific types of audits both before and after an election. These
auditing activities are defined in Table 6.

9? Information on how recounts are conducted was collected in item Q35a of the Policy Survey.

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Table 6. Auditing Activities Before and After an Election

An assessment of whether legal procedures were
Access audit followed to ensure the election's accessibility to voters

ith disabiiities.

A comparison of the published election results with the
number of voters who signed poil books during in-
person voting or whose mail ballot envelopes were
checked in

Ballot reconciliation audit

A process to verify that the ballots that were counted

Eligibility audit were legally cast,

A test to examine whether voting machines are
tabulating votes correctly before vote tabulation begins,
usually by creating a test deck of ballots and running

them through the machi

Logic and accuracy testing

Source: Information on the type of audits states conduct was collected in iter Q36 of the Policy Survey.
States were able to specify other types of audits that were untisted in the question item,

Nearly all states reported conducting logic and accuracy testing (94.6%), which examines whether
voting machines are tabulating votes correctly before vote tabulation begins. The majority of
states (76.4%) also reported conducting some form of post-election tabulation audits, which is
when a sample of ballots are selected and retabulated and the results are compared to the
originally reported vote totals. The least common auditing activities were legal audits (conducted
in New Hampshire and South Carolina) and ballot design audits (conducted in American
Samoa).?* Some states reported additional auditing procedures not listed in the survey options.
North Carolina, for example, conducts close-contest®? audits and audits of provisional ballots that
are counted to ensure that the proper procedures were followed. As part of their auditing
procedures, Maryland conducts a comprehensive audit that includes 17 separate audits of the
voting system, polling place operations, and post-election conciliation. Alabama piloted a post-
election audit in three jurisdictions, and Kentucky reported piloting a risk-limiting audit that will

28 Information on the type of post-election audits states conduct was collected in item Q36 of the Policy
Survey.
89 North Carolina did not define what the threshold was for a “close contest.”

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become a statewide process in 2023. Additionally, Kentucky requires the attorney general to
randomly select 12 jurisdictions to conduct their own audit. Figure 9 displays the different types
of auditing activities that states conduct.

Figure 9. Most Common Auditing Activities were Logic and Accuracy Testing
and Post-Election Tabulation Audits

Logic and accuracy

testing 84.8%

Post-election
tabulation audit

Ballot reconciliation
audit

Other audit

Compliance/
procedural atidit

Access audit

Eligibility audit
Legal audit

Ballotdesign &
audit #

Source: Information on auditing activities was collected in item O36 of the 2022 Policy Survey.

States that conduct post-election audits most commonly indicated that they are conducted as a
statutory requirement (92.9%). Georgia, Missouri, Nebraska, and Utah stated that they conduct
an audit as required by a formal administrative rule or guidance.t°° In Oklahoma, although post-
election tabulation audits are optional under state law, they will be authorized by the Secretary of
State Election Board.1°1 The Policy Survey did not collect information on whether these audits
were mandatory, triggered, or conducted only in certain circumstances.

The 2022 Policy Survey asked states to report which of the following post-election tabulation
audits would be required for the 2022 general election. States could select multiple options as
applicable:

o Atraditional, manual tabulation audit that comes from a fixed percentage of randomly
selected voting districts or voting machines and is compared to the results produced by
the voting system;

109 information on whether states require post-election tabulation audits was collected in item Q36a of the
Policy Survey.
101 See 26 0.5. Section 3-130.

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A traditional, machine tabulation audit that involves the same procedure as above but

involves machine, rather than manual, counting:

o Arisk-limiting tabulation audit that is a protocol designed to limit the risk of certifying an
incorrect election outcome by using statistical methods to select the audit sample size; or

o Another type of audit.

Almost two-thirds of the states reported requiring a traditional manual tabulation audit, and fust
under one-fourth reported requiring a traditional machine tabulation audit. Additionally, about
one-fifth of the states reported requiring a risk-limiting tabulation audit.292 Eleven states (26.2%)
provided comments detailing alternative procedures. For example, California stated that a
jurisdiction may choose to conduct a risktimiting audit instead of a traditional tabulation audit,
and Pennsylvania reported that its local jurisdictions may be performing a risk-limiting audit, but
the details have not yet been finalized and are not statutorily required.

Some states reported having additional steps in their tabulation audit processes. For example,
Maryland stated that it conducts a traditional manual audit as well as a completely automated
tabulation audit using ballot images. New York noted that although an audit may be conducted
using an automated audit tool (similar to machine tabulation), there is still a component that
requires manual review based on the overall number of ballots being audited. Washington
reported that local election officials can choose among several methods to meet the state post-
election tabulation audit requirement, including the option for a risk-limiting audit. South Carolina
detailed a process where an independent, third-party vendor uses ballot images to tabulate ail
ballots cast throughout the state, the results of which are compared to the results produced by
the voting system vendor.

Election Certification

State and federal election results are not final until the state completes their official certification.
The 2022 Policy Survey asked states to provide their election certification deadlines for the 2022
general election.1°3 The range was broad,+° with 47 states reporting a date between November
15, 2022 and December 8, 2022.195 States provided clarifying comments on their specific
policies regarding their certification deadline. For example, Delaware, Hawaii, Pennsylvania, and
Rhode Island reported not having a specific state certification deadline, and the District of
Columbia and Louisiana noted that their reported dates were tentative deadlines. Additionally,
Alaska commented that their reported date was a target deadiine, and North Carolina noted their
reported deadline was barring recounts or protests in individual races.

192 Information on the type of post-election tabulation audit that states require was collected in tem Q36b
of the Policy Survey.

193 Puerto Rico did not hold a federal genera! election in 2022.

104 The range was as early as November 10, 2022 in Delaware and as late as December 8, 2022 in Illinois.
408 information on deadlines for certifying the November 2022 general election results was collected in
itern Q34 of the Policy Survey.

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Appendix A: Descriptive Tables

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Policy Survey Table 1: State Voter Registration Databases

Top-down

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American Samoa

Top-down

Top-down

G:
Top-down

Delaware

Top-down

Real time

On demand

Florida

Real time and

daily

On demand

Top-down

On demand

idaho

Hybrid

Real time only

On demand

indiana

Top-down

Kansas

Top-down

Daily

ky

Louisiana

Top-down

Marjland

Top-down

SS

Top-down

Mississippi

Montana

Top-down

Real time

Top-down

Nevada

Bottom-up

Daily only

Daily

New Jersey

Top-down

Daily

New York

p

Bottom-up

Real time only

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North Dakota Top-down
Nowa om a

Bottom-up Real time only

Top-down

Puerto Rico [2]

South Carolina Top-down

Tennessee Bottom-up Daily only

U.S. Virgin Islands Top-down

Vermont Top-down

Washington Real time Reai time Real time

Wisconsin [5

Top-dewn

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Monthly

Arkansas

Colorado Monthly

Delaware _ On demand Monthly On demand
demand

indiana

Louisiana

Maryland

Michigan

Mississippi ~ - Real time Real time

Montana

New Jersey

New York Monthly

North Dakota

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Oregon

Puerto Rico [2] 7
_Rnode Ista

South Carolina - ~ Monthly

Tennessee

U.S. Virgin Islands ~ - - ~ ~

Vermont

St

Washington Reai time

Wisconsin [5] Monthly

Ww

Policy Survey Table 1 Calculation Notes:
Type of Database uses question Q3.
Frequency of information Transmission From Local Jurisdictions uses question Q3a.
Electronic Data Transfers, Motor Vehicle Agency uses question O4a.
Electronic Data Transfers, Agencies Serving People with Disabilities uses question 04b,
Electronic Data Transfers, State Public Assistance Agencies uses question O4c.
Electronic Data Transfers, Other State Agencies uses question Q4d.
Electronic Data Transfers, Federal Agencies uses question Q4e.
Electronic Data Transfers, Military Recruiting Offices uses question O4f,
Electronic Data Transfers, Entities that Maintain Death Records uses question Q4g.
Electronic Data Transfers, Entities that Maintain Felony Records uses question Q4h.
Flectronie Data Transfers, Entities that Maintain Records of Individuals Declared Mentally Incompetent

uses question O4i.

Policy Survey Table 1 Data Notes:
General Notes:
® Q3 and 04 were single-select questions. Q3a allowed states to select multiple responses,

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[1} Nebraska verifies driver's license/state ID and SSN information with real-time data transfers. Voter
registrations at DMV, surrendered IDs, changed IDs, SSNs needing verification from the Social
Security Administration, and DMV signatures are acquired via daily transfers.

[2] Puerto Rico did not hold a federai election on November 8, 2022 and was not required to provide a
response to Policy Survey questions that pertained directly to that election.

[3] Most counties transmit data in real time, but larger counties transmit data overnight.

[4] All data entry is done by the local jurisdictions. The state hosts and maintains the voter registration
platform.

{5] Wisconsin receives data from the state’s motor vehicle agency in real time when a voter is
completing a registration online, and receives data daily during full DMV checks run against voter
registrations that were created or updated with certain data into the database in the 24 hours prior
to the full DMV checks. Wisconsin receives some competency data electronically by email from the

courts.

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Policy Survey Table 2: Voter Registration Policies
Nice: i

Alabama

American
Samoa [1]

No Yes No No 17

rornl:
Colorado Yes Yes No No 16

Delaware

New Jersey ~ - _ ~ 17

New York

“North Dakota
[12}

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Oregon [15]

Puerto Rico

[17] N/A N/A N/A N/A 14

South Carolina
[18]

Tennessee [79]

US. Virgin

islands ~ ~ ~ ~ 17.5

Vermont [20]

Washington

Wisconsin [23]

Policy Survey Table 2 Calculation Notes:
Same-Day Registration Alowed for 2022 Generai Election, Election Day uses question Q8a.
Same-Day Registration Allowed for 2022 General Election, In-Person Early Voting uses question Q8a.
Same-Day Registration Allowed for 2022 General Election, Registration Overlap uses question Q8a.
Same-Day Registration Allowed for 2022 General Election, Other Cases uses question 08a.
Minimum Age for Pre-Registration uses question Q9.

Policy Survey Table 2 Data Notes:
General Notes:
¢ Q8 and Q9 were single-select questions. 08a allowed states to select multiple responses.
» Same-day registration (SDR) is defined as a voter registering to vote on the same day that they
cast a ballot in person.

[1] A person may pre-register to vote during an election year so long as they turn 18 years old before
the date of the election.

[2] Voter must be 18 years ald on or before Election Day in order to vote.

{3] The District of Columbia Board of Elections (DCBOE) sent 2 ballot to every registered voter for the
November 2022 general election. Since the submission of the 2022 Policy Survey, legislation was
passed to permanently make the District of Columbia a vote-by-mail jurisdiction.

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[4] Seventeen-year-olds may register If they will be 18 by the date of the general election.

[5] A person who is 17 years of age, but will be 18 years of age on or before the next general or
municipal election in their precinct, may register to vote.

[6] Individuals who are 16 years of age must register in person at the registrar or with their application
for a driver's license, Individuals who are 17 years old may pre-register via any method.

[7] There was a i-week period during in-person early voting when voters were able to register and vote
at the same time. Early voting in person began on October 22, 2022, and the voter registration
deadline was October 29, 2022.

[8} Due to a District Court decision and at the time that this survey was filled out by the State of
Montana, SDR was not allowed. However, shortly after that decision, SDR was allowed by court order
and the 2022 general election proceeded under that decision. Only precinct-to-precinct address
changes within the same county or registrations that moved from inactive to active status are
allowed on Election Day. Montana Code Annotated (MCA) 13-2-205 outlines the procedure when a
prospective elector is not qualified at the time of registration (see httos://leg. mt.gov/bills/mca
{title O130/chapter 0020/part 0020/section 0050/0136-0020-0020-0050 html}.

[9] Each county determines the available dates and hours during which drop boxes will be available
based on facility, staffing, and security resources available to the county. Some counties have
permanently installed drop boxes that are available to the public at all times for county business.
Others will make drop boxes available starting in the hours of early voting.

[10] Voters may pre-register to vote at age 17 as long as they will be 18 before the next scheduled
election.

[14] Same-day voter registration was only available during the early in-person voting period, which ran
from October 20, 2022 te November 5, 2022. SDR was not available on Election Day.

[12] North Dakota does not have voter registration.

[13] Voters may pre-register to vote if they will turn 18 on or before Election Day.

[14] Oklahoma dees not accept absentee ballots by the postmark date; absentee ballots must be
received by the county election board by 7:00 p.m. on Election Day.

(15] Oregon's registration cutoff is 21 days before each election. A voter could register that day and
request an absentee ballot, which would be mailed to them. Additionally, by registering to vote, an
individual is requesting a mail ballot since Oregon is a vote-by-mail state.

[16] Prior to the close of the voter registration period, a voter may go to their local county voter
registration office, register to vote, apply for a mail ballot, and vote a mail ballot all in one visit. The
mail bailot will then be canvassed and counted in the same manner as other mail ballots are
canvassed and counted. A person may register to vote prior to their 18th birthday as long as they will
be 18 by the upcoming election.

[17] Puerto Rico did not hoid a federal election on November &, 2022 and was not required to provide
a response to Policy Survey questions that pertained directly to that election.

[18] A person who will be 18 years old by the date of an election can begin registering 1.20 days prior to
the voter registration deadline for the election, or if there is a primary associated with the election,
120 days prior to the voter registration deadline for the primary.

[19] A 17-year-old who will be 18 by the next election in their jurisdiction can register to vote.

[20] A person can register to vote as long as they will be 18 years old on or before the date of the
genera! election. .

[21] Prior to October 1, 2022, 17-year-olds could pre-register according to VA Code § 24.2-403. On
October 1, 2022, 16-year-olds became eligible to pre-register (see § 24,2-403.4).

[22] West Virginia does not have formal pre-registration: however, voters who are 17 years of age may
register and vote in a primary election as long as they are 18 by the general election.

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[23] In Wisconsin, voters are allowed to register in the clerk’s office any time through 5:00 p.m. the
Friday before Election Day. They can also vote in-person absentee ballots from 2 weeks prior to the
election through the Sunday prior to the election, so there is an overlap of time where they may
register to vote and comolete their absentee ballot on the same day at the clerk's office. individuals
who are hospitalized may register and request a ballot to vote through an appointed agent on the
same day any time from the Tuesday prior to Election Day through 5:00 p.m. on Election Day.
Individuals who are 17 years old and wiil be turning 18 by the next upcoming election may pre-
register to vote.

[24] W.S. 22-3-102(a)(ii) states that-an individual must “be at least eighteen (18) years of age on the
day of the next general election.”

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Policy Survey Table 3: State Mail Voting Policies

Alabama

American Samoa [2]

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Arkansas

Colorado

No permanent absentee voting

No

Statewide

No permanent absentee voting

Delaware [5]

]

Persons with disabilities, Other

No permanent absentee voting

No permanent absentee voting

Indiana

No

No permanent absentee voting

Yes

No permanent absentee voting

i

Kansas [10]

Persons with disabilities

Louisiana

Yes

Individuals over a specified
age, Persons with disabilities

Maryland

Any registrant

Michigan [14]

Mississippi

Montana [15]

Any registrant

No

Persons with disabilities
ONS Wi

Any registrant

Nevada

No

Statewide

No permanent absentee voting

New Jersey

New York

Any registrant

Persons with disabilities, Other

North Dakota [18]

Ohio

Ne

No permanent absentee voting

No permanent absentee voting
é nt abse

Statewide

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Puerto Rico [21]

ae

South Carolina No permanent absentee voting

6

Tennessee [22] Persons with disabilities, Other

U.S. Virgin Islands No permanent absentee voting

Vermont Statewide No permanent absentee voting

Washington [25] Statewide No permanent absentee voting

Wisconsin [26] Persons with disabilities, Other

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American Samoa [2] No ~

Arkansas 10/14/2022

Colorado

10/17/2022

Delaware [5] No

Florida [6] Yes 10/24/2022

11/08/2022

Idaho Yes 09/23/2022 12/08/2022

Indiana Yes 09/01/2022 13/08/2022

10/19/2022 41/08/2022

09/26/2022 41/08/2022

09/24/2022 11/08/2022

10/11/2022 11/08/2022

10/22/2022 11/08/2022

09/24/2022 11/08/2022

10/29/2022 11/08/2022

(18) 10/31/2022 11/07/2022

10/12/2022 11/08/2022

10/19/2022 11/08/2022

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Puerto Rico [21]

South Carolina

N/A

No

Tennessee [22]

U.S. Virgin Islands

Vermont

09/24/2022

11/08/2022

Washington [25]

Yes

10/21/2022

11/08/2022

Wisconsin [26]

09/25/2022

11/08/2022

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Ele ion Da

Election Day

11/14/2022

11/16/2022

41/08/2022

14/10/2022

Not required

Guam

Neo

Election Day

Idaho

Yes

Indiana

11/08/2022

10 business
days after
Election Day

I

Not required

11/16/2022

Not required

Election Day
slé

Election Day

Kansas [10]

Yes

41/21/2022

Election Day

3 business days )
after Election
Day

| D
1 day before

Louisi ,
ouisiana Yes 11/07/2022 Not required Election Day
10 calendar
Maryland Yes 14/18/2022 Efection Day days after
Election Day

Mich igan [14]

11/08/2022

Not required

Laie:

Election Day

Mississippi

Yes

11/18/2022

Election Day

5 business days
after Election

Day

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Montana [15}

11/09/2022

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Not required

Election Day

Nevada

New Jersey

Yes

41/14/2022

Election Day

4 calendar days
after Election
Day

Yes

11/19/2022

New York

Yes

12/05/2022

Election Day

6 calendar days
after Election
Day

Election Day

7 calendar days
after Election
Day

North Dakota [18]

No

1 day before Election
Day

13 calendar
days after
Election Day

. LO calendar
Yes 11/15/2022 1 day before Election days after
Day .
Election Bay

se

Puerto Rico [21]

11/29/2022

Election Day

7 calendar days
after Election
Day

Election Day

et

Not required

Flection Day

South Carolina

Tennessee [22]

11/08/2022

Not required

Election Day

US. Virgin Islands

Vermont

No

Not required

10 calendar
days after
Election Day

Yes

ay

11/08/2022

Not required

Election Day

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18
20 calendar
Washington [25] 11/28/2022 Election Day days after
Election Day

e

Not required Election Day

11/08/2022

Policy Survey Table 3 Calculation Notes:
Excuse Required for Mail Voting uses question 016.
All-Mail Elections uses questions 017 and Q1i7a.
Populations Who May Register as Permanent Absentee Voters uses questions Q18 and Q18a.
State Allows Drop Boxes uses question 019.
Drop Box Operational Dates, First Date uses question 019¢.
Drop Box Operational Dates, Final Date uses question 019c.
State Allows Mail Ballot Curing uses question 020.
Deadline for Curing Mail Ballots uses question Q20b.
Deadline for Postmarking Mail Ballots uses question 021.
Deadline for Receiving Mail Ballots uses question Q21.

Policy Survey Table 3 Data Notes:
General Notes:

e §Q16, Q17, Q17a, Q18, Q19, 9196, Q20, Q20b, and Q21 were single-select questions. Q18a
allowed states to select multiple responses.

* An ail-mail election is an election in which all registered voters or all active registered voters
are automatically sent a mail ballot. Some in-person voting may take place during all-mail
elections. All-mail elections may be conducted statewide or only in certain jurisdictions within a
state.

« =A drop box is a locked container (located either indoors or outdoors) where voters (or voters’
authorized representatives, if allowed by state law) may deliver their voted mai! ballots for
collection. Drop boxes are operated or controlled by election officials. Drop boxes are separate
from ballot boxes, which are lecated at in-person polling places for voters to place their ballots
immediately after voting in person,

e Acured mail ballot is defined as a returned mail ballot that was originally rejected for an error
or because it was missing required information but was ultimately counted because the voter
corrected the error or supplied the required information,

[1] Drop boxes are only available when election offices are open.
[2] if a mail ballot is received within 7 days after Election Day and it is postmarked on or before
Election Day, the ballot may be counted.

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deadline to cure ballots

as Election Day. The
unties with 4 4-

¢ Election Day. for co

vember Lf, 2022.
Day and received by November 45,

pallots with 4 missing signature W

with a non-matching signature Was 5 busines
business-dey work week. this deadline fel
[4] Mail pallots needed to he postmarked o

9022.
(5) Apsentee baile
close of polls of E

[8] Mail pallots were f
office of the supervis

[7] Drop boxes WETe available

[8] Drop box availability varied
p-m. Regardless of pestmar

py 7:00 p.m. on Election Day.
[9] Ejection authorities shall accept any vote-by-
ion authorities may

insufficient oF no pos .
by-maii ballots. Any €

the postage
ail ballots returne ocess them as requir
ballot was collected. Ballots returne ction si
as delivered the next day. with the exception of pallots deliver
dated as received on Election Day- Election authorities shalt permit el
hallots at any established collection site through the close of palis on Election Day. Al
shall be secured by jocks that may be opened only by election authority personnel. The State poard
of Elections shall establish additional guidelines for the security of collection sites.
{10] Due to Veteran's Day, the ard business day after the 2022 general election Was
Election Day-

(3) The deadline to cure

ed by the election office that iggued the wallot by the

quired to pe recelv
Day in the

ts were fe
jection Day-

equired to be rec
or of elections.

cal time on Election

eed no later than 7.00 p.™- lo

ction Day at 7:00

g the dates and hours of advance yoting.
Clerk's office

only durin

by county and location. Drop boxes were closed on Ele
date, pallots Were required to be received by the county
ned, including ballots returned with

or more secure collection sites for
rity with collection sites shall collect
ng the day on which the
¢ business shall be dated
which shall be

actors to return yote-by-mall
i collection sites —

mail ballot retur
maintain one

fection autho
ed, including noti

tes after close ©
ed on Election Day,

the Monday after

6:00 p.m. on Ejection Day.
m, on Election Day.

to be received by
al clerk by 3:00 p-

uired
ligible to be

(14) Ballots were req
(12) Ballots must pe received DY the municip
[43] Voters with a letter from a physician stating they are unable to yote in person are e
permanent absentee yoters. Only certain types of mail ballot errors may be cured (non-matching
r signature, or migsing/incomplete required document).
ces of

re, missing vate
- Montana uses “ola

voter signatu
[aa] There is no
{451 Montana Use

formal start date for drop boxes.
tee pallots” rather than “mail pallots.”

g the term “absen
drop boxes.”

under 40,0
cincts in
eadiine to
the close

othe Secretary of State to conduct all-mail
i future elections pet Neb. Rev. Stat. §32-

ematohing signature. Non-matehing
n deadline {7 business days
-matching signature Was

oo may apply t

is anon
i yerificatio
eto cure a non

elections f
geo. The only except

signatures can be cu

after tne election). For th

November 18.

on ta the d

red through
e 2022 general el

of the provisioné
ection, the deadlin

opm. on Election Day.

a day, UP until 7:0
of the counties.

yoters 94 nours
atthe discretion

available to

{A7] Drop boxes ate
[18] The dates that drop boxes are available is set
st be received DY 7-00 p.m. 05 Election Day

{291 Ballots mu

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[20] Any registrant who is permanently disabled can request to be a permanent absentee voter, Any
registrant can request to be a permanent mail-in voter. Voters must re-apply for a ballot every year.
Voters with a permanent mail-in voter flag receive a ballot application from the county every year. If
they complete the application and are eligible, mail ballots are granted for all elections that year,
County election boards define the times drop boxes are open based on county election board
decisions. This can vary from county te county and hence the first day of drop boxes is not a valid
answer, For the last day of drop boxes, the counties can decide on this too. The ballots must be
received no later than 8:00 p.m. on Election Day to be counted. This question is not meaningful for
Pennsylvania. Specific dates cannot be selected in this question since the start date and end date
varies by county. Counties are permitted (but not required) to allow voters to cure deficiencies.

{21] Puerto Rico did not hold a federa! election on November 8, 2022 and was not required to provide
a response to Policy Survey questions that pertained directly to that election. The voter shall return
the voted ballots to the Puerto Rico State Elections Commission (PR-SEC) by mail. Ballots must be
postmarked no later than the date of the voting event or general election. Valid ballots must be
received by mail, on or before the last day of the voting event general canvass, to be counted.

[22] Mail ballots must be received by the close of polis on Election Day.

[23] Utah Code 20a-3a-401(5)(d)(ii) states that if an individual whose ballot is rejected because the
signature on the individual's return envelope is not reasonably consistent with the individual's
signature on their voter registration records, the individual should return an affidavit to the election
office no later than 5:00 p.m, the day before the canvass in order for the individual to have their
ballot counted.

[24] Virginia Code § 24.2-709 states that the voter's absentee ballot properly postmarked must be
returned by noon on the 3rd day after the election. Since that day fell on a holiday after the 2022
general election, Virginia Code § 1-210 required changing the deadline to noon on Monday,
November 14, 2022.

[25] Ballot drop boxes closed at 8:00 p.m. on Election Day. UOCAVA ballots were required to be
postmarked by November 8, 2022 and received by the county elections office by November 28,
2022.

[26] In Wisconsin, individuals may claim a need to be a permanent absentee voter for reasons of age
(not specified), physical illness, infirmity, or disability for an indefinite period of time. Ballots can be
cured for missing voter signature, missing witness signature, or missing witness address. They must
be cured by no later than the close of polls (8:00 p.m.} on Election Day. Wisconsin does not track if a
ballot requires a voter to cure a ballot or which ballots were counted after being cured. Due toa
recent court challenge, the use of drop boxes “is not permitted under Wisconsin law unless the drop
box is staffed by the clerk and located at the office of the clerk or a properly designated alternate site
under Wis. Stat. § 6.855." The Wisconsin Supreme Court affirmed the trial court, and the
subsequent ambiguity created by the decision means that most drop boxes were either closed or
moved into the clerk’s office, and reporting would be unlikely or unnecessary given the added layer of
security and placement. (see Teigen v. WEC, 403 Wis.2d 607). All ballots must be returned by close
of polls (8:00 p.m.) on Election Day.

[27] Drop boxes are not addressed in statute. Ballots must be received by 7:00 p.m. on Election Day.

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Alabama

Policy Survey Table 4: VOCAVA Voting

Election Day

7 calen ar days
after Election Day

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Election Day

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7 calendar days
after Election Day

American Samoa

Election Day

Election Day

Election Day

Election Day

Arkansas

Election Day

10 business days |
after Election Day

Election Day

10 business days
after Election Da

Colorade

Not required

8 calendar days
fter Election D

Not required

8 calendar days

Delaware

Not required

Election Day

Not required

Florida [1]

Ree

es

Not required

Election Day

Election Day

HGH Dal
40 calendar days

after Election Day

Guam

SP aUey ara

Election Day

at
10 business days
after Election Day

Election Day

Not required

10 business days
after Election Day

Election Day

Not required

indiana [3}

Election Day

le

10 calendar days
after Election Day

Electlon Day

10 calendar days
after Election Day

Kansas

Not required

Election Day

Louisiana

Not required

Not required

Election Day

Election Day

Not required

Election Day

ea

Maryland [4]

ze

Election Day

Michigan

10 calendar days
after Efection Da

Election Day

10 calendar days
after Election Day

Not required

Election Day

Mississippi

Election Day

Not required

Election Day

5 business days
after Election Day

Election Day

5 business days
after Election Day

Not required

Montana [6]

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Election Day

Not required

Election Day

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Nevada

Election Day

4 calendar days
after Election Day

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4 calendar days
after Election Day

New Jersey

New York

Not required

Election Day

Election Day

wens

Election Day

13 calendar days
after Election D

Flection Day

13 calendar days
after Election Day

North Dakota

Ohio

1 day before
Election Day

13 calendar days
after Election Da

er Elec ay.

1 day before
Election D

after El

13 calendar days

Election Day

10 calendar days
after Election Day

Election Day

19 calendar days
after Election Day

Oregon

Election Day

7 calendar days
after Election Day

Election Day

7 calendar days
after Election Day

Puerto Rico [13]

Election Day

Election Day

South Carolina [14]

Not required

“2 ca

Ek a
lendar days
fter Election D

Not required

pElect
2 calendar days
Electio Day

venga

Tennessee [15

U.S. Virgin Islands

Not required

Election Day

Not required

Vermont

Not required

10 business days.
after Election Day_

Not required

Election Day

10 business days

after Election Day

Not required

Election Day

Not required

Election Day

Washington

Wisconsin [18]

jee

Flection Day

20 calendar days
fier Election D

Election Day

Not required

Election Day

Not required

Cn
Election Day

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Postal mail, Ontine

Postal mail, Online

oe

American Samoa

Postal mail, Email, Fax

Postal mail

Arkansas

Postai mail, Online

Postal mail

Colorado

Postal mail, Email, Fax, Online

Postal mail, Email, Fax, Online

Delaware

Postal mail, Email, Online

Postal mail, Email, Fax, Online

Florida [1]

Postal mail, Email, Fax, Online

Postal mail, Fax

Postal mail, Email, Fax

Postal mail

Postal mail, Ema

Postal mail, Email, Fax, Other

indiana [3]

Postal mail, Email, Fax

Postal mail, Email, Fax

Postal mait, Email, Fax

Postal mail, Email, Fax

Louisiana

Postal mail, Email, Fax, Online

Postal mail, Email, Fax, Other

Maryland [4]

Postal mail, Email, Fax

Postal mail

Michigan

Postal mail, Email, Fax

Postal mail

Pestal mail, Email, Fax, Online

Pestal mail, Email, Fax, Online

Postal mail, Email, Fax, Ontine

Postal mail, Email, Fax

Postal mail, Email, Fax, Online

Postal! mail, Email, Fax, Online

New Jersey

Postal mail, Email, Fax

Postai mail, Email, Fax

Se

New York

Postal mail, Fax, Online

Postal mail

North Dakota

Postal mail, Email, Fax, Online

Postal mail

Email, Fax, Online

Postal mail, Email, Fax

Postal mail
talmall

Postal mail, Online, Other

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Puerto Rico [13] ) Postal mail, Email Postal mail

TES

Postal mail, Email, Fax, Online

South Carolina [14] Posta! mail, Email, Fax, Online

Tennessee [15] Postal mail, Emaii Postal mail

US. Virgin Islands Postal mail, Email, Fax Postal mail, Emaii

Vermont Postal mail, Email, Fax, Online Postal mail

Postal mail, Ernail, Fax, Online,

Other Postal mail, Email, Fax, Other

Washington

Postal mail, Email, Fax, Online,
ot

Wisconsin [18]

Postal mail, Other

Policy Survey Table 4 Calculation Notes:
Deadline for Domestic Military UOCAVA Voters, Ballot Postmark uses question 030.
Deadline for Domestic Military UOCAVA Voters, Ballot Receipt uses question 030.
Deadline for Overseas UOCAVA Voters, Ballot Postmark uses question O31:
Deadline for Overseas UOCAVA Voters, Ballot Receipt uses question O31.
UOCAVA Ballot Transmission Methods uses question Q27.
UOCAVA Ballot Return Methods uses question 028.

Policy Survey Table 4 Data Notes:
General Notes:
* Q27 and 028 allowed states to select multiple responses. O30 and O31 were single-select
questions.

[1] Overseas vaters (military and civilians) have up until 10 days after Election Day to have their ballot
received for a presidential! preference primary election and the general election.

[2] Because November 11, 2022 was a state holiday, the 3rd business day after the 2022 general
election fell on November 14, 2022.

[3] If the board of elections is unable to determine the postmark date of an absentee ballot sent by
mail, the absentee ballot may not be counted. An absentee ballot received from an overseas voter is
not considered as arriving too late if both of the following apply: (1) the absentee ballot envelope is
postmarked no later than the date of the election, and (2) the absentee ballot is received not later
than noon 10 days after the election. If the postmark on the absentee ballot envelope is unclear, the
county election board, by unanimous vote of the entire membership of the board, determines the
postmark date. if the board is unable to determine the postmark date, the absentee ballot may not
be counted.

[4] Per state regulations, ballots are considered timely if they are received at the local election office on
or by 10:00 a.m. on the 2nd Friday after an election.

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[5] The law specifies the UOCAVA ballot is timely if it is received by noon on the Friday after the election.
For the 2022 generat election, a federai holiday on the Friday after the election meant that the
deadline was the Monday after the election.

[6] Montana Code Annotated (MCA) 13-21-226 outlines procedures for receipt of a voted UOCAVA
ballot (see httos://leg mt.gov/bills/mea/title 0130/chapter 0210/part 0020/section 0260/0130-
0210-0020-0260.hitm!)

[7] UOCAVA ballot return via email or fax requires prior approval; county election offices seek approval
from the Secretary of State’s office on behalf of UOCAVA voters.

[8] All absentee ballots must be received by 5:00 p.m. on Election Day.

[9] UOCAVA bailots must be received by local election administrators by 7:00 p.m. on Election Day.

[10] UOCAVA ballots must arrive on the business day before the 10th calendar day after the election.

[14] Ballots must be received by 7:00 p.m. on Election Day.

[42] Domestic military UOCAVA voters need to sign an affirmation indicating that they completed the
ballot by 11:59 p.m. the day before the election. Ballots are counted as long as they are received by
the county 7 days after the election at the latest.

[13] Puerto Rico did not hold a federal election on November 8, 2022 and was not required to provide
@ response ta Policy Survey questions that pertained directly to that election. The voter shall return
the voted ballots to the PR-SEC by mail. Ballots must be postmarked no later than the date of the
voting event or general election. Valid ballots must be received by mail, on or before the fast day of
the voting event general canvass, to be counted.

[14] UOCAVA ballots must be received by 5:00 p.m. 2 days following the general election,

[15] UOCAVA ballots must be received by the close of polis on Election Day.

[16] UOCAVA voters may return ballots until the canvass date.

[17] Virginia Code § 24.2-709 states that the voter's absentee ballot properly postmarked must be
returned by noon on the 3rd day after the election. Since that day fell on a holiday after the 2022
general election, Virginia Code § 1-210 required changing the deadline to noon on Monday,
November 14, 2022.

[18] In Wisconsin, ai! ballots must be returned by close of polls on Election Day. UOCAVA ballots can be
transmitted by postal mail, email, fax, online, or through an appointed agent. VOCAVA ballots can be
returned by postal mail or in person if the voter fs local. All ballots must be returned by close of polls
{8:00 p.m.) on Election Day,

[19] Absentee ballots must be received by 7:00 p.m, on Election Day.

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Policy Survey Table 5: Electronic Ballot Transmission

American Samoa

Yes

No

No

Yes

No

No

Arkansas
HO
Colorado

Delaware

No

No

No

Yes

Florida

No

No

No

Yes

Indiana

Louisiana

Maryland

Mississippi

Montana

No

Yes

Na

New Jersey

New York

ee

North Dakota

Yes

No

No

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Puerto Rico [3]

South Carolina

Tennessee

U.S. Virgin Islands

Vermont

Washington

g

Wisconsin

py

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Alabama

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American Samoa

Accessible absentee
votin

Yes

No .

indiana

No

No Other

Kansas

No

No oe

Louisiana

Maryland

Michigan

No

Accessible absentee
voting

No

Mississippi

Montana

Nevada

New Jersey
M

New York

No

LZ

Ss
Remote ballot

marking

No

Na

Accessible absentee

No .
voting

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North Dakota

No

No

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Ohio

No

No

Remote ballot
marking

Puerto Rico [3]

K

sete

Tennessee

U.S. Virgin Islands

No

Yes

Vermont

No

No

Remote ballot
marking

Policy Survey Table 5 Calculation Notes:

Electronic Ballot Transmission Circumstances, No Electronic Ballot Transmission uses question 024.
Electronic Ballot Transmission Circumstances, Emergency Situations uses question 024.

Electronic Ballot Transmission Circumstances, Replacement Ballots uses question 024.

Electronic Ballot Transmission Circumstances, Voters with Disabilities uses question O24.

Electronic Ballot Transmission Circumstances, Any Circumstance uses question Q24.

Electronic Ballot Transmission Circumstances, Other Circumstances uses question 024.
Terminology for Electronic Voting by Voters with Disabilities uses question Q24a.

Policy Survey Table 5 Data Notes:

General Notes:

s Q24 allowed states to select multiple responses. 24a was a single-select question.
# 24 collected information on electronic ballot transmission for non-UOCAVA voters only. Voters
covered by UOCAVA may receive ballots electronically under the MOVE Act.

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[i] Voters with a disabitity that prevents them from privately and independently marking a paper baliot
may transmit baflots electronically. Massachusetts refers to electronic baflot transmission for voters
with disabilities as “accessible vote by mail.”

[2] UOCAVA ballot return via email or fax requires prior approval; county election offices seek approval
from the Secretary of State's office on behalf of UOCAVA voters.

[3] Puerto Rico did not hold a federal election on November 8, 2022 and was not required to provide a
response to Policy Survey questions that pertained directly to that election.

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Policy Survey Table 6: In-Person Voting Before Election Day

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09/14/2022

11/03/2022

American Samoa

09/09/2022

11/07/2022

Arkansas

In-person early voting

10/24/2022

11/07/2022

Colorado [4]

In-person early voting

oO

10/24/2022

11/07/2022

In-person early voting

10/28/2022

11/06/2022

Florida [5]

In-person early voting, In-
person absentee votin

40/24/2022

11/06/2022

in-person absentee voting

10/14/2022

11/03/2022

10/24/2022

41/04/2022

Indiana

In-person early voting,
Other

10/12/2022

11/07/2022

Kansas [8]

In-person early voting,
Other

No

10/19/2022

11/06/2022

Louisiana

In-person early voting

In-person early voting

10/25/2022

11/01/2022

0:

10/27/2022

11/03/2022

Michigan

1 JSENTES: VOL
In-person absentee voting

Mississippi

In-person absentee voting

09/29/2022

11/07/2022

09/24/2022

11/05/2022

Montana [14]

New Jersey

in-person absentee voting

No

10/11/2022

11/07/2022

In-person early voting

10/22/2022

14/04/2022

in-person early voting

10/29/2022

11/06/2022

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In-person early voting, In-

New York [1.7] bsentes

No 10/29/2022 | 11/06/2022

In-person early voting, In-

rson absentee voting No 10/21/2022 41/07/2022

North Dakota

iE DS fO}
in-person early voting, In-
pérson absentee votin

Ohie

No 10/12/2022 11/07/2022

Oregon [18] Other Yes 40/19/2022 11/07/2022

Puerto Rico [20]

In-person early voting N/A N/A

10/24/2022 13/05/2022

South Carolina [2413 In-person early voting

Tennessee In-person early voting No 10/19/2022 11/03/2022

In-person early voting, In-
person absentee voting

U.S. Virgin islands No 10/10/2022 10/31/2022

In-person absentee voting

Vermont [23]

09/24/2022 11/07/2022

10/21/2022 41/07/2022

Washington

Wisconsin [25] 10/25/2022 11/06/2022

| In-person absentee voting

Policy Survey Table 6 Calculation Notes:
Terminology for Casting a Ballot In Person Before Election Day uses question Q25.
Excuse Required uses question 025a.
In-Person Voting Before Election Day, First Day uses question O25b.
In-Person Voting Before Election Day, Last Day uses question Q25b.

Policy Survey Table 6 Data Notes:
Genera! Notes:
*® Q25 aliowed states to select multiple responses. 025a and Q25b were single-select questions.

[1] There are several in-person absentee and early vote locations that are also available on Election
Day. A list of these locations is available on the division’s website beginning 45 days prior to the
election.

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[2] Emergency voting was available from November 5, 2022 to November 7, 2022. Emergency voting
required the voter to sign an affidavit attesting to the fact they were experiencing an emergency that
would prevent them from voting on Election Day.

[3] The dates that early voting was offered varied by jurisdiction.

[4] October 24, 2022 was the first day that counties were required to have in-person polling locations
open. However, some counties chose to have in-person voting open earlier than that.

[5] Florida has 10 days of mandatory early voting with up to 5 additional days at the front end and one
at the back end.

[6] Schedules for each voting location varied. Some were open after October 25, 2022 and some
closed before November 7, 2022.

[7] The first date of early voting listed is for counties that have early voting at permanent polling places
other than the office of the election authority {10 [LCS 5/19A-15). The last day listed is for early
voting at the office of the election authority or at a jocation designated by the election authority for
this purpose (10 [LCS 5/19A-45, 194-20).

[8] In-person early voting varies by jurisdiction, Counties may begin advance voting as early as the 20th
day prior to Election Day. Ali counties must allow in-person early voting no later than 1 week prior to
Flectian Day.

[9] Kentucky had in-person absentee voting, which required an excuse. This was conducted from
October 26, 2022 until November 2, 2022, excluding weekends. Afterward, there were 3 days of no-
excuse absentee in-person voting in which anyone eligible to vote on Election Day could vote
between November 3, 2022 and November 5, 2022

[10] Any voter may request and vote an absentee ballot without a réascn as soon as ballots become
available (at least 30 days prior to Election Day) through the Thursday prior to Election Day. After that
date and through Election Day, voters who meet the requirements to get a special-circumstances
absentee ballot may still vote by absentee ballot, but they must have a reason.

[12] §10-301.1(d)(1) of the Election Law Article, Annotated Code of Ma ryland, states that early voting
centers shall be open for voting “beginning the second Thursday before a primary or general election
through the Thursday before the election.”

[12] The in-person voting period applies to in-person early voting. In-person absentee voting may occur
once ballots are available until 12:00 p.m, the day before Election Day. In-person absentee voting
before Election Day requires an excuse but early voting does not.

[13] An excuse is required for 4 weeks of the absentee voting period, Two weeks prior to the election,
voters can vote in persen with no excuse.

[14] in-person absentee voting is done at the county elections office. Under certain circumstances
(precinct-to-precinct change within the same county or moving from inactive to active status},
registration can be done on Election Day. Due to recent law changes in 2021, registration must be
done by noon on the day before Efection Day (see hitps://leg mtgov/bills/mea/title 0130
/chapter 0020/part 0030/section_0040/0130-0020-0030-0040. html).

[15] Early voting is typically only available during regular business hours on weekdays, although some
jurisdictions may extend their hours or open on weekends to accommodate early voting.

[16] New Hampshire has absentee voting, not early voting. A voter can request an absentee ballot any
time during the year, but will not receive their general ballot unti! the ballots are ready. Absentee
ballots are not opened or cast until Election Day.

[17] in-person early voting is conducted between the dates provided and does not require an excuse.
in-person absentee voting does require an excuse, and can be completed any time after ballots are
available (usually not earlier than a month and a half prior to the election).

[18] Oregon does not have early voting, but allows in-person voting in specific circumstances. For
example, if the voter loses their ballot or otherwise spoils it, they can appear at the county elections
office and be issued a new ballot. That happens through 8:00 p.m. on Election Day.

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[19] In-person voting on voting machines is not allowed before Election Day. Prior to the close of the
mail ballot application period, a voter may go to their focal county election board’s office, apply fora
mail ballot, and vote a mail ballot all in one visit.

[20] Puerto Rico did not hold a federal election an November 8, 2022 and was not required to provide
a response to Policy Survey questions that pertained directly to that election.

[21] Early voting locations are closed on Sundays.

[22] The dates and hours of in-person voting before Election Day vary by county.

[23] In-person early voting may only be done during the hours the town/city clerk’s office is open.

[24] Virginia Code § 24.2-701.1 requires at least 8 hours of in-person absentee voting on the 2
Saturdays before the election. Local electoral boards may provide for Sunday hours as well.

[25] In Wisconsin, statute determines the start and end dates of when in-person absentee voting can
be held; however, each municipality determines what days and times in that time frame they will
offer the option to their voters. The listed dates are the time frame in which in-person absentee
voting can be held.

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Policy Survey Table 7: Election Certification and Recounts

14/30/2022
11/15/2022

American
Samoa

Arkansas 11/23/2022

Colorado 11/23/2022

“Delaware [1] 11/10/2022

ia
Florida [3] 11/22/2022

11/25/2022

11/23/2022

me

Indiana [8 14/21/2022

Kansas [10} 12/01/2022

‘Louisiana [11} 14/23/2022

Maryland [13] 12/13/2022

“Michigan 11/28/2022

Mississippi [15] 12/08/2022

Mantana [17] 12/05/2022

Nevada [18] 11/22/2022

New Jersey 12/08/2022

12/15/2022

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North Dakota

it/ 29/ 2022

12/15/2022

Puerto Rico
[22]

South Carolina 11/18/2022

Tennessee [24] 12/08/2022 No No No No

US. Virgin

Islands No

11/18/2022

Vermont [26] 41/15/2022 No No Yes No

Washington
[28

12/08/2022

Wisconsin [30] | 12/01/2022

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Nee

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2 1 a3 4¢F> e ‘ © ue

Alabama Yes No

Yes Machine

American Samoa No - No No

Arkansas No No No Machine

Colorado

Machine

Florida [3] Manual, Machine

Machine

No No ‘Yes

Indiana [8] No No No Manual, Machine

Kansas [10]

Manual, Machine

Louisiane [11] Yes No No Other

Maryland [13] No No No Manual, Machine

Manual, Machine

Michigan Yes No No

Mississippi [15] Noa No Yes

Montana [17] Yes No No

Manual

Nevada [18] No No No

Manual, Machine

New York Manual

North Dakota Manual, Machine

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Puerto Rico [22]

South Carolina Machine

Tennessee [24]

U.S. Virgin

Islands Machine

Vermont [26] Machine

Washington [28]

Wisconsin [30]

Policy Survey Table 7 Calculation Notes:
2022 General Election Certification Deadline uses question Q34.
Reason State May Conduct a Recount, When Result Is Within Specified Margin uses question Q35.
Reason State May Conduct a Recount, By Request of Affected Candidate or Party uses question Q35.
Reason State May Conduct a Recount, When Result 's Within Margin AND Affected Candidate or Party

Request uses question Q35.

Reason State May Conduct a Recount, By Request of Other Person or Group uses question Q35.
Reason State May Conduct a Recount, By Court Order uses question Q35.
Reason State May Conduct a Recount, By Order of Election Authority uses question 035.
Reason State May Conduct a Recount, Other Circumstances uses question Q35.
Recount Methods uses question Q35a.

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Policy Survey Table 7 Data Notes:
General Notes:

¢ Q34 was a single-select question. Q35 and Q35a allowed states to select multiple responses.

e Election certification refers to a written statement attesting that the tabulation and canvassing
of an election are complete and accurate, or the act of confirming the final official results of a
jurisdiction’s election. This event occurs after results from valid ballots are talfied from all
voting methods and results are validated and approved by those legally responsible.

* Arecount is a repeat tabulation of the votes cast in an election to determine the accuracy of
the reported results of an election. Recounts may be conducted for a variety of reasons, and
the repeat tabulation may be conducted by hand or by machine, depending on focal laws and
procedures.

[1] The date listed {10:00 a.m. on the Thursday following the day of the general election) is the date
that the Board of Canvass convenes. Delaware law does not specify a deadline by which the Board of
Canvass must complete its work. Per Delaware Code, the margin for a recount is one-half of 1%
difference between the candidate receiving the most votes and the candidate receiving the next
highest number of notes (or fewer than 1,000 votes fora statewide election}.

[2] There is no required deadline. The date reported is the date the DCBOE was tentatively scheduled
to certify the November 2022 general election as of the date the 2022 Policy Survey was submitted.

[3] The applicable state or loca! canvassing entity has to issue a recount order once the threshold is
triggered. For a manuai recount, the recount consists solely of overvotes and undervotes and only if
the difference is fewer than the number of votes needed to change the outcome of the election,

according to Section 102.166, F.S. (htto://www.leg state fl.us/statutes/index.cfm?App mode
=Display Statute&Search String=&@URL=0100-0199/0102/Sections/0102.166. html).

[4] The deadline for certifying the election is 17 days after the election. Manual recount of paper ballots
is only allowable under court order or if no scanner passes pre-recount logic and accuracy testing.

[5] In every election, except a primary election, the Guarn Election Commission (GEC) shall not certify
the election results until the GEC makes a determination on all election complaints or causes for
contest brought to the attention of the GEC within 15 calendar days of the election. Thereafter, as
soon as all the votes are counted and the ballots are sealed, the GEC shall certify the resuits of the
election. The GEC Board may order a hand recount if warranted,

[6] There was no set deadiine to certify the results of the 2022 general election. If no election contests
were filed with the Supreme Court within 20 days of the election, the results were certified after that
date,

[7] The ioca! canvassing deadline for the 2022 general election was November 29, 2022, and the
State Board of Elections deadline was December 9, 2022; however, judges took the oath of office on
December 5, 2022 so the state canvassed by that date.

{8] For 2022, the Indiana Election Division (IED) tabulated the final results fer all federal offices no
later than the second Monday following the general election {November 21, 2022) and prepared a
certificate of election to the Secretary of State. IED tabulated all statewide and judicial offices not
fater than the last Tuesday in November (November 29, 2022}. The Secretary of State (SOS) certified
immediately after IED finished the tabulation. IED tabulated all state legislative offices no later than
the second Monday following the general election (November 21, 2022). SOS signed the certificate
of elections and delivered to each person elected to a state legislative office.

[9] The appointed recount board determines if a recount is conducted by hand counting or machine
counting.

[10] A County Board of Canvassers has authority to order a recount in extraordinary circumstances. The
person making the recount request specifies the manner and location of ballots to be recounted.

[14] The certification deadline reported in the 2022 Policy Survey was tentative based upon election
contest suits and appeal! delays. See La. R.S. 18:1405 and 1409.

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[12] The Secretary of State must submit the official tabulation of the votes to the Governor by the 20th
day after the election.

[23] §22-503{a)(1)(i1) of the Election Law Article, Annotated Cade of Maryland requires that the Board
of State Canvassers must convene within 35 days to certify the results for federal and state offices.
Only an affected candidate can request a recount. A party cannot request a recount. The candidate
requesting the recount specifies the type of recount they want.

{14] Loca! election officials must certify their election results and transmit them to the Secretary of the
Commonwealth within 15 days after the election. Thereafter, the Secretary of the Commonwealth
tabulates the totals and presents them to the governor and the council for certification. There are
two types of recounts, both of which require a candidate to file a petition, but depending on the type,
the signature requirements vary. If the difference between the two leading candidates is less than
one-half of 1%, the candidate can petition for a district-wide or statewide recount. If the difference is
greater than one-half of 1%, a candidate can petition for recounts by ward and precinct. Any
registered Massachusetts voter can petition for a recount of ballot questions.

[15] Mississippi does not have recount procedures. However, within 12 days of certification of the
election, a candidate who was on the ballot may conduct a ballot box examination to review the
contents of the balfot box while under the supervision of the county circuit clerk, The candidate may
choose to tally the votes they review in anticipation of a challenge to an election.

[16] A recount conducted in cases of a close race will use a machine recount but also review voter
intent on paper ballots. A 5% manual recount is conducted after each election from a randomly
selected precinct.

[17] Within 27 days after the election, or sooner if the returns are ail received, the state auditor,
superintendent of public instruction, and attorney genera! shall meet as @ board of state canvassers
in the office of the secretary of state and determine the vote. The secretary of state shall serve as
secretary of the board, keep minutes of the meeting of the board, and fite them in the official records
of the secretary of state’s office. (See https://leg, mt.gov/bills/mca/title 0130/chapter 0150
fpan_0050/section 0020/0130-0150-0050-0020. html). Montana Code Annotated (MCA) 13-16-
201 outlines the conditions under which recounts are to be conducted (see httns://leg_mt.gov/bils
/mea/title 0130/chapter 0160/parn 0020/section 0010/0130-0160-0020-0010 html). Montana
Code Annotated (MCA) 13-16-4412 outlines the procedure for recounting paper ballots {see
httos://ieg.mt.gov/bills/mea/title 0130/chapter 0160/part 0040/section 0120/0130-0160-
0040-0126 html}.

[18] The reported state election certification is the date of the Nevada Supreme Court’s canvass
pursuant to Nevada Revised Statute (NRS) 293.395. The 17 county Boards of County
Commissioners must certify their county elections before the Nevada Supreme Court canvass and
this must be done no later than November 18 pursuant to NRS 293.387. NRS 293.403 allows that,
“Any voter at an election may demand and receive a recount of the vote for a ballot question.”
Recounts must be conducted in the same manner in which the election was conducted.

[19] The Jisted certification date was barring recounts and/or protests In individual races, A machine
recount is the first recount authorized, and a manual recount triggered by certain requirements may
follow,

[20] The Oklahoma State Election Board met on November 15, 2022 to certify the results of the 2022
general election. State law requires that if a recount er contest is filed that has not been resolved by
the certification date, all other races or elections nat subject to the contest will be certified. A
separate meeting to certify the contested election may need to be scheduled.

[24] November 28, 2022 was the last day for county board of elections to file certified results with the
Secretary of the Commonwealth. There is no statutory deadline for the state to certify results,

[22] Puerto Rico did not hold a federal election on November 8, 2022 and was not required to provide
a response to Policy Survey questions that pertained directly to that election.

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[23] There is no definitive date, but the law mandates that a risk-limiting audit must be conducted prior
to certifying the election.

[24] By statute, the state officials must certify the statewide election results “...as soon as the returns
are received.” December 8, 2022 was an approximate date for when the state officials met to certify
federal elections.

[25] The state certification happens on the third Tuesday after the election.

[26] According to 17 V.S.A. § 2601 (a), “(1) in an election for federal office, statewide office. county
office, or State Senator, if the difference between the number of votes cast for a winning candidate
and the number cf votes cast for a losing candidate is two percent or less of the total votes cast for
all the candidates for an office, divided by the number of persons to be elected, that fosing candidate
shall have the right to have the votes for that office recounted. (2) In an election for State
Representative, if the difference between the number of votes cast fora winning candidate and the
number of votes cast for a losing candidate is five percent or less of the total votes cast for all the
candidates for an office, divided by the number of persons to be elected, that losing candidate shall
have the right to have the votes for that office recounted.”

[27] Virginia Code § 24.2-800 governs who may request a recount. The Section does not include
automatic recount provisions. Also, only a losing candidate may request a recount. There are
different allowable margins to request a recount for write-in candidates and for recounting a
referendum or issue election. Optical scan ballots that cannot be read by @ scanner for any reasan
and/or emailed ballots from UOCAVA voters, military voters, or print-disabled voters that also cannot
be read by a scanner are manually recounted in accordance with the “Virginia's Guide to Hand-
Counting Ballots” document.

[28] County canvassing boards certified their county results on November 29, 2022. The Secretary of
State certified all results by December 8, 2022.

[29] The clerk shall transmit a copy to the Secretary of State within 30 days from the date of the
election, except in the case of @ recount, in which the clerk shall transmit a copy of the results 30
days from the date of the completion of the recount.

[30] Wisconsin law permits a recount to occur under a wide variety of circumstances within specified
margins, by candidate request within specified margins, or when ordered by a caurt of law. When
conducting a recount, the Board of Canvassers may decide between hand count or machine count
and can also choose that one reporting unit is done one way while another reporting unit is done
another way. A court may order the count be done in a particular way if a reason can be proven by a
petitioner.

[31] Recounts may be conducted in cases of ballot proposition.

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Policy Survey Table 8: Election Audits

Alabama

American
Samoa

Arkansas

Colorado

Delaware

Idaho No No Yes No No

Kansas

Louisiana

Maryland

Michigan

Mississippi

Montana

Nevada

New Jersey

New York

North Dakota

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Puerto Rico [2]

N/A

N/A

N/A

N/A

N/A

South Carolina

Tennessee

Yes

No

Yes

No

Yes

U.S. Virgin
Islands

No

No

No

No

Vermont

Washington

Wisconsin

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Alabama

American Samoa

Arkansas

Colorado

Delaware

Indiana

Kansas

Louisiana

Maryland

Michigan

Mississippi

Montana

New Jersey

New York

North Dakota

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Puerto Rico [2]

South Carolina

Tennessee

U.S. Virgin Islands

Vermont

Washington

Ssconsin

Policy Survey Table & Calculation Notes:

Types of Audit Activities Conducted for 2022 General Election, Access Audit uses question O36.

Types of Audit Activities Conducted for 2022 General Election, Baliot Design Audit uses question O36.

Types of Audit Activities Conducted for 2022 General Election, Ballot Reconciliation Audit uses
question O36.

Types of Audit Activities Conducted for 2022 General Election, Compliance Audit or Procedural Audit
uses question 036.

Types of Audit Activities Conducted for 2022 General Election, Eligibility Audit uses question Q36.

Types of Audit Activities Conducted for 2022 General! Election, Legal Audit uses question 036.

Types of Audit Activities Conducted for 2022 General Election, Logic and Accuracy Testing uses
guestion O36,

Types of Audit Activities Conducted for 2022 General Election, Post-Election Tabulation Audit uses
question Q36.

Types of Audit Activities Conducted for 2022 General Election, Other uses question 036.

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Policy Survey Table 8 Data Notes:
General Notes:

* Q36 allowed states to select multiple responses.

« An election audit may refer to (1) A systematic, independent, documented process for
obtaining records, statements of fact, or other relevant information and assessing them
objectively to determine the extent to which specified requirements are fulfilled. (2) The
verification of statistical or exact agreement of records from different processes or subsystems
of a voting system. (3) A review of a system and its controls ta determine its operational status
and the accuracy of its outputs.

[1] The Secretary of the Commonwealth directed all counties to participate in a risk-limiting audit and
all but one of Pennsylvania’s 67 counties did so.

[2] Puerto Rico did not hold a federal election on November 8, 2022 and was not required to provide a
response to Policy Survey questions that pertained directly to that election.

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Chapter 3. Voter Registration: The
NVRA and Beyond

Aey Findings

Section A of the Election Administration and Voting Survey (EAVS) collected data on voter
registration between the 2020 and 2022 general elections. Election officials were asked
questions related to registration and list maintenance, including the number of people registered
and eligible to vote in the 2022 general election, registration applications processed,
confirmation notices sent pursuant to the National Voter Registration Act (NVRA) and for other
purposes, and records removed from the voter registration rolls. Notable findings from Section A
of the 2022 EAVS include:

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State motor vehicle offices continued to be the most common source of registration and
accounted for 55% of all registrations received—the highest in EAVS history.

Online registrations were the second most common source of registration and accounted
for 14% of the registrations received. However, this source dropped by 50.3% compared to
online registrations reported for the 2020 EAVS.

The percentage of in-person voter registrations and registrations received by mail, fax, and
email continued to decrease and obtained the lowest results of the past election cycles. In-
person voter registration accounted for 5.9% of all registrations, whereas mail, fax, and
email registrations combined accounted for 9.1%.

The total number of active registrations for the 2022 general election was more than 203
million, accounting for 85.4% of the citizen voting age population (CVAP). Over two-thirds of
the states reported a higher active registration rate in 2022 than in 2018.

c Nearly 81 million registration applications were processed for the 2022 general election.
The most common types of registration applications submitted by voters were changes to
the voter's record (44.1%) and new valid registrations (27.9%).

States reported sending 26.6 million confirmation notices between the close of
registration for the 2020 general election and the close of registration for the 2022
general election. More than half of these confirmation notices were not returned by voters.

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QO

introduction

Voter registration is required in 49 states,+ all U.S. territories, and the District of Columbia,
making registration the first step toward election participation for most voters.? Registration
serves multipie purposes: it allows election officials to confirm if a person is eligible to vote;
permits officials to efficiently allocate resources such as ballots, poll workers, and voting

* Throughout this report, unless otherwise specified, the term “state” can be understood to apply to the 56
states, U.S. territories, and federal districts that submit Policy Survey and EAVS data. Puerto Rico did not
submit data for the 2022 EAVS because it did not hold a federal general election in November 2022.

2 North Dakota is the only state that does not require voter registration.

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equipment, depending on the number of registrants per precinct and jurisdiction;3 and allows the
tracking of voter participation.

Congress passed the NVRA in 1993 to “establish procedures that will increase the number of
eligible citizens who register to vote in elections for federal office.”4 This act, commonly known as
the “Motor Voter Law,” requires that states offer the opportunity to register to vote at their motor
vehicle offices (known as the Department of Motor Vehicles [DMV] in many states) and when
residents are applying for a driver's license—including renewals. The law also requires states to
offer voter registration at offices that provide public assistance or state-funded programs
primarily engaged in providing services to individuals with disabilities, and at armed services
recruitment offices. The NVRA also provides guidelines on registration list maintenance and sets
limits on how voters can be removed from the rolls.

The Help America Vote Act (HAVA) of 2002 charged the U.S. Election Assistance Commission
(EAC) with collecting data on voter registration and list maintenance procedures. The EAC meets
its statutory requirement to report to Congress on the impact of the NVRA via Section A of EAVS.5
This chapter of the EAVS not only fulfills this requirement, but also provides insight on the
changes in registration behaviors of Americans during federal elections and the state policies
affecting the registration process.

Federal Laws Regulating Voter Registration

The National Voter Registration Act of 1993
The NVRA is the primary federal law governing voter registration in the United States. In this law,
Congress provides a clear statement regarding the importance of voter registration:

“(1) the right of citizens of the United States to vote is a fundamental right;

(2) it is the duty of the Federal, State, and local governments to promote the exercise of
that right; and

(3) discriminatory and unfair registration laws and procedures can have a direct and
damaging effect on voter participation in elections for Federal office and
disproportionately harm voter participation by various groups, including racial minorities.”¢

3 What constitutes a jurisdiction for EAVS reporting is defined by how each state chose to provide data. For
the 2022 EAVS, most states reported data on the county level (or county equivalent, such as parishes for
Louisiana). The territories, the District of Columbia, and Alaska each reported as a single jurisdiction,
inois, Maryland, Missouri, Nevada, and Virginia reported data for independent cities in addition to
counties. Rhode Island reported data at both the city and town level. Wisconsin reported data at the city,
town, and village level. Connecticut, Maine, Massachusetts, New Hampshire, and Vermont reported data at
the town or township level. Maine also reported its Uniformed and Overseas Citizens Absentee Voting Act
(UOCAVA} data in Section B as a separate jurisdiction, because this information is only collected at the state
level. Michigan reported data for the county level, but most election administration activities take place in
the 1,520 focal election jurisdictions in the state. Elections for Kalawae County in Hawaii are administered
by Maui County; although Kalawao is included as a jurisdiction in the EAVS data, Kalawao’s data are
included with Maui's data.

452 U.S.C, § 20501.

5 Before 2016, the EAC administered a separate survey called the NVRA Survey, which collected similar
information. This survey was consolidated with the EAVS for the 2016 elections. Before the creation of the
FAC, the NVRA Survey was administered by the Federal Election Commission.

562 U.S.C, § 20501.

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The primary purposes of the NVRA are:

“(1) to establish procedures that will increase the number of eligibte citizens who register
to vote in elections for Federal office;

(2) to make it possible for Federal, State, and local governments to implement this Act
[NVRA] in a manner that enhances the participation of eligible citizens as voters in
elections for Federal office:

(3) to protect the integrity of the electoral process: and

(4) to ensure that accurate and current voter registration rolls are maintained.”7

The NVRA was fully implemented after the 1994 general election. Several states are not covered by
the NVRA. North Dakota is exempt because it does not have voter registration. U.S. territories are
also not subject to the NVRA, and the states of Idaho, Minnesota, New Hampshire, Wisconsin, and
Wyoming are exempt because they had same-day registration (SDR) in 1993 and have continued to
make this option available to voters uninterrupted since that time.

The NVRA’s first purpose is to expand opportunities for voters to register by creating more uniform
processes for voter registration and designating more places and methods to register to vote. The
NVRA requires that states allow multiple methods and places to register to vote, including: (1)
motor vehicle offices when a person obtains, renews, or updates the address on their driver’s
license; (2) through the mail, using a standard registration application;® (3) at all state offices
providing public assistance (e.g., the Supplemental Nutrition Assistance Program [SNAP]}; (4) at
all offices that provide state-funded programs focused on providing services to people with
disabilities; (5) at recruitment offices of the Armed Forces of the United States; and (6) at other
state-designated offices such as public tibraries and local government offices. All of these offices
are mandated under the NVRA to provide their users with information on voter registration, to
assist in the registration process when required, and offer to transmit completed voter
registration applications to the appropriate election official.

The NVRA also sets some fundamental guidelines on voter registration that states must follow.
For example, states may set their own deadline for citizens to register to vote in a general election
for federal offices, but that deadline can never be more than 30 days before the date of the
election. The NVRA aiso sets the process that states need to follow to maintain and update their
voter registration rolls and to conduct removal processes.

Help America Vote Act of 2002 (HAVA)

HAVA was enacted with the goal of updating the voting administration system in the United States
and creating a commission to assist in the administration of federal elections. In addition to
legislating the update of the administration process for federal elections in the United States,
HAVA mandates that states create and maintain a “computerized statewide voter registration list”
that serves as “the official voter registration list for the conduct of all elections for Federal office

752 U.S.C. § 20507.
8 States can make available the standard National Mail Voter Registration Form provided by the EAC

(httos://www.eac. gov/sites/default/files/eac_assets/1/6/Federal Voter Registration ENG.pdf) or their

own version of a mail registration farm following the NVRA’s requirements.

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in the State.”® The computerized registration list must be centralized and “defined, maintained
and administered at the State level.”4° However, although the registration list is administered at
the state level, any local election official must have access to the registration list and is required
to enter any updated voter registration information in the computerized system. HAVA also
specifies that the maintenance of the implemented computerized registration list will be carried
out according to the NVRA's mandates, and that duplicate names or registrations will be removed
from the state’s registration list.

State Voter Registration Policies

States have wide latitude on how to conduct their voter registration activities, as long as state
policies comply with federal laws like the NVRA and HAVA. This flexibility allows states to adapt
their laws as they see appropriate to better serve the interests of their citizens and permits them
to adapt when unforeseen circumstances arise.

During the height of the COVID-19 pandemic, some states implemented laws to expand voter
registration opportunities by allowing residents to register to vote online, at the polls, or by
extending the deadline to register to vote. In some cases, these changes have been maintained
for the 2022 general election. For example, in 2020, Massachusetts extended its voter
registration deadline from 20 days before the election to 10 days before the election—which also
created an overlap between open voter registration and early voting, allowing residents to register
to vote and cast a ballot on the same day—and maintained this registration deadline for the 2022
general election.4+

However, voter registration laws usually take years from when they are first proposed to when
they are fully implemented. For example, in April 2020—well before the November 2020 general
election—Virginia’s legislature approved the use of SDR for “any person who is qualified to
register to vote.”12 However, this law did not become effective until October 1, 2022, making the
2022 general election the first election in which Virginians were allowed to register to vote at the
polls on Election Day.13

The Registration Process

The typical voter registration process is depicted in Figure 1. Citizens in the United States can
register to vote using different methods—some of them mandated by federal law (e.g., mail
registration) and others offered at the discretion of the state (e.g., online registration). Once a
registration application is completed and submitted, the state or local election office must
confirm the eligibility of the applicant. Eligible applicants are added to the voter registration rolls
and notified of their registration status, whereas applicants who submitted ineligible or
incomplete applications are contacted for further information to complete their applications.

952 U.S.C. § 21083.

410 Ibid.

41 https://www_ sec. state ma.us/divisions/elections/voter-resources/registering-to-vote, htm
2 VA Code § 24.2-420,1 httos://lis virginia gov/cgi-bin/legn604 exe? 201+ful+CHAP1153
&201+fult+CHAP1153.

+3 For a more compiete overview of states’ registration policies, see Chapter 2 of this report.

+4 In order to be eligible to register to vote for federal elections, federal law requires that individuals must
be US. citizens and be at feast 18 years old. Some states have additional eligibility requirements, such as
requiring individuals to have resided within the state or jurisdiction for a certain period of time before they
may register to vote.

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Figure 1. The Voter Registration Process

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Voter registration also serves to assign each voter to a precinct~a bounded geographic area to
which voters are assigned according to their residential address as listed on their voter
registration record—so that voters receive the correct ballot in an election. The voter registration
system tracks each voter's electoral participation so that an individual can be given credit for
voting in an election, which helps ensure that each registered voter casts only one ballot that is
counted per election.

Every person with a valid registration is considered an active, registered voter. However, at times
a question arises as to whether a person still resides at the address at which they are registered.
The election official may receive a notification via the U.S. Postal Service National Change of
Address service that the voter has a new residential address. In these situations, the state or
loca! election office may send the registrant a confirmation of address notice. If the person
responds to the confirmation notice, the election office will take action as directed by the
recipient. In many states, if the person fails to return the form or the form is returned to the
election office as undeliverable, the person is placed on a list of inactive voters. Inactive voters

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are still part of the registration roils and included in the registration totals in most jurisdictions.*5
However, before they can vote, inactive voters are typically required to show approved
documentation of their eligibility (most commonly, proof that they five at an address within the
voting jurisdiction}. In some cases, inactive voters may be required to cast a provisional ballot
when their eligibility cannot be established at the polls.

The NVRA also requires states to maintain their voter registration rolls by removing registrants
who are no longer eligibie to vote. This process is referred to as “list maintenance.” When an
individual is removed from the voter registration roll because of a change in residence under the
NVRA process, this is called “address list maintenance.” More details about list maintenance
processes and procedures are available in the “Registration List Maintenance” section of this
chapter. Election offices may share data with other state agencies or entities that maintain death
records or felony and prison records for the purposes of identifying potentially ineligible voters.1°

Voter Registration Rates for the 2022 General Election

The NVRA requires each state to report its total number of registered and eligible, active, and
inactive registrants for each federal general election.17 Most states report the total “registered
and eligible” voters as the sum of active and inactive registrants. However, data on registered and
eligible voters as reported in the EAVS should be used with caution, as these totals can include
registrants who are no longer eligible to vote in that state but who have not been removed from
the registration rolls because the removal process taid out by the NVRA can take up to two
election cycles to be completed,18. 19

15 information on whether states differentiate between active and inactive voters was collected in item Q410
of the Policy Survey. According to the 2022 Policy Survey, six states {American Samoa, Guam, Idaho, New
Hampshire, North Dakota, and Wyoming) do not distinguish between active and inactive voters in their
registration records. In survey comments in EAVS, Minnesota reported “Minnesota is NVRA exempt.
Minnesota does not classify voters as inactive per NVRA.” Nebraska reported “Nebraska does not have
‘Inactive’ voters. The numbers in fine Alc reflect the number of voters who were sent a Section &(d}(2}
notice and have not responded.” Oregon reported “Do not track number of inactive voters,” and Wisconsin
reported “Wisconsin is NVRA exempt: Wisconsin does not have inactive registered voters,”

46 More information about state policies on voter registration database linkages is found in Chapter 2 of
this report.

47 Eleven states (American Samoa, Guam, idaho, Minnesota, New Hampshire, Northern Mariana Islands,
Ohio, Oregon, the US. Virgin Islands, Wisconsin, and Wyoming) reported only active registrants. North
Dakota does not have voter registration and thus did not have any data to report.

18 Utah reported 199,315 fewer “registered and eligible” voters in their state (item Ala of the EAVS) than
the sum of active and inactive registrants (items Alb and Alc of the EAVS). This discrepancy is mainly the
result of two of this state’s counties not reporting data in Ala for total registrations but reporting data in
Alb for total active registrations. Illinois reported 84,176 more “registered and eligible” voters than the
sum of active and inactive registrants. This discrepancy is the result of seven of this state’s counties
reporting data in Ala for total registrations but not reporting data in Alb for total active registrations and/or
Alc for total inactive registrations.

19 New Hampshire reported zero registered voters in 18 of its 320 jurisdictions and stated in comments:
“Unincorporated place - No voters.” Wisconsin reported zero registered voters in three of its 1,851
jurisdictions because these jurisdictions were incorporated or annexed into new municipalities where they
reported the corresponding registration data. Kalawao County in Hawaii did not report registered voters
because Maui County administers Kalawao County's elections, and Maui's registrants are reported in
Kalawao's data. Two counties in Utah (Davis County and Morgan County) responded “Data not available” te
the number of registered voters in the county, North Dakota did not report the number of registered voters
because the state does not require voter registration.

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Calculating Registration Rates

As with voter turnout, there are different ways to calculate voter registration rates.
Registration Rate Numerator

© Total Registrants. The number of people that states reported as being registered and eligible
to vote (Ala in the EAVS). This total includes active and inactive registrants. This metric
ovetrepresents the actual number of registrants within a state, since some of the people
included (particularly inactive registrants) may not be eligible to vote in that jurisdiction.

© Active Registrants. The number of people that states reported as being eligible to cast a
ballot without the need to provide additional eligibility evidence at the polls (A1b in the EAVS).
This total excludes inactive registrants.

Registration Rate Denominator

2 Voting Age Population (VAP). The estimate of the number of individuals ages 18 or older
provided by the Census Bureau.
© Citizen Voting Age Population (CVAP): The estimate of the number of American citizens ages
18 or older provided by the Census Bureau. This estimate is more accurate than the VAP in
that it restricts the inclusion criteria to being a U.S. citizen, which is mandatory to vote in
federal elections.
Voting-Eligible Population (VEP). The estimate created by subtracting from the CVAP the
citizens that are ineligible to vote (e.g., individuats with disqualifying felony convictions) and
individuals who are in the military or citizens living overseas. This estimate is provided by the
U.S. Elections Project and is availabie at the state level but not at the jurisdiction level like
the VAP and the CVAP estimates.

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The combination of active registrants and the CVAP to calculate the registration rate in the EAVS
provides a higher level of accuracy than using the total registrations and/or the VAP to calculate the
rate at the jurisdiction level when needed, as opposed to the use of the VEP. This calculation has
some limitations, such as the potential overrepresentation of total registrants in the active registrant
list due to challenges for states to keep thelr voter registration rolls fully up to date. When analyzing
EAVS data, the EAC recommends using the following method to calculate voter registration rates:

Alb of EAVS

CVAP x 100 = Active CVAP Voter Registration Rate

See Chapter 2 of this report for a discussion of state policies on voter registration and list
maintenance.

For the 2022 general election, states reported that 226,339,980 citizens were registered to vote,
either as active or inactive voters.2° This represents a 7% increase compared to the number of
people who were registered to vote for the 2018 general election.2: Nationally, 90% of all

2° The total number of registered voters was collected in item Ala in the 2022 EAVS.

21 The percentage change in total number of registered voters between 2018 and 2022 was calculated as
Ala(2022)/A1a(2018)}. One unit was subtracted from the result of the division, and the result was
multiplied by 100 to obtain the percentage change.

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registrants were designated as active, and 11.1% of registrants were designated as inactive.22
The total number of active registrants exceeded the 200 million mark for the first time in EAVS
history in 2020 and continued to exceed that mark with 203,660,564 active registrations
reported in 2022, accounting for 85.4% of the 20241 CVAP.23. 24 The majority of states reported
active registration rates of 80% or more of their 2021 CVAP (see Table 1 of Appendix A in this
chapter).25 Compared to the active registration rates in 2018, 68.6% of the states reported a
higher active registration rate in 2022.26

There was a 2.8-percentage-point increase in the active registration rates at the national level
(from 82.5% in 2018 to 85.4% in 2022).27 At the state level, West Virginia and Michigan reported
the largest increases in active registration rates between 2018 and 2022 (11.3% and 10.1%,
respectively), and Maine and New Hampshire reported the largest drops in active registration

22 The percentage of active and inactive registrants was collected in items Aib and Aic of the 2022 EAVS,
respectively, and the two data points were each divided by the total number of registered voters (item Ala
of EAVS). North Dakota was not included in these calculations because it does not have voter registration.
American Samoa, Guam, Idaho, Minnesota, New Hampshire, the Northern Mariana Islands, Ohio, Oregon,
the U.S. Virgin Islands, Wisconsin, and Wyoming did not provide data about inactive voters in item Ale of
the 2022 EAVS, Casewise deletion at the state level was used in calculating the national percentages;
because of this, the percentage of active and inactive registrants does not sum to 100%. Casewise deletion
only uses data from states that provide information for the numerator and the denominator of the
calculation and, in the case of inactive registrations, there are several states that do not have or track data
on inactive registrations. They were thus excluded from the percentage of inactive voter calculation,
whereas all states were included in the percentage of active registrations.

23 The total number of active registrants was collected in item Alb in the 2022 EAVS. The active CVAP voter
registration rate was calculated as ALb/CVAP x 100. North Dakota was not included in the calculation
because it does not have voter registration. American Samoa, Guam, the Northern Mariana fslands, and the
U.S. Virgin Istands were not included in the calculation because there is no CVAP information from the
Census Bureau for these territories, For more information on the rationale to use these numbers to create
the active CVAP voter registration rate, see the callout box “Calculating Registration Rates” in this chapter,
Casewise deletion at the state level was used in calculating the national percentages.

24 This report uses the 1-year American Community Survey (ACS) state CVAP estimate for 2021 instead of
the 5-year estimate to ensure that the CVAP is as current as possible. The CVAP estimates for 2022 were
not available by the time this report was finalized.

25 The percentage of active CVAP voter registration was calculated as Alb/CVAP x 100. Casewise deletion
at the state level was used in calculating the national percentage.

2¢ The percentage of states reporting a higher active registration rate in 2022 was calculated by subtracting
the active registration rate for 2022 from the active registration rate for 2018 {both calculated as
Alb/CVAP x 100) and categorizing the positive results as increases and the negative results as decreases.
North Dakota was not included because it does not have voter registration. The U.S. territories of American
Samoa, Guam, the Northern Mariana Isiands, and the US. Virgin Islands were not included because the
U_S. Census Bureau does not provide an estimate for their CVAP.

2? The 2018 active CVAP registration rate uses the same calculation as 2022. The 2018 active CVAP
registration rate uses the 2017 CVAP as the denominator. The percentage point change between the 2018
and 2022 active CVAP voter registration rates was calculated by subtracting the 2018 active CVAP voter
registration percentage from. the 2022 active CVAP voter registration percentage. New Mexico's change in
registration rate has not been highlighted because of data quality issues with the state’s Ab submission in
the 2018 EAVS.

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rates (14.8% and 12.5%, respectively).28 29 Figure 2 shows the change in the active CVAP voter
registration rate among states from the 2018 general election to the 2022 general election.

Figure 2. Most States Had an increase in Active Citizen Voting Age Population
Registration Rate from 2018 to 2022

Vi
Percent Change ww

Hl >5% 0.1% to5% )-15%100% [INo Voter Reg. (CINo Data

Source: The percentage of active CVAP voter registration change was calculated as the 2022 percentage of
active CVAP voter registration (ALb/CVAP x 100} for the 2022 EAVS divided by the 2018 percentage of
active CVAP voter registration (Alb/CVAP x 100) for the 2018 EAVS. One unit was subtracted from the
result of the division, and the result was multiplied by 100 to obtain the percentage change. Casewise
deletion at the state level was used in calculating the national percentage. North Dakota does not have a
change rate because it does not have voter registration. Puerto Rico does not have data because it did not
conduct a 2022 federal general election. The U.S. territories of American Samoa, Guar, the Northern
Mariana Islands, and the US. Virgin Islands do not have a change rate because the U.S. Census Bureau
does not provide an estimate for their CVAP. Cutoff points in the graph were selected to reflect states that
decreased, that slightly increased, and that notably increased in terms of the active CVAP registration rate
from 2018 ta 2022.

25 The percentage of active CVAP voter registration change was calculated as the 2022 percentage of
active CVAP voter registration (ALb/CVAP x 100} for the 2022 EAVS divided by the 2018 percentage of
active CVAP voter registration (AL b/CVAP x 100} for the 2018 EAVS. One unit was subtracted fram the
result of the division, and the result was multiplied by 100 to obtain the percentage change.

29 New Mexico reported an uncharacteristically low number of active registrations in the 2018 EAVS
(698,172) compared to the active registrations reported in the general elections of 2014, 2016, and 2020
{all of which exceeded 1 million active registrations), which led to a 65.9% increase in active registrants.
Because of concerns with the reliability of this result, it was not included as the largest increase in the body
of the report.

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How Americans Registered to Vote for the 2022 General Election

Americans can use different methods to register to vote as provided by their state. Voter
registration applications can be used not only to register to vote for the first time in a jurisdiction,
but also to update relevant voter information such as address, name, or political party affiliation.
in the period between the close of voter registration for the 2020 general election and the close
of registration for the 2022 general election, states reported receiving 80,764,222 registration
applications—909,250 more applications than were received in the same period leading up to the
2018 general election.2¢. 31 Motor vehicle offices continued to be the most common source of
these registration applications, accounting for 55% of the total registrations received for the 2022
general election—the highest share of voter registrations by any method in EAVS history.22 Online
registrations accounted for 14%; registrations by mail, fax, and email combined accounted for
9.1%; and in-person registrations accounted for 5.9% of the total registration applications.33 The
rest of the registration applications that were received during this period were from sources such
as registration drives (2.4%), public assistance offices (1.4%), and other state agencies not
mandated by the NVRA (2.6%), such as public libraries among other sources.54

3° The total number of registration applications received during the two-year period leading to a federal
general election was reported in item A3a in the 2022 and 2018 EAVS.

31 Guam, Idaho, and Mississippi did not provide data on the total number of registrations received in 2022.
Missouri and the Northern Mariana Islands did not provide data on the total number of registrations
received in 2018. Narth Dakota did not provide data on the total number of registrations received because
they do not require voter registration.

32 The percentage of registrations received by motor vehicle offices was calculated as Add/A3a x 100.
American Samoa, Guam, Idaho, Mississippi, New Hampshire, North Dakota, the Northern Mariana Islands,
Rhode Istand, the U.S. Virgin Islands, and Wisconsin were not included in the caicutation because they did
not report data on item A3a and/or item Add, Casewise deletion at the state level was used in calculating
the national percentage.

38 The percentage of registrations received by mail, fax, or email was calculated as A¢a/A3a x 100. The
percentage of registrations received in person was calculated as Adb/A3a x 100. The percentage of
registrations received online was calculated as A4c/A3a x 100. Guam, Idaho, Mississippi, North Dakota,
Rhode Isiand, and the U.S. Virgin Islands were not included in the calculation of the percentage of
registrations received by mail, fax, or email because they did not report data on item A3a and/or item Ada.
Guam, Idaho, Mississippi, New Jersey, North Dakota, the Northern Mariana Islands, and Rhode Island were
not included in the calculation of the percentage of registrations received in person because they did not
report data on item A3a and/or item A4b. American Samoa, Arkansas, Guam, ldaho, Maine, Mississippi,
Montana, New Hampshire, New York, North Dakota, the Northern Mariana Islands, Rhode island, South
Dakota, the U.S. Virgin Islands, and Wyoming were not included in the calculation of the percentage of
registrations received online because they did not report data on item A3Sa and/or item Adc. Casewise
deletion at the state level was used in calculating the national percentages.

*4 The percentage of registrations received fram registration drives was calculated as A4i/A3a x 100. The
percentage of registrations received from public assistance offices was calculated as Afde/A3a x 100. The
percentage of registrations received from other state agencies not mandated by the NVRA was calculated
as Adh/A3a x 100. American Samoa, Connecticut, Georgia, Guam, Idaho, Kentucky, Maryland,
Massachusetts, Michigan, Mississippi, Missouri, Nebraska, New Hampshire, New Jersey, North Dakota, the
Northern Mariana Islands, Oklahoma, Oregon, Rhode Island, South Carolina, Texas, the U.S. Virgin islands,
West Virginia, and Wisconsin were not included in the calculation of the percentage of registrations
received from registration drives because they did not report data in item A3a and/or item A4i. American
Samoa, Guam, Idaho, Maine, Minnescta, Mississippi, New Hampshire, North Dakota, the Northern Mariana
islands, Rhode Istand, the U.S. Virgin Islands, Vermont, West Virginia, Wisconsin, and Wyoming were not
inciuded in the calculation of the percentage of registrations received at public assistance offices because
they did not report data in iter ASa and/or item A4e. American Samoa, Colorado, Connecticut, Georgia,

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For the past four election cycles, there has been a downward trend in the percentage of
Americans that register to vote in person at their election or registrar's office—13.5% of
registrations were submitted in person for the 2016 general election, and this percentage
decreased in each ensuing election cycle and reached 5.9% of in-person registrations reported in
2022 (see Figure 3).25 When comparing the results from the 2020 and 2022 general elections,
15 states reported increases and 33 reported decreases in the percentage of in-person
registrations.36 Most decreases ranged from 0.5 to 6 percentage points, whereas the majority of
increases ranged from 0.4 to 10 percentage points. West Virginia reported the largest change of
in-person registrations between 2020 and 2022 with an increase of 20.3 percentage points.37
The percentage of registrations filed by mail, fax, or email also decreased in recent years and now
account for less than 10% of all registrations for the first time in EAVS history.28 39 In 2022,
77.6% of the states reported a decrease in voter registrations received by mail, fax, or email
compared to 2020, with Delaware and North Carolina reporting the largest drops (decreasing by
32.8 and 20.8 percentage points, respectively).4°

Guam, idaho, Maine, Michigan, Minnesota, Mississippi, Nebraska, New Hampshire, North Dakota, the
Northern Mariana Islands, Pennsylvania, Rhode island, South Carolina, the U.S. Virgin Islands, West
Virginia, and Wisconsin were not included in the calculation of the percentage of registrations received at
other state agencies not mandated by the NVRA because they did not report data in item ASa and/or item
A4h. Casewise deletion at the state level was used in calculating the national percentages. The instructions
for this question noted that registration applications should be classified according to the mode used to
submit it. For example, if the voter submits a registration application online using the state's online voter
registration portal, then this is considered an online voter registration. If the voter accessed the online voter
registration system at a public library, then this would also be considered an online registration.

35 The percentage of in-person registrations received for the 2020 and 2018 EAVS used the same
calculation as the 2022 percentage. The percentage of in-person registrations received in 2016 was
calculated as AGb/A5Sb x 100. Casewise deletion at the state level was used in calculating the national
percentages.

36 Guam, Idaho, Mississippi, New Jersey, North Dakota, the Northern Mariana Islands, and Rhode island
were not included in this comparison because they did not report data on item A3a and/or item Adb.

3? The percentage point difference of in-person registrations was calculated as the percentage of in-person
registrations in 2022 minus the percentage of in-person registrations in 2020.

38 The percentage of mail, fax, or email registrations received for the 2020 and 2018 EAVS used the same
calculation as the 2022 percentage.

39 EAVS history refers to data collected by the EAC starting with the 2004 general election. Data for voter
registration were reported in the EAVS starting with the 2014 general election and in a separate report
(Commonly known as the “NVRA Report”) before that election up to the 2004 general election. Before
2004, data on voter registration were collected by the Federal Election Commission.

+o The percentage point difference of mail, fax, or email registrations was calcutated as the percentage of
mail, fax, or email registrations in 2022 minus the percentage of mail, fax, or email registrations in 2020.

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Figure 3. Registrations Filed at Motor Vehicle Offices Account for More than Half of Registrations

Sot

12.9%
a

Motor Vehicle Oe Other Online Mail/Fax. in Person

Office. Email
-Percent.of Registrations by Source

2018

= 2020

2022

Source: The percentage of registrations received at motor vehicle offices was calculated as Add/A3a x 100
for all years. The percentage of registrations received by other means was calculated as (Ade+A4t+Adg
tAAN+A4I+A4)+A4K+A41/ABa xX 100 for all years. The percentage of registrations received online was
calculated as A4c/A3a x 100 for all years. The percentage of registrations received by mail/fax/email was
calculated as Ada/A3a x 100 for all years. The percentage of registrations received in person was
caiculated as Adb/A3a x 100 for all years. Casewise deletion at the state level was used in calculating the
national percentage.

Online registration continues to be the second most popular method of voter registration in the
United States and has been since the 2016 general election, although it decreased by 50.3% in
2022 compared to 2020.*4 The steep decline in the percentage of registrations received online is
likely the combination of multiple factors. One of the main reasons for this decline is that the
percentage of online registrations in 2020 was unusually high and reached a record 28.2% of all
registrations received, an increase of 75.2% compared to the online registrations recorded in the

41 The percentage difference in online registrations between 2022 and 2020 was calculated as the
percentage of online registrations in 2022 divided by the percentage of online registrations in 2020. One
unit was subtracted from the result of the division, and the result was multiplied by 100 to obtain the
percentage change.

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previous election cycle.42 This phenomenon was likely triggered by the COVID-19 pandemic, which
led many states to expand remote registration opportunities to compensate for the curtailing of
in-person registration (e.g., many election offices limited visitors and many motor vehicle offices
limited in-person appointments). Once the distancing limitations started to ease and offices
started to reopen after 2020, the use of online registration returned to levels more similar to
those reported in the 2018 EAVS. In fact, the percentage of online registrations received for the
2020 general election was statistically significantly higher than the online registrations received
for the 2018 and 2022 general elections, whereas the online registrations received in 2018 and
2022 were not significantly different at a p < 0.05 level.43

In addition to changes in the percentage of Americans who used online registration, there were
some states that changed their policies for this type of registration. In 2022, the number of states
that offered online registration decreased for the first time since this method was first
implemented in Arizona in 2002. The state of New York reported in the 2022 Policy Survey that it
did not offer online registration—though the state offers an online option to register to vote
through their motor vehicle office—and Oklahoma used to allow voter registration online but
reported in the 2022 Policy Survey that it only allowed voter registration updates and not new
voter registrations online for the 2022 general election.44

At the state level, only lowa, Nebraska, Texas, and South Carolina had increases in the
percentage of online registrations received when comparing data from the 2020 and 2022 EAVS.
The largest decreases in online registrations at the state level came from IJinois and
Massachusetts (a decrease of 85.2 and 61.9 percentage points, respectively).45

The Rise in Motor Vehicle Office Registrations

The most notable result in the 2022 EAVS in terms of voting registration method is the increase in
registrations processed by motor vehicle offices. Even though it has been the most popular
registration method for more than a decade, the 2022 general election is the first time in EAVS
history in which registrations processed by motor vehicle offices accounted for more than half of
all registrations processed in the country.*6 At the national level, 55% of Americans submitted
voter registration information through a motor vehicle office, a 40.1% increase compared to the

“2 The percentage of online registrations received for the 2020 EAVS used the same calculation as the
2022 percentage. The percentage difference in online registrations between 2020 and 2018 was
calculated as the percentage of online registrations in 2020 divided by the percentage of online
registrations in 2018. One unit was subtracted from the result of the division, and the result was multiplied
by 100 to obtain the percentage change.

43 Paired t tests were used to calculate the differences between years, and p < 0.05 was used as the
threshold for statistical significance.

44 Data on online registration policy were collected in item Q6 in the 2022 Policy Survey, and item Q7 in the
2020 Policy Survey. More information about states with online registration is found in Chapter 2 of this
report.

45 The percentage point difference of online registrations between 2020 and 2022 was calculated as the
percentage of online registrations in 2022 minus the percentage of online registrations in 2020. Texas
reported 0% online registrations in 2020. However, they did allow for online updates of voter registration in
2020 according to their response to the 2020 Policy Survey. fllinois reported an unusually high percentage
of online registrations in the 2020 EAVS.

46 The percentage of registrations received at motor vehicle offices was caiculated as A4dd/A3a x 100.
Casewise deletion at the state level was used in calculating the national percentage.

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result in 2020.47 At the state level, seven states reported a decrease in the percentage of
registrations received through their focal motor vehicle offices and 37 states reported increases
when comparing the 2022 and 2020 results. The states that reported the largest increases in
this type of registration were Massachusetts and Nevada (an increase of 60.3 and 47.2
percentage points, respectively).4®

Like the online registration change noted above, the large increase in the percentage of
registrations processed at motor vehicle offices is likely the result of several factors—one of which
is the unique circumstances leading up to the 2020 general election due to the COVID-19
pandemic, Starting in March 2020, motor vehicle offices started to close in most states due to
public health concerns, and when states started to reopen these offices, they did so in a limited
capacity (e.g., opening a limited number of offices, limiting the number of customers allowed in
the office to ensure social distancing, limiting the hours of operation and the types of transactions
allowed). These limitations were in effect for different periods of time depending on the state, and
in some cases were present past the November 2020 general election. Additionally, to account
for the extraordinary circumstances, most states extended the validity period for expiring driver’s
licenses to account for the limited-capacity operations, and some states implemented online
driver’s license renewal where this was previously not an option.49 These measures likely
decreased the number of registrations processed at motor vehicle offices for the 2020 general
election, because many Americans who would have interacted with their motor vehicle offices in
normal circumstances—and therefore would have updated or filed voter registration paperwork—
between March 2020 and the 2020 general election had to wait to complete these transactions.
In many cases these were likely pushed back until after November 2020 and were reported in the
2022 EAVS instead of the 2020 EAVS.

An example of the phenomenon described above is detailed in a report from the Office of the
District of Columbia Auditor (ODCA} on the District of Columbia’s 2020 election administration.£9
Data from the District of Columbia Board of Elections showed that the number of registrations
received through motor vehicle offices effectively stopped in March 2020 and did not resume
until July 2020, and when they resumed, they did so at a slower pace than before the pandemic.
Meanwhile, the number of online registrations processed was not affected by the onset of the
pandemic and largely increased in the month leading up to the 2020 general election.

However, when looking at the relationship between the difference in 2020 and 2022 voter
registrations processed by motor vehicle offices in each state and the driver's license expiration
extensions provided in each state—as a proxy for the potential backlog of 2020 driver license
transactions that may have resulted in 2022 voter registrations—the results were not conclusive.
Longer driver’s license expiration extensions were correlated with larger increases in the

47 The percentage difference in motor vehicle offices’ registrations between 2022 and 2020 was calculated
as the percentage of motor vehicle offices’ registrations in 2022 divided by the percentage of motor vehicle
offices’ registrations in 2020. One unit was subtracted from the resutt of the division, and the result was
multiplied by 100 to obtain the percentage change.

48 The percentage-point difference of motor vehicle offices’ registrations between 2020 and 2022 was
calculated as the percentage of motor vehicle offices’ registrations in 2022 minus the percentage of motor
vehicle offices’ registrations in 2020.

50 h udi Lwpengine ed. com/wp-content/upioads/2021/11/Elections Administr.
-Report.43.16.21 pdf (pg. 22}.

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percentage of voter registrations through the state’s motor vehicle office, but the correlation was
not statistically significant.51 52 These results suggest that although the effects of the COVID-19
response likely had an impact on the rebound of registrations filed at state’s motor vehicle
offices, additional factors such as policy changes (e.g., implementation of automatic voter
registration at motor vehicle offices) may have also contributed to the increase of this type of
registration.

Automatic Voter Registration .

Automatic voter registration (AVR) laws allow for non-registered individuals to be added to the
voter registration rolls during or after an interaction with a designated state agency, such as the
motor vehicle office, unless the person specifically declines to be registered. The most common
differences between the types of AVR policies are the point at which the individual must decline
or “opt out” of being registered—either at the point of service or at a later time through a mailer
sent to the individual—and which state agencies participate in the AVR program.

In 2046, Oregon was the first state to implement AVR at the state level. Since then, 36 additional
states have begun using automatic voter registration or incorporated automated features into
their voter registration processes, though the details of these automatic or automated processes
vary widely among states.5? A more complete analysis of states’ automatic or automated
registration policies is found in Chapter 2 of this report. For the most part, states reported that
individuals must opt out of AVR at the point of service. A very common example is that a person is
provided the opportunity to register to vote while completing a transaction at a motor vehicle
office and is asked to provide a response of “yes” or “no” to be able to continue with the voter
registration transaction. Only the state of Colorado reported not asking individuals during their
transactions and later requiring that they actively respond to a mailer if they do not want to be
included in the voter registration rolls.54

in total, 37 states reported using some form of AVR and 18 reported not using AVR for the 2022
general election. All states with this registration policy reported that AVR is at least offered at
motor vehicle offices—with 15 states reporting additional agencies (e.g., agencies for people with
disabilities, public assistance offices) participating in the AVR program in their state.55 Figure 4
shows the percentage of registration applications processed at motor vehicle offices in 2020 and
2022 for states with and without AVR policies. In AVR states, motor vehicle office registrations
accounted for a larger portion of their total registrations in both 2020 and 2022 compared to
non-AVR states. interestingly, the percentage point increase in these registrations between 2020

51 Data on driver's license extensions came from the Department of Defense’s “COVID-1L9 Response State
Issued Driver's License & |D Card Extension Guidance” (https: //www.cac.mi/Porals/53/Documents

DL%20Expiration%20Guidance cac mil pdf?ver=2020-06-18-115456-723) and the National Governors
Association memorandum “Policy Scan of States Driver's License Rules Ahead of the Election”

52 The result of the correlation was r = 0.062, p = 0.695,

53 Data on state AVR policy were collected in item Q5 in the 2022 Policy Survey.

54 information on the point at which the individual has the opportunity to opt out of AVR was collected in
item @5 in the 2022 Policy Survey. Although Colorado was the only state that reported only using a method
of AVR that requires the voter to decline registration by responding a mailer, this “mailer opt-out” method of
AVR was also used by Alaska, linois, and Oregon. However, these three states reported also using other
AVR methods where the voter is required to opt-out during the interaction with the appropriate agency.

55 Information on state agencies participating in the AVR program for each state was collected in item Q5a
in the 2022 Policy Survey.

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and 2022 was slightly higher for non-AVR states than for AVR states, It is worth noting that AVR
states reported 38,532,182 registrations received at their motor vehicle offices, accounting for
87.5% of these type of registrations in the 2022 EAVS.5¢

Figure 4, States With Automatic Voter Registration Had the Highest Rates of
Registrations at Motor Vehicle Offices

56%

Percentage of Registrations Received
at Motor Vehicle Offices

‘States with AVR Policies States without AVR Policies

2022

Source: The percentage of registrations received at motor vehicle offices was calculated as Add/A3a x 100
for 2020 and 2022. Item Q5a in the 2022 Policy Survey was used to group states with and without AVR
policies. There might be states in the AVR group that did not allow for this type of registration in 2020.
Because there was a change in the AVR question in the Policy Survey from 2020 to 2022 it was impossible
to consistently classify states as AVR and non-AVR in 2020 for this calculation. Casewise deletion at the
State level was used in calculating the overall percentages.

Although AVR is most commonly administered through state motor vehicle offices, 15 states use
additional offices to register voters through AVR. EAVS does not collect data specifically on the
number of AVRs processed by states, but there are instances in which a state will report the
number of registrations conducted in one of these state-funded agencies. In Alaska, the state's
Permanent Fund Dividend program conducts AVR and filed a total of 760,797 voter registrations

56 The number of registrations received at motor vehicle offices used item A4d of the 2022 FAVS. Item Q5a
in the 2022 Policy Survey was used to identify states with AVR policies. The percentage of the total motor
vehicle offices registrations that were filed at states with AVR policies used the sum of A4d for these states
divided by the national level A4d sum multiplied by 100.

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in 2022.57 Registrations processed through the Permanent Fund Dividend accounted for 73.9%
of all the registrations received in Alaska in 2022, whereas they accounted for 68.1% in 2020
and 59.8% in 2018.58

Same-Day Registration

SDR allows voters to register to vote and cast their ballot on the same day. SDR can be offered on
Election Day, in which case it may be referred to as Election Day registration, or it can be offered
during in-person early voting.5? SDR depends on local laws and, thus, is only allowed in some
States and territories. Some states reported allowing SDR in very circumstances; Wisconsin, for
instance, reported offering regular SDR at the polls on Election Day and during in-person early
voting. In addition, Wisconsin has stated that “Individuals who are hospitalized may register and
request a baliot to vote through an appointed agent on the same day anytime from the Tuesday
prior to Election Day through 5 p.m. an Election Day.”6¢

In 2022, 26 states reported allowing some form of SDR. Twenty-two states reported allowing
voters to register to vote on Election Day, 14 states reported allowing SDR during an overlap
between the start of early voting and the close of voter registration, 22 states reported allowing
for SDR during in-person early voting, and two states reported allowing for SDR in very specific
cases.®1 The states that indicated allowing SDR were mostly the same as in 2020, with the
exception of Alaska, Guam, Mississippi and Rhode Island, which allowed some form of SDR for
the 2020 general election but not for the 2022 general election,S2 and Virginia, which
implemented SDR in October of 2022.5

57 Alaska’s Permanent Fund Dividend automatically registers eligible voters unless they respond to a
registration notice within a 30-day period (httos://www. elections alaska gov/Core/PFDAVRindex. php).
Alaska reported data on the number of registrations received through the Permanent Fund Dividend
program in item Adj of the 2022, 2020 and 2018 EAVS.

58 The percentage of the total registrations that were processed through the Permanent Fund Dividend
program was calculated as A4j/ASa x 100 for each year.

5° Some states may have an overlap between their mail voting period and the close of their voter
registration, during which it is possible for a person to register on the same day that they cast a mailed
ballot; however, this is not considered SDR for purposes of the EAVS, and many states have noted in the
past that it is not possible to track the number of mail voters who register to vote an the same day that they
cast their mailed ballot. in-person early voting refers to any opportunity for voters in a state to cast a vote in
person before Election Day. See Chapter 2 of this report for a discussion of the different types of in-person
early voting opportunities available in states.

5° Wisconsin reported this special situation in item Q8a of the 2022 Policy Survey.

52 These results were obtained from item Q8a of the 2022 Policy Survey. More information about state
policies on SBR can be found in Chapter 2 of this report.

82 Alaska and Rhode Island only allow SDR for voting for the U.S. president and vice president, thus they do
not allow for SDR in midterms when these races are not in the ballot.

53 These results were obtained from item 08 of the 2022 Policy Survey and item Q9 of the 2020 Policy
Survey.

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The total number of SDRs recorded in 2022 was 1,019,300 and accounted for 2.7% of the total
registrations received among states allowing for SDR.S+. 55 Election Day SDRs accounted for
64.5% of all SDRs reported and pre-Election Day SDRs accounted for 38.3% of the total SDR
registrations reported in states that allowed them.%

The use of SDR varied considerably between states for the 2022 general election, and the NVRA-
exempt states—which gained NVRA exemption for allowing SDR continuously since 1993*’—were
among the states where SDR accounted for the largest percentages of registration applications.
Wisconsin reported that 60.3% of the registrations received for the 2022 general election were
SDRs, whereas New Hampshire and Wyoming reported that SDRs accounted for 16.2% and
10.9% of all the registrations received, respectively. & Among states subject to the provisions of
the NVRA, Maine had the highest proportion of SDR registrations (20.3%); although this state was
NVRA exempt when the law was first implemented because it had SDR in 1993, Maine lost its
exemption in 20141 when it temporarily discontinued SDR before reinstating it later that year.

Other Modes of Registration

in addition to in-person, online, mail/fax/email, and motor vehicle office registrations, states
reported data on registration applications received from other sources, which in 2022 accounted
for 14.5% of the applications received at the national level.°° Some of these modes of registration
are NVRA mandated, such as registrations through armed forces recruitment offices, public
assistance offices, and state-funded agencies serving individuals with disabilities, which together
accounted for 1.6% of the national registrations for the 2022 general election (see Table 2 of
Appendix A in this chapter for a breakdown of registrations received by each of these methods).7°

54 The total number of SDR applications received during the two-year period leading to a federal general
election was reported in item AZa in the 2022 EAVS. The total corresponds to the 23 states that reported
allowing SDR and provided data for it. American Samoa, Massachusetts, and New Mexico, which allow for
SDR, did not provide data in item A2a for 2022.

®5 The percentage of registrations received that were SDRs was calculated as A2a/A3a x 100. The
percentage of SDR applications corresponds to the 22 states that reported allowing SDR and provided data
for SDR and total registrations received. American Samoa, idaho, Massachusetts, and New Mexico, which
allow for SDR, cid not provide data in item A2a and/or item A3a and were excluded from the calculation.
Casewise deletion at the state level was used in calculating the national percentage.

66 The percentage of SDRs received that were Election Day SDRs was calculated as A2b/Aza x 100. The
percentage of SDRs received that were pre-Election day SDRs was calculated as A2c/A2a x 100, Casewise
deletion at the state level was used in calculating the national percentage. The percentage of SDRs that
were Election Day SDRs corresponds to the 22 states that reported allowing Election Day SDR and provided
data for it. New Mexico, which allows for Election Day SDR, did not provide data in item A2b for 2022. The
percentage of SDRs that were pre-Election Day SORs corresponds to the 20 states that reported allowing
pre-Election Day SDR and provided data for it. American Samoa, Idaho, and Massachusetts, which allow for
some form of pre-Election Day SDR, did not provide data in item A2c for 2022.

§7 Idaho, Minnesota, New Hampshire, Wisconsin, and Wyoming are NVRA exempt for this reason. North
Dakota is also NVRA exempt because it does not require voter registration, and the U.S. territories are NVRA
exempt.

58 The percentage of registration applications that were SDRs was calculated as AZa/A3a x 100. Casewise
deletion at the state level was used in calculating the national percentage.

5° The percentage of registrations received by other sources different than in-person, online, mail/fax/
email, and motor vehicle office was calculated as (A4e+A4f+Adg+Adht+Adit+A4]+Adk+Adi/Asa x 100 for
the 2022 EAVS. Casewise deletion was used at the state fevei in calculating the national percentage.

70 The percentage of registrations received from NVRA-mandated sources other than in person,
mail/fax/email, and motor vehicle offices was calculated as (Ade+A4f+A4g)/ASa x 100 for the 2022 EAVS.
Casewise deletion was used at the state level in calculating the national percentage.

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States also reported registrations completed through other modes that are not required by the
NVRA and that are authorized at the discretion of the state, such as at registration drives (2.4%)
and other agencies required by the state (2.6%).74

Types of Registrations Received for the 2022 General Election

When a person submits a voter registration application, it is processed by an election office and
can reach one of several outcomes. Valid applications from people who are eligible and not
already registered are considered new applications and are added to the voter registration rolls.
Applications submitted by people already registered to vote at the same address with the same
name and personal information are considered duplicates. Applications from already-registered
individuals wishing to change their name, party affiliation, or address are processed as updates to
existing registrations. Applications that do not meet the requirements of eligibility are considered
invalid or rejected. When allowed by state law, applications submitted by individuals under 18
years old are processed as pre-registrations so that the individual who submitted the form will be
registered when they become of voting age.

All registration applications received are processed and scrutinized by election officials to ensure
that the information is correct, that only eligible voters are added to the voter registration rolls,
and that duplicate registration records are not created. After the application's review by election
officials and following the NVRA's guidelines, states must notify the applicant of the result of their
application. For example, a successful application may result in a notification in the form of a
registration card mailed to the applicant or a notice of rejection or request for additional
documents may be mailed to unsuccessful applicants.

Valid Registrations

Figure 5 displays information on the result of the registration applications that were received by
states. Of the more than 80,764,222 registration applications received between the 2020 and
2022 federal general elections, the most common type of registration was an update to an
existing record that did not involve a cross-jurisdiction change of address.’2 These updates
usually involve a change of name (such as after a marriage or divorce), party affiliation, or within-
jurisdiction change of address; these updates accounted for 44.1% of the registrations processed
at the national level.75 New valid registrations—a registration application received from an eligible
person in a jurisdiction where they were not previously registered and that resulted in a new
registration record being added to the voter registration roll-made up 27.9% of the registrations
received.?4

71 The percentage of registrations recelved from registration drives was calculated as Adi/ASa x 100. The
percentage of registrations received from state agencies not mandated by the NVRA was calculated as
A4h/A3a x 100. Casewise deletion at the state level was used in calculating the national percentages.

72 The number of total registration applications was reported in item A3a of the 2022 EAVS.

73 The percentage of registration applications received that were a change of name, party, or within-
jurisdiction change of address was calculated as A3f/A3a x 100. Casewise deletion at the state level was
used in calculating the national percentage.

74 The percentage of registration applications that were new registrations was calculated as A3b/A3a

x 100. Casewise deletion at the state level was used in calculating the national percentage.

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Figure 5. Most Registration Applications Were New Applications or Within-Jurisdiction Changes
44.1%

Change of Name, Party or Address

New Valid Registrations

Duplicate 12.7%
Other § 1.1% -
Cross-Jurs. Change of Address 3.7%

25%.

Invalid or Rejected
Pre-Rlegistrations 14%

Not Categorized 1.4%

Source: The percentage of registrations received that were changes of name, party, or within-jurisdiction
cnanges of address was calculated as A3f/A3a x 100. The percentage of registrations received that were
new valid registrations was calculated as A3b/A3a x 100. The percentage of registrations received that
were duplicate registrations was calculated as A3d/A3a x 100. The percentage of registrations received
that were labelled as “Other” registrations was calculated as (ASh+A3i+A3j)/A3a x 100. The percentage of
registrations received that were cross-jurisdiction changes of address was calculated as A3g/A3a x 100.
The percentage of registrations received that were invalid or rejected was calculated as A3e/A3a x 100.
The percentage of registrations received that were pre-registrations of individuals under 18 years of age
was calculated as A3c/A3a x 100. The percentage of registrations received that were not categorized was
calculated as {1 - [ASbt+A3c+ASd+AS at AST+ASS+A3h+A3i+A3)]//A3a) x 100, Casewise deletion at the state
level was used in calculating the national percentages.

Other types of valid registrations reported in the EAVS included a change of address that crossed
local jurisdiction borders but was still within the state, which accounted for 9.7% of the total
registration applications filed.’ Some states reported allowing for underage citizens to pre-
register to vote so that they are automatically added to the voter registration rolls when they turn
18 years old. These pre-registrations accounted for 1.4% of the total registrations among states
that allowed them.’6 Finally, 11.1% of the registrations were labelled as “Other.” This category in

*3 The percentage of registration applications that were cross-jurisdiction change of addresses was
calculated as A3g/A3a x 100. Casewise deletion at the state level was used in calculating the national
percentage.

76 The percentage of registration applications that were pre-registrations of individuals under 18 years of
age was calculated as A3c/A3a x 100. Casewise deletion at the state level was used in calculating the
national percentage.

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the EAVS is used by states to report registrations that were not covered among the standard
categories, or in most cases, to report registrations that could not be broken down into the
categories provided, such as a change to an existing registration record that could not be tracked
as being a within-jurisdiction or cross-jurisdiction change of address.7?

Rejected and Duplicate Registrations

Some of the registration applications received by states do not result in the creation or the update
of a registration record. The EAVS collects data on two types of unsuccessful registration
applications: rejected and duplicate registrations. The first type includes applications that contain
incomplete information, incorrect information, Information that cannot be validated against
existing state records, or applications from people who do not meet eligibility requirements. In the
period between the close of registration for the 2026 general election and the close of
registration for the 2022 general election, states reported rejecting 1,873, 700 applications,
accounting for 2.5% of the total registration applications received. This is comparable to the
percentage of registrations that were rejected in 2020 (2.9%) and 2018 (3.4%},78

Duplicate registrations include applications that are exact matches to existing registration
records; these can be applications submitted by people who did not realize they were already
registered to vote or who submitted multiple applications through different modes (e.g.,
submitted an application with the exact same information through the mail and online). States
reported receiving 9,083,395 duplicate applications between the 2020 and the 2022 general
elections, which accounted for 12.7% of the total registrations received.7° As with rejected
applications, the percentage of duplicate registrations registered in 2022 was comparable to
those in 2020 (9.7%) and 2018 (10,.2%),8°

A majority of states provided a breakdown of the total, rejected, and duplicate registrations they
received and the source of those registrations (e.g., online, in person, or at motor vehicle
offices}.84 With a few exceptions, the percentage of applications that were duplicates comprised
at least 8% of the registrations received by each source; the exceptions were: online registrations
(7.4%), registration drives (6.3%), and registrations filed at non-NVRA-mandated state agencies

77 The percentage of registration applications that were categorized as “Other” was calculated as
(AShH+A3i+A3)/A3a x 100. Casewise deletion at the state level was used in calculating the national
percentage, Not all the applications accounted for in the “Other” category may be valid; however, they were
included in this section because they cannot be fully identified as rejected or duplicate either.

78 The total number of rejected registration applications was collected in item A3e of the 2G22 EAVS, The
percentage of registrations received that were invalid or rejected was caiculated as A3e/A3a x 100 for
2018, 2020, and 2022, Casewise deletion at the state level was used in calculating the national
percentages. Paired t tests between each pair of election years did not yield significant results at the p <
0.05 level, meaning that the results were not significantly different fram each other.

73 The total number of duplicate registration applications was collected in item A3d of the 2022 EAVS. The
percentage of registrations received that were duplicate registrations was calculated as A3d/A3a x LOO.
Casewise deletion at the state level was used in calculating the national percentage.

8° The percentage of registrations received that were duplicate registrations for the 2020 and 2018 EAVS
used the same calculation as the 2022 percentage. Casewise deletion at the state level was used in
calculating the national percentages.

81 Thirteen states did not provide the application source breakdown for duplicate registrations and 14
states did not provide the application source breakdown for rejected registrations. Data from these states
were not included in the ensuing calculations in the paragraph.

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(3.2%).82 Registrations received by methods categorized as “Other” had the largest duplicate
registration rate with 18.3% of all registrations filed being classified as duplicates. For rejected
registrations, most registration methods had a rejection rate between 1.9% and 4%, with the
exception of registrations filed at state-funded agencies primarily serving individuals with
disabilities (7.3%), registrations from registration drives (9.8%), and registrations filed at public
assistance offices mandated by the NVRA (11.3%).23

Registration List Maintenance

The NVRA requires states to maintain an “accurate and current voter registration roll” to “protect
the integrity of the electoral process.”*4 To facilitate this maintenance, the NVRA requires that any
change of address submitted to a motor vehicle office must serve as notification of a change of
address for voter registration, unless the individual indicates that the change is not for voter
registration purposes. The law also requires states to conduct a uniform and nondiscriminatory
general program to remove the records of ineligible voters. States have considerable freedom to
choose when, where, and how these functions are performed, but must follow the guidelines
listed in the NVRA, which describe the need to use confirmation notices and to complete (with few
exceptions) systematic removal programs “not later than 90 days prior to the date of a primary or
general election for Federal office,”®5 and to keep a detailed list of instances in which it is
appropriate to remove a record from the voter registration rolls.

The NVRA’s list maintenance process, shown in Figure 6, specifies the steps that states need to
follow in order to confirm eligibility from registered voters and to remove them from the voter
registration rolls when registered voters are no longer eligible to vote in a jurisdiction. One key
tool in this process that states may use to keep their voter registration rolls up to date is
confirmation notices. These are postage-paid and pre-addressed return cards that are sent to
registrants who a state suspects are no longer eligible to vote in the jurisdiction in which they are
registered. If the registrant does not return the confirmation notice, they can be added to the
inactive registrant list and would typically be asked to provide proof of residency before voting. If
the registrant fails to return the confirmation notice and does not participate in the subsequent

82 The duplicate registration rate refers to the percentage of registration applications received from a
source and categorized as duplicate. For mail/fax/email, this was calculated as AGa/A4da x LOO. For in-
person registrations, this was calculated as AGb/Adb x 100. For online registrations, this was calculated as
AGc/Adc x LO0. For motor vehicle offices, this was calculated as AGd/A4d x 100. For public assistance
offices, this was calculated as AGe/A4e x 100. For state-funded agencies serving individuals with
disabilities, this was calculated as AGT/A4f x 100. For armed forces recruitment offices, this was calculated
as AGg/A4g x 100. For registration drives, this was calculated as AGi/A4i x 100. For other registration
sources, this was caiculated as (A6j+AGkK+A6I)/(A4j+A4K+A41) x 100, Casewise deletion at the state level
was used in calculating the national percentages.

83 The rejection rate refers to the percentage of registration applications received from a source and
categorized as invalid or rejected. For mail/fax/email, this was calculated as A7a/A4a x 100. For in-person
registrations, this was calculated as A7b/A4b x 100, For online registrations, this was calculated as
A7c/Adc x 100, For motor vehicle offices, this was calculated as A7d/A4d x 100. For public assistance
offices, this was calculated as A7e/Ade x 100. For state-funded agencies serving individuals with
disabilities, this was calculated as A7f/A4f x 100. For armed forces recruitment offices, this was calculated
as A7g/A4g x LOO. For registration-drives, this was calculated as A7i/A4i x LOO. For other registration
sources, this was calculated as (A7jJ+A7K+A71)/{A4j+A4k+A41) x 100, Casewise deletion at the state level
was used in calculating the national percentages.

84 52 U.S.C. § 20501.

85 52 U.S.C, § 20507.

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two consecutive federal general elections, then the NVRA grants the state the ability to remove
the registrant from the voter registration roll. If the registrant has not moved out of the voting
jurisdiction, they must complete and return the confirmation notice no later than the registration
deadline of the next election to remain on the list of active registrants.

Figure 6. The NVRA’s Voter Registration List Maintenance Process
eee

Registrant
Says ori voter
roll as active

| registrant

ea
Registrant

re-classifiad
as active

| ragistrant

Election office action

Registrant action

Election office suspects
individual changed address}
out of jurisdiction (eg.,a
USPS change of address}

| Registrart

removed fron
voter roll

Election office receives
confirmation of}
+ Registrant's death
« Registrant's mental incapacity! criminal
conviction! brearcermion istate law dependent)
+ Registrant's request te be removed

The NVRA mandates that registrants may only be removed from the voter registration rolls in
these circumstances:

© Upon the death of the registrant;

o Upon the registrant's written confirmation that their address has changed to a location
outside the registrar's jurisdiction;

e On the request of the registrant;

© Formental incapacity of the registrant, as provided in state law:

© Qncriminal conviction of the registrant, as provided in state law; or

o On the registrant's failure to respond to certain confirmation mailings along with failure to
appear to vote in two consecutive federal general elections subsequent to the mailing.

Because registration removal can take up to two federal general election cycles to complete for
some registration records, particularly in states that are subject to the NVRA, it is inevitable that
voter registration rolls will contain some number of voter records for individuals who are no longer

eligible to vote.

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NVRA-exempt states do not need to adhere to these guidelines to complete list maintenance of
their voter registration rolis. However, they do have similar processes in place to guarantee that
their voter registration rolls are up to date and only non-eligible voters are removed from their
voter registration rolls. For example, Wisconsin sends mailing notices similar to the confirmation
notices described above to registrants who have not voted in a four-year period and to registrants
that are flagged via Electronic Registration Information Center (ERIC) as having outdated or
inaccurate information. If the voter fails to return the mail notice within 30 days, then they are
declared ineligible to vote.®* 8? A voter who is eligible to vote may register to vote and cast their
ballot at the polls on Election Day in Wisconsin and every NVRA-exemot state.

Confirmation Notices Processed

Nationally, 26,601,983 confirmation notices were sent between the 2020 general election and
the month before the 2022 general election, accounting for 13.7% of the active voters reported
by states in 2022.88 This percentage falls in the range of what was reported by states in 2020
(14.3%) and in 2018 (11.6%).8* Table 1 shows that unreturned confirmation notices accounted
for 57.4% of the total confirmation notices sent. These are confirmation notices that were not
returned by the voter confirming if they were—or were not—eligible to vote, nor were these
confirmation notices returned by the postal service as undeliverable. Unreturned confirmation
notices allow states to move the addressees of these notices to the inactive registration list if the
state uses that designation. States reported that 8.4% of confirmation notices were returned
confirming the voter's continued eligibility, and 5% were returned confirming the voter was no
longer eligible to vote in the jurisdiction or no longer wanted to be registered to vote.*?

86 Wisconsin Statutes §§6.50 (1) and (2).

87 httos://elections.wi gov/statistics-data/voterlist maintenance/electronic-registration-informationcenter-
eric

88 The total number of confirmation notices sent was reported in item A8a of the 2022 EAVS. The
percentage of active registered voters who received a confirmation notice was calculated as AGa/A1b x
100. Casewise deletion at the state level was used in calculating the national percentage. In 2022, 48
states reported the number of confirmation notices sent during the period of registration for the 2022
general election. North Dakota does not require citizens to register to vote and, thus, does not use
confirmation notices. American Samoa, idaho, the U.S. Virgin Isiands, and Wyoming are NVRA exempt.
Alabama reported that they did “not have a report that has the total number of confirmation notices sent.”
Indiana did not provide this information because their voter registration system “is not able to track the
information requested.” Forty states reported the status of the confirmation notices sent. in addition to the
states that did not report on confirmation notices, Guam, lowa, Kentucky, Louisiana, Massachusetts,
Mississippi, New Jersey, and Rhode Island did not break down the number of confirmation notices sent by
status.

89 The number of confirmation notices sent as a percentage of the active registrants in 2020 and 2018
used the same calculation as 2022. Casewise deletion at the state level was used in calculating the
national percentage.

%° The percentage of unreturned confirmation notices was calculated as A8e/A&a x 100. The percentage of
confirmation notices sent that were returned confirming valid registration was calculated as A&Sb/AGa

x LOO. The percentage of confirmation notices sent that were returned confirming registration shouid be
invalidated was calculated as ASc/A8a x 100. Casewise deletion at the state level was used in calculating
the national percentage.

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Table 1. Most Confirmation Notices That Were Sent Were Not Returned by Voters

Unreturned (neither received back from voters nor
returned as undeliverable)

Source: The percentage of unreturned confirmation notices was calculated as ASe/AGa x 100. The
percentage of confirmation notices sent that were not categorized was calculated as (1 ~ [A@btASc+
ASd+A8e+ASf+ASs+ASh]/A8a} x 100. The percentage of confirmation notices sent that were returned
undeliverable was calculated as AGd/A&a x 100. The percentage of confirmation notices sent that were
labeled as “Other” was calculated as (ASf+ASg+ASh/ASa) x 100. The percentage of confirmation notices
sent that were returned confirming valid registration was calculated as ASb/A8a x 100. The percentage of
confirmation notices sent that were returned confirming registration should be invalidated was calculated
as A8c/A8a x 100. Casewise deletion at the state level was used in calculating the national percentage.

Voters Removed From the Voter Registration Rolls

Between the close of registration for the 2020 general election and the close of registration for
the 2022 general election, states reported removing 19,260,000 records from their voter
registration rolls.9+ This was equal to 8.5% of the total number of voters who were registered in
the United States as of the close of registration for the 2022 general election.®2 At the state level,
60.4% of the states reported removing a number of registrants that added up to between 3% and
10% of their total registered voters. There were some exceptions to this trend: the U.S. Virgin
Islands’ removals accounted for the lowest percentage of total registrants at less than 0.1%, and
New Hampshire reported the highest percentage of removals at 29.5% (see Tabie 5 of Appendix A
in this chapter).

States also reported the reasons for removing records from their voter registration rolls. These
reasons for removal are shown in Figure 7. The most common reason was a cross-jurisdiction
change of address, which accounted for 26.8% of all removals, followed by death of the registrant

21 The total number of registrants removed from the voter registration rolls was reported in item AQa of the
2022 EAVS. Fifty-two states reported data for the iterns related to voter removal. North Dakota does not
require citizens to register to vote and thus does not have registrants to remove fram the voter registration
rolls. idaho reported “Data not available” for all items related to registration removals. Mississippi reported
the total number of registrants removed from the voter registration roils in item A9e but responded “Data
not available” to subitems AQb to A9g.

22 Registrants removed as a percentage of total registrants was calculated as AQa/A1a x 100. Casewise
deletion at the state level was used in calculating the national percentage.

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(25.6%). Fatlure to both respond to a confirmation notice and to vote in two consecutive federal
genera! elections accounted for 25.4% of removals.

Figure 7. Three Removal Reasons Accounted for the Majority of the Voter Registration Removais

Cross-Jurisdictional Move

Death

No Response'to Notices‘and
Missed Two Federal General Elections

Other 12.9%

Voter's Request 4.5%.

Felony ; 1.4%

Source: The percentage of registrations removed because of a cross-jurisdiction change of address was
calculated as ASb/AQa x 100. The percentage of registratians removed because of death was calculated as
AQc/AQa x 100. The percentage of registrations removed because of no response to confirmation natices
{and not voting in the following two general elections) was calculated as A9e/A9a x 100. The percentage of
registrations removed because of other reasons was calculated as (ASP+ASH+A9i+A9})/ASe x 100. The
percentage of registrations removed because the voter requested to be removed was calculated as
AQ¢/A9a x 100. The percentage of registrations removed because of a disqualifying felony conviction was
calculated as AQd/AGa x 100. Casewise deletion at the state level was used in calculating the national
percentages.

The majority of states reported that a registrant could be removed from the voter registration rolls
if the registrant received a disqualifying criminal conviction and/or was incarcerated,4 but only

%2 The percentage of registrations removed because of a cross-jurisdiction change of address was
calculated as (A9b/AGa} x 100. The percentage of registrations removed because of death was calculated
as (A9¢c/AQ9a) x 100. The percentage of registrations removed because of no response to confirmation
notices (and not voting in the following two general elections) was calculated as (A9e/A9a} x 100, Casewise
deletion at the state level was used in calculating the national percentage.

$4 Maine, Vermont, and the District of Columbia reported criminal conviction and/or incarceration was not a
reason for voter removal in item O38 of the 2022 Policy Survey.

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1.4% of the removals were done for this reasan.95 Two states, however, reported that more than
7% of their registration removals happened due to criminal convictions or incarceration. Kentucky
reported that 9.1% of registrants were removed for this reason, and New Mexico (13.3%) reported
the largest percentage of this type of removal. These two states also reported that criminal
convictions accounted for more than 6% of their voter registration removals in the 2020 and
2018 EAVS.96

Vecoming Changes to Section A for the 2024 EAVS

All voter registration-related topics discussed in this chapter are covered in Section A of the EAVS.
The questions in this section have changed little since the 2008 EAVS, even as the methods that
states offer to register to vote and use to collect registration data have continued to evolve (e.g.,
implementation of online registration in most states, AVR, changes in voter registration
databases).

Beginning with the 2024 EAVS, the EAC will update the vocabulary and the content of EAVS
Section A to better reflect the reality of voter registration in the United States. From late 20214 to
early 2022, the EAC consulted with state and local election officials from multiple states on
issues they experienced in the past with Section A, their current voter registration data collection
practices, and suggestions for updates to the survey questions.

The new Section A will cover the same topics discussed in this chapter and will add items
covering new topics, such as reasons for sending confirmation notices and instances where voter
registration records are merged. [t will also transition from recording voter registration forms to
voter registration transactions and will record all registration updates in one category instead of
two. For a complete description of the upcoming changes and a look at the new Section A, see
the EAC’s “Planned Changes to 2024 EAVS” report at https://www,eac.gov/research-and-
data/datasets-codebooks-and-surveys.

95 The percentage of registrations removed because of a disqualifying felony conviction was calculated as
ASd/AQa x 100. Casewise deletion was used at the state level in calculating the national percentage.

*6 The percentage of registrations removed because of a disqualifying felony conviction in 2020 and 2018
used the same caiculation as 2022. Casewise deletion was used at the state level in calculating the ,
national percentages.

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Appendix A: Descriptive Tables

Voter Registration Table 1: Registration History

Alabama

American Samoa

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2022 3,829,788 3,692,633 3,283,842 408.797 14.1%
2020 3,731,336 3,717,798 3,438,213 279,585 7%
2018 3.688.249 3.465,352 3.164,304 301,054 8.7%

2022

14,314

44,314

100.0%

2020

16,344

46,341

160.0%

0.0%

2018

15,527

8.462

54.5%

45

Arkansas

2022 2.237 649 1,805,777 1,475,838 66.0% B1L.7% 329,939 48.3%
2020 2,235,415 1.831.414 1.408.061 63.0% 769% A23,353 23.1%
2018 2,207,894 1,786,840 1,456,887 66.0% 81.5% 329.953

18.5%

Colorado

2022

4,303,604 4.355.778 3,829.814 89.2% 88.2% 515.964 12.8%
2026 4,244 210 4.211.528 3,803,762 89.6% 90.3% 407,766 9.7%
2018 4,057,437 3,953,613 3,426,499 84.4% 86.7% 527.214 13.3%

Delaware

762,908

93.1%

60,879

8.0%

2022 (54,144 792.029
2020 725.178 439,672 711.287 98.1% 96.2% 28,385 3.8%
2018 709,999 695.014 672.632 94.7% 96.8% 22,382 3.2%

Florida

Guam

2022 145,855.982 15.574, 9741 14,497,121 91.4% 93.1% 1,077,850 8.9%
2020 45,.507.315 15,231,808 14,517,002 93.6% 95.3% 701,422 4.6%
2018 45,014,950 14,126,722 43.278 070 88.4% 94.0% 848.652 6.0%

2022 - 60,463 60,463 100.0% -
2020 “ 55.896 55.896 100.0% -
2018 - 55.941 55,941 _ 100.0% ~

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Idaho

Vices

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2022 L373,744 1.004 608 1.004,608 73.1% 100.0% - -
2020 4,282,630 1,029,763 1.029.763 80.3% 100.0% ~ -
2018 £219,481 917,609 917,609 752% 100.0% - -

indiana

569.674

2022 5,030,200 4,767,111 4,197,437 83.4% 88.0%
2020 4,978,356 4.692 091 4,470,353 83.8% 83.9% 521.738 11.1%
2018 4,899,252 4,500,196 4.168.374 85.1% 92.6% 331,822 TAX

Kansas

iit

1.975.324

2022 2,128,112 1.830.216 86.0% 92.7% 145.105 7.3%
2020 2,103,748 1,924,772 1,764,949 83.9% 91.7% 148,524 t4%
2918 2,091,261 1,835,473 1670,247 79.9% 91.0% 165,256 9.0%

2022 3.439.830 3,018,815 2,830,594 82.3% 93.8% 188,224 6.2%
Louisiana 2020 3.463,372 3,093,004 2.963.901 85.6% 95.8% 228,103 4.2%
2018 3,469,016 2,992,170 2,856,722 82.3% 95.5% 435,448 4.5%

Maryland

2022 4,417,293 4,446,808 4,449,909 93.9% 93.4% 290,899 6.6%
2020 4,316,924 4,298,942 4,142,347 96.0% 96.4% 156.595 3.6%
2018 4,310,864 3,954,027 3,954,027 91.7% 100.0% - ~

Michigan [1]

Mississippi

96.5%

928.845

2022 7,640,514 8.226,745 7,297,900 88.7%
2020 7,562,464 8,105 524 7,209,300 95.3% 38.9% 896,224 RLS
2018 7,481,928 7 AT1,088 6.488 823 86.7% 982,265 13.1%

2 a 32
2022 2,226,474 2,081,999 1.922.707 86.4% 92.3% 159,292 1.7%
2920 2,246,823 2,143,149 1,382,632 88.3% 92.5% 460.517 7.5%
2018 2.234722 2,079,732 1.880.197 84.1% 90.4% 199.535 9.0%

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Montana [3]

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2022 857,649 757,914 662.320 77.1% 87.3% 96.594 12.7%
2020 B3L760 147 439 675,974 81.3% 90.4% 71,468 9.6%
2018 810,760 706,173 616,642 76.1% 87.3% 89,531 12.7%

Nevada

2022 2,193,360 2,200,151 1.840, 748 83.9% 83.7% 359,403 16.23%
2020 2.411.932 2,039,162 1.835,402 85.9% 90.0% 203,761 10.0%
2018 2,931,213 1.773.566 1,563,750 77 O% 86.2% 209,315 11.8%

New Jersey

6.430.740

5,834,029

Ee

496.741

2022 6,433,068 92.2% 7.7%
2020 6,176,130 6,310,564 5,896,836 95.6% 93.4% 413,728 6.6%
2018 6,199,499 5.868,078 5,456,506 88.0% 93.0% 412,572 7.0%

New York

2022 44,409,037 13,131,592 42,125.966 85.9% 92.3% 1.005 ,626 7.7%
2020 13,810,830 13.555, 618 42,362,997 89.5% 91.2% 1.491.845 8.8%
2018 13,866,648 12.695.763 114,676,266 1,019,497 8.0%

North Dakota

2022 576,588 - ~ - ~ ~
2020 567,546 - ~ ~ - - ~

Ohio

2018

564.475

2022 8.943.128 8,029,950 8.029,956 &9.8% 100.0% - -
2020 8.879, 469 8,073.829 8,073,829 90.9% 100.0% ~ ~
2028 5,830,185 8.070,917 8,070,917 91.4% 100.0% - -

Oregon [5]

3,200,314

2,985 820

a

2,985,820

93.3%

100.0%

2022 - -
2020 3,162,204 2.944, 586 2,944,583 93.1% 100.0% -
2018 3,060,328 2,748,232 2,748,232 89.8% 100.0% - -

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Rhode Island

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iors

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2022 827,415 815.417 722,684 87.3% 88.6% 92.733 14.4%
2020 800,798 809.117 735,195 91.8% 90.9% 73.922 9.2%
792,337 VE1L47&E 7374419 93.1% 94.4% 44,059 5.6%

South Dakota

2022 659,768 660,327 599,929 90.9% 90.9% 60.408 G.1%
2020 652,394 635,256 578.683 88.6% 94.1% 56.573 8.9%
20418 641.566 594 453 339,788 84.1% 90.8% 54,665 9.2%

Texas

19.375.866

17,672,143

45.847 341

2022 81.8% 8E.7% 1.824802 19.3%
2920 18.875.542 16,955,519 15,279,870 81.0% 90.1% 1.675,649 9.9%
2018 18,174,345 415,615,925 13,790,247 75.3% 88.3% 1.653,986 10.6%

Utah

2022

2.251.328 1,614,198 1.690.442 75.4% 104.7% 123.074 7.8%
2020 2,134,249 LSGLOT?T 1,713,287 80.3% 92.0% 148,680 8.0%
2018 2,028,276 1,653,457 1,433,917 13.5%

70.7%

86.5%

224 540

Virginia

a

2022 6,354,439 6,105,868 5,736,016 90.3% 93.9% 369,852 6.1%
2020 6.226.623 5,975,564 5.763.187 92.6% 96.4% 242.374 3.6%
2018 5.666.627 5,272,602 85.8% 83.0% 394,026 7.0%

6.145,893

West Virginia

2022 1.408.767 4,153,208 1.055.475 F4AB% 915% 97,733 8.5%
2020 1,420,289 1.269.024 1,062,685 74.8% 83.7% 206,339 16.3%
2018 1,428,859 1.245,827 961,894 67.3% 77.2% 283.933 22.8%

Wyoming

301,931

301.931

100.0%

2022 436,049 69.2% - -
2020 434,852 303,049 303,049 69.7% 100.0% - -
2018 428.379 283.944 283,941 66.3% 100.0% - -

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Voter Registration Table 1 Calculation Notes:
CVAP Total uses the 1-year ACS CVAP estimate. The 2022 data uses the 2021 CVAP, the 2020 data
uses the 2019 CVAP, and the 2018 data uses the 2017 CVAP.
Reported Registrations uses question Ala for each year.
Active Registrations uses question Ab for each year.
Active Registrations (% of CVAP) uses Alb/CVAP x 100 far each year.
Active Registrations (% of Total) uses Alb/Ata x 100 for each year.
inactive Registrations uses question Alc for each year.
inactive Registrations (% of Total) uses Alc/Ala x 100 for each year.

Voter Registration Table 1 Data Notes:
General Notes:

*  Casewise deletion at the state level was used in calculating nationa! percentages. The
percentage calculations at the national level (U.S. Total) only used data from those states that
provided data for the numerator and denominator of the calculation.

¢ The percentages shown in this table are rounded to one decimal place, Percentages that
round to less than 0.1% are displayed as 0.0%.

e Because each percentage was calculated independently, the active registration (% of total}
and inactive registration (% of total) rates may not sum to 100% for some states or at the
national level.

«s The citizen voting age population (CVAP) is an estimate of the number of U.S. citizens ages 18
years or older in the state. This report uses the T-vear American Community Survey (ACS) state
estimate for 2021 instead of the 5-year estimate te ensure that the CVAP was as currentas
possible. The estimate for the year 2022 was not available by the time this report was
finalized. For consistency, the CVAP for the 2018 and 2020 general elections was the 1-vear
ACS state estimate for 2017 and 2019, respectively.

» Some states may report an active CVAP registration rate of 100% or more. This is because the
2021 CVAP was used to calculate the 2022 registration rate and because due to federal law,
some ineligible voters may take up to two full election cycles to be removed from the voter
registration rolls.

s The Reported Registrations column includes both active and inactive voters (if the state uses
such a distinction).

[4] Voters reported in Al are eligible to vote. Those defined as “inactive” need only to confirm their
address before receiving a ballot. Participation in past elections is not a factor in defining eligibility.

[2] Minnesota is NVRA exempt and does not classify voters as inactive per NVRA,

i3] The total number of registered and eligible voters consists of active and inactive voters. Montana
reports a total registered and eligible number of 762,959. The difference is provisional, late
registration, and pending.

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[4] Nebraska does not have “inactive” voters. The number of inactive voters reported is voters who
were sent a notice in accordance with NVRA Section 8(d)(2) and have not responded.

[5] Oregon does not track the number of inactive voters,

[6] The U.S. Virgin Islands is not subject te the provisions of the NVRA.

[7] Wisconsin is net subject to the NVRA and does not have inactive registered voters. Military voters
are included in the reported registration numbers even though they are not required te “register” jn
Wisconsin because they still have a voter record created. ,

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Alabama

1.132.263

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Voter Registration Table 2: Application Sources—Total Forms Received

146,809

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770,324.

American
Si 1

Arkansas

486,722

Colorado

3,042,434

248,408

468,563,

21741474

Delaware

351.944

Florida

6,056,693

285.635

486.880

8.0%

Guar [3}

350.438

58%

754,734

12.5% 3,457,205

S7.4%

idaho {4}

Indiana (5)

1.922.116

167,194

8.7%

24,288

13%

266,258

830,962

43.2%

709,206

205.830

259.418

Louisiane [6]

594,612

Maryland

[7]

229,120

38.5% 147,764

24.8%

Michigan [9}

3.400.532

2,628,953

3,080,445

Mississiop?

Montana [14}

146.795

237,013

1,412,160

$3.139

39.3%

163.598

1,004,394

New Jersey [14]

New York

2.056.334

North Dakota

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2,519,705

428,473

384,938

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704,636

720.898

28.6%

1,623,822

230.483

381,596

764,559

South Dakota

Utah [16] 246.112

136.343

2.5%

3,470,056

64.5%

14.7%

Virginia 3,382,438

West Virginia 478.216

Wyoming [18]

12.5%

117,260

2,829,275

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133.342

27.9%

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Alabama

American
Samoa [1]

Arkansas

Delaware

Guam [3]

Indiana [5}

Kansas

Louisiana [6]

Maryland [7]

Michigan [9]
ssc be es

Or

Mississippi

Montana [11]

New Jersey [14

New Yark

North Dakota

245,421

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Rhode Island
[1.3]

South Dakota

105.936

Utah [16]

Virginia

West Virginia

Wyorning [18]

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American
Samoa [1]

Arkansas

Florida

424,144

536,461

Guam [3]

Idaho [4]

Indiana [5}

Kansas

558,185

Louisiana [6]

Maryland [7}

Mi

Michigan [9}

153,634

Mississippi

Montana [11]

Nevada

New Jersey [14]

386,738

New York

North Dakota

535.727

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520.018

Rhode island

45} - - ~ 381,596 100.0%

South Dakota

Virginia

West Virginia 416,862

Wyoming [18] 8 0.0% 102 0.4% 0 0.0%

Voter Registration Table 2 Calculation Notes:
Total Registration Applications Received uses question A3a.
Application Source, Mail/Email/Fax, Total uses question Ada.
Application Source, Mail/Email/Fax, % uses Ada/A3a x 100.
Application Source, In Person at Election Office, Total uses question Adb.
Application Source, In Person at Election Office, % uses A4b/A3a x 100.
Application Source, Online, Total uses question Adc.
Application Source, Online, % uses Adc/A3a x 100,
Application Source, Motor Vehicle Agencies, Total uses question Add.
Application Source, Motor Vehicle Agencies, % uses Add/A3a x LOO.
Application Source, Public Assistance Offices, Total uses question Ade.
Application Source, Public Assistance Offices, % uses Ade/A3a x 100.
Application Source, Disability Services Offices, Total uses question A4f.
Application Source, Disability Services Offices, % uses A4f/A3a x 100.
Application Source, Armed Forces Recruitment Offices, Total uses question Adg.
Application Source, Armed Forces Recruitrnent Offices, % uses Adg/A3a x LOO.
Application Source, Other State Agencies, Total uses question Adh.
Application Source, Other State Agencies, % uses A4h/A3a x LOO.
Application Source, Registration Drives, Total uses question A4i.
Application Source, Registration Drives, % uses A4i/A3a x 100.
Application Source, Other Sources, Total uses the sum of questions A4j, Adk, and AAI.
Application Source, Other Sources, % uses (A4j+A4k+A41)/A3a x 100.

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Application Source, Not Categorized, Total uses A3a-{sum of Ada to A4)).
Application Source, Not Categorized, % uses (ASa-[sum of Ada to A4l])/A3a x 100,

Voter Registration Table 2 Data Notes:
General Notes:

e Casewise deletion at the state level was used in calculating national percentages, The
percentage calculations at the national level (U.S. Total} only used data from those states that
provided data for the numerator and denominator of the calculation.

* The percentages shown in this table are rounded to one decimal place. Percentages that
round to fess than 0.1% are displayed as 6.0%,

® States have latitude in which registration application sources are offered to their citizens, so
long as they do not conflict with federal law. Not all states offer each of the application sources
that the EAVS collects data for,

2 Questions A4j, A4k, and A4l were not mandatory. States and jurisdictions only reported data in
these items if they offered another application source aside from those listed in questions
A4a—Ad4i or if there were registration applications that could not be categorized in questions
A4a-Adi.

e Negative numbers in the Not Categorized application source indicate that the sum of
registrations received for each source accounted for more than the total number of
registrations reported received by the state.

* Because each percentage was calculated independently, the percentage of applications
received through each source may not sum to 100% for some states or at the national level,

[1] American Samoa’s registration system is not web-based or online. Eligible voters who are qualified
to register in absentia can access the form online but have to send it to the election office for manual
processing.

[2} Election Day registrations listed in Adj, A5j, A6j, and A7j represent applications submitted to poll
workers on Election Day. Changes made through applications turned in on Election Day are effective
for future elections. Georgia law does not allow SDR.

[3] Data reported in A4d and A7d include driver's license applications where the applicant indicated
that they declined te register to vote.

[4] idaho does not track data on the sources of registration forms.

[5] The data reported in A4da~-| consisted of data from CEB-9 Section 2 {Ada~b, Adi) and the statewide
voter registration system (Adc-h, Adj, A4k, A4)}. Counties do not aiways manually track the
information requested in Ada-b and A4i.

[6] Voters submit registration applications for new registrations as wel! as for updates or changes to
existing registrations. Data reported in A4 reflect both new registrations and changes to registrations.

[7] Questions A4j, A5j, A6j, and A7j include two registration categories. The first is from volunteer
groups and the second is from high school registration drives. Registrations completed by
“registration drives from advocacy groups or political parties” as listed in Adi are included with the
registration source of “volunteer” as listed in Adj,

[8] Individuals who complete eligible transactions at some state agencies are automatically registered
te vote unless they opt out.

[9] Registrations reported in Adc and A5c reflect individuals whe registered online using the Michigan
voter information center website. Over 800 of those registrations occurred via application
programming interface (API) from advocacy groups.

{10] Minnesota did not report data for some questions because the state is exempt from the NVRA.
Data reported for registrations received through mail/fax/email and online includes data on Federal
Post Card Applications (FPCA) that in previous years’ surveys were reported separately.

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[14] Data reported in A4k is for online pre-registration, which requires the voter to sign and submit a
registration form to their county elections office.

[12] Registrations received from registration drives by advocacy groups or politica! parties in Adi and
are included in the data reported in Ada.

[13] New Hampshire is not subject to the NVRA. This state offers Election Day registration but not
online voter registration.

[1.4] In-person registrations in A4b are not currently tracked.

[15] Rhode Island introduced automatic voter registration in June of 2018, which increased the
number of registrations received.

[16] Several Utah counties do not track data on the sources of voter registration applications.

{17] Wisconsin only tracks fax or email registrations for military voters because although they are not
required to register, a record is created as a registration in the system. Military voters’ data may be
received by fax or email, whereas non-military voters can only submit registrations by mail or in-
person. Registration applications falling under other sources come from care facilities and
registrations received at the polling place on Election Day. Wisconsin is exempt from the NVRA and
does not receive registrations from NVRA agencies.

[18] Wyoming is exempt from the NVRA. Wyoming has no system for web-based registration and no
system for registration through motor vehicle offices or driver's license offices.

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Vater Registration Table 3: Registration Applications Processed

Alabama [4] 4,132,263 437,156

American
Samo

Arkansas [2]

Colorado

Delaware [3]

Florida [4] 6.056.693

Indiana 1,922.416 41,024,206

Kansas 709,206 211.448 673,513

Louisiana [6] 594.612 159.421 225,937

Maryland [7] 3,513,915 310,973 2,994,726 176,094

Michigan [8} 3.400,532 553,078 652,487 1.412.884

Mississippi 262.005

Montana 237,013 95.495 40.3% 107 667

383,357 804,375

O.1% 16.750

New Jersey 3,927,225 380.155 1.460,926 312.155

New York [12] 1.748, ,658 356,054 245,205 998 988

North Dakota

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147,980

5,380,344 2,938,010 2,323,494

3.4% 10.557

Virginfa

West Virginia

Wyoming [17]

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Alabama [1 -203,827

American
Samoa

Arkansas [2]

Colorado

Delaware [3]

Columbi
Florida [4]

Indiana

Louisiana [6]

Maryland [7]

Michigan [8

Mississippi

Montana

Nevada

New Jersey 163,002 1,530,046

New York [12] 159,051
INGE
North Dakota

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294,216 11.7% 116,085

Oregon [14]

Rhode Island

South Dakota

Virginia

West Virginia

Wyoming [17]

Voter Registration Table 3 Caiculation Notes:
Tota! Registration Applications Received uses question A3a.
New Valid Registrations, Total uses question A3b.
New Valid Registrations, % uses A3b/A3a x 100.
Change of Name, Party, or Address (Within Jurisdiction), Total uses question Af.
Change of Name, Party, or Address (Within Jurisdiction), % uses ASf/ASa x 100.
Change of Address (Cross-Jurisdiction), Total uses question A3g.
Change of Address (Cross-Jurisdiction), % uses A3g/A3a x 100.
Pre-Registrations (Under 18 Years of Age), Total uses question A3c.
Pre-Registrations (Under 8 Years of Age}, % uses question A3c/A3a x 100.
Duplicate Registrations, Total uses question A3d.
Duplicate Registrations, % uses A3d/A3a x 100.
Invalid or Rejected Registrations, Total uses question A3e.
Invalid or Rejected Registrations, % uses A3e/A3a x 100.
Other Registrations, Total uses the sum of questions A3h, A3i, and A3j.
Other Registrations, % uses (ASh+A3i+-A3j)//A3a x 100.
Not Categorized, Total uses ASa—(sum of A3b to A3j).
Not Categorized, % uses (A3a-[sum of A3b to A3}]}/ASa x LOO.

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Voter Registration Table 3 Data Notes:
General Notes:

« Casewise deletion at the state level was used in calculating national percentages. The
percentage calculations at the national level (U.S. Total} only used data from those states that
provided data for the numerator and denominator of the calculation.

e The percentages shown in this table are rounded to one decimal place. Percentages that
round to less than 0.1% are displayed as 0.0%.

# Questions ASh, A3i, and A3j were not mandatory. States and jurisdictions only reported data in
these items if there was another registration category aside from those listed in questions
A3b-A3g or if there were registration applications that could not be categorized in questions
ASb-A3g.

« Negative numbers in the Not Categorized registration category indicate that the sum of
registrations received for each category accounted for more than the total number of
registrations repotted received by the state.

e Because each percentage was calculated independently, the percentage of applications in
each category may not sum to 100% for some states or at the national level.

e« Not all states track data to be able to provide responses for each registration category.

[4] Totals reported in item A3 of the 2022 EAVS are from the Election Systems & Software (ES&S}
election survey. Alabame does not track data on pre-registration. Due to the way the state tracks
data for changes to records, the number of changes resulting directly from registration forms could
not be separated from the total number of changes made to voter’s records.

[2] Information on registrations that were address changes that crossed jurisdiction borders is included
in reports of new valid registrations.

[3] A change in the pclicy of how Delaware handles “invalid” or “rejected” registrations occurred since
the 2020 EAVS submission was made. Invalid registrations are no longer rejected: instead, they are
put in a suspense status and the registrant is contacted to correct the registration record. Some
invalid registrations that go through this process may not be marked as invalid: therefore, caution
should be taken in comparing Delaware's invalid registration data to previous years.

[4] Some counties could not provide data on registrations by outcome in A3 in the way the question
required.

[5] Data reported in “Other Registrations” is due to a system limitation in reporting the transaction
source of registration updates that do not involve a change from a previous listed source, Pre-
registration of voters are considered valid new registrations for the purpose of reporting data
according to the source of a transaction.

[6] Address changes across jurisdictions are counted as new registrations. Citizens who are 16 and 17
years old can apply to register to vote, but they cannot vote until they are 18.

[7] The total of A3a is the sum of A3b, A3d, and A3e. Maryland does not consider the registration
changes listed in ASf and A3g as registrations, and therefore the source of these changes is not
recorded. For A3c, individuals can register to vote starting at age 16; however, they are not
considered “pre-registered.” Sixteen- and 17-year-olds are considered registered voters who cannot
vote until their L&th birthday.

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[8] in past EAVS, Michigan reported that data on the number of registration forms received for address
changes that crossed a jurisdiction border was not available. However, for this year's survey,
Michigan can report that over 1.1 million registration transactions were for voters who changed their
city or township of residence. Additionally, the dramatic increase in the number of duplicate
registrations received compared to past EAVS responses is attributed to the implementation of
automatic voter registration. Automatic voter registration data received for existing voter registrations
is rejected if all data already exists in the qualified voter file or otherwise merged with the existing
registration.

[9] If a voter is changing their name and updating their address, the state’s voter registration system
will record two changes made to one record and will track one change for each action to a voter
record.

[10] Nebraska law does not alfow for pre-registrations for peaple not of voting age.

[11] New Hamoshire uses voter registration forms for name, party, and address changes.

[12] The totals in A3a are numbers provided by counties.

[13] Address changes that cross jurisdiction borders are recorded as new registrations.

[1.4] Data on the number of cross-jurisdiction change of addresses is included with data on within-
jurisdiction change of name, party, or address.

[15] Cross-jurisdiction moves count as new registrations.

[16] Wisconsin is exempt from the NVRA and does not collect data on rejected registratians.

[17] Multiple changes may occur on the same voter registration form.

i Voter Registration: The NVRA and Beyond
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Voter Registration Table 4: Voter List Maintenance—Confirmation Notices

Alabama [1}

American Samoa

Arkansas

Colorade

]

idaho [4]

indiana [5

Kansas

Louisiana [8]

Maryland [10]

Michigan [12]

Mississippi

{13]

Mortana

Nevada 123,663

ERE
New Jersey

New York [15] 458,079

North Dakota

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1,253,658 15.6% 152,174

Rhode Island

South Dakota

Utah [19] 150,848

Virginia

West Virginia

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Alabama [1]

American Samoa

Arkansas

Colorado

Delaware [2]

Flarida

Indiana [5]

Kansas

Louisiana [8}

Maryland [10}

Mississippi [13] 140,044 100.0%

Montana

New Jersey

New York [16] 343,514

North Dakota

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Rhode Island

South Dakota

Voter Registration Table 4 Calculation Notes:
Confirmation Notices Sent, Total uses question ASa.
Confirmation Notices Sent, % of Active Voters uses ASa/Aib x 100.
Confirmation Notices Received Frorn Voter, Valid, Total uses question A8b.
Confirmation Notices Received From Voter, Valid, % uses ASb/A8a x 100,
Confirmation Notices Received From Voter, Invalid, Total uses question A&c.
Confirmation Notices Received From Voter, Invalid, % uses ASc/A8a x 100.
Confirmation Notices Returned Undeliverable, Total uses question A&d.
Confirmation Notices Returned Undeliverable, % uses ASd/ASa x 1.00.
Unreturned Confirmation Notices, Total uses question A8e.
Unreturned Confirmation Notices, % uses ASe/ASa x 100.
Gther, Total uses the sum of questions A&f, A8g, and A8h.
Other, % uses (A8f+AGg+A8h)/A8a x 100.
Not Categorized, Total uses ASa-(sum of ASb to ASh).
Not Categorized, % uses (ASa—fsum of A8b to ABh])/A8a x 100.

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Voter Registration Table 4 Data Notes:
General Notes:

e Casewise deletion at the state level was used in calculating national percentages. The
percentage calculations at the national level (US. Tota only used data from those states that
provided data for the numerator and denominator of the caiculation.

« The percentages shown in this table are rounded to one decimal place. Percentages that
round to less than 0.1% are displayed as 0.0%.

e Questions A8f, A&g, and ASh were not mandatory, States and jurisdictions only reported data
in these items if there was another confirmation notice status aside fram those listed in
questions ASb~A8e or if there were registration applications that could not be categorized in
questions ASb-A8e.

e Negative numbers in the Not Categorized confirmation notices category indicate that the sum
of confirmation notices for each category accounted for more than the total number of
confirmation notices reported by the state.

@ Because each percentage was calculated independently, the percentage of confirmation
notices in each category may not sum to 100% for some states or at the national level.

2 Not all states track data to be able to provide responses for each confirmation notice category.

e States that are exempt from the NVRA are not required to send confirmation notices pursuant
to the NVRA, although they may send confirmation notices (or other similar notices) pursuant
to state law or practice. States that do not use confirmation notices typically use other sources
of data to identify potentially ineligible voters.

{1] Alabama dees not have a report that has the total number of confirmation notices sent.

[2] Delaware does not require confirmation notices to be returned. Notices are assumed correct if they
are not returned.

[3] Kauai County was the only county that logged received notices.

[4] idaho does not track data on the outcomes of confirmation notices.

[5] Indiana’s statewide voter registration system is not able to track data on confirmation notices,

[6] Due to a change in state statute regarding how and when voters become inactive due to non-
participation, a large portion of mail processing is done outside of the state database; this affects the
ability to report data in A8e.

[7] As of the time the EAVS data were finalized, Kentucky had not yet finished scanning and
categorizing the returns.

[8] Confirmation notices are sent pursuant to 52 USC Section §20507(d)(2). The Department of State
any collects data on the total number of sent confirmation notices.

[9] Maine conducted a statewide NVRA list maintenance mailing in 2022.

[10] Data for A&d is included in what is reported in Age.

{11] Data on the result of confirmation notices is not tracked.

[12] In 2021, the Michigan Bureau of Elections processed undeliverable mail from the first statewide
elections mailing in 10 years, triggering a significantly larger amount of cancellation notices mailed
than in the past.

[23] in the lead-up to the 2020 election, the Mississippi Secretary of State's office sent postcards to
every registered voter to update them on changes that had been made in election laws. Postcards
that were undeliverable were returned to the loca! election officials and caused a confirmation card
to be sent.

[14] Missouri does not track ail the requested information on confirmation notices.

[15] New Hampshire does not send confirmation notices, but does send 30-day letters.

[16] Some counties could not provide data on confirmation notices.

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[17] Data are not available in the statewide voter registration system showing whether confirmation
notices were confirmed by the voter or not. County boards process the returned confirmation notices
according to voter confirmation.

[£8] The number reported in A8a includes initial notices sent to voters who appear to have moved
based upon information received pursuant to the National Change of Address program.

[19] Several Utah counties do not track data on confirmation notices or on unreturned confirmation
notices.

[20] Wisconsin is exempt from NVRA; however, the state sent notices to voters who have not voted ina
4-year period, as weil as Electronic Registration Information Center (ERIC) mover mailings. Notices
are sent to voters who register to vote or whose voter information may be out of date.

[21] Wyoming does not require registration confirmation notices to be sent to voters and does not have
a system that tracks that information.

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Voter Registration Table 5: Voter List Maintenance—Removal Actions

Alabama [1]

298,554

106,738

149,982

American
Samoa

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Arkansas

195,595

228,798

Colorada

394 628

161.607

Delaware

2,516,141

572,346

424,687

a

379,356

indiana [3]

937,145

Kansas

131.563

127,072

Louisiana [4]

266,821

Marylanc

Michigan

485.916

232.745

176.788

123.377

Mississippi

Montana [6]

152,455

60,248

7.2%

8,685

18.028 29.8%

26,067

43.3%

44%

New Jersey [7]

396,616

163.986

402.607

6.3%

56.827

New York

391.397

118.186

222,564

133,075

North Dakota

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$23,116 7.8% 201,421 215.497 116.823

Oregon {8] 117,307

Rhode Island

South Dakota

2,029,283

Virginia 837.064 556,858 125.655 114,945

West Virginia 197,429 . 150,079

Wyoming

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Alabama [1]

American
Sam

Arkansas

Colorada

Delaware

Florida

Indiana [3] . 801,682

Louisiana [4}

Maryland

Michigan

- - - 152,455 106.0%

Mississippi - -

Montana [6]

Ha

New Jersey [7]

New York

North Dakota

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Oregon [8]

Rhode Island

Virginia

West Virginia

Wyoming

Voter Registration Table 5 Calculation Notes:
Voters Removed, % of Registered Voters uses A9a/Ala x 100.
Moved Out of Jurisdiction, Total uses question AQb.
Moved Out of Jurisdiction, % uses A9b/A9a x 1O0.
Voter Deceased, Total uses question AQc.
Voter Deceased, % uses AQc/A9a x 100.
Failure to Return Confirmation Notice, Total uses question A9e.
Failure to Return Confirmation Notice, % uses AGe/AGa x 100.
Voter's Request, Total uses question AQ¢g.
Voter's Request, % uses question ASg/AGa x 100.
Felony or Conviction, Total uses question AQd.
Felony or Conviction, % uses ASd/AQa x 100.
Mental Incompetence, Total uses question AQf.
Mental Incompetence, % uses question AQf/A9a x 100.
Other, Total uses the sum of questions AGh, AQ, and AQ}.
Other, % uses (AQH+A9i+A9j)/A9a x 100.
Not Categorized, Total uses Afa-(sum of Ab to AQj).
Not Categorized, % uses (AGa—[sum of ASb to A9j})/A9a x 100.

Voter Registration Table 5 Data Notes:
General Notes:
*  Casewise deletion at the state level was used in calculating national percentages. The
percentage calculations at the national level (U.S. Total) only used data from those states that
provided data for the numerator and denominator of the calculation.

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* The percentages shown in this table are rounded to one decimal place. Percentages that
round to less than 0.1% are displayed as 0.0%.

¢ Questions Ah, AQi, and AQ] were not mandatory. States and jurisdictions only reported data in
these items if there was another reason for registration removals aside from those listed in
questions A9b-AQg or if there were registration removals that could not be categorized in
questions AQb-Agg.

« Negative numbers in the Not Categorized registration removals category indicate that the sum
of registration removals for each category accounted for more than the total number of
registration removals reported received by the state.

2 Because each percentage was calculated independently, the percentage of confirmation
notices in each category may net sum to 100% for some states or at the national level.

* Not all states track data to be able to provide responses for each registration removal
category. In addition, not all states may remove registrations for the listed reason.

[1] Data reported in the “Other” category includes duplicate profiles for voters who were already
registered and reasons not listed.

[2] Data reported in ASb represents voters who moved out of state.

[3] The data reported in AQb~j consisted of data fram an ad hoc report (A9b-d, AQg-~-j) and the
statewide voter registration system (A9e). Indiana provided the number of voter records cancelled
due te being in inactive status for more than two federal general elections for question ASe. These
statistics represent the majority of cancellations for this reason, based on county users selecting the
option to run this process in batch. County users have the option to also cancel voters one by one for
this reason, but those statistics are not included in the counts for question ASe.

[4] Irregularities include voters that were cancelled by the Registrar of Voters because the registrant
provided insufficient or incorrect data or a user processing error. Challenge 21 includes voters who
were registered in another state or not a United States citizen, or were otherwise not qualified to be
registered for reasons other than change of address.

[5] Pertaining to the number of removals reported because the voter received a disqualifying criminal
conviction or was declared mentally incompetent, these voters are not removed, but their status is
changed to “challenged.” For removals for a failure to respond to a confirmation notice and a failure
ta vote, this includes data on individuals who did not vote or update their registration in the prior 4
years. Data on removais because of voter request is not tracked separately and is included as an
“other” reason for removal.

[6] Data reported in AQd includes felony cancellations as reported in the statewide voter registration
database. Data reported in AQ} includes cancellations for which no reason was specified.

[7] There are no records for voters removed due to mental incompetence. “Administrative action” was
erroneously recorded with removals at the voter’s request in previous years.

[8] Data reported on removals at the voter's request may include other reasons fisted. Individuals who
receive a felony or criminal conviction are inactivated, not removed from the voter rolls.

[9] Tracking of voters removed for mental incompetence was implemented after the time period
covered by the 2022 EAVS.

[10] in Wisconsin, voters are only included in the data on voter registration removals if they remain
removed as of the time the data for this report was pulled. Voters who were removed during the
period and subsequently reregistered during the period are not inctuded. Wisconsin is exempt from
the NVRA and does not classify inactive voters per NVRA definitions. Only active voters are registered
and eligible to vote in Wisconsin. Wisconsin’s count of registered voters for this report includes
military voters, even though they are not required to “register” in Wisconsin.

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eS, er

Chapter 4. Military and Overseas
Voting in 2022: UOCAVA

Key Findings

The Election Administration and Voting Survey (EAVS) Section B collected data from states and
municipalities on individuals covered by the Uniformed and Overseas Citizens Absentee Voting Act
(UOCAVA} during the 2022 federal general election. Election officials were asked a variety of
questions relating to UOCAVA voting practices, including the total number of registered JOCAVA
voters, the use of the Federal Post Card Application (FPCA), the quantity of and methods by which
ballots were transmitted to and returned by UOCAVA voters, and the use of the Federal Write-In
Absentee Ballot (FWAB).2 Notable findings from EAVS Section B include:

© Over 57% of registered UOCAVA voters held legal voting residence in three states: Florida
(182,506}, California (137,273), and Washington (103,996). California and Florida had
more overseas citizens than uniformed services members?; Washington had more
uniformed services members than overseas citizens. More than 60% of EAVS jurisdictions
had 10 or fewer registered UOCAVA voters and 85% of jurisdictions had at least one
registered UOCAVA voter.

o Continuing a trend that has been ongoing for several election cycles, overseas citizens
made up a larger percentage of registered UOCAVA voters than did uniformed services
members. in 2022, the number of ballots transmitted to overseas citizens was nearly
double the number of ballots transmitted to voters who were uniformed services members.

o Email was the most popular mode for states to transmit ballots to UOCAVA voters for the
2022 general election (48.5%), followed by postal mail (38.4%), and other methods such
as fax or online systems (12.6%). The percentage of ballots transmitted via email dropped
by about 8 percentage points from 2018 (56.6%). Transmission vie other modes saw a
sizable increase between 2018 and 2022.

© The majority (52.8%) of overseas citizens received their ballot via email, compared to just
over a third of uniformed service members (36.6%). About 267,403 (41%) of transmitted
ballots for the 2022 general election were returned to election offices. This is about 22.4%
lower than the 344,392 returned ballots from 2018.

o Most UOCAVA voters returned ballots via postal mail (61.5%). This was particularly true for
uniformed services members (73.6%). A total of 257,657 UOCAVA voter ballots were
counted in 2022.

© Usage of the FWAB decreased by 26.8% compared to 2018. Usage of the FWAB resulted in
an additional 3,447 UOCAVA voters’ ballots being counted in the 2022 election and 655

1 The response rate among local jurisdictions for EAVS Section B was 99.9%; five counties in Arkansas did
not provide Section B data. In addition, the response rate for individual items varied. Results reported in
this chapter include only states for which data are available for a given question, State and national totals
include alt available jurisdiction-level data. Nationat-level percentages reported in this chapter used
casewise deletion.

2 Per UOCAVA, uniformed service members include both active duty military and their eligible family
members.

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FWABs were not counted in the 2022 election. Of this number, 159 FWABs were not
counted because they were replaced by a regular absentee ballot, making the backup
ballot unnecessary.

introduction

The U.S. Election Assistance Commission (EAC) is required by the Help America Vote Act of 2002
(HAVA) to collect data from states? and to report on absentee voting by uniformed services
members and overseas citizens.* Since 2014, the EAC has fulfilled this reporting mandate in
partnership with the Federal Voting Assistance Program (FVAP), the agency designated to
administer UOCAVA on behalf of the U.S. Department of Defense (DOD). Through a memorandum
of understanding between the EAC and FVAP, Section B of the EAVS is administered on behalf of
both agencies. This agreement allows both the EAC and FVAP to fulfill congressionally mandated
requirements to study UOCAVA voting while reducing the data collection and reporting burden on
State and local election officials. States are required to report certain election data to the EAC
after each federal election.

This chapter examines UOCAVA data from the 2022 EAVS, including use of the FPCA by UOCAVA
voters, ballots transmitted to VOCAVA voters by states, ballots returned by UOCAVA voters,
UOCAVA ballots counted, VOCAVA ballots rejected, and usage of the FWAB by UOCAVA voters.
Where appropriate, information about state laws and procedures related to UOCAVA voting,
collected as part of the EAC’s 2022 Election Administration Policy Survey (Policy Survey}, is
presented to provide context for the EAVS results. Chapter 2 of this report contains a full analysis
of all UOCAVA data collected in the 2022 Policy Survey.

Federal Laws Regulating Military and Overseas Voting

The Uniformed and Overseas Citizens Absentee Voting Act of 1986 (UOCAVA)
UOCAVA protects the voting rights of active duty mititary members who are stationed away from
their voting residence, the spouses and other eligible family of active duty military members, U.S.
citizens residing outside of the United States, and other uniformed services members. UOCAVA
requires all states, territories, and the District of Columbia to allow these citizens to register to
vote and to cast an absentee bailot for all federal elections.® For the estimated 1.33 million active
duty members and approximately 573,000 military spouses and voting-age dependents stationed
away from their legal voting residence’—as well as the estimated 2.6 million voting-age U.S.

° Throughout this report, unless otherwise specified, the term “state” can be understood to apply to the 50
U.S. states, the District of Columbia, and four U.S. territories (American Samoa, Guam, Puerto Rico, and the
U.S. Virgin Islands} that submit Election Administration Policy Survey and EAVS data. Due to the Northern
Mariana Islands not being covered under UOCAVA, data on UOCAVA voting is not available from this
territory,

4 The Help America Vote Act of 2002 (HAVA}, 52 U.S.C. § 20901. The EAC works with FVAP te collect
comprehensive data from the states on all of the ballots sent and received by voters covered under
UOCAVA (52 U.S.C. § 20301(b11)}.

5 Section 7O3{a) HAVA amended section 102 of UOCAVA.

& Throughout this report, the term “uniformed services voter” refers to U.S. citizens who are active members
of the uniformed services or a spouse or dependent family member thereof. “Overseas citizen” refers to
non-military U.S. citizens who reside overseas.

7 Information was provided by FVAP to Fors Marsh via email on April 6, 2023, and was current as of October
2022.

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citizens who live, study, or work overseas’—the absentee voting process is different from and can
be more challenging than the voting process for non-military voters residing in the United States.

Citizens protected by UOCAVA include:

e Members of the uniformed services (Army, Navy, Marine Corps, Air Force (including Space
Force), Coast Guard, U.S. Public Health Service [USPHS] Commissioned Corps, and the
National Oceanic and Atmospheric Administration [NOAA] Commissioned Officer Corps} who
are stationed away from their legal voting residence:

e Members of the U.S. Merchant Marine;

e Eligible family members of the above: and

® U.S. citizens residing outside of the United States

Among the challenges UOCAVA sought to address was the wide variability in rules and procedures
governing registration and voting across states, which made it difficutt for uniformed services
members and overseas citizens to navigate the voting process.9 UOCAVA established the FPCA,
which serves as a combination registration and ballot request application that is accepted in all
U.S. states and territories. In addition, the FWAB functions as a backup ballot that can be cast by
UOCAVA voters who make a timely request for, but do not receive, a regular absentee ballot.1°
Some, but not all, states consider the FWAB to be both a registration form and ballot request
application.

Although states and localities still maintain and administer elections according to their own laws
and procedures for registration and absentee voting among uniformed services members and
overseas citizens, the provisions of UOCAVA established some uniformity in the absentee voting
process for these voters.

The Military and Overseas Voter Empowerment (MOVE) Act of 2009

Historically, UOCAVA ballots were transmitted from election offices to voters primarily through the
mail. Given long mailing times and high mobility rates for this population of voters, this practice
meant that many UOCAVA voters were unable to receive and return their absentee ballot before
state ballot return deadlines. The Military and Overseas Voter Empowerment (MOVE) Act
amended UOCAVA to establish additional requirements to protect military and overseas citizens’
voting rights.+t These new rules required that all states, territories, and the District of Columbia
provide UOCAVA voters with an option to request and receive registration and absentee ballot
request materials electronically, directed states to establish an electronic means of transmitting

® Federal Voting Assistance Program, “Comparing Models for Estimating the Total Overseas Citizen
Population, the Overseas Citizen Voting-Age Population, and Voting Rates,” at

httos://www fvap. gov/uploads/FVAP/Reports/OCPA-Research-Note FinaLpdf. The 2022 Overseas Citizen
Population Analysis (OCPA} also estimates the number of overseas U.S. citizens, but results from this survey
were not available at the time of this report's publication.

® The U.S. Department of Justice. (2020, February 18). The Uniformed and Overseas Citizens Absentee
Voting Act. httos://www. justice. gov/ort/uniformed .
19 Section 103 of UOCAVA provides a mechanism for uniformed services members and overseas citizens to
cast a FWAB (see 52 U.S.C.§ 20303).

11 Military and Overseas Voter Empowerment (MOVE) Act of 2009 statutory language can be found at

httos://www. fvan. gov/uploads/FVAP/Policies/moveact.pdf. State specific information can be found at

httos://www. fvap.gov/suide,

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blank ballots to UOCAVA voters, and required states to provide free access to a system whereby
voters can verify the status of their ballot. Additionally, absentee ballots must be transmitted no
less than 45 days before a federal election to all UOCAVA voters who submit an absentee ballot
request before this deadline. These additional provisions aimed to ensure uniformed services
members and overseas citizens not only have the right to vote, but that they have sufficient time
to receive and return their absentee ballots ahead of state deadiines.

The UOCAVA Voting Process

Although the specific path may differ depending on the policies and procedures in one's state of
voting residence and on a voter's particular situation and preferences, in general, the UOCAVA
voting process can be summarized in six basic steps, as illustrated in Figure 1.42

Figure 1. The UOCAVA Voting Process

Directly Through
, | Election Office

UOCAVA

—* Jona | VOTING
J mee,

By Other
State- Approved
Method | nC < Ballot is
\

eee oe j__ Rejected

Ballot is r
| Counted |

© Adapted from an FVAP infographic. For more detailed information about state policies related to UOCAVA
voting, see Chapter 2 of this report.

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1. Register and request an absentee ballot: UOCAVA-eligible citizens can do this either by
completing a state application form or an FPCA (the federal form that functions as both a
registration and absentee ballot request and is accepted in all states and U.S. territories).

2. Submit the registration and ballot request: Completed applications must be submitted to
the appropriate state or local election office by mail or by an electronic means permitted

by the state. All states accept FPCAs by mail; states may also accept FPCAs via email, fax,
the state’s online voter registration portal, or by another mode.

3. Application processing: Once received, registration and absentee ballot request
applications are processed by the election office. If an application meets all requirements
and is accepted, then it is valid as a registration and ballot request. UOCAVA voters can
use the FPCA as a single ballot request form for all federal elections during the calendar
year in which it is submitted. State laws vary on how long this request is valid beyond the
initial year,

4. Ballot transmission: Election officials transmit absentee ballots to registered UOCAVA
voters no later than 45 days before a federal election (ballots may be transmitted later if
the ballot request is submitted by the state deadline but less than 45 days before an
election).44 Ballots may be transmitted to a voter by mail or through some other state-
approved electronic means of transmission, as requested by the voter.

5. Complete and return absentee ballot: UOCAVA voters complete and return their absentee
ballot to the appropriate election office for processing. Ballots may be returned and
submitted for processing either by mail or through some other electronic means allowed
by a state.

6. Ballot processing and counting: Completed absentee ballots that are returned and
submitted for counting to an election office must be received by state deadlines and meet
other state requirements. State policies on when completed ballots must be postmarked
and when they must be returned to an election office in order to be eligible to be counted
vary widely.

7. Federal Write-In Absentee Ballot (EWAB): The FWAB is an emergency or “back-up” ballot
available for citizens covered under UOCAVA. it is used to vote in any election for federal
offices and as otherwise permitted by state law. UOCAVA requires that to use a FWAB, a
voter must be a member of the uniformed services or Merchant Marine (or eligible family
member}, ora U.S. citizen overseas who is absent from their place of residence where
they are otherwise qualified to vote, and must not have received their requested regular
absentee ballot from their state. Depending on state law, the FWAB may also be used to
request voter registration and/or an absentee ballot.

13 The UOCAVA ballot transmission date is set by the MOVE Act of 2009. Because 45 days before a federal
general election always falls on a Saturday, election officials may refer to this ballot transmission deadline
as “UOCAVA Saturday.”

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UOCAVA stipulates that voters may also return the state-issued absentee ballot after returning the
FWAB, as the state ballot may offer other offices or referenda. Only one ballot is counted for each
voter; if a state-issued absentee ballot is received from the voter, it supersedes the FWAB and
only the official ballot is counted.

UOCAVA Registration and Ballot Requests

For the 2022 general election, registered overseas citizens outnumbered registered uniformed
services members covered by UOCAVA. Uniformed services members and their eligible family
members accounted for 43.1% of registered UOCAVA voters and overseas citizens accounted for
56.5% of this population.?4 This continues a trend that was also seen in 2020, 2018, and 2016.

Table 1. Four Jurisdictions Accounted for 12%+ of All Registered UOCAVA Voters

Los Angeles County, CA 31,273

Miami-Dade County, FL

Source: Information on the number of registered and eligible UOCAVA voters was item Bla of the 2022
EAVS.

Registered UOCAVA voters’ legal voting residences‘5 are disproportionately concentrated in just a
few U.S. states. In 2022, the states with the largest numbers of registered UOCAVA voters were
Florida (182,506), California (137,273), and Washington (103,996}.*6 Together, these three
states represented 57.5% of ail registered UOCAVA voters reported in the 2022 EAVS. Fourteen

14 The total number of registered and eligible UOCAVA voters was collected in item Bia of the 2022 EAVS.
The number of registered and eligible uniformed services UOCAVA voters was collected in item Bib; the
percentage of uniformed services UOCAVA voters was calculated by dividing Bib by Bla. The number of
registered and eligible overseas citizen UOCAVA voters was collected in item Bic; the percentage of
overseas citizen UOCAVA voters was calculated by dividing Bic by Bia. Casewise deletion at the state leve!
was used in calculating the national percentage. In total, 754 jurisdictions in 13 states and 3 territories did
not report data in B41; this count excludes jurisdictions in Maine, which reported UOCAVA data at the state
leve! and not the jurisdiction level, and jurisdictions in North Dakota as they do not use voter registration. A
total of 5,716 registered and eligible voters reported in B1a were not classified as either uniformed
services members or overseas citizens. These percentages exclude the seven states that did not report the
number of registered UOCAVA voters and the state and territary that did not subdivide this number by
UOCAVA voter type.

48 According to FVAP’s guidance for service members, “Your voting residence is within your state of legal
residence or domicile, It is the address that you consider your permanent home and where you had a
physical presence. Your state of lega! residence is used for state Income tax purposes, determines eligibility
to vote for federal and state elections, and qualification for in-state tuition rates.” For more information, see
httos://www. fvap gov/military-voter/voting-residence.

+6 The total number of registered and eligible UOCAVA voters in a state was calculated by summing Bia
across alj jurisdictions for each state.

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local jurisdictions+? reported having 10,000 or more registered UOCAVA voters, and four reported
more than 15,000 registered and eligible UOCAVA voters. These four jurisdictions, shown in Table
1, accounted for 12.8% of all registered UOCAVA voters.

Conversely, of the 5,233 local jurisdictions for which the number of registered UOCAVA voters was
available, 89.4% reported fewer than 100 registered UOCAVA voters, including 775 (14.8%)
jurisdictions that reported having zero UOCAVA voters in 2022, Figure 2 shows the number of
registered UOCAVA voters by jurisdiction.

Figure 2. Most Jurisdictions Had Fewer Than 50 Registered UOCAVA Voters
2,528

1,112

Number of Jurisdictions

261
Se as

2F 18 14

Zero 1 to Tt to S0to 100to 200to S500to 1,000to 2,500to 5,000to 10,000+
10 4g 99 199 499 999 2499 4999 9,999

Source: Information for the number of registered and eligible UOCAVA voters was collected in item Bla of
the 2022 EAVS.

Election offices reported receiving 309,867 FPCAs ahead of the 2022 general election, which
was almost identical to the 312,437 FPCAs that states reported receiving ahead of the last

17 What constitutes a jurisdiction for EAVS reporting is defined by how each state chose to provide data, For
the 2022 EAVS, most states reported data on the county level (or county equivalent, such as parishes for
Loulsiana}, The territories, the District of Columbia, and Alaska each reported as a single jurisdiction.
Illinois, Maryland, Missouri, Nevada, and Virginia reported data for independent cities in addition to
counties. Rhode Isiand reported data at both the city and town level, Wisconsin reported data at the city,
town, and village level. Connecticut, Maine, Massachusetts, New Hampshire, and Vermont reported data on
the town or township level. Maine also reported its UOCAVA data in Section B as a separate jurisdiction,
because this information is only collected at the state level. Michigan reported data for the county level, but
most election administration activities take place in the 1,520 local election jurisdictions in the state.
Elections for Kalawao County in Hawaii are administered by Maui County; although Kalawao is included as
a jurisdiction in the EAVS data, Kalawao’s data are included with Maui's data.

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midterm general election in 2018. Overall, 20./% of these registration and absentee ballot
requests came from uniformed services members, and 76.5% were submitted by overseas
citizens.1® States reported rejecting 1.9% of the FPCAs received—21.4% of these were rejected
because the election office received the form after their state’s absentee ballot request
deadline.*? The FPCA rejection rate among uniformed services members was slightly higher than
among overseas Citizens (although not to a statistically significant degree}, with 2.6% of military
FPCAS rejected compared to 1.8% of FPCAs submitted by overseas citizens.2¢

Figure 3. Ballot Transmissions Were the Highest in States with Large UOCAVA Populations

mi 50,001+ EB 10,001-50,000 5,0071-10,000
1,501-5,000  [20-1,500 CI No Data

Source: Information on the number of transmitted UOCAVA ballots was collected in item BSa of the 2022
EAVS. State-level data were aggregated from jurisdiction data. Cutoff points in the graph were selected to
reflect states that had the lowest and highest number of UOCAVA ballots transmitted and to differentiate
among the states in between the lowest and highest UOCAVA ballot transmission numbers,

18 Data on the tetal number of FPCAs submitted were collected in item B2a of the 2022 EAVS. For 2022,
the percentage of FPCAs received from uniformed services members was caiculated as B2b/B2a x 100.
The percentage of FPCAs received from overseas citizens was calculated as B2c/B2a x 100. Casewise
deletion was used at the state level in calculating national percentages.

12 The total number of FPCAs rejected was collected in tem B3a in the 2022 EAVS: the percentage of
FPCAs rejected was calculated as B3a/B2a x 100. The percentage of FPCAs rejected because they were
received late was calculated as B4a/B3a x 100, Casewise deletion was used at the state level in
calculating the national percentages.

2° The percentage of relected FPCAs from uniformed services voters was calculated as B3b/B2b. The
percentage of rejected FPCAs from overseas citizens was calculated as B3c/B2c. Casewise deletion was
used at the state level in calculating these percentages.

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UOCAVA Ballots Transmitted

In 2022, election offices in the 50 states, three U.S. territories,24 and the District of Columbia
reported transmitting 654,786 ballots to UOCAVA voters.2? Figure 3 shows the number of ballots
sent out from election offices or transmitted for each state. The states colored in the darkest blue
represent the states that distributed the most ballots to UOCAVA voters. The states colored in ihe
lightest blue are the states that distributed the fewest ballots to UOCAVA voters. States on or near
the West Coast such as Arizona, California, Colorado, Oregon, and Washington, Mid-Atlantic states
including New Jersey, New York, North Carolina, Pennsylvania, and Virginia, and populous states
like Florida and Texas all transmitted 10,000 or more UOCAVA ballots.

Figure 4. Steady Increase in the Percentage of UOCAVA Ballots Transmitted to
Overseas Citizens Relative to Uniformed Services Members

54.4%

80.0% GO.1%

2014 2016 2018 2020 2022

Overseas Citizens

Uniformed Services

Source: The percentage of UOCAVA ballots transmitted to uniformed services voters was calculated as
Bib/Bia x 100 for 2014 and 2016 and B5b/B5a x 100 for 2018, 2020, and 2022. The percentage of
UOCAVA ballots transmitted to overseas citizens was calculated as Bic/Bila x 100 for 2014 and 2016, and
B5c/B5a x 100 for 2038, 2020, and 2022. Casewise deletion was used at the state level in calculating
national percentages; percentages may net sum to 100% for each year.

21 Puerto Rico was not required to report data for the 2022 EAVS because it did not hold a federal general
election in November 2022, The Northern Mariana Islands did net report data on the number cf absentee
ballots transmitted to UOCAVA voters in the 2022 EAVS,

22 The number of transmitted UOCAVA ballots was collected in item B5a of the 2022 EAVS. The number of
ballots transmitted to UOCAVA voters was reported by 5,933 of 6,460 jurisdictions.

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Of the UOCAVA ballots transmitted for the 2022 general election, 34.6% were sent to uniformed
services members and 64.4% were transmitted to overseas citizens.23 Figure 4 shows that the
percentage of ballots transmitted to overseas citizens has continued to rise steadily over the last
several election cycles, increasing by 12.8 percentage points since the 2014 general election and
by 4.4 percentage points since the last midterm general election in 2018.

Although the nationwide percentage of ballots sent to overseas citizens was greater than the
percentage sent to uniformed services members, the proportion of ballots sent to overseas
citizens or uniformed services members varied by state. Arkansas, Montana, Tennessee, and
Wyoming, for example, reported that LOCAVA ballots were split about evenly between uniformed
services members and overseas citizens. However, the District of Columbia, Hawaii,
Massachusetts, New Jersey, New York, and Rhode Island all reported that more than 90% of
UOCAVA ballots were transmitted to overseas citizens. American Samoa and the U.S. Virgin
Islands reported that 100% of UOCAVA ballots were transmitted to uniformed services voters, and
more than 60% of UOCAVA ballots were transmitted to uniformed services members in Alaska,
Oklahoma, and Washington State. Figure 5 shows the percentage of ballots transmitted to
uniformed services voters versus overseas citizens.

23 The percentage of UOCAVA ballots transmitted to uniformed services voters was calculated as B5b/B5a
x 100. The percentage of VOCAVA ballots transmitted ta overseas citizens was calculated as B5c/B5a x
100, Casewise deletion was used at the state level when calculating national percentages. An additional
1% of the transmitted ballots could not be classified by voter type.

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Figure 5. Twenty-Four States Transmitted More UOCAVA Ballots to
Uniformed Services Members Than to Overseas Citizens

Massachusetts —3.
Hawaii -
District of Columbia ~
Rhode Island --
New Jersey ~
New York --
Vermont —
Maine —. 4
Delaware
Michigan —~
California —
Kansas — -
Nevada —~
Maryland ~
Minnesota —
Connecticut —
Klinois —
Indiana —
Nebraska —
Pennsylvania —
Ohio —
North Carolina —
Oregon —
New Hampshire —
idaho —
Kentucky — Ee : : .
Colorado —- aa Her.
Arizona oo
Utah ~
Virginia —
Georgia —
South Carolina —
New Mexico -- geen
Texas ~~ £2 i ABA %
Missouri — peor :
South Dakota —
Wisconsin —
Louisiana —
West Virginia —
North Dakota ~-
Montana —
Tennessee —-
Wyoming —
Arkansas — 2
Alabama —
Florida —
Mississippi —
Guam —
Washington —
Oktahoma —
Alaska —--
American Samoa —
U_S. Virgin Islands —

E 0.2%

2%

6 25 50 75 160

Overseas
Citizens

Uniformed
Services

Source: The percentage of UOCAVA ballots transmitted to overseas citizens was calculated as BSc/BSa

% 100 for the 2022 EAVS. The percentage of UOCAVA ballots transmitted to uniformed services voters was
calculated as B5b/B5a x 100 for the 2022 EAVS. The percentage of uncategorized ballots was calculated
as (85a-B5b-B5c}/B5a x 100 for the 2022 EAVS. Casewise deletion was used at the state level in
calculating national percentages; percentages may notsum to 100%. lowa, Puerto Rico, and the Northern
Mariana Islands did not report data on the number of ballots transmitted.

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Viodes of UOCAVA Ballot Transmission

Over the last several election cycles, the modes by which absentee baliots have been transmitted
to voters have changed substantially. Since voters were given the option of how to receive their
blank absentee ballot with the passage of the MOVE Act in 2009, transmission of ballots to
UOCAVA voters has increasingly occurred electronically. Email was the most popular method of
ballot transmission for the 2022 general election, with 48.5% of absentee ballots transmitted to
UOCAVA voters via email, 38.4% transmitted via postal mail, and 12.6% sent to voters through
some other mode of transmission (e.g., fax or ontine systems).24 By comparison, during the

Figure 6. Modes of Ballot Transmission to Voters Differed for
Overseas Citizens and Uniformed Services Members

58.1%

52.8%
48.5%

Overall

Uniformed Services

i Email

Other

Source: The percentages of UOCAVA ballots transmitted overall were calculated as BYa/B5a x 100 for
email, B6a/B5a x 100 for postal mail, and B8a/BSa x 100 for other modes. The percentages of UOCAVA
ballots transmitted to uniformed services voters were calculated as B7b/B5b x 100 for emai!, B6b/B5Sb x
1.00 for postal mail, and BSb/B5b x 100 for other modes. The percentages of UOCAVA ballots transmitted
for overseas citizens were calculated as B7c/B5c x 100 for email, B6c/B5c x 100 for posta! mail, and
B&c/B5c x 100 for other modes. Casewise deletion was used at the state level in calculating national
percentages; percentages may not sum to 100%.

24 The percentage of ballots transmitted by email was calculated as Bfa/BSa x 100 for the 2022 EAVS. The
percentage of ballots transmitted by postal mail was caiculated as BGa/B5a x 100. The percentage of
ballots transmitted by other modes of transmission was calculated as BBa/B5a x 100. Casewise deletion
was used at the state level in calculating national percentages.

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previous midterm election cycle in 2018, among states that provided data on transmission by
mode, 56.6% of ballots were transmitted via email, with 42.2% of UOCAVA ballots transmitted via
postal mail. Figure 6 displays the percentage of ballots transmitted by mail, email, or other modes
for the 2022 general election.

Modes of ballot transmission differed based on UOCAVA voter type. Uniformed services members
used posta! transmission (58.1%) more than email transmission (36.6%), and just 6.2% of
uniformed services members had their ballots transmitted via other modes. For ballots
transmitted to overseas citizens, most ballots were transmitted by email (52.8%) while bailots
transmitted by postal mail accounted for 27.1%, and 15.8% were transmitted via other means,
including fax and online ballot delivery portals.

Overall, 1.5% of all ballots transmitted to UOCAVA voters were returned as undeliverable,
including mailed ballots returned to sender, emailed ballots that bounced back, and ballots that
were undeliverable by other modes, such as being sent to an incorrect fax number.?*

Figure 7. UOCAVA Ballot Return Rates Show No Distinct Geographic Pattern

ME8i%+  HG1-80% 47%-60% 21%-40%  ([)0%-20%  ([]No Data

Source: The percentage of transmitted UOCAVA ballots that were returned by voters was calculated as
B9a/B5a x 100. Casewise deletion was used at the state level in calculating the percentages shown in this

map.

25 The percentage of ballots returned as undeliverable was calculated as B13a/B5a x 100. Casewise
deletion was used at the state level in calculating the national percentage. States and jurisdictions vary in
the extent to which they are able to capture and report undeliverable ballots, both overall and by mode of
transmission.

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UOCAVA Ballots Returned and Submitted for Counting

States reported 267,403 regular absentee ballots being returned and submitted for counting by
UOCAVA voters for the 2022 election, comprising 40.9% of the UOCAVA ballots that were
transmitted from election offices to voters.26 This is a decrease of 23.2% from 2018, when
344,392 reguiar absentee ballots were returned by UVOCAVA voters.2’ Figure 7 shows the UOCAVA
ballot return totals by state in 2022. The states colored in dark blue represent the states that had
the highest ballot return totals. The states colored in light biue were the states that had the
lowest ballot return totais. The UOCAVA ballot return rate does not show any type of geographic or
regional pattern.

Of the ballots returned to election offices, 31.5% were returned by uniformed services members
and 65.8% were returned by overseas citizens.2¢ Overall, 61.5% of absentee ballots returned and
submitted for counting by UOCAVA voters were returned to the election office via posial mail,
37.7% were returned by email, and 17.1% were returned through some other mode (e-¢., fax or
an online system).29 Data on email ballot returns was not available in or not provided by 24.
states. Among the states that reported UOCAVA ballots returned by email, 37.7% of ballots were
returned through email, and 61.5% were returned via mail.3° Half of states allow UOCAVA voters
io return their ballots by email?

26 The total number of returned UOCAVA ballots was collected in item B9a in the 2022 EAVS. The
percentage of transmitted UOCAVA ballots that were returned was calculated as B9a/S5a x 100. Casewise
deletion at the state level was used in calculating the national percentage. FWABs were reported separately
from regular UOCAVA absentee ballots and were not included in these figures. Because more than one
ballot may be transmitted to an individua! voter (e.¢., because the original was returned undeliverable or
was spoiled and replaced), this rate ikely underestimates the rate of ballot return by UOCAVA voters.

27 The total number of returned UOCAYVA ballots was collected in item B9a for the 2018 EAVS.

2% The percentage of UOCAVA ballots returned by uniformed services members was calculated as

BOb/B9a x 100. The percentage of UOCAVA ballots returned by overseas citizens was calculated as
B9c/B9a x 100, Casewise deletion was used at the state level in calculating national percentages.

29 The percentage of UOCAVA ballots returned by postal mail was calculated as 810a/B9a x 100. The
percentage of UOCAVA ballots returned by email was calculated as Bl1a/B9a x 100. The percentage of
UOCAVA ballots returned by some other mode was calculated as B12a/B9a x 100. Casewise deletion was
used at the state level in calculating these percentages.

20 Thirty states reported at least ane email ballot returned (iter Biia in the 2022 EAVS). The percentage of
ballots returned by email was calculated as Blia/B9a x 100 among states reporting at least one email
ballot returned (item Bita in the 2022 EAVS). The percentage of baliots returned by mail was calculated as
B10a/B9a x 100 among states reporting at least one email ballot returned (item Billa in 2022 EAVS).
Casewise deletion was used at the state level in calculating these percentages.

31 Information on how UOCAVA ballots may be returned by voters was collected in item Q28 of the 2022
Policy Survey.

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Figure 8. Postal Mail Was the Primary Mode of Ballot Return for UOCAVA Voters

73.6%

61.5%

Overall Overseas Citizens Uniformed Services

Mail.

Source: The percentages of UOCAVA ballots returned by mode overall were calculated as B10a/B9a x 100
for postal mail and B11a/B9a x 100 for email. The percentages of UOCAVA ballots returned by mode for
overseas citizens were calculated as B1Oc/B9c x 100 for postal mail and Biic/B9c x 100 for email. The
percentages of UOCAVA bailots returned by mode for unifarmed services members were calculated as
BiOb/B9b x 100 for postal mail and BI1b/B9b x 100 for email. Casewise deletion was used at the state
level in calculating national percentages, and because percentages for each type of voter and each mode
of return were calculated independently—and only states that reported data for a given mode of return were
included in the analysis—the percentages do not sum to 100%. Other modes of ballot return are not shown
here.

Although postal mail was the most common mode of ballot return for both uniformed services
members and overseas citizens, uniformed services members used email return far less than
overseas citizens, with just 14.6% using email to return an absentee ballot versus 52.8% of
overseas citizens.22 Figure & displays the method of ballot return for UOCAVA voters by type.

Overall, 257,657 regular absentee ballots returned by UOCAVA voters were counted in the 2022
general election. Of these votes, 66.4% were cast by overseas citizens and 31.1% by uniformed

22 The percentage of UOCAVA ballots returned by emai! by uniformed services members was calculated as
B11b/B9b x LOO. The percentage of UOCAVA ballots returned by email by overseas citizens was calculated
as B11c/B9c x 100. Of note, two of the states with the largest numbers of UOCAVA voters—California and
Flarida—do not allow email return of absentee ballots. Casewise deletion at the state level was used to
calculate the national percentages.

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services voters.33 The overall rejection rate for regular absentee ballots returned by UOCAVA
voters was 3.9%, a 46% decrease from the 5.7% reported in 2018.*4 The overall rejection rate did
not differ significantly across UOCAVA voter types.*5

Figure 9 shows the number of rejected UOCAVA ballots returned and submitted by voters for
counting in each state. The states that are colored in dark blue represent the states that reported
the highest number of rejected ballots, and the states that are colored in light blue reported the
lowest number of rejected ballots. Rejection rates were highest in southern states including
Arkansas, Kentucky, Louisiana, and Tennessee as well as in western states like California,
Colorada, Utah, and Wyoming.

Rejected ballots were divided into three reasons for rejection: missed deadline, problem with
voter signature, and lacked postmark.3¢ By far, the most common reason for rejection was that a
ballot was received after a state’s deadline for UOCAVA absentee ballot receipt. Of the 10,456
returned UOCAVA ballots rejected, 6,774 were rejected because they were received after the
state deadline, which was 65.4% of all UOCAVA ballot rejections.*’ Voter signature problems were
responsible for 18.1% of all UOCAVA ballot rejections, 1% of ballot rejections were the result of
postmark issues, and 18% of rejections were caused by some other issue.*s

33 The total number of UOCAVA ballots that were returned by voters and counted was collected In item
Bi4a of the 2022 EAVS. The percentage of ballots that were returned by uniformed services members was
calculated as 814b/Bida x 100. The percentage of ballots that were returned by overseas citizens was
calculated as B14c/B14a x 100. Casewise deletion was used at the state level in calculating national
percentages. An additional 8,127 (3.2%) UOCAVA absentee ballots counted were not classified by voter
type.

36 Before survey revisions were made in the 2018 EAVS, UOCAVA ballot rejection data included both regular
absentee ballots and FWASs, making direct comparisons with years prior to 2018 complicated. The 2016
ballot rejection rate was calculated as (B16a+B16b+B16c}/B26b and produced an overall rejection rate of
24%,

35 The rejection rate for UOCAVA ballots was calculated as B1@a/B9a x 100 for the 2018 and 2022 EAVS.
The percentage of ballots rejected from uniformed services voters was calculated as B18b/B9b x 100. The
percentage of ballots rejected from overseas citizens was calculated as BL&c/B9c x 100. Casewise
deletion was used at the state level in calculating national percentages. The rejection rate for returned
ballots was 4.3% for uniformed services members, 3.7% for overseas citizens, and 4.6% among rejected
ballots not classified by voter type.

36 Rhode island did not report the number of ballots rejected. The number of ballots rejected was reported
for 65.5% of jurisdictions nationwide. Most of these jurisdictions also subdivided rejected ballots by reason
for rejection. Puerto Rico did not provide these data because it was not required to respond to the 2022
EAVS.

37 The total number of UOCAVA ballots rejected for being received after the state Geadline was item 819a of
the 2022 EAVS. The percentage of UOCAVA ballots rejected for being received late was calculated as
B19a/B18a x 100. Casewise deletion was used at the state level in calculating the national percentage.

38 The percentage of UOCAVA ballots rejected because of signature issues was calculated as B20a/B18a x
100. The percentage of UOCAVA ballots rejected because of postmark issues was calculated as
B21a/B18a x 100. The percentage of LIOCAVA ballots rejected for other reasons was calculated as
B22a/B18a x 100. Casewise deletion was used at the state Jevel in calculating the national percentages.

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Figure 9. UOCAVA Ballot Rejection Rates Varied Significantly Across States
oN

Tot 2.7%-5.B%

2) 1.2%-2.6%  [)0%-1.1% [No Data

Source: The percentage of returned UOCAVA ballots that were rejected was calculated as B18a/B9a x 100.
Cutoff points in the graph are quartiles.

Uniformed services members’ and overseas citizens’ VOCAVA ballots were rejected for similar
reasons. Missing the deadline was the most common reason for rejection among both
populations—60.1% for uniformed services members and 67.4% for overseas citizens. Signature
issues were the cause of 21.1% of ballot rejections for ballots returned by uniformed services
members and 17.2% of ballot rejections for overseas citizens. Neither of these reasons for
rejection differed significantly across UOCAVA voter types.99

Federal Write-in Absentee Ballots (FWAB)

if a regular absentee ballot does not arrive in time for a UOCAVA individual to vote, the FWAB
functions as a backup ballot that can be used to vote for all federal offices and, In some states,
state and local offices as well.

39 The rejection rate for UOCAVA ballots was calculated as B18a/B9a x 100 for the 2018 and 2022 EAVS.
The percentage cf ballots rejected from uniformed services voters was calculated as BL&b/B9b x 100. The
percentage of ballots rejected from overseas citizens was calculated as B18c/BGc x 100. Casewise
deletion was used at the state level in calculating national percentages. The rejection rate for returned
ballots was 4.3% for uniformed services members, 3.7% for overseas citizens, and 5.2% among refected
ballots not classified by voter type.

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The FWAB is a special type of UOCAVA ballot that may be used as a backup in the event thata
voter's regular absentee ballot does not arrive in time to vote. In most states, a UOCAVA voter must
have registered and requested an absentee ballot in order to use the FWAB.

The 4,089 FWABs submitted in 2022 made up a relatively small proportion (1.6%) of all the
UOCAVA ballots returned and represented a 26.8% decrease in the volume of FWABs reported
compared to the 2018 election.49 FWAB usage remains a relatively small proportion of the
UOCAVA methods of voting among both uniformed services members and overseas citizens.
However, the FWAB resulted in 3,447 additional UOCAVA voters’ ballots being counted in the
2022 general election, with 22.2% of these additional voters being uniformed services
members and 77.3% being overseas citizens.41 Eleven states and territories reported that they
received no FWABs during the 2022 presidential election.42

Nearly one in five (655 or 16%) of the 4,089 FWABs submitted in the 2022 general election were
not counted. Of these, 159 FWABs—25.4% of the rejected FWABs—were replaced by a regular
absentee ballot, making the backup ballot unnecessary.* The rate of uncounted FWABs returned
by uniformed services members (27.2%) was more than double the rate of uncounted FWABs
returned by overseas citizens (12%).44 The other major reason FWABs went uncounted (and the
only other reason states reported via the EAVS) was because they were received after the ballot
receipt deadline (27.2% of rejected FWABs).*5

40 The percentage of all ballots returned that were FWABs was calculated using the total number of FWABs
received (B23a) divided by the total number of UOCAVA ballots received (the sum of B9a and B23a}.
Casewise deletion was used at the state level in calculating the national percentage. The total number of
FWABs received was collected jn item B23a in the 2018 and 2022 EAVS. In 2018, states reported
receiving 7,284 FWABs. For 2022, the total number of FWABs returned was based on the 76.2% of
jurisdictions for which this information was available,

44 The total number of FWABs received and counted was item B24a of the 2022 EAVS. The number of
FWABs counted from uniformed services members was item B24b, and the number of FWABs counted from
overseas citizens was item B24c. The percentage of counted FWABs returned by uniformed services
members was calculated as 824b/B24a x 100. The percentage of counted FWABs returned by overseas
citizens was calculated as B24c/B24a x 100. Casewise deletion was used at the state level in calculating
the national percentages.

42 American Samoa, Colorado, Delaware, Guam, Hawaii, idaho, Louisiana, New Mexico, South Dakata, the
U.S. Virgin islands, and Wyoming reported receiving zero FWABs. Connecticut, Georgia, lowa, Kentucky,
Mississippi, Oregon, Rhode Island, South Carolina, and Vermont reported FWABs with regular UOCAVA
ballots because they could not separate the two types.

43 The number of FWASs rejected because the voter's regular absentee ballot was received and counted
was item B26a of the 2022 EAVS. The percentage of FWABs that were rejected for this reason was
calculated as B26a/(B25a+B26atB27a} x 100. Casewise deletion at the state level was used in
calculating the national percentage.

44 The total percentage of FWABs rejected was calculated as (B25a+B26a+B27a)/B23a x 100. The
percentage of FWABs rejected from uniformed services members was calculated as
(B25b+B26b+B27b)/B23b x 100. The percentage of FWABs rejected from overseas citizens was calculated
as (B25c+B26c+B27c)/B23c x 100. Casewise deletion was used at the state level in calculating the
national percentages.

45 The percentage of FWABs that were rejected because they were received after the deadline was
calculated as B25a/(B25a+B26a+B27 a) x 100. Casewise deletion at the state level was used in
calculating the national percentage.

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Appendix A: Descriptive Tabies
UOCAVA Table 41: Registered and Eligible UOCAVA Voters

Alabama

American

S 16 16 100.0% 0 0.0% 0 0.0%

ee

Arkansas

Colorado

Delaware

Florida

Indiana

Mississippi

Montana

Nevada

New Jersey

New York

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North Dakota

UOCAVA Table 1 Calculation Notes:
Ail UOCAVA Voters uses question Bia.
Uniformed Services Members, Total uses question Bib.
Uniformed Services Members, % uses B1b/B1a x 100.
Overseas Citizens, Total uses question Bic.
Overseas Citizens, % uses Bic/B1a x 100.
Not Categorized by Voter Type, Total uses Bia-({B1b+Bi1c)}.
Not Categorized by Voter Type, % uses (B1la-[B1b + Blc}}/Bla x 100.

UOCAVA Table 1 Data Notes:
General Notes:

e Casewise deletion at the state level was used in calculating national percentages. The
percentage calculations at the national level (U.S. Total} only used data from those states that
provided data for the numerator and denominator of the calculation.

es The percentages shown in this table are rounded to one decimal place. Percentages that
round to less than 0.1% are displayed as 0.0%.

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[1] Missouri's statewide voter registration system does not track UOCAVA registrations.

[2] Due to the Narthern Mariana Islands not being covered under UOCAVA, data on UOCAVA voting is
not available from this territory.

[3] Because Ohio permits UOCAVA voters to register by several means other than a FPCA or FWAB, this
state cannot accurately provide the actual number of UOCAVA voters.

[4] The US. Virgin Islands does not register voters based on UOCAVA status.

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UOCAVA Tabie 2

Alabama

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Federal Post Card Applications (FPCA)

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American
Samoa

400.0%

Arkansas

117

48

43.0%

Colorade

Delaware

69

0.0%

0.0%

59.0%

Bi

Kansas

Michigan

Mississippi

Montana

Nevada

TABS

New Jersey

New York

Narth Dakota

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Oregon [6} 100.0%

Rhode Island

South Dakota

Virginia

West Virginia

Wyoming

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Alabama

American
Samoa

Arkansas

Colorado

Florida

indiana

Louisiana [2} 2 160.0%
: 3}
Maryland

Michigan G 0.0% o 0.0% 9

Mississippi

Montana 6 0.4% 0 0.0%

New Jersey

New York

North Dakota

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Oregon [6]

Rhode Istand

South Dakota

Virginia

West Virginia

UOCAVA Table 2 Caiculation Notes:
FPCAs Received, Total uses question B2a.
FPGAs Received, Uniformed Services Members, Total uses question B2b.
FPCAs Received, Uniformed Services Members, % uses B2b/B2a x 100.
FPCAs Received, Overseas Citizens, Total uses question B2c.
FPCAS Received, Overseas Citizens, % uses B2c/B2a x 100.
FPCAs Received, Not Categorized by Voter Type, Total uses B2a-{B2b+B2c).
FPCAs Received, Not Categorized by Voter Type, % uses (B2a-[B2b+B2c])/B2a x 100.
FPCAs Rejected, Total uses question B3a.
FPCAs Rejected, % of FPCAs Received uses 83a/82a x 100.
FPCAs Rejected, Uniformed Services Members, Total uses question B3b.
FPCAs Rejected, Uniformed Services Members, % of Received frorn Uniformed Services uses
B3b/B2b x 100,
FPCAs Rejected, Overseas Citizens, Total uses question B3c.
FPCAs Rejected, Overseas Citizens, % of Received from Overseas Citizens uses B3c/B2c x 100.
FPCAs Rejected, Not Categorized by Voter Type, Total uses BSa-(BSb+B3c).
FPCAs Rejected, Not Categorized by Voter Type, % of Total FPCAs Rejected uses (B3a-[B3b+B3c])/B3a

x 100.

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UOCAVA Table 2 Data Notes:
General Notes:

e Casewise deletion at the state level was used in calculating national percentages. The
percentage calculations at the national level (U.S. Total) only used data from the states that
provided data for the numerator and denominator of the calculation.

« The percentages shown in this table are rounded to one decimai place. Percentages that
round to less than 0.1% are displayed as 0.0%.

¢ Negative numbers in the Not Categorized FPCAs received or rejected categories indicate that
the sum of FPCAs for uniformed services members and overseas citizens in that category
account for more than the total number of FPCAs reported by the state in the corresponding
category.

[1] Data on FPCAs by type of UOCAVA voter is not tracked.

{2] The Department of State only collects data for totals, not for the breakdowns by type of UOCAVA
voter.

[3] Maine does not distinguish FPCAs from other registration forms.

[4] Missouri's statewide voter registration system does not track data on UOCAVA voter type (uniformed
services vs. overseas citizen).

[5] Due to the Northern Mariana Islands not being covered under UOCAVA, data on UOCAVA voting is
not available from this territory.

[6] Oregon does not track data on UOCAVA voter type.

[7] Data were not available to break down the type of applications for UOCAVA voters.

[8] Data on rejected FPCAs and rejected absentee applications is not tracked.

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UOCAVA Table 3: UOCAVA Ballots Transmitted, Returned, Counted, and Rejected

American Samoa

Arkansas

Louisiana [7]

Maryland

Michigan

Mississippi

Montana [9]

Nevada

7,038
Oregon [12} 16,257 6,962 6,830 98.1% 132 1.9%

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Rhode Island [13]

South Dakota

Virginia

West Virginia [15]

Wyoming [26]

UOCAVA Table 3 Calculation Notes:

UOCAVA Ballots Transmitted uses question B5a.

UOCAVA Ballots Returned uses question B9a.

UOCAVA Ballots Counted, Tota! uses question Bi1da.

UOCAVA Ballots Counted, % of Returned uses Bi4a/89a x 100.
UOCAVA Ballots Rejected, Total uses question B18a.

UOCAVA Ballots Rejected, % of Returned uses B16a/B9a x 100.

UOCAVA Table 3 Data Notes:
General Notes:

»  Casewise deletion at the state level was used in calculating national percentages. The
percentage calculations at the national level (U.S. Total} only used data from those states that
provided data for the numerator and denominator of the calculation.

¢ The percentages shown in this table are rounded to ane decimal place. Percentages that
round to less than 0.1% are displayed as 0.0%.

[1] Alaska does not track data on the method by which UOCAVA ballots are returned. All ballots sent to
voters by mail can only be returned by mail, and all electronic transmission (online or fax} ballots sent
to voters may either be returned by mail or by fax. The largest number of election transmission
{online or fax) ballots sent to voters are returned by mail,

[2] Some California counties accept UOCAVA ballots by fax.

[3] For the 2022 general election, the District of Columbia Board of Elections (DCBOE} transmitted
ballots anly to active UOCAVA voters.

[4] Guam law allows UOCAVA ballots to be transmitted to voters via email: however, these ballots must
be returned via air mail.

[5] Idaho was not able to track data on rejected UOCAVA ballots and FWABs.

[6] Data on FWABs is not tracked separately from data on regular UOCAVA absentee ballots.

[7] Registrars may transmit multiple ballots to a single voter in some circumstances (i.e., the voter did
not receive the original ballot or the original ballot is returned to the registrar as undeliverable).

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[8] Minnesota only accepts UOCAVA ballots returned via mail.

{9} The number of VOCAVA ballots issued may exceed the number of registered UOCAVA voters due to
replacement ballots being issued.

[10] There are circumstances under which a UOCAVA voter registered In New York may have been
transmitted more than one ballot or may return more than one ballot (for instance, some county
boards mail a ballot to every UOCAVA voter, regardless of their transmission preference, so voters
who already received their baliot electronically, completed, and returned it may subsequently receive
a physical ballot in the mail). Additional data collected by New York State Board of Elections has
shown that more than 1,700 UOCAVA voters returned multiple ballots, although the data does not
report how many ballots each of these voters returned.

{11] Due to the Northern Mariana Islands not being covered under UOCAVA, data on UOCAVA voting is
not available from this territory.

[12] Oregon statute requires ballots to be mailed to voters,

[13] According to Rhode Island general law, all UOCAVA mail ballots are consolidated into one mail
ballot category.

{14] Data on FWABs are not tracked separately from data on regular UOCAVA absentee ballots. The
number of UOCAVA ballots reported as counted are ballots that were received before the deadline,
and the number of UOCAVA ballots reported as rejected are ballots that were returned after the
deadline. No data are available on UOCAVA ballots that may have been challenged or were not
counted for other reasons.

[1.5] West Virginia reports a UOCAVA bailot count rate of more than 100% primarily because two
counties did not report data on ballots returned but reported data on ballots counted,

[16] UOCAVA ballots must be returned by mail.

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Alabama

American
Samoa

Arkansas

Colorado

see

Delaware

Idaho [3]

Indiana

Kansas

Louisiana [5]

Maryland

Michigan [6]

Mississippi [7]

Montana

Nevada

New Jersey [8]

New York

North Dakota

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Oregon [10]

Rhode Island
[41)

South Dakota

Viginia(ig) | ee (| _ss_—(| 77.9% - -

2

West Virginia 4 4 190.0% 0 0.0%

Wyoming

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Alabama

American Samoa

indiana 7 4.2% 12 7.1%

[51

“Michigan [6]

Mississippi [7]

Mentana

Nevada 2

New Jersey [8]

North Dakota

“Oregon (10) ,

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Rhode tsland [11]

UOCAVA Table 4 Calculation Notes:
Total FWABs Received uses question B23a.
FWABs Counted, Total uses question B24a.
FWABs Counted, % of Total Received uses B24a/B23a x 100.
FWABs Rejected Because a Valid Ballot was Accepted and Counted, Total uses question B26a.
FWABs Rejected Because a Valid Ballot was Accepted and Counted, % of Total Received uses
B26a/B23a x 100.
FWABs Rejected for Other Reasons, Total uses the sum of questions B25a and B27a.
FWABs Rejected for Other Reasons, % of Total Received uses (B25a+B27a)/B23a x 100.
FWABs Not Categorized, Total uses B23a~(B24a+B25a+B26a+B27 a).
FWABs Not Categorized, % of Total Received uses (B23a-(B24a+B25a+B26a+B27a})/B23a x 100.

UOCAVA Table 4 Data Notes:
General Notes:

e Casewise deletion at the state level was used in caiculating national percentages. The
percentage calculations at the national jevel (U.S. Total) only used data from those states that
provided data for the numerator and denominator of the calculation.

s The percentages shown in this table are rounded to one decimal place. Percentages that
round to less than 6.1% are displayed as 0.0%.

« Negative numbers in the Not Categorized FWABs category indicate that the sum of counted
and rejected FWABs accounted for more than the total number of FWABs received as reported
by the state.

« The EAVS tracks data on FWABs that were rejected because they were received after the bailot
receipt deadline (B25}, because the voter's regular absentee ballot was received and counted
(B26), and for other reasons (B27).

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[1] The data reported in B25 of the 2022 EAVS reflects FWABs received after the deadline to apply for
an absentee ballot by mail or by electronic transmission (online or fax).

[2] Data on accepted and rejected FWABs cannot be reported separately from regular UOCAVA ballots.

[3] idaho was not able to track data on rejected UOCAVA ballots and FWABs.

[4] Data on the reasons that FWASs were rejected was not tracked.

[5] The Department of State does not track data on FWABs rejected because a valid ballot was
accepted and caunted.

[6] All FWABs received were either counted, rejected because the voter’s regular ballot was received, or
rejected for arriving late.

[7] FWABs are not recorded separately from UOCAVA balots in the Statewide Election Management
System (SEMS)}.

[8] Rejection because a valid ballot was accepted and counted is not a recorded rejection reason.

{9] Due to the Northern Mariana Islands not being covered under UOCAVA, data on UOCAVA voting is
not available from this territory.

[10] Oregon does not track data on FWABs separately from regular UOCAVA ballots.

[14] According to Rhode Island general law, all UOCAVA mail ballots are consolidated into one mail
ballot category.

[12] Data on FWABs is not tracked separately from data on regular UOCAVA absentee ballots.

113] Virginia does not have a way to track FWABs rejected because a valid ballot was accepted and
counted.

{14] In Wisconsin, many jurisdictions track the retum of ballots received after Election Day, but they are
not required te do so. The counts reported in B25a (total number of FWABs rejected because they
were received after the ballot receipt deadline) are limited to ballots in jurisdictions that recorded
these in the statewide database.

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Chapter 5. Survey Methodology

Since 2004, the U.S. Election Assistance Commission (EAC) has conducted the Election
Administration and Voting Survey (EAVS) following each federal general election. The project
collects data on election policies, voter registration, voting by individuals covered by the
Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA), mail voting, in-person voting, poll
workers and polling places, provisional voting, election technology, and turnout. Data from all U.S.
states, U.S. territories, and the District of Columbia are included in the EAVS.1 The EAVS helps the
EAC meet its mandate under the Help America Vote Act (HAVA} to serve as a national
clearinghouse and resource for the compilation of information and the review of procedures with
respect to the administration of federal elections.

The EAVS collectively consists of two surveys administered separately. The 2022 Election
Administration Policy Survey (Policy Survey), which collected data on state election policies and
procedures, was administered from August 2022? to January 2023. The information collected
through the Policy Survey helps provide context to the data reported through the EAVS. The 2022
EAVS, which collected data on registrations, voters, and ballots during the 2022 general election,
was administered from November 2022 to March 2023. The data collected through the EAVS
allow states te satisfy their data reporting requirements established by the Nationa! Voter
Registration Act (NVRA) and UOCAVA and provide a detailed snapshot cf how generai elections
are administered in the United States every two years.

This report relies on EAVS and Policy Survey data submitted and certified by 50 states, the District
of Columbia, and five U.S. territories. Data for each state were collected at the jurisdiction level,
with 100% of the 6,460 jurisdictions nationwide submitting at least partial data in 2022.2
Appendix A of this chapter shows the number of jurisdictions and the response rate by state
(overall and for each section of the EAVS).

+ Throughout this report, unless otherwise specified, the term “state” can be understood to apply to the 50
U.S. states, the District of Columbia and five U.S. territories (American Samoa, Guam, the Northern Mariana
Islands, Puerto Rico, and the U.S. Virgin Islands) that submit Election Administration Policy Survey and EAVS
data. Puerto Rico provides EAVS data only in presidential election years, as it does not hold elections for
federal candidates jn midterm election years; thus, Puerto Rico completed the 2022 Policy Survey but not
the 2022 EAVS. American Samoa did not participate in the 2016 EAVS. The Northern Mariana Islands
participated in the EAVS for the first time in 2020.

2 What constitutes a jurisdiction for EAVS reporting is defined by how each state chose to provide data. For
the 2022 EAVS, most states reported data on the county level (or county equivalent, such as parishes for
Louisiana). The territories, the District of Columbia, and Alaska each reported as a single jurisdiction.
Illinois, Maryland, Missouri, Nevada, and Virginia reported data for independent cities in addition to
counties, Rhode Isiand reported data at both the city and town level. Wisconsin reported data at the city,
town, and village level. Connecticut, Maine, Massachusetts, New Hampshire, and Vermont reported data on
the town or township level. Maine also reported its UOCAVA data in Section B as a separate jurisdiction,
because this information is only collected at the state level. Michigan reported data for the county level, but
most election administration activities take place in the 1,520 local election jurisdictions in the state.
Elections for Kalawao County in Hawaii are administered by Maui County; although Kalawao is included as
a jurisdiction fn the EAVS data, Kalawao’s data are included with Maui's data.

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Survey Questions

The 2022 Policy Survey consisted of 96 questions (38 required questions, 37 follow-up questions
based on a state's responses to the required questions, and 24 optional comments boxes). Of
these, 70 were single-select or multi-select questions, 25 were open-ended with a text response,
and one was a hybrid single-select and text question.

The 2022 EAVS consisted of 424 questions (242 required, 59 follow-up questions based on a
jurisdiction’s responses to the required questions, 83 optional questions based on whether a
jurisdiction had additional data to provide, one required comment box, and 39 optional
comments boxes). Of these questions, 269 were fill-in-the-blank with a numerical response, 40
were item descriptions, 63 were single-select questions, and 52 were open-ended with a text
response.

The content of the questions in the EAVS has largely been unchanged since the 2008 survey,
although questions are periodically removed, updated, or reordered. Beginning in 2018, the
Policy Survey replaced the previous Statutory Overview with a set of primarily closed-ended
questions on states’ election policies. The full set of EAVS and Policy Survey questions can be
found at https://www.eac.gov/research-and-data/datasets-codebooks-and-surveys.

The following sections detail the data collected by these surveys and the changes that were made
to the survey questionnaires from the 2020 versions, In 2022, the primary changes to the survey
questions involved:

o Adding Policy Survey questions that could be used to validate EAVS items.

o Adding Policy Survey and EAVS questions to gather data on new topics that had previously
not been collected.

Clarifying instructions to make completion easier for election officials and to improve data
quality.

0

Policy Survey

Since 2008, the EAVS has been accompanied by a survey that collects information on states’
election policies and practices to provide greater context for the jurisdiction-level data collected
through the EAVS. This originally took the form of the Statutory Overview, which consisted of open-
ended questions on statutory requirements for various parts of the election process, asking
states to report information on their election laws and policies. However, the open-ended format
made it difficult to interpret states’ statutory language, identify patterns in election practices, and
draw meaningful comparisons between states.

Beginning with the 2018 EAVS, the Statutory Overview was significantly redesigned and renamed
the Policy Survey. The survey now uses closed-ended questions and is intended to capture states’
broad policies rather than to represent a comprehensive overview of state statutory language.
This allows for greater ease in interpreting the results, creating comparisons across states, and
providing context in understanding the EAVS data. The Policy Survey questions are designed to
map onto the EAVS data questions so that the two surveys can be used in concert.

The 2022 Policy Survey collected information on how the state answers the EAVS; voter
registration and list maintenance; election technology; mail voting; in-person voting; UOCAVA
voting: provisional voting; election certification, recounts, and audits; voter identification, and how

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criminal convictions affect voting. Questions that were added to the Policy Survey for 2022
included:

When voter pre-registration forms are processed

Whether state used drop boxes for the 2022 genera! election

How often ballots were collected from drop boxes

Drop box security measures

SHE

Q20a Types of mail ballot errors that voters could cure

Whether a witness must be present when a voter completes their accessible
absentee ballot

O27 UOCAVA ballot transmission methods

state

ASR

Q35a How recounts are conducted

What happens to the registration record of a person whose voting rights are limited

38b ty wae . .
Q due to criminal conviction or incarceration

Questions that were significantly revised from the 2020 Policy Survey included:

Types of automatic voter registrations provided to voters in the state

Q8a Circumstances under which voters may use SDR in the state

Q17 Whether all-mail elections are conducted within the state

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O18 Whether state allows permanent absentee voting

925 Terminology the state uses to refer to in-person voting that takes place before

Election Day

Deadlines for postmarking and returning mail ballots for domestic military
UOCAVA voters

Q30

Q33a Under what circumstances the state issues provisional bailots to voters

034 Deadline for certifying the 2022 general election

Be

Statutory requirements for post-election tabulation audits

Whether the state requires non-first time in-person voters to present
identification

Q37

Which groups of voters may become ineligible to vote due to criminal conviction

38 . :
Q or Incarceration

The following questions had no change except for renumbering and, for some, the addition of a
comment section and/or option for a response of “Does not apply”:

How states answer the six sections of the EAVS

Q3 Q4 Type of state voter registration database

Government agencies that the state’s voter registration database
conducts data transfers with and the frequency of the data transfers

Q4 Qs

Whether the state offers online voter registration

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Q7

Q8

Voter information lookup tools available on the state’s election
website

Qi10

"O12

Sy RNS

O11

Whether the state distinguishes between active and inactive voters

[1a

Whether the state sends confirmation of regi

in its voter registration database

stration notices

Q14

Q15

Whether the state’s voting system testing and certification is

required

Whether electronic poll books are used in the state

Q16

Q17

Whether voters are required to provide a valid excuse in order to
vote by mail

Q22

Q21

How long past the ballot receipt deadline mail ballots are tracked

Q24

Q23

Circumstances under which non-UOCAVA voters may receive their
ballots electronically

Q26a

Q25a

Whether vote centers are used statewide or only in certain
jurisdictions

Q32

Q31

Whether UOCAVA ballots have different postmark requirements than
mail ballots from non-UOCAVA voters

Q33c

Q32¢

How a state would adjudicate a provisional ballot cast in the wrong

precinct

The 2020 Policy Survey questions on election office infrastructure, how and when voters decline
to be registered under automatic voter registration (if available in the voter’s state}, features of a
State’s online registration system, actions that can move an active registered voter to the inactive
registration list, actions that can move an inactive voter to the active registration list, modes by

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which UJOCAVA voters can submit FPCAs, and the length of FPCA registration were removed for
2022.

Section A: Voter Registration

Section A of the EAVS collects data on voter registration. This includes the number of persons
registered and eligible to vote in the November 2022 general election, active and inactive voters,
voters who used SDR, registration forms processed between the close of registration for the 2020
general election and the close of registration for the 2022 general election, confirmation notices
sent, and voters removed from the voter registration rolls.

In 2022, changes made to this section included updating the definition of “same-day registration”
(SDR) to match the revised definition from the Policy Survey and clarifying that both new and
updated registrations received through SDR should be reported in question A2 of the EAVS;
adding a definition of “confirmation notice” to the instructions of question AS and specifying that
confirmation notices not sent directly pursuant ta the NVRA should be reported in this question:
clarifying the instructions for questions ASd and A&e, changing the terminology used in question
A8e from “status unknown” to “unreturned confirmation notices”; and clarifying that voters
removed from the list of registered voters should be included in the data reported in question AQ,

The EAC plans to make additional changes to Section A of the 2024 EAVS. The proposed
questions and an explanation of the reasoning for these changes can be found in the “Planned
Changes to 2024 EAVS” report at httos://www.eac.gov/research-and-data/datasets-codebooks-

and-surveys.

Section B: UOCAVA

Section B of the EAVS collects data on voters covered by UOCAVA. This includes the number of
registered UOCAVA voters; FPCAs received and rejected: VOCAVA ballots transmitted, returned,
counted, and rejected: and Federal Write-In Absentee Ballots (FWAB) received, counted, and
rejected. Most questions in Section B were divided by type of voter (uniformed services members
and overseas citizens) and by method of ballot transmission and return (postal mail, email, and
other).

In 2014, the UOCAVA section of the EAVS was expanded to Include questions from the Federal
Voting Assistance Program's (FVAP) Post-Election Quantitative Survey. The goal of combining
surveys was to reduce the burden on election officials by asking them to answer a single set of
questions about UOCAVA voting rather than responding to two surveys that captured many of the
same data points. The current format of Section B is the result of a memorandum of
understanding between the EAC and FVAP that allows both agencies to collect, share, and
evaluate data on the voting experiences of citizens covered under UOCAVA and to fulfill their
congressionally mandated requirements to study UOCAVA voters.

in 2022, changes made to this section included modifying the language about ballot requests
that originated from rejected FPCAs in question B3; removing language about eligibility for a
federal-only ballot from B4: clarifying in the instructions for questions B5-B& and B9~B13 that
data on duplicate UOCAVA bailot transmissions and returns, respectively, should be reported in
these questions; and clarifying in the instructions of question B21 that states should report
“Does not apply” as their responses for B21a—-c if the state does not reiect UOCAVA ballots for
lacking @ postmark.

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Section C: Mail Voting

Section C of the EAVS collects data on mail voting. This includes the number of mailed baltots
transmitted, returned, counted, and rejected; the number of ballots sent to permanent mail
voters: the number of mail ballot drop boxes and the number of mail ballots returned at drop
boxes; and the number of mail ballots that were successfully cured by voters.

In 2022, the title of this section was updated from “Domestic Civilian By-Mail Voting” to “Mail
Voting,” and the terminology throughout this section was standardized from “by-mail voting” to
“mail voting.” This change reflects the terminology that is most commonly in use among election
offices. The instructions for Section C were updated to include a definition of mail voting and to
clarify that any voter who voted with a UOCAVA absentee ballot should be reported in Section B
instead of Section C and that duplicate mail ballot transmissions and returns should be reported
in the data for Section C.

Several of the questions within this section were also revised. For question C1b, the instructions
were updated to state that mail ballots that went through the cure process should be reported
with other mail ballots that were returned by voters. For C1d, the instructions were updated to
specify that mail ballots that were voided so a replacement ballot could be sent should be
reported in this item. For C1f, the terminology was updated from “status unknown” to “unreturned
mail ballots.” For C2a, the definition of “permanent absentee voting” was updated to reflect the
definition used in the Policy Survey. Several new questions were added to this section to collect
data on the total number of drop boxes used (C3a}, the number of drop boxes used on Election
Day (C4a-c), the number of drop boxes used during in-person voting before Election Day (C5a-c),
the number of mail ballots returned at drop boxes (C6a}, and the number of mail ballots that were
successfully cured (C7a). This caused the renumbering of the subsequent questions in this
section that collected data on mail ballots returned and counted (C8) and rejected (C9). In
addition, question C9 saw the reasons for mai! ballot rejections revised, including eliminating one
sub-question, adding additional reasons for rejection, and rewording some of the rejection
reasons.

Section D: In-Person Polling Operations

Section D of the EAVS collects data on in-person polling operations. This includes the number of
precincts and polling places, the number of poll workers and the level of difficulty involved in
recruiting poll workers, and the number of poll workers who served for the first time in the 2022
general election.

In 2022, the title of this section was updated from “In-Person Voting and Polling Operations” to
“In-Person Polling Operations” to better reflect the scope of the questions. A question on the total
number of in-person voters that had been present in previous surveys was removed from the
2022 survey, as it was redundant with data collected in Section F. In its place, a question on the
total number of physical polling places was added as question D2a. In the questions related to
poll workers (D5-D9), the instructions were clarified to state that office staff who served as poll
workers should be reported in the data for these questions, and instructions were added that
respondents should report the total number of poll workers who served for the election in D7a
even if they were unable to provide an age breakdown for poll workers in questions D7b-g. Lastly,
the comment for question DS was made a required item and a new item was added in D9 to
collect data on the total number of new poll workers.

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Section E: Provisional Ballots

Section E of the EAVS collects data on provisional voting, including provisional ballots submitted,
provisional ballot adjudication, the reasons provisional ballots were cast, and reasons for
rejection of provisional ballots.

In 2022, changes made to this section include the addition of a question to collect data on the
number of provisional ballots cast according to the reason why the ballot was cast (E2). This
caused the question on reasons for rejecting provisional ballots to be renumbered as E3.

Section F: Voter Participation and Election Technologies

Section F of the EAVS collects data on voter participation and election technologies. This includes
total participation in the 2022 general election, how many ballots were cast and counted by mode
of participation, the source of participation data, use of electronic and paper poll books, voting
equipment used, and the location where votes were tallied. Respondents were also invited to
share general comments regarding their state or jurisdiction’s Election Day experiences,
noteworthy successes, and challenges they overcame in administering the November 2022
general election.

In 2022, questions F1 and F10 were updated to use the terminology “mail ballot” to match
changes made in Section C of the survey. Question F2 was updated to a multi-select question so
that respondents could report multiple sources for their voter participation data in F1. Questions
F3 and F4 had options added for respondents to report the use of electronic and paper poll books
to assist with same-day registration and checking voters’ mail ballot status at the polling place.
Two questions that collected data on punch card and lever voting machines in previous years
were removed from the survey, as no jurisdiction in the United States had reported using these
types of voting equipment in several election cycles. This removal caused the subsequent
questions in Section F to be renumbered.

Data Collection Procedures

In compliance with the Paperwork Reduction Act of 1995, the EAC submitted the questions for
the 2022 Policy Survey and the EAVS for review by the Office of Management and Budget (OMB)
and for public comment. Public comments were collected from November 21, 2021, to January
28, 2022, and fram March 3, 2022, to April 4, 2022. The questions were approved under OMB
Control No. 3265-0006, expiration date April 30, 2025. The survey questions were made
available publicly on the EAC’s website on April 21, 2022. Targeted communications with state
points of contact (POC) responsible for completing the surveys began on July 8, 2022 and
continued regularly throughout the data collection period. These targeted communications aimed
to keep states aware of data collection deadlines and resources available to assist them with
completing the survey.

The following sections describe each aspect of the EAVS data collection process in more detail.

Needs Assessment

To better understand how state-level officials respond to the EAVS and where they need support,
the EAC undertook a systematic assessment of the needs of EAVS POCs in September and
October of 2021. The goal of these interviews was to better understand each state’s EAVS
reporting process (including how data are collected, which templates are used, the state’s use of
technical assistance resources, and data quality} and how improvements could be made to the

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2022 EAVS. All state POCs that completed the 2020 EAVS were invited to participate and
interviews with personnel from 27 states were completed. The EAC created semi-structured
interview guides for each participant that aiso left room for the interviewer to probe further.
During these needs assessment calls, the EAC also encouraged state POCs to review and provide
comments on the draft 2022 survey questions when they were available for public comment.

The information collected through these needs assessment conversations helped the EAC’s
outreach plan design, shaped the training opportunities provided to each state, and identified
States that needed specialized support to complete the EAVS. Based on these conversations, the
EAC implemented the following changes:

Made improvements to the design and usability of the data collection templates,

Added supplementary instructions to clarify how respondents were to use the missing data
codes in the survey,

Introduced additional levels of data review for the 2022 EAVS and Policy Survey to assist
state POCs in better understanding how their data would be reported, and

Created an online feedback survey to be administered directly after a state finalized and
certified its 2022 EAVS data to collect immediate feedback on future survey improvements
and better inform the post-2022 needs assessment conversations that will take place in
the fall of 2023.

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Collecting the Policy Survey Data

Invitations to complete the 2022 Policy Survey were sent to POCs from the 56 states on August 1,
2022. The Policy Survey data were collected in advance of EAVS data collection to reduce
respondent burden and to allow the EAC to create customized data validation rules for the 2022
FAVS data. The Policy Survey was completed through an online survey; this online data collection
tool had undergone usability testing with POCs from seven states in July 2022, and edits to the
survey based on the results of this testing were completed in advance of the survey’s launch.
Periodic reminders were issued to POCs during the data collection period. All 56 states,
territories, and districts submitted their Policy Survey data by January 5, 2023. When the answer
options within a question did not fully capture a state’s policy, POCs were encouraged to provide
comments with further explanation.

Once received, each Policy Survey submission was reviewed for completeness and accuracy.
State and territory POCs were also able to update or correct Policy Survey responses through the
end of the EAVS data collection period. The EAC made Policy Survey data updates for 36 states
before the end of the EAVS data collection period.

The EAC incorporated states’ Policy Survey submissions directly into the EAVS data collection
template validations. This meant that a state's 2022 EAVS data collection templates could not be
released until the state's Policy Survey submission was finalized.

3 Fifty-two states completed the Policy Survey via the online survey. Four states completed the survey via a
paper instrument: for these states, the Policy Survey help desk assistants entered the data from the paper
instrument into the online survey and asked the state to review for accuracy and submit the data.

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Collecting the EAVS Data

The EAVS data collection period was opened to 44 states on November 14, 2022. The data
collection was opened to the 11 remaining states once their Policy Survey submissions were
received and their templates were created; all data collection tempiates were released to states
by January 18, 2023. The EAVS data collection period ended on March 30, 2023. Data
submissions fram 55 states were received by that date, with a response rate of 100% of states.4

To build on the needs assessment conversations that were completed in September and October
2021, the EAC completed pre-survey outreach cails with officials from states that had new
designated POCs for the 2022 EAVS or that had requested further follow-up after the needs
assessment calls. POCs from 13 states were invited to participate in the outreach calls, and 14
calls were completed for 10 states in July and August of 2022.5 During these interviews, the EAC
provided an overview of the project timeline and the types of data collected in the Policy Survey
and the EAVS, notified the POCs of the help desk support and other resources that would be
provided as part of the 2022 EAVS, and probed POCs on data issues from the 2020 EAVS. These
conversations helped ensure that the EAC was prepared to provide adequate support to states as
they completed their EAVS data collection.

Data Collection Templates

Given the diversity in how states respond to the EAVS, creating data templates that accommodate
the needs of ail states and all local jurisdictions is especially challenging. The 2022 EAVS data
were collected using two data collection templates:

o The Excel template was a flat data format that allowed POCs to copy and paste large
amounts of data, such as from a report generated from the state's centralized election
database. Each EAVS item was listed in a column in the Excel template and each EAVS
jurisdiction within the state was listed in a row. States with multiple jurisdictions were
required to submit their data through the Excel template. For the first time in the 2022
EAVS, the Excel template automatically calculated selected percentages using the state's
EAVS data to assist state POCs in reviewing their data for accuracy and understanding how
their data would be reported.

© The oniine template was an item-by-item survey hosted online that guided respondents
through entering their responses. This template was primarily intended to be used by
jurisdictions that entered EAVS data or by states and territories that reported as a single
jurisdiction. The data from the online template was exported to an Excel file that matched
the format of the Excel data collection template.

Usability testing of the draft online template was completed with 8 local election officials from 5
states in September 2022, and edits to the survey based on the results of this testing were
completed in advance of the online template’s launch.

4 Puerto Rico was not required to complete the 2022 EAVS because the territory did not hold a general!
election in November 2022.

° One state completed two outreach calls because its project personnel experienced turnover after the first
call was complete and requested an additional call to assist its new POCs in learning about the EAVS.

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The EAC pre-populated data inte the online template for 3 states and into the Excel template for
one state. Pre-fill data were provided by state POCs via the Excel template or via an email or
phone request that provided details on which items were to be populated.

Both data collection templates employed a variety of error-checking data validations to reduce
response burden and to increase data quality.

Data Validation

One of the key issues associated with any data collection project is ensuring that the data
collected are as accurate as possible. Given the number of survey questions, their complexity and
granularity, and the variety of approaches in how state and local jurisdictions track election data
and provide survey responses, it can be easy to make data entry mistakes or report data in an
incorrect survey item. All 2022 EAVS data collection templates included built-in internal and
external validation checks that flagged specific types of potential errors within a data submission.

The validation checks were designed to flag common data issues so that respondents were aware
of them before submitting their data to the EAC. In response to these validations, states and
jurisdictions were encouraged to review their data, make corrections if needed, and use the
comments fields to explain any peculiarities and give context to the data that were being
reported.

In addition, once a state submitted data for review by the EAC, additional data reviews were
conducted by trained data analysts. These reviews checked for missing data, internal math and
logic issues, conflicts with Policy Survey responses, and significant changes compared to 2018
EAVS data.® The results of this review were provided to state POCs in a written memo, along with
a file that had sample rates and percentages calculated using their draft submission. These
sample rates and percentages were provided to assist POCs with identifying results that did not
align with their expectations so they could be corrected in the final submission,

A complete list of all validation checks that were built into the data collection templates and
additional data validations that were conducted for draft submissions can be found in Appendices
B and C of this chapter. In general, there were five types of data validations.

Math Validations

Many items in the EAVS asked respondents to report a total and then divide that total into
subcategories. The math validations within the templates checked that the sum of the
subcategories equaled the reported total of the overall category. For example, if the total number
of voters who cast a ballot that was counted in the 2022 general election did not match the sum
of the number of voters who used different modes of voting, then the respondent was asked to
review the numbers reported in these items.’

Logic Validations
Logic validations identified when a value in the survey was incompatible with a response provided
in another related question in the survey. For example, if the number of mail ballots that a

§ The 2018 EAVS was used as a point of comparison in the data reviews because it was the most recent
midterm election.

7 The total number of voters participating in the 2022 general election was reported in item Fila in the
2022 FAVS. The number of voters who participated using different modes of voting were Rems F1b through
Fih.

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jurisdiction reported counting for the 2022 election exceeded the number of mail ballots the
jurisdiction's voters had returned, then the respondent was asked to review these items.8

Foli¢y Survey Validations

These validations identified instances in which an EAVS item conflicted with the Policy Survey
data that had been submitted by the state. For example, if a state reported having an online voter
registration system through which an individual could submit a voter registration application, but
reported “Does not apply” to EAVS items relating to the number of voter registration forms
submitted through online sources, then the validations would highlight that a conflict existed
between the respondent's EAVS and Policy Survey data and would ask the respondent to review
the EAVS items and contact the EAC if the Policy Survey response needed to be updated.?

Missing ttems

With the exception of most comment boxes and “other” subcategories for reporting data beyond
what was specified in a question, all items in the EAVS required a response. An alert appeared if a
response to a required item was not provided. For example, if a respondent reported the tota!
number of registered voters in their jurisdiction but not the number of active and inactive
registered voters, the latter items would be flagged with a request that the respondent report
“Does not apply” (if their state did not have an applicable law or policy), “Data not available” {if
the data for an item were not tracked}, or zero (if no instance of an item occurred for the 2022
general election) rather than leave the item blank.19

Valid Skips

The EAC introduced a valid skip code in EAVS beginning with the 2020 data set. This code was
automatically filled in by the template validations when an item did not require an answer
because of a response to a previous item in the survey. The use of the valid skip code is distinct
from the use of the “Does not apply” code (for when a jurisdiction does not have a law or policy in
place that allows for the type of election participation in the question) and the “Data not
available” code (for when the data for a type of election participation is not tracked). For instance,
if a jurisdiction indicated in EAVS question F5a that it did not use direct-recording electronic (DRE)
voting machines without a voter-verified paper audit trail (VVPAT), then items F5b through F5d—
relating to the make and model of equipment, the number deployed, and the usage of the
equipment—were filled as “Valid skip” by the template validations.

_ EAVS Rates

The Excel template used states’ data to calculate a select number of EAVS percentages, and data
validations highlighted when these percentages fell outside of an expected threshold. For
instance, if a jurisdiction’s voter turnout as a percent of the jurisdiction’s active registered voters

® The number of mail ballots counted by a jurisdiction was reported in item C&a in the 2022 EAVS. The
number of mail ballots returned by voters was reported in item Cb.

° Data on states’ policies regarding online voter registration were reported in item Q6 of the 2022 Policy
Survey. The number of total, new, duplicate, and rejected registrations received through online registration
systems were reported in items Adc, A5c, AGc, and A7c, respectively, of the 2022 EAVS.

4° The total number of registered voters for the 2022 general election was reported in item Ala in the
EAVS. The number of active registered voters was item Alb. The number of inactive registered voters was
item Aic.

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was either lower than 35% or higher than 95%, the respondent would be asked to review these
items for accuracy.1+

Finalizing and Certifying Data Submissions

After the EAC reviewed each state’s draft EAVS data submission, additional targeted data reviews
were conducted on subsequent EAVS submissions until the EAC was satisfied that data quality
issues had been sufficiently addressed by the state’s POC(s). Once the data submission had been
finalized, the EAC generated a copy of the appendix tables that appear in Chapters 1-4 of this
report and how the state’s data would be portrayed in those tables; this analysis was shared with
the state POC(s} to conduct a final review. During this review, state POC(s) were invited to provide
final data corrections, determine whether the data underlying the analysis were incorrect, and to
add footnotes and explanations to be printed alongside the tables. The footnotes that were
provided by state POCs to accompany the appendix tables have been printed in this report as
closely as possible to the language requested by POCs, with minor edits for proofreading and
clarity.

Once the state POCs approved of the analysis and provided any requested footnotes, the EAC
requested that the state’s chief election officer certify their state’s 2022 Policy Survey and EAVS
submissions as accurate and complete. Fifty-four states certified their data submissions by

May 19, 2023.12

Technical Assistance

Technical assistance was provided through the duration of the Policy Survey and the EAVS data
collection periods. Help desk support was provided for 20 hours each week from August 1, 2022,
to December 30, 2022, and for 50 hours each week from January 3, 2023, to March 30, 2023.
State and local EAVS respondents could request assistance via email or phone. A team of trained
technical assistants provided support on all aspects of the survey data collection processes, A
total of 786 support tickets were received from 55 states, territories, and districts. The most
common inquiries were related to using the EAVS data collection templates, the use of the data
missingness codes, and how to interpret survey instructions in questions A3 and A4.-A7.

Resources for EAVS Respondents

in addition to providing direct, customized technical assistance, the EAC made a wide variety of
written and video training resources available to survey respondents on demand. A website was
established to house these resources and to provide a secure place for state EAVS POCs to
upload data submissions and other documents for the EAC to review.

The resources on this website included PDF copies of the Policy Survey and EAVS questions; a
link to the online template; six videos that outlined the questions and instructions in the six
sections of the EAVS; three video webinars that provided guidance on the overall EAVS process,
on collecting data from local jurisdictions, and for state POCs new to EAVS data collection; eleven
newsletters that were released between August 2022 and March 2023; an extensive user guide

11 The number of voters who cast a ballot that was counted was item Fla and the number of active
registered voters was item Aib in the 2022 EAVS. The turnout rate within the Excel template was
calculated as Fla/Aib x LOO. Although the EAC normally recommends using CVAP as a denominator when
calculating voter turnout, Alb was used in this calculation because the 2022 CVAP data were not available
at the time the Excel template was being programmed.

42 Florida and Oregon did not sign the 2022 EAVS certification form.

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that provided step-by-step instructions for both data collection templates; a policy guide approved
by the EAC Commissioners that provided information to election officials responsible for
completing EAVS; a glossary of EAVS and Policy Survey terms and their definitions; and an Excel
crosswalk that documented survey changes from 2020 to 2022.

The website also contained a section that was restricted to state POCs. This section had copies of
the state's EAVS and Statutory Overview/Policy Survey submissions from 2016, 2018, and 2020;
a table that tracked the online template progress for each jurisdiction within the state; and the
capacity for POCs to upload files and data submissions for the EAC to review.

Data Reporting and Calculations

In 2022, most EAVS data were reported at the local jurisdiction level. For the purposes of this
report, for states that have multiple jurisdictions, state totals were calculated by summing the
data from all jurisdictions within a state. National totals were calculated by summing the state-
level totals.

Whenever possible, this report uses percentages and rates rather than raw numbers to make
comparisons across states and across election years. For these calculations, items were
combined as necessary to create the numerator and denominator and to produce a percentage
or rate. For example, the following formula was used to calculate the percentage of transmitted
mailed ballots that were returned by voters for the 2022 general election:

Total number of mail ballots returned by voters (C1b)

x 100
Total number of mail ballots transmitted by election of fices (C1a)

Percentages at the national level were calculated using casewise missing data deletion at the
state level. Only states that had data for both the numerator and denominator for a calculation
were included when reporting percentages at the national level. Responses of “Does not apply,”
“Data not available,” and “Valid skip” were considered missing for purposes of creating these
calculations. Casewise deletion was used in the analysis for this report to avoid overinflating the
denominator of the calculations. This is especially applicable when states do not track data for a
particular item, or when election policy differences mean that not all states can provide data for
an item. For example, online registration is not available in every state, so the calculation of the
nationwide percentage of registrations that were received online will only use data from states
that reported at least one online registration. Otherwise, the national percentage would include in
the denominator (in this case, the total number of registrations received) data from states that do
not have online registration, thus underestimating the percentage of online registrations that
were received.4%

This decision rule means that there were instances in which the percentages reported at the
national level for a given calculation in this report did not use data from every state. Because
each category was calculated independently of others and only states that reported data in both

1 The total number of registration applications received between the close of registration for the 2020
generai election and the close of registration forthe 2022 general election was collected in item ASa. The
total number of registration applications received online between the close of registration for the 2020
general election and the close of registration for the 2022 general election was collected in item Adc. The
application of casewise deletion means that only states that reported at least one registration in both of
these items on a statewide level were included in the calculation of the percentage of registration
applications received through online sources.

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the numerator and the denominator were included in the analysis, casewise deletion also created
instances in which percentages do not sum to 100%. Those cases in which data were not
available for every state to calculate the percentage at the national level are noted in the
footnotes throughout this report.

The use of casewise deletion for calculating national percentages does not affect the state-level
percentages calculated in this report.

Recommendations for Analyzing and Interpreting the EAVS Data
The most up-to-date version of the 2022 EAVS and Policy Survey data can always be found on the
EAC’s website (httos://www.eac.gov/research-and-data/datasets-codebooks-and-survevs). If the
EAC is notified by a state of an error or omission in the state’s data, the agency will issue the
updated EAVS and Policy Survey data sets on its website with an errata note of changes that have
been made to the newly issued data sets. Updated data sets will be issued on a quarterly basis.

There are four types of data missingness codes used in the 2022 Policy Survey and EAVS data:

© Valid skip (-77)}: This code indicates that no response is expected based on a previous

survey response. For instance, in the Policy Survey, if a state answered “no” to Q6 to

indicate that it does not provide an option for voters to register to vote online, then item

Q6a, which collected further information on the specifics of a state’s online registration

system, would be marked as -77. In the EAVS, if a state indicates in item A4c, which asks

for the total number of registration forms submitted online, that this question does not
apply, then items ASc, A6c, and A7c, which collect data on new, duplicate, and rejected

registrations submitted online, would be marked as -77.

Does not apply (-88): This code indicates that a question does not apply to a state,

because the state does not have an applicable policy in place. For instance, a response of

-88 in item A4c of the EAVS indicates that the state does not have online registration.

o Data not available (-99): This code indicates that ihe data for an item cannot be tracked.
For instance, a response of -99 in item A4c of the EAVS indicates that the state accepts
online voter registrations but cannot track the number of these registrations that were
submitted by voters.

o Refused (-100): This code indicates that a response was expected but was not provided.
This code is only used in the Policy Survey data.

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When summing the EAVS data, either on a state or a national level, analysts should take care to
treat these missingness codes as missing items and not as negative numbers.

Users of the EAVS data are also encouraged to refer to the comments that accompany all of the
EAVS items and many of the Policy Survey items. During data collection, the EAC encouraged all
respondents to use these comments to provide context to their responses. In many cases, these
comments contain valuable information about how state and jurisdiction respondents formulated
their responses, why some responses do not align with the data validations outlined in this
chapter, or context about how the 2022 general election was conducted in a state or jurisdiction.
If data users have further questions about the data that have been submitted, they are
encouraged to contact states or jurisdictions directly.

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The EAC also encourages data users to take care when calculating percentages to ensure that the
correct EAVS items are used. Appendix D of this chapter contains recommendations for how to
calculate EAVS rates using the 2022 data. These recommendations align with how rates were
calculated throughout this report.

This report used the 1-year American Community Survey (ACS) state estimates for the 2021
citizen voting age population (CVAP) for state and nation level calculations instead of the 5-year
estimate to ensure that the CVAP was as current as possible. However, for any jurisdiction fevel
analysis reported that involves the CVAP, this report used the 5-year estimate due to its better
coverage of the counties in the United States. The CVAP estimates for 2022 were not available by
the time this report was finalized. Once they are released by the U.S. Census Bureau, the 2022
CVAP estimates can be found at httos://data.census.gov/. Data analysts should import both
state- and county-level geographies and merge them into the EAVS data using the Federa}
Information Processing Standards (FIPS) code. For states that have sub-county jurisdictions,

these jurisdictions will need to be aggregated at the county level in order to merge in the CVAP
data.14 For this report, the state-level CVAP was used for Alaska, as the state reported its data ina
single EAVS jurisdiction. Finally, the Census Bureau does not provide CVAP estimates for the U.S.
territories (with the exception of Puerto Rico}, so no CVAP estimate was available for American
Samoa, Guam, the Northern Mariana Islands, and the U.S. Virgin Islands.

14 These are the states of Connecticut, Maine, Massachusetts, New Hampshire, Rhode Island, Vermont,
and Wisconsin. Additionally, the state of Illinois reported six citias independently of their corresponding
counties (i.€., Bloomington, Chicago, Danville, East St. Louis, Galesburg, and Rockford), and Missouri
reported Kansas City independently of its corresponding county.

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Methodology Appendix A: Survey Response Rates

American
Samoa

100.0%

100.0%

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100.0%

100.0%

100.0%

100.0%

Arkansas

Colorado

100.0%

100.0%

100.0%

100.0%

Delaware

100.0%

100.0%

100.0%

180

100.0%

100 0%

100.0%

Ste
100.0%

indiana

100.0%

100.0%

100.0%

100.0%

Louisiana

100.0%,

100.0%

100.0%

Maryland

Michigan

100.0%

400.0%

160.0%

100.0%

Mississippi

98.3%

Montana

100.0%

95.0%

100.0%

100.0%

100.0%

100.0%

400.0%

100.0%

100.0%

New Jersey

100.0%

100.0%

100.0%

100.0%

New York

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North Dakota . 100.0%

100.0%

100.0% 100.0%

Oregon

see

Rhode Isiand

South Dakota . 100.0%

Utah 97.2% 82.8% 98.2% 99.9% 97.6% 98.4%

Virginia 99.6% 100.0% 100.0% 100.0% 95.0% 100.0%

West Virginia . 100.0%

Wyoming . 100.0%

Survey Response Rate Calculation Notes:

EAVS Response Rate uses responses to all items tisted below.

Section A Response Rate uses responses to questions Ala, Aib, Alc, A2a, A2b, A2c, A3a, A3b, A3c,
A3d, A3e, A3f, ASg, A4a, Adb, Adc, Add, Ade, Adf, Adg, Adh, Adi, A5a, ASb, ASc, ASd, Ade, A5f, Adg,
Aon, Asi, AGa, A6b, AGc, AGd, AGe, AGT, AGg, AGh, AGi, ATa, A7b, ATe, A7d, ATe, A7f, A7g, ATh, ATi,
A&a, Ab, A&c, A&d, ASa, ASa, ASb, Ac, AQd, Ae, AST, and Agg.

Section B Response Rate uses responses to questions Bla, Bib, Bic, 82a, B2b, B2c, B3a, B3b, B3c,
B4a, 85a, Bb, BSc, BGa, BSb, B6c, B7a, B7b, B7c, 89a, B9b, BSc, B10a, B10b, B10c, Bita, Bib,
Biic, Bi3a, B13b, B13¢, B1i3d, Bi4a, B14b, Bide, B1l5a, B15b, BSc, B16a, B16b, B16c, B18a,
Biéb, B18c, B19a, B1Sb, B19c, B20a, B20b, B20c, B21a, B21b, B21c, B23a, 823b, B23c, B24a,
B24b, B24c, B2Sa, B25b, B25¢, B26a, B26b, and B26c.

Section C Response Rate uses responses to questions Cla, Clb, C1c, Cid, Cle, Cif, C2a, C3a, C4a,
C4b, C4c, Ca, Cb, CSc, Céa, C7a, C8a, C9a, C9b, CSc, COd, C9a, COT, C9¢, C9h, CII, C9j, C9k, C9),
Cam, C9n, C90, C9p, and C9q.

Section Db Response Rate uses responses to questions Dla, D2a, 03a, D3b, D3c, D4a, D4b, D4c, D5a,
DGa, D7a, D7b, D7c, D7d, D7e, D7f, D7g, D8, DBComment, and D9a.

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Section E Response Rate uses responses to questions Ela, Eb, Etc, Fld, £2a, E2b, E2e, Ed, E2e,
E2f, E2g, E2h, E3a, ESb, Ec, E3d, ESe, ESf, E3g, 63h, £3i, and E3j.

Section F Response Rate uses responses to questions Fla, Fib, Fic, F1d, Fle, Fif, Flg, F2_1, F2_2,
F2_3, F2_4, F3a, F3b, F3c, F3d, F3e, F4a, Fab, Fac, F4d, F4e, F5a, PGa, F7a, F8a, F9a, F10a, F10b,
F10Oc, Fi0d, and Fide.

Survey Response Rate Data Notes:
General Notes:

® Response rates were calculated as the percentage of jurisdictional responses within a state
that were not left blank (i.e., had a numerical response of zero or greater or a response of
“Data not available,” “Does not apply,” or “Valid skip”). Percentages were rounded to 1
decimal place.

® The percentages shown in this table are rounded to one decimal place. Percentages that
round to less than 0.1% are displayed as 0.0%.

e ltem descriptions, optional “other” categories, and optional survey comments were not
included in the response rate caiculation.

[1] Information for Kalawao County, Hawaii was reported with Maui County.
[2] Maine reported its UOCAVA data on a statewide level, not a jurisdiction level,

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Validation Rules

“The sum of Adb
equal Ata

Tabie 1: Math Validation Rules

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thodology Appendix B: Data Collection Template

The sum of active (Atb) and inactive (Alc) registered voters should be
equa! to the total number of registered voters (Ala)

The sum of ASb-} should
qual AS.

The sum of the numbers you report in A3b-j should equal the total
umber istration forms you report in A3a.

qualAsa

The sum of A5a-I should

gis’ epolted

The sum of the numbers you report in Aa -| should equal the total
number of registration forms you reported in A3b.,

The sum of A7a-| should

2 :
The sum of the numbers you report in AYa-| should equal the total

number of registration forms you reported in ASe.

6

5 Gi o

The sum of A5b + A6b+ A7b
should not exceed A4b

The amounts you report in A5b, ASb, and A7b should not exceed the total
number of registrations in person at the election/registrar’s office you
reported in Adb. Please correct your responses or use the comments
section to explain why these subitems do not add up.

The sum of ASd + AGd + A7d
should not exceed A4d

section to explai

The amounts you report in ASd, A6d, and A7d should not exceed the total
number of registration forms received from motor vehicle offices you
reported in Add. Please correct your responses or use the comments

hy these subitems do not add up.

s xp bite

The sum of A5f + AGf + A7f
should not exceed Adf

The amounts you report in A5tf, AGf, and A7f should not exceed the total
number of registration forms received from state-funded agencies you
reported in A4f, Please correct your responses or use the comments
sectio explain why these subitems do not add up.

The sum of ASh +AGh + A7h
should not exceed Adh

comment xplainew te add

The amounts you report in A5Sh, AGh, and A7h should not exceed the total
number of registration forms received from other agencies designated by
the state but not mandated by the NVRA you reported in A¢h. Please
correct your responses or use the comments section to explain why these
subitems do not add up.

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The sum of A5j + AG] + A7j
should not exceed A4j

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alive dup
The amounts you report in AS), A6j, and A7j should not exceed the total
number of forms received from “Other” sources you reported in Adj.
Please correct your responses or use the comments section to explain
why these subitems do not add up

The sum of A5| + AGI + ATI
should not exceed Ad4l

© SUE
The amounts you report in ASI, AGI, and A7I should not exceed the total
number of forms received from “Other” sources you reported in A4l.
Please correct your responses or use the comments section to explain
why these subitems do not add up.

The sum of ASb-j should
equal Aga

The amounts you report in AQb-j should equal the total number of voters
removed you reported in AQa. Please correct your responses or use the

The sum of B2b-c should
equal B2a

comments section to explain why these subitems do not add u

The amounts you report in B2b-c should equal the total number of FPCAs
received from UCCAVA voters you reported in B2a. Please correct your
responses or use the comments section to explain why these subitems dco
not add up.

The sum of B5Sb-c should
equal BSa

The amounts you report in B5b-c should equal the total number of
absentee ballots transmitted to VOCAVA voters you reported in B5a,
Please correct your responses or use the comments section to explain
why these subitems do not add up.

The sum of B7b-c should
equal Bra

The amounts you report in BYb—c should equal the total number of
absentee ballots transmitted to UOCAVA voters by email you reported in
57a, Please correct your responses or use the comments section to

The sum of B6a, B7a, and
68a should equal B5a

The amounts you report in BGa, B7a, and BSa should equal the total
number of ballots transmitted to all UOCAVA voters you reported in 85a.
Please correct your responses or use the comments section to explain
why these subitems do not add up.

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The sum of B6c, B7c, and B&c | number of ballots transmitted to all overseas citizen voters you reported
should equal BSc in BSc. Please correct your responses or use the comments section ta
lain why these subitems d t add

BI
The

amounts you report in BLOb-c should equal the total number of

The sum of BLOb-c should UOCAVA ballots returned to your office by postal mail you reported in
equal Bia Bi0a. Please correct your responses or use the comments section to

sd

ot add up

Jp
The amounts you report in B12b-c should equal the total number of
The sum of Bi2b-c should UOCAVA ballots returned to your office by other methods you reported in
equal Bi2a Bi2a. Please correct your responses or use the comments section to

ot add

hese subitem: otadd uy
The amounts you report in BLOb, B11b, and B12b should equal the total
The sum of B10b, Bib, and number of transmitted ballots returned by all uniformed services voters

Bi2b should equal B9b you reported in BOb. Please correct your responses or use the comments

the total number of

The amounts you report in B13b~d should equal

The sum of BiSb-d should ballots returned undeliverable you reported in Bi3a,. Please correct your
equal B13a responses or use the comments section to explain why these subitems do

not add u

The amounts you report in B15b-c should equal the total number of
The sum of B15b-c should counted UOCAVA baliots returned by postal mail you reported in B15a.
equal B15a Please correct your responses or use the comments section to explain
why these subitems do not add up

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The sum of Bi7b-c should
equal Bi7a

The amounts you report in B17b-c should equal the total number of
counted UOCAVA ballots returned by other methods you reported in Bi7a.
Please correct your responses or use the comments section to explain
why these subitems do not add up.

hes DI d

The sum of B15b, BLGb, and
B1i7b should equal Bl4b

The amounts you report in Bi5b, B1G6b, and B17b should equa! the total
number of uniformed services voters’ ballots counted by your office you
reported in B14b. Please correct your responses or use the comments
section to explain why these subitems do not add up.

tl xplal ao He

The sum of B1L&b-c should
equal B18a

The amounts you report in BL&b-e should equal the total number of
rejected UOCAVA ballots you reported in B18a. Please correct your
responses or use the comments section to explain why these subitems do
not add up.

pl bt a

The sum of B20b-¢ should
equal B20a

The amounts you report in B20b-c should equal the total number of
UOCAVA ballots rejected because of a problem with the voter signature
you reported in B20a. Please correct your responses or use the comments

The sum of B22b-c should
equal B22a

subems do not add up.

&

ese Sublre jot add ul

The amounts you report in B22b—c should equal the total number of
UOCAVA ballots rejected for other reasons reported in B22a. Please
correct your responses or use the comments section to explain why these

do not su ed

a

ul x

The sum of B14b and Bi&b
should equal B9b

why these items do not sum as expected

The sum of B14b and B1&b should equal the total number of VOCAVA
ballots returned by uniformed services voters that you reported in B9b.
Please correct your responses or use the comments section to explain

The sum of B19a, B20a,

B18a

B21a, and B22a should equal

HESS Le MSG) MecS-EXPectet

The amounts you report in B19a, B20a, B21a, and B22a should equal the
total number of rejected UOCAVA ballots you reported in B18a. Please
correct your responses or use the comments section to explain why these
subitems do not add up.

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The sum of Bi9c, B2Qc,
B2i1c, and B22c should equal
B18c

The sum of the amounts you report in BI9c, B20c, B21c, and B22c
should equal the total number of rejected ballots from overseas citizen
voters you reported in B1&c, Please correct your responses or use the
comments section to explain why these subitems do not add up.

The sum of B24b-c should
equal B24a

The sum of B26b~-c should
equal B26a

The amounts you report in B26b-c shou d equal the total number of

The amounts you report in 824b-c should equal the total number of
FWABs counted you reported in B24a. Please correct your responses or
use the comments section to explain why these subitems do not add up

af

FWABs rejected because the voter's regular absentee ballot was received
and counted you reported in B2Ga, Please correct your responses or use
the comments section to explain why these subitems do not add up.

The sum of B24e2, B25a,
B26a, and B27a should equal
B23a

B

The amounts you report in B24a, B25a, B26a, and B27a should equal the
total number of FWABs returned by UOCAVA voters you reported in B23a.
Please correct your responses or use the comments section to explain

why these subitems do not add u

The sum of B24c, B25c,
B26c, and B27c¢ should equal
B23c

The sum of the amounts you report in B24c, B25c, B26c, and B27c
should equal the total number of FWABs returned by overseas citizen
voters you reported in B23c. Please correct your responses or use the
comments section to explain why these subitems do not add up.

The sum of C4b-c should
equal C4a (excepting
responses of “Data not
availabie" and “Does not
apply")

The number of Election Day drop boxes you report in C4b and C4c should
sum te the total number of drop boxes you reported in C4a. Please correct
your responses or use the comments section to explain why these
subitems do not add up.

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The numbers you report in C9b-t should equal the tota! number of
The sum of C9b-+t should rejected mail ballots you reported in C9a. Please correct your responses
equai C9a or use the comments section te explain why these subitems de not add

up.

pply
The sum of D4b~c should
equal D4a (excepting
responses of “Data not
available” and “Does not

apply”)

The sum of the amounts you report in D4b-c should equal the total
number of physical polling piaces for early voting in your jurisdiction you
report in D4a_ Please correct your responses or use the comments section
to explain why these subitems do not add up.

The amounts you report in E1b-e should equal the total number of voters

The surn of E1b-e should who submitted provisional ballots you reported in Ela. Please correct your
equal Ela responses or use the comments section to explain why these subitems do
not add up,

The amounts you report in E3b-m should equal the total number of

The sum of ESb—m should rejected provisional ballots you reported in ESa. Please correct your
equal E3a responses or use the comments section to explain why these subitems do
not add up.

2
The sum of the amounts you report in Flb-h should equa! the total
The sum of Fib-h should number of voters who cast a ballot that was counted you reported in Fia.
equal Fla Please correct your responses or use the comments section to explain

why these subitems do not add up.

Table 2: Logic Validation Rules

Because your state does not differentiate between active (Aib) and

If Alc = Does not apply, then inactive voters (Alc), then Ala should equa! Alb. Please correct your
Ala = Aib responses or use the comments section to explain why those two items
differ,

Se

The number of rejected FPCAs you report in B3a should not exceed the
total number of FPCAs received you reported in B2a, Please review your
responses or use the comments section to expiain why the value in B3a
exceeds the value in B2a.

B3a cannot exceed B2a

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Xplal eed 3

B9a cannot exceed B5a

B9c cannot exceed 85c

The number of ballots returned from overseas citizen voters you report in

The number of ballots returned you report in B9a should not exceed the
number of ballots transmitted to VOCAVA voters you reported in BSa.
Please review your responses or use the comments section to explain why

the value in B9a exceeds the value in B5a
ey

BSc should not exceed the number of ballots transmitted to overseas
citizen voters you reported in B5c. Please review your responses or use
the comments section to explain why the value in BSc exceeds the value
in BSc

8144 cannot exceed B9a

824c cannot exceed B9c

C pl: alu a Exceed leas 2%
The total number of batots counted you report in B14a should not exceed
the total! number of ballots returned by UOCAVA voters you reported in
B9a. Please review your responses or use the comments section to

explain why the value in Bida exceeds the value in B9a.

c expla

The total number of balots counted you report in B14c should not exceed
the total number of ballots returned by overseas citizen voters you

reported in BOc. Please review your responses or use the comments
section to explain why the value in Bidc exceeds the vaiue in BSc.

Bi5b cannot exceed 8105

The number of ballots counted you report in B15b should not exceed the

total number of ballots returned by postal mail by uniformed services
members you reported in BLOb. Please review your responses or use the
comments section to explain why the value in B15b exceeds the value in
BLOb.

BiGa cannot exceed Biia

The number of ballots counted you report in B16a should not exceed the
total number of ballots returned by email by UOCAVA voters you reported
in Bita. Please review your responses or use the commenis section to

explain why the value in B16a exceeds the value in B11,

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The number of ballots counted you report in B16c should net exceed the
total number of ballots returned by email by overseas citizen voters you
reported in BLic. Please review your responses or use the comments
section to explain why the value in B16c exceeds the value in Biic.

Bi6Sc cannot exceed Biic

The number of ballots counted you report in BL7b shauid not exceed the
total number of ballots returned by other modes by uniformed services

members you reported in B12b. Please review your responses or use the
comments section to explain why the value in 817b exceeds the value in
B1i2b

B17b cannot exceed B12b

elu a: iL
The total number of ballots rejected you report in B18a should not exceed
the total number of baitots returned by UOCAVA voters you reported in
B9a. Please review your responses or use the comments section to
explain why the value in B18a exceeds the value in B9a.

Bi8a cannot exceed B9a

The total number of ballots rejected you report in BL&c should not exceed
the total number of ballots returned by overseas citizen voters you
reported in BSc. Please review your responses or use the comments
section to explain why the value in Bi8c exceeds the value in BSc.

Bi8se cannot exceed BSc

The number of drop boxes used during Election Day you report in C4éa
cannot exceed the total number of drop boxes in C3a. Please review your
responses or use the comments section to explain why the value in C4da
exceeds the value in C3a

C4a cannot exceed C3a

ee al 3
The total number of mail ballots returned via drop box you report in C6a
cannot exceed the total number of mail ballots returned by voters in Cb.
Please review your responses or use the comments sections to explain
why the vaiue in C6a exceeds the value in Cib

C6a cannot exceed C1b

va. fav
The sum of the amounts you report in C8a and C9a should equal the
The sum of C8a and C9a number of mail ballots returned by voters you report in Cib. Please review
should equal C1b your responses or use the comments section to explain why the sum of

C&8a and C9a does not match the value in Cib.

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D4a cannot exceed D2a

e ceeds
The number of physical polling places used during early voting you report
in Dé4a cannot exceed the total number of physical polling places in D2a.
Please review your responses or use the comments section to explain why
the value in Dda exceeds the value in D2a

05a cannot exceed D7a

DSa cannot exceed D7a

exceeds the value in D7a.

eis eg

The number of poll workers serving during Election Day you report in D5a
cannot exceed the total number of poll workers in D7a. Please review your
responses or use the comments section to explain why the value in DSa
exceeds the value in D7a.

The number of poll workers serving for the first time in this election in D9a
cannot exceed the total number of poll workers in D7a. Please review your
responses or use the comments section to explain why the value in D9a

C8a should equal Fid+Fig

The number of counted absentee ballots reported in C8a should equal the
total number of counted mail votes reported in Fid and Fig. Please
review your responses or use the comments section to explain why the
value in C8a does not match the value in Fid+Fig.

SPONSE: G' AY $.ne

Fia cannot exceed Ala

The total number of voters who cast a ballot that was counted, as
reported in Fla, cannot exceed the total number of registered voters as
reported in Ala. Please review your responses and add comments as
necessary.

Fig cannot exceed Cla

The number of voters who cast a mail ballot that was counted in an all-
mail election jurisdiction, as reported in Flg, cannot exceed the total
number of mai! ballots transmitted, as reported in Cla. Please review your
responses and add comments as necessary

if F5a = Yes, then
F5b 2120 or Does not apply

Because you reported using DREs without VVPAT in F5a, you should report
data on the make(s) and model{s) of this equipment in Fb,

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leploye:

if FGa = Yes, then
F6b_1 #0 or Does not apply

Because you u reported using DREs with VVPAT in F6a, you should report
data on the make(s) and model(s) of this equipment in F6b.

if E7a = Yes, then
F7b_1 #0 or Does not apply

Because you reported using ballot marking devices in Fra, you should

report data on the make(s) and model(s) of this equipment in F7b.

lf FSa = Yes, then
F8b_1 +0 or Does not apply

Because you reported using scanners in F8a. you should report data on
the make(s} and model(s) of this equipment in F&8b.

lf Q6 = 1 OR Q6 = 2, then
Adc, Adc, A6c, A7c * Does
not apply

Because your state reported having an online voter registration system in
Q6 of the Policy Survey, you may not respond “Does not apply” to A4c-A7c.
Instead, please report the total number of online registrations received,
hew online registrations received, duplicate online registrations, or invalid
online registrations. If that data is not tracked, respond “Data not
available.” If the Poticy Survey response is incorrect, please contact your
state POC and the EAVS technical assistance team.

fQ6 = 10R Q6 = 2, then
A5c + Does not apply

Because your state reported having an online voter registration system in
Q6 of the Policy Survey, you may not respond “Does not apply” to ABc.
instead, please report the number of new online registrations received, or,
if that data is not tracked, respond “Data not available.” If the Policy Survey
response is incorrect, please contact your state POC and the EAVS

lf O6 = 1 OR O6 = 2, then
Ajfc # Does not apply

technical assistance team

Because \ your state reported having an online voter registration system in
O6 of the Policy Survey, you may not respond “Does not apply” to A7c.
Instead, please report the total number of invalid online registrations
received, or, if that data is not tracked, respond “Data nat available.” If the
Policy Survey response is incorrect, please contact your state POC and the
EAVS technical assistance team.

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lf Q8a_1 = 1, then
A2b # Does not apply

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Because your state reported having same-day registration on Election Day
in QO8a of the Policy Survey, you may not respond “Does not apply” to A2b.
Instead, please report the number of same-day registrations received on
Election Day, or, if that data is not tracked, respond “Data not available.” If
the Policy Survey response is incorrect, please contact your state POC and
the EAVS technical assistance team.

2 me

IF QS = 1, then A3Sc + Does
not apply

Because your state reported having pre-registration for persons under 18
years of age in Q9 of the Policy Survey, you may not respond “Does not
apply” to A3c. Instead, please report the number of pre-registrations
received, or, if that data is not tracked, respond “Data not available.” If the
Policy Survey response is incorrect, please contact your state POC and the
EAVS technical assistance tear.

= RSS

FQ? T=1LOR QOL] 254
OR O12_3 = 1, then
ASa # Does not apply

Because your state reported using confirmation notices in Q12 of the Policy
Survey, you may not respond “Does not apply” to ASa. Instead, please
report the total number of confirmation notices sent, or, if that data is not
tracked, respond “Data nct available.” If the Policy Survey response is
incorrect, please contact your state POC and the EAVS technica! assistance
team.

If 018 = 2 OR O18 = 3, then
C2a # Does not apply

Because your state reported allowing some or all registered voters to be
designated as permanent absentee voters in O18 of the Policy Survey, you
may not respond “Does not apply” to C2a. Instead, please report the
number of mail ballots transmitted to permanent absentee voters, or, if
that data is not tracked, respond “Data not available.” If the Policy Survey
response is incorrect, please contact your state POC and the EAVS
technical assistance team

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Because your state reported allowing a form of in-person voting prior to
Election Day in Q25 of the Policy Survey, you may not respond “Does not
apply” toe D4a. Instead, please report the number of polling places used
during early voting, or, if that data is not tracked, respond “Data not
available.” If the Policy Survey response is incorrect, please contact your
state POC and the EAV hnic i

If Q25_ 4 = 0, then
D4a # Does not apply

Because your state @ reported allowing a form of in- person ‘voting prior to
Election Day in 025 of the Policy Survey, you may not respond “Does not
lf O25 4 = 0, then apply” to D4c, Instead, please report the number of polling places located
D4c * Does not apply at election offices used during early voting, or, if that data is not tracked,
respond “Data not available.” If the Policy Survey response is incorrect,

d he EAVS h i SSI ance t am.

POC

please contact your st

Because your state reported allowing a form of in-person voting prior to
Election Day in 025 of the Policy Survey, you may not respond “Does not
apply” to FLf. instead, please report the number of voters who cast ballots

ee once oer during in-person early voting that were counted, or, if that data is not
PPIY tracked, respond “Data not available.” lf the Policy Survey response is
incorrect, please contact your state POC and the EAVS technical assistance
team.

Because your state reported transmitting UOCAVA ballots by email in Q27
of the Policy Survey, you may not respond “Does not apply” to Ba. Instead,
lf Q27_2 = 1, then please report the number of UOCAVA ballots transmitted by email, or, if
B7a # Does not apply that data is not tracked, respond “Data not available.” If the Policy Survey
response is incorrect, please contact your state POC and the EAVS

technical assistance team.

Because your state reported allowing UOCAVA voters to return their batlots
by postal mail in 028 of the Policy Survey, you may not respond “Does not
lf 028_1 = 1, then apply” to B10a. Instead, please report the number of UOCAVA voters’
Bida # Does not apply ballots returned by postal mail, or, if that data is not tracked, respond
“Data not available.” If the Policy Survey response is incorrect, please
contact your state POC and the CAVS technical assistance team.

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IfQ28_3=10RQ28 4=1
OR 028 5 = 4, then
Bl2a 4 Does not apply

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ache aSSiSt ear
Because your state reported allowing UOCAVA voters to return their ballots
by another mode in Q28 of the Policy Survey, you may not respond “Does
not apply” to Bi2a. instead, please report the number of UOCAVA voters’
ballots returned by other modes, or, if that data is not tracked, respond
“Data not available.” If the Policy Survey response is incorrect, please
nical assistance team.

lf 928 2 = 1, then
B16a # Does not apply

58 ca LEE Tt SSISL
Because your state reported allowing UOCAVA voters to return their ballots
by email in Q28 of the Policy Survey, you may not respond “Does not apply”
to BiGa, Instead, please report the number of UOCAVA voters’ ballots
returned by email and counted, or, if that data is not tracked, respond
“Data not available.” if the Policy Survey response is incorrect, please
contact your state POC and the EAVS technical assistance team.

lf O33 = 1, then Ela * Does
not apply

Survey, you may not respond “Does not apply” to Ela. Instead, please
report the total number of provisional ballots cast, or, if that data is not
tracked, respond “Data not available.” lf the Policy Survey response is
incorrect, please contact your state POC and the EAVS technical assistance

if Q33 = 1, then Eid ¥ Does
not apply

Because your state reported offering provisional ballots in Q33 of the Policy
Survey, you may not respond “Does not apply” te Eld. Instead, please
report the number of provisional ballots cast that were rejected, or, if that
data is not tracked, respond “Data not available.” If the Policy Survey
response is incorrect, please contact your state POC and the EAVS
technital assistance team.

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IF Q33a_2=1, then
E2c # Does not apply

Because your state reported in 033a of the Policy Survey that provisional
ballots may be offered when an election official asserts a voter is not
eligible, you may not respond “Does not apply” to E2c. Instead, please
report the number of provisional ballots that were cast for this reason or, if
that data is not tracked, respond “Data not available.” if the Policy Survey
response is incorrect, please contact your state POC and the EAVS
technical assistance team.

if 033a_4 = 1, then
E2a + Does not apply

Because your state reported in Q33a of the Policy Survey that provisional
baltots may be offered when a person does not appear on the list of eligible
voters, you may not respond “Does not apply” to E2a. instead, please
report the number of provisional ballots that were cast for this reason or, if
that data is not tracked, respond “Data not available.” If the Policy Survey
response is incorrect, please contact your state POC and the EAVS

ical assistance team.

if 033a_6 = 1, then
E2e * Does not apply

Because your state reported in Q33a of the Policy Survey that provisional
ballots may be offered when a voter is not a resident of the precinct jn
which they are attempting to vote, you may not respond “Does not apply” to
E2e. Instead, please report the number of provisional ballots that were cast
for this reason or, if that data is not tracked, respond “Data not available.”
lf the Policy Survey response is incorrect, please contact your state POC
and the EAVS technical assistance team.

lf 033a_8 = 1, then
E2¢ + Does not apply

al
Because your state reported in Q33a of the Policy Survey that provisiona!
baijlots may be offered when a voter who was issued a mail ballot does not
surrender the mail ballot when they wish to vote in person, you may not
respond “Does not apply” to E2g. Instead, please report the number of
provisional ballots that were cast for this reason or, if that data is not
tracked, respond “Data not available.” If the Policy Survey response is
incorrect, please contact your state POC and the EAVS technical assistance

team.

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Because your state reported partially counting provisional ballots in some
instances in Q33c of the Policy Survey, you may not respond “Does not

if Q33c = 2, then Ele # Does | apply” to Etc. Instead, please report the total number of provisional ballots
not apply counted in part, or, if that data is not tracked, respond “Data not
available.” If the Policy Survey response is incorrect, please contact your
state POC and the EAVS technical assistance team.

Because your state reported offering provisional ballots in Q33 of the Policy
Survey, you may not respond “Does not apply” to Fle. Instead, please

If O33 = 1, then Fle # Does report the total number of voters who cast provisional ballots that were

not apply counted, or, if that data is not tracked, respond “Data not available.” If the
Policy Survey response is incorrect, please contact your state POC and the
EAVS technical assistance team

O12 = No A8a-A8h = Does not apply

Fig = Does not apply

oe

C3a, C4a—c, Cha~c, and Céa = Does not apply

Bis

Q21 = Postmark not required CSk = Does not apply

Q27 # Postai mail B6a-c = Does not apply

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Q27 # Fax AND O27 # Online AND
Q27 # Other

B8a-c = Does not apply

Q28 # Email Bila-c and Bi6a-c = Does not apply

Ela-e, E2a-k, ESa-m, Fie, F5d_3, F6éd_3, F7d_3, F8d_3, Fod_3,
and Fi0c = Does not apply

ppe ASt OF Sligibl ter
Q33a # Voter does not have proper
identification

E2b = Does net apply

Q33a 4 Another person asserts
voter is ineligible

EF2d = Does not apply

tempt 2
Q33a # Voter's registration has
outdated information

E2f = Does not apply

oplece te He Derson:
Q33a # When a judge extends
polling place hours

E2h = Does not apply

19 i SEs
Q38 = No one; criminal convictions
do not limit a person's right to vote

ASd = Does not apply

Table 5: EAVS Rates Validations

Percent of registrations that were new and | This percentage is [higher/lower] than expected. Please

valid: (ASb/A3a) x £00 review items A3a and A3b for this jurisdiction to ensure the
data are correct. You may also use the comments section for
Threshold: 5%-95% these items to provide context to your submission.

: IE CONse? tt SSIs
Percent of registrations that were rejected: | This percentage is [higher/lower] than expected. Please
(A3e/A3a) x 100 review items A3Sa and ASe for this jurisdiction to ensure the
data are correct. You may aiso use the comments section for
Threshold: 1%-99% these items te provide context to your submission.

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Percent of registrations received by mail:
(A4a/A3a)} x 100

Threshold: 1%-99%

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This percentage is [higher/lower] than expected. Please
review items A3a and Ada for this jurisdiction to ensure the
data are correct, You may also use the comments section for
these items to provide context to your submission,

Percent of registrations received online:
{Adc/A3a) x 100

1%-99%

Threshoid:

Confirmation notices sent as percent of
active registered voters: (A8a/A1b} x 100

“This percentage is [higher/lower

] than expected. Please
review ttems ASa and A4c for this jurisdiction to ensure the

data are correct. You may also use the comments section for
these items to provide context to your submission

pe

s pe
This percentage is fhigher/lower] than expected. Please
review items Alb and A8a for this jurisdiction to ensure the
data are correct. You may also use the comments section for

Threshold: 1%-35

Percent of confirmation notices returned
confirming invalid registration:
{A8c/A8a} x 100

Threshold: 1%-35%

hese ems te provide context to your submission.

This percentage is [higher/lower] than expected. Please
review items ASa and A&c for this jurisdiction to ensure the
data are correct. You may also use the comments section for
these items to provide context to your submission.

Percent of confirmation notices
unreturned: (ASe/A8a) x 100

Threshold: 10%-80%

) This percentage is [higher/ lower] than expected. Please

review items ASa and A&8e for this jurisdiction to ensure the
data are correct. You may also use the comments section for
these items to provide context te your submission

‘Percent of FPCAS that were rejected:
{B3a/B2a) x 100

Threshold: 0.5%-99%

This percentage is [higher/iower] than expected. Please
review items B2a and B3a for this jurisdiction to ensure the
data are correct. You may also use the comments section for

these items to provide context to your submission.

Percent of UOCAVA ballots returned that
were counted: (B14a/BSa) x 100

Threshold: 10%-100%

This percentage is [higher/iower] than expected. Please
review items B9a and Bi4a for this jurisdiction to ensure the
data are correct. You may also use the comments section for
these items to provide context to your submission.

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reshol
Percent
(B24a/B23a} x 100

(C1b/Cta) x 100

Threshold: 5%-+-95%

of FWABs counted:

Percent of mailed ballots returned:

65-RDM

Threshold: 140%-100%

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S| nte
This percentage is [higher/lower] than expected. Please
review items B23a and B24a for this jurisdiction to ensure
the data are correct. You may also use the comments section
for these items to provide context to your submission.

This percentage is [higher/lower] than expected. Please
review items Cia and C1b for this jurisdiction to ensure the
data are correct. You may also use the comments section for
these items t ide cont ission.

box: (C6a/C 1b) x 100

Threshold: >95%

Percent of mailed ballots returned via drop

This percentage is higher than expected, Please review items
Cib and C6a for this jurisdiction to ensure the data are
correct. You may aiso use the comments section for these
items to provide context to your submission

5

(C8a/C1b} x 100

Threshold: 10%-100%

Percent of returned mail ballots counted:

© & VIS i
This percentage is [higher/lower] than expected. Please
review items C8a and Cib for this jurisdiction to ensure the
data are correct. You may also use the comments section for
these items to provide context to your submission.

Percent of pofl workers
(D7b/D7a) x 100

Threshold: >50%

under age 18:

PrOVINe: CORLEKE TO!

This percentage is higher than expected. Please review items
D7a and D7b for this jurisdiction to ensure the data are
correct. You may also use the comments section for these
items to provide context to your submission.

(O7d/D7a) x 100

Threshold: >50%

Percent of poll workers ages 26 to 40:

This percentage is higher than expected, Please review items
D7a and D7d for this jurisdiction to ensure the data are

correct. You may also use the comments section for these
items to provid text to yo bmissi

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Percent of poll workers ages 61 to 70:
(D7f/D7a} x 200

This percentage is higher than expected. Please review items
D7a and D7 for this jurisdiction to ensure the data are
correct. You may also use the comments section for these
Threshold: >50% ‘ items to provide context to your submission

This percentage is higher than expected. Please review items
D7a and D9a for this jurisdiction to ensure the data are
correct. You may also use the comments section for these
items to provide context to your submissio

ven

Percent of poll workers who served for first
time: (D9a/D7a) x L00

Threshold: >50%

This percentage is higher than expected. Please review items
Aib and Fa for this jurisdiction to ensure the data are
correct. You may also use the comments section for these

Percent of turnout by active registration:
(Fila/Aib) x 100

Threshold: 33%-35%
Salo cae

BEOVKK Ss
This percentage is higher than expected. Please review items
Fia, Fid, and Fig for this jurisdiction to ensure the data are
correct. You may also use the comments section for these
Threshold: items to provide context to your submission

Percent ballots cast by mail:
((Fid+Fig]/Fia} x 100

(EME,

st by UOCAVA voters:

This percentage is higher than expected. Please review items
Fia and Fic for this jurisdiction to ensure the data are
correct. You may also use the comments section for these
items to provide context to your submission

Percent ballots ca
(Fic/Fia} x 100

Threshold: 0.1%-50%

Total number of voting machines deployed:
F5c_1+F5c_2 + FS5e_3 + FSc_1 + F6c_2
+ F6c_3+ Ffre_1+ F7re_2 + Fre_3+
F&c_1 + F8c_2 + F8c_3

Tals number ts lower than expected. Please review items
F5e_1, F5c_2, F5c_3, F6c_1, F6c_2, F6c_3, F7c_1, F7c_2,
F7e_3, F8c_1, F8c_2, and F8c_3 for this jurisdiction to
ensure the data are correct. You may also use the comments
section for these items to provide context to your submission.

Threshold: <1

Table 6: Valid Skips

Ade = Does not apply (-S8} A5e, AGe, and Afe = Valid ski

A4g = Does not apply (-88) Aag, A6g, and A7g = Valid skip (-77)}

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ae

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A4i = Does not apply (-88}

A5i, AGI, and A7i

Valid skip (-77)

A9a = Does not apply (-88)

BSa =O

ASb-j = Valid skip (-77}

BSb-B22c = Valid skip (-77)

Does not apply (-88}

B8b-c = Valid skip (-77)

gaviniae

Bi2a

Dees not apply (-88)

Bi2b-c = Valid skip (-77)

B17b-c = Valid skip (-77)

Céb-c = Valid skip -77)

D3b~c = Valid skip (-77)

F&b_1-F8d_5 = Valid skip {-77)

Table 7: Special Conditions and Data Missingness

If state = North Dakota, then Section
A= Does not apply and Bla-c = Does
not apply

if state = Hl and jurisdiction =
“Kalawao County”, then all tems =
Data not availabl

Ala # Does not apply unless the
state = “ND” OR jurisdiction =
“Kalawao County” OR jurisdiction =
“MAINE - UOCAVA”

Piease provide the total number of people who were registered
and eligible to vote in your jurisdiction in the November 2022
general election. If that data is not tracked, respond “Data not
available.”

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Bia-c cannot be Does not apply
unless the state = “ND” OR

jurisdiction = “Kalawao County” OR
jurisdiction = “MAINE - UOCAVA"

Please provide the requested information on UOCAVA voters. if
that data is not tracked, respond “Data not available.”

B3a-c cannot be Does not apply
unless state = “ME” OR furisdiction =
“Kalawao County”

Please provide the requested information on UOCAVA voters. If
that data is not tracked, respond “Data not available.”

B5a-c cannot be Does not apply
unless state = “ME” OR jurisdiction =
“Kalawao County”

Please provide the requested information on UOCAVA veters. If
that data is not tracked, respond “Data not available.”

alawaod
B9a-e cannot be Does not apply
unless state = “ME” OR jurisdiction =
“Kalawae Co

Please provide the requested information on UOCAVA voters. If
. that data fs not tracked, respond “Data not available.”

Bi3a-d cannot be Does not apply
unless state = “ME” OR jurisdiction =
“Kalawao County”

Please provide the requested information on UOCAVA voters. If
that data is not tracked, respond “Data not available.”

BiSa-c cannot be Dees not apply
unless state = “ME” OR jurisdiction =
“Kalawao County”

Please provide the requested information on UOCAVA voters. If
that data is not tracked, respond “Data not available.”

nalaWao

B19a-c cannot be Does not apply
unless state = “ME” OR jurisdiction =
“Kalawao Count

Please provide the requested information on UOCAVA voters. if
- that data is not tracked, respond “Data not available.”

B23a-c cannot be Does not apply
unless state = “ME” OR jurisdiction =
Kalawao County”

Please provide the requested information on UOCAVA voters. If
that data is not tracked, respond “Data not available.”

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Cia cannot be Does not apply unless
state = “ME” OR jurisdiction =
“Kalawae County”

Please provide the total number of mail ballots transmitted to
voters for the November 2022 general election. If that data is not
tracked, respond “Data not available,”

‘Data not available.” 2.
Please provide the total number of voters who cast a ballot
(regardless of mode} that was counted for the November 2022
general election in your jurisdiction. If that data is not tracked,

“

Fia cannot be Does not apply unless
state = “ME” OR jurisdiction =
“Kalawao County”

"

° F7b.2 cannot be VSAP Ballot Marking
Device (Los Angeles County) unless
jurisdiction = “Los Angeles County”

You have selected a make and madei which is not used in your
jurisdiction. Please correct your response.

unsdiction = Los Ange

F8b_1, F8b_2, F8b_3 cannot be

IBML {Los Angeles County) or LRC- You have selected a make and model which is not used in your
1000 (Los Angeles County} unless jurisdiction. Please correct your response.

jurisdiction = “Los Angeles County”

If any of ASh to A3j is > 0, response
to corresponding open-ended item
ASh_other to A3i_ other is required
and vice versa (1.e., if response is
provided for the open-ended text
item, a number in the corresponding
item is expected}

Please provide a description and a response for the “Other”
category you entered information in. if you do not have any
information to enter in the “Other” items, you can leave them
blank.

If any of A5j to A5lis > 0, response to
corresponding open-ended item
A5j_other to A5!l_other is required
and vice versa {i.e., if response is
provided for the open-ended text
item, a number in the corresponding
item is expected)

Please provide a description and a response for the “Other”
category you entered information in. If you do not have any
information te enter in the “Other” items, you can leave them
blank.

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It pects

lf any of A7j to A7lis > 0, response to
corresponding open-ended item
A7j_other to A7|l_other is required
and vice versa (Le., if response is
provided for the open-ended text
item, a number in the corresponding

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Please provide a description and a response for the “Other”
category you entered information in. If you do not have any
information ta enter in the “Other” items, you can leave them

blank.

iter is expected}
Sito

if any of AGh to AQ is > O, response
to corresponding open-ended item
ASh_other to AQj_other is required
and vice versa {i.e., if response is
pravided for the open-ended text
item, a number in the corresponding
item is expected)

Please provide 2 description and a response for the “Other”
category you entered information in. ff you do not have any
information to enter in the “Other” items, you can leave them
blank,

ff any of B27a to B2?rc is filled,
response to corresponding open-
ended ftem B27_other is required
and vice versa

Please provide a description and a response for the “Other
category you entered information in. If you do not have any
information to enter in the “Other” items, you can leave them
blank.

If any of C9r te COt is > G, response to
corresponding open-ended item
COr_other to CSt_other ts required
and vice versa (Le_, if response is
provided for the open-ended text
item, a number in the corresponding
item is expected)

Please provide a description and a response for the “Other”
category you entered information in. If you do not have any
information to enter in the “Other” items, you can leave them
blank.

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pondin

if any of E2i to E2k is > 0, response
to corresponding open-ended item
E2i_other to E2k_ other ts required
and vice Versa (i.e., if response is
provided for the open-ended text

tern, a number in the corresponding

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Please provide a description and a response for the “Other”
category you entered information in. If you do not have any
information to enter in the “Other” items, you can leave them
blank.

lf Fih is > 0, response to
corresponding open-ended item

(i.e., if response is provided for the
open-ended text item, a number in
the orresp nding item is expected}

Fih_other is required and vice versa

Please provide a description and a response for the “Other”
category you entered information in. if you do not have any
information to enter in the “Other” items, you can leave them
biank,

Ae SGUNEG
lf F3f = Yes, a response to the
corresponding open-ended item
F3f_other is required

Please provide a description for the “Other” category you selected.

lf FSb_i = Other, a response to the
corresponding open-ended item

Please provide a description for the “Other” category you selected.

b re
lf Fob_3 = Other, a response to the
corresponding open-ended item

Please provide a description for the “Other” category you selected.

F5b_ Sother is required
Feb =

5

if F6b_2 = Other, a response to the
corresponding open-ended item

Please provide a description for the “Other” category you selected.

Féb_2other is required

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lf F7b_1 = Other, a response to the
corresponding open-ended item
F7b_4Zother is required

lf F7b 3 = Other, a response to the
corresponding open-ended item
F7b_3other is required

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Please provide a description for the “Other” category you selected.

Please provide a description for the “Other” category you selected.

8

th cl
lf F8b_2 = Other, a response to the
corresponding open-ended item
F8b_2other is required

lf F5a = Yes, then F5b_1, FSc_1,
F5d_4, F5d_2, F5d_3 and F5d_4
cannot be blank

lf F¥a = Yes; then F7b_1, F7c_1,
F7rd_1, F7¢d_2, F7d_3, F7d_4 and
Ffd_5 cannot be blank

Please respond to item [insert item number here?. If you do not
have the information ta respond, please enter “Data not
available”. If you collect the information but no response fits in this
category, please enter “O”. If this question does not apply to you,
please enter “Does not apply” and explain in the comments
section.

Please respond to item [insert item number herel. If you do not
have the information to respond, please enter “Data not
available”. If you collect the information but no response fits in this
category, please enter “0”. If this question does not apply to you,
please enter “Does not apply” and explain in the comments
section

If F9a = Yes, then F9d_1, F9d_2,
F9d_3, F9d_4 and F9d_5 cannot be
blank

Please respond to item [insert item number here]. if you do not
have the information to respond, please enter “Data not
available”. If you collect the information but no response fits in this
category, please enter “O”. If this question does not apply to you,
please enter “Does not apply” and explain in the comments
section.

Flag any negative value except for
-77, -88, and -99 in numeric items

fsths

ate check Dox instea
Negative numbers outside of responses of “Data not available
99}, “Does not apply” (-88), and “Valid skip”
(-77) are not allowed as responses in EAVS. Please review and
provide 4 valid response.

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Methodology Appendix C: Post-Submission Validations and

Sample Rates

Percent of registrations that were new and
valid

Percent of registrations that were invalid or
rejected

Table 1: Sample Rates and Outlier Thresholds

Aja * 108

Ase x 100
Aga

<1%
>99%

Percent of registrations received by mail

A4a

=m
Aja 100

<1%
>99%

Percent of registrations received online

Age 100
A3a

<1%
>99%

Confirmation notices sent as percent of active
registered voters

Aga
Alb

x 100

<1%
>35%

Percent of confirmation notices returned
confirming invalid registration

Age
x 100

<1%

Percent of FPCAs that were rejected

Bon * 100

<10%
>BO%

<0.5%
>99%

Percent of UOCAVA ballots returned that were
counted

Bl4a

x 100
Ba

<10%
>100%

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Percent of FWABs counted

Percent of mailed ballots returned

Cig * 10°

<5%
>95%

Percent of maifed ballots returned via drop
box

C64 100
CIB

Percent of mailed ballots counted

C84 500
Cib

>O5%

<10%
>L00%

Percent of poll workers under age 18

Dib x 100
Dia

>50%

Did x 100
Dia

>50%

Percent of poll workers ages 61 to 70

DIf

Dia

>50%

Percent of poll workers who served for first
time

Fld + Fig
Fla

Percent ballots cast by UOCAVA voters

<O0.1%
>50%

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FSe_1 + F5e_2 + F5e_3 +

Féc_1 + F6c_2 + F6c_3 +
F7e 1 + F7e_2 + F7e_3 +
F8c_1 + F8c_2 + F8c_3

Total number of voting machines deployed

Fla <35%
x 100

Percent of turnout by CVAP ——
CVAP >95%

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2022 total registrations as percentage
of 2018's registrations

Table 2: Comparisons to the 2018 EAVS Data

Ata[2022]

x 100
Aiajzois; *?

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2022 registrations removed as
perceritage of 2018's

A9a[2022]

Ada(zo1a] * 1°

<10%
>200%

percentage of 2018's

B5a[2022]
B5a[2018]

x 100

<10%
>200%

2022 LOCAVA ballots counted as
percentage of 2018’s

Bi4a{2022]
B14a[2018]

100

<10%
>200%

2022 mailed ballots returned as
percentage of 2018's

C1b[2022]
C1b[2018]

x 100

<10%
>500%

2022 provisional ballots cast as
percentage of 2018’s

Ela[2022]

E1afzo1ey * 10°

<10%
>500%

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Viethodology Appendix D: How to Calculate Selected EAVS Rates

The EAVS item numbers in this table correspond to the question numbering for the 2022 EAVS.
To determine item numbering for previous EAVS surveys, please refer to the survey instrument
and data codebook for each year.

Tota! CVAP registration rate

— x 100
a

Percentage of registrations that were rejected

x 100

Percentage of total registration forms that were received by
mall

A4a

—— xX 100
A3a

Percentage of total registration forms that were submitted by
individual voters through web-based online registration
systems

A4éc

—~ x 100
A3a

Vater registration removal rate as a percentage of total
registrants

AQa
Ala

x 100

Percentage of total transmitted UOCAVA ballots that were
returned by voters

x 100

Percentage of total transmitted UOCAVA ballots that were
returned by voters and rejected

Percentage of FWABs returned by UOCAVA voters that were
rejected

(825a + B26a + B27a)

B23a

100

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Percentage of returned mail ballots that were counted

Cc8a

Percentage of returned mail ballots that were returned via
drop box

Percentage of counted mail ballots that were successfully
cured

Percentage of provisional ballots that were counted, either in
full or in part

(E1b + Ec)

(Elb + Elc + Eld + Ele)

x 100

Voter turnout rate by CVAP

(Fld + Fig)
——oorrrrnaaean OK

160
Fla

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